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                                                UNITED STATES BANKRUPTCY COURT
               22
                                                    FOR THE DISTRICT OF NEVADA
               23

               24       In re:                                        Case No. BK-N-15-50541-BTB
                                                                      Chapter 11 Case
               25       MATHESON FLIGHT EXTENDERS,
                                                                      DISCLOSURE STATEMENT IN SUPPORT
                        INC.,
               26                                                     OF SECOND AMENDED CHAPTER 11
                                                                      PLAN OF REORGANIZATION
                                      Debtor.
               27                                                     Hearing Date: December 16, 2015
               28                                                     Hearing Time: 2:00 p.m.
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                                                                     I.
                     1                                          INTRODUCTION
                     2          Debtor and Debtor-in-Possession Matheson Flight Extenders, Inc., a Nevada corporation
                     3   (“Debtor” or “MFEI”) and Co-Proponent Matheson Trucking, Inc. (“Trucking” and, together
                     4   with the Debtor, the “Plan Proponents” or “Co-Proponents”) submit this Disclosure Statement in
                     5   connection with the Second Amended Chapter 11 Plan of Reorganization (“Plan”) to treat the
                     6   Claims of the Creditors and the interests of Equity Security Holders of the Debtor.1
                     7          The objective of a Chapter 11 bankruptcy case is to obtain Bankruptcy Court approval of
                     8   a plan of reorganization. This process is referred to as confirmation of a plan. A plan describes
                     9   in detail (and in language appropriate for a legal contract) the means for satisfying the Claims
                   10    against the Debtor and for treating the Equity Security Interests in the Debtor.   The holders of
                   11    claims that are “impaired” (a term defined in Bankruptcy Code Section 1124 and discussed in
                   12    detail below) and that are permitted to vote may vote to accept or reject the Plan. Before the
                   13    Plan Proponents may solicit acceptances of a plan, Bankruptcy Code Section 1125 requires the
                   14    Plan Proponents to prepare a disclosure statement containing adequate information of a kind, and
                   15    in sufficient detail, to enable those parties entitled to vote on the plan to make an informed
                   16    judgment about the plan and whether they should accept or reject the plan.
                   17           The purpose of this Disclosure Statement is to provide sufficient information about the
                   18    Debtor, Trucking and the Plan to enable the Creditors and Equity Security Interests of the Debtor
                   19    entitled to vote on the Plan to make an informed decision in exercising their rights. Through this
                   20    Disclosure Statement, the Plan Proponents ask those Creditors entitled to vote on the Plan to vote
                   21    in favor of the Plan. In order to explain why the Plan deserves support, the Disclosure Statement
                   22    summarizes the series of events that led to the Debtor’s bankruptcy case and the Debtor’s
                   23    relationship with Trucking. It describes what has happened during Debtor’s Chapter 11 Case.
                   24    The Disclosure Statement also describes the Plan and why the Plan offers the best opportunity
                   25    for recovery by Creditors. The various exhibits to this Disclosure Statement are incorporated
                   26    into and are a part of this Disclosure Statement. The Plan is included as Exhibit “A” to this
                   27
                         1
                           Capitalized terms not otherwise defined herein will have the same meaning as are ascribed to
                   28    such terms in the Plan which is attached hereto as Exhibit A.
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                     1   Disclosure Statement.

                     2          The hearing at which the Court will determine whether to finally approve this Disclosure

                     3   Statement will take place in the C. Clifton Young Federal Building, 300 Booth Street, Reno,

                     4   Nevada 89509 on December 16, 2015 at 2:00 p.m., as set forth in the Notice of Hearing on

                     5   Motion for Order: (1) Approving Disclosure Statement; (2) Setting Deadlines for Balloting and

                     6   Approving Form of Notice and Ballot; and (3) Setting Confirmation Hearing and Related

                     7   Deadlines that has been served on you. Objections to the Disclosure Statement must be made as

                     8   set forth in that Notice. If you require additional information about the Plan, please contact:

                     9                                  DAVIS GRAHAM & STUBBS LLP
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                   27           Interested parties may also obtain further information, including copies of pleadings filed

                   28    in the Bankruptcy Case, from the United States Bankruptcy Court for the District of Nevada at
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                     1   its website: http://www.nvb.uscourts.gov.

                     2          The Court has conditionally approved this Disclosure Statement as containing adequate

                     3   information to enable parties affected by the Plan to make an informed judgment about its terms.

                     4   The Court has not yet determined whether the Plan meets the legal requirements for

                     5   confirmation, and the fact that the Court has conditionally approved this Disclosure Statement

                     6   does not constitute an endorsement of the Plan by the Court, or a recommendation that it be

                     7   accepted. The Court’s conditional approval of this Disclosure Statement is subject to final

                     8   approval at the hearing on confirmation of the Plan. After those Creditors and Equity Security

                     9   Holders entitled to vote have voted to accept or reject the Plan, the Bankruptcy Court will

                   10    conduct a hearing on the adequacy of the Disclosure Statement and on the Plan (“Confirmation

                   11    Hearing”) to determine whether the Plan should be confirmed. At the Confirmation Hearing, the

                   12    Bankruptcy Court will consider whether the Plan satisfies the various requirements of the

                   13    Bankruptcy Code. The Bankruptcy Court will consider a ballot summary that will present a tally

                   14    of the votes of Classes accepting or rejecting the Plan cast by those entitled to vote. Once

                   15    confirmed, the Plan will be treated essentially as a contract binding on all Creditors, Equity

                   16    Security Holders and other parties-in-interest in the Chapter 11 Case.

                   17           THIS DISCLOSURE STATEMENT IS NOT THE PLAN. FOR THE CONVENIENCE

                   18     OF CREDITORS, THE PLAN IS SUMMARIZED IN THIS DISCLOSURE STATEMENT.

                   19     ALL SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY BY THE PLAN ITSELF. IN

                   20     THE EVENT OF ANY INCONSISTENCY BETWEEN THIS DISCLOSURE STATEMENT

                   21     AND THE PLAN, THE PLAN WILL CONTROL.
                                                                 II.
                   22                                     SUMMARY OF THE PLAN
                   23

                   24           The following is a general overview of the provisions of the Plan. This overview is

                   25    qualified in its entirety by reference to the provisions of the Plan.     For a more detailed

                   26    description of the terms and provisions of the Plan, see Article IV of this Disclosure Statement

                   27    and the Plan attached as Exhibit A to this Disclosure Statement.

                   28    ///
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                     1          In summary, the Plan provides for the continued operation of the Debtor and Trucking

                     2   from which the Debtor will generate Net Operating Income for the payment of its creditors. The

                     3   Plan Proponents submit that the only means by which creditors will be paid is for the Debtor and

                     4   Trucking to remain in business.       The Liquidation Analysis performed by Pacific Capital

                     5   Transactions confirms this. The Plan proposes to pay the Claims in Classes 1, 2, 3, 4, and 5 in

                     6   full. A first payment, defined as the “Effective Date Payment” to unsecured creditors in Classes

                     7   2, 4 and 5 will be made on the Effective Date of the Plan from Net Operating Income.

                     8   Thereafter, the Debtor will pay Creditors in Class 3, 4 and 5 over time from Net Operating

                     9   Income. The secured claim of Class 1 Creditor United States Postal Service will be satisfied in

                   10    full by effectuating an offset on the Effective Date. The Class 6 guaranty Claim of Wells Fargo

                   11    Bank, N.A. will be satisfied by the guaranty remaining in full force and effect. A key feature of

                   12    the Plan is the incorporation of a Settlement Agreement between the Debtor and Trucking, on the

                   13    one hand, and the seven Colorado Plaintiffs (the “Stipulating Judgment Creditors”), to

                   14    compromise their Proofs of Claim for payment of total consideration of $7.3 million and other

                   15    terms. A copy of the Settlement Agreement, which is incorporated into and implemented by the

                   16    Plan, is attached to this Disclosure Statement as Exhibit J.
                                                        III.
                   17      GENERAL INFORMATION ABOUT PLAN PROPONENTS’ BUSINESS AND THE
                                         FILING OF THE BANKRUPTCY CASE
                   18

                   19           A.      Description of Debtor and Events Leading Up to the Bankruptcy Case.

                   20           On April 19, 2015, (“Petition Date”), the Debtor filed its voluntary petition under Chapter

                   21    11 of the Bankruptcy Code. The Debtor has continued to operate its business as a Debtor-In-

                   22    Possession.

                   23                   1.      Debtor’s History

                   24           The Debtor has been a family-owned and operated business since its inception.            It

                   25    provides extensive mail handling services under contract with the United States Postal Service

                   26    (“USPS” or the “Postal Service”) and others. The Debtor has been providing this service to the

                   27    USPS since August 2001. MFEI’s contracts with the USPS account for approximately eighty-

                   28    four percent of its business. MFEI offers a comprehensive range of ground support and terminal
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                     1   handling services to the USPS and certain other customers in approximately 20 hub facilities

                     2   spread across 19 states coast-to-coast. MFEI is primarily a service company with more than 600

                     3   employees nationwide who it refers to as material handlers. The Debtor also contracts with

                     4   vendors in South Dakota and Great Falls, Montana for employees to staff those facilities.

                     5   Generally, the material handlers unload airplanes, sort mail, and reload mail onto airplane

                     6   containers at hubs throughout the United States. MFEI will handle approximately 3.4 million

                     7   pieces of mail, or 51,000,000 pounds, each month and this volume spikes to approximately 5

                     8   million pieces of mail during the peak season in December.

                     9            The Debtor’s labor force roughly doubles from 600 employees to roughly 1200

                   10    employees during the peak season, thus providing important seasonal employment to the

                   11    economy. The peak season contracts are with the Postal Service, which is Debtor’s largest

                   12    customer and the source of more than 80 percent of its revenue. In addition to increasing the

                   13    Debtor’s revenue, servicing the Postal Service’s needs during the holiday season produces

                   14    unquantifiable benefits to the Debtor in its relationship with the Postal Service. These constitute

                   15    important business reasons for the Debtor to maximize its ability to fulfill these contracts.

                   16                    2.     The Colorado Litigation

                   17             In November 2012, twelve plaintiffs filed the complaint in the United States District

                   18    Court for the District of Colorado entitled Camara et al. v. Matheson Flight Extenders, Inc. and

                   19    Matheson Trucking, Inc., Civil Action No.: 12-CV-03040-CMA-CBS (the “Colorado Action”).

                   20    Plaintiffs alleged that, starting in late 2010, they were discriminated against and harassed based

                   21    on race and national origin, and that they were subjected to retaliation. The Plaintiffs originally

                   22    consisted of twelve present and former employees of Matheson Flight Extenders, Inc.2 One of

                   23    the Plaintiffs voluntarily withdrew (and remains employed with Matheson), and four settled their

                   24    claims before the case went to trial. The four settling plaintiffs are Moussa Dembele, Mohamed

                   25    Kaba, Cresencio Sanchez and Ernest Williams, who entered into separate Settlement Agreements

                   26    with the Debtor and Matheson Trucking prepetition and which Settlement Agreements are not in

                   27    default.
                         2
                   28        Both MFEI and Trucking were named as Defendants in the lawsuit.
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                     1          The Defendants have at all times vigorously disputed the Plaintiffs’ claims, and maintain

                     2   that the Plaintiffs at no time experienced harassment, discrimination, or retaliation. In the

                     3   lawsuit Plaintiffs challenged legitimate business decisions such as (1) a December 2010 furlough

                     4   made necessary by a temporary suspension of a United States Postal Service contract; (2) re-

                     5   implementation of a seniority-based shift bid, which some (but not all) Plaintiffs believed was

                     6   unfair; and (3) other employment decisions that affected some (but not all) Plaintiffs. These

                     7   decisions were in no way motivated by race, national origin, or the fact that any Plaintiff

                     8   (allegedly) complained of discrimination. Notably, the Plaintiffs’ claims were disputed by both

                     9   African and African-American employees at trial by witnesses, including African American

                   10    Station Manager, John Handy; African American Lead, Wiley Coleman; Haitian Material

                   11    Handler, Yonel Louissaint; and African Material Handler, Noumady Sissoko. The Plaintiffs

                   12    brought the lawsuit after a recruiting effort in which Plaintiffs told coworkers they needed to

                   13    “stick together to sue the company, even if they had to lie.” Two Plaintiffs and another employee

                   14    engaged in shocking behavior toward coworkers who refused to join the lawsuit. This included

                   15    threatening and intimidating coworkers who did not join the lawsuit; telling a female coworker

                   16    who refused to join the lawsuit that they would bring their gang and sexually assault her; pushing

                   17    coworkers; and, in one case, throwing objects at a coworker.

                   18           The lawsuit was tried to a jury for twelve days starting January 26, 2015. At trial, the

                   19    Court excluded the most probative evidence demonstrating Plaintiffs’ improper recruiting

                   20    efforts, intimidation, threats and violence. On February 11, 2015, the jury returned a verdict in

                   21    Plaintiffs’ favor on all claims and awarded damages against Debtor and Matheson Trucking in

                   22    the total amount of $14,968,100. On February 27, 2015, the Court entered Final Judgment for the

                   23    full amount of damages awarded by the jury, plus post-judgment interest. A detailed summary

                   24    of the damages awarded, as well an analysis of the possible reduction of this award, is set forth in

                   25    Exhibit B to this Disclosure Statement.

                   26           The Debtor and Trucking respect the efforts of the jurors in reaching their verdict;

                   27    however, the Defendants adamantly disagree with the results. Moreover, the Plan Proponents

                   28    anticipate that the Colorado Plaintiffs dispute many if not all of the Plan Proponents’ factual
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                     1    recitations of the Colorado Litigation set forth in this Disclosure Statement. Suffice it to say that

                     2    the parties’ respective positions are vigorously contended.

                     3           As explained below, Defendants have filed three post-trial motions challenging errors

                     4    made by the Court at trial (including the Court’s exclusion of key evidence of the environment

                     5    created by Plaintiffs), and challenging the amount of the jury verdict.

                     6           Defendants have filed three post-trial motions concerning the trial and verdict: a Motion

                     7    for New Trial based on several key errors made by the Court at trial; a Renewed Motion for

                     8    Judgment as a Matter of Law; and a Motion for Remittitur, which asks the Court to dismiss the

                     9    verdict or reduce the damages awarded to comply with constitutional due process principles.

                   10     Defendants also have filed a Motion to Stay Enforcement Proceedings and two Motions to Quash

                   11     writs of garnishment served by the Plaintiffs.3

                   12            Plaintiffs also have filed post-trial motions: namely, a Motion to Amend the Jury Verdict

                   13     to add prejudgment interest and front pay, and a Motion for Attorneys’ Fees. The Plaintiffs also

                   14     have requested $55,531.04 in costs.

                   15            Plaintiffs began seeking enforcement of the judgment shortly after the Court entered its

                   16     verdict. Most notably, the Plaintiffs filed two Writs of Garnishment – Judgment Debtor Other

                   17     Than Natural Person, demanding that the United States Postal Service (“USPS”) garnish funds

                   18     payable to the Debtor pursuant to various service contracts. The Plaintiffs and the USPS treated

                   19     the writs of garnishment as continuing writs of garnishment, which the Plan Proponents contend

                   20     was in violation of Colorado law.

                   21            On April 3, 2015, the USPS held and did not pay over to MFEI approximately $116,000.

                   22     Thereafter, the Plan Proponents contend that USPS improperly held money owed to MFEI on

                   23     April 10, 2015 in the amount of approximately $872,000, and it did so under a theory of

                   24     continuing garnishment, which is not appropriate for judgment debtors other than natural persons

                   25     under Colorado law. The USPS again withheld money to be paid to Defendants on April 17,

                   26     2015 in the amount of approximately $41,000. At the time of Debtor’s chapter 11 filing, there

                   27     3
                           The Defendants sought a court order to stay the enforcement proceedings because absent court
                   28     order, they would have needed to post bond in the full amount of the verdict. Neither the Debtor
    DAVIS GRAHAM &        nor Trucking have sufficient assets to post a bond to stay the judgment pending appeal.
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                     1    was a total of $1,029,000 being held on the garnishments issued by Plaintiffs. Additionally,

                     2    there was another approximate $693,000 owed by the USPS to MFEI on Friday, April 24, 2015,

                     3    and it was that payment which was the primary catalyst for the timing of MFEI’s filing. MFEI

                     4    could not risk the USPS deciding once again to hold these funds under a theory of continuing

                     5    garnishment. While MFEI did everything it could to continue performing its contracts with the

                     6    USPS, the garnishment period extended longer than anticipated by almost three weeks, and

                     7    MFEI believed that if it were not properly paid the monies it was owed on April 24, 2015 and

                     8    thereafter, it would not be able to continue in business for more than a few weeks.

                     9           On the Debtor’s demand issued immediately after filing bankruptcy, the Plaintiffs

                   10     withdrew the Writs of Garnishment and USPS released some of the money it held to the Debtor.

                   11                    3.     Debt Structure and Relationship with Trucking and Matheson Postal.

                   12            While Debtor has few assets, the Debtor operates a viable service business which is

                   13     employee dependent.4 The proposed Plan will allow Debtor to continue to employ the more than

                   14     600 employees who directly rely on the Debtor, as well as to preserve the Debtor’s business

                   15     relationships while paying the Allowed Claims of creditors. The Plan further capitalizes on the

                   16     Debtor’s earning capacity during the peak season, when the Debtor roughly doubles its regular

                   17     season employment of 600 to approximately 1,200 employees. As of the Petition Date, Debtor’s

                   18     20 largest unsecured creditors had claims totaling $18,949,591.69, including the claims of

                   19     Plaintiffs. The Debtor’s only secured creditor is the United States Postal Service. As a result of

                   20     Plaintiffs’ garnishments, the USPS has been able to withhold $457,663.96 on a theory of setoff

                   21     on monies that otherwise would have been paid to the Debtor pursuant to a pre-petition

                   22     agreement with USPS.

                   23            The Debtor has guaranteed a credit agreement between Wells Fargo Bank National

                   24     Association (“Wells Fargo”) and Trucking for approximately $6.8 million.              This credit

                   25     agreement is for standing letters of credit in favor of Greenwich Insurance Company and XL

                   26     Specialty Insurance Company (collectively, “XL Catlin”), the providers of worker’s

                   27
                          4
                            Debtor’s personal property assets are listed in its Schedule B as having a book value of
                   28     $4,943,338.60.
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                     1    compensation insurance and auto liability insurance for the Debtor and Matheson Postal, Inc., a

                     2    subsidiary of Trucking (“Postal”). The standing letters of credit are secured by rolling stock and

                     3    third party accounts of Postal as well as all of the personal property of Trucking. A copy of the

                     4    UCC Financing Statement in favor of Wells Fargo Bank on Trucking’s personal property is

                     5    attached hereto as Exhibit C. A copy of the UCC Financing Statement in favor of Wells Fargo

                     6    Bank on Postal’s personal property is attached hereto as Exhibit D. Postal’s rolling stock is also

                     7    collateral for Wells Fargo’s credit agreement. Wells Fargo considered the judgment in favor of

                     8    the Plaintiffs to be a material default under the credit agreement, and there is currently a

                     9    Forbearance Agreement in place which expires on December 1, 2015. Trucking is currently

                   10     negotiating with Wells Fargo for an extension of the forbearance period and, in the interim, will

                   11     be looking for a lender to replace the Wells Fargo letters of credit. This process has been

                   12     complicated by the fact that having an amount for the Stipulating Judgment Creditors’ claims as

                   13     a condition of issuance of the audit, and a current audit is a prerequisite not only for continued

                   14     discussion with Wells Fargo but also for replacement lenders.

                   15            Trucking is a management company that provides services to the Debtor and Postal.

                   16     Trucking has no business of its own which generates revenue.             Rather, Trucking is a

                   17     management entity that supports the operations of its subsidiaries by providing repair and

                   18     maintenance services, as well as by furnishing administrative services. These expenses are

                   19     ultimately borne by the Debtor and Postal for their proportionate use of Trucking’s services. The

                   20     monies paid by its subsidiaries for these services are Trucking’s primary source of income. In

                   21     general, the Debtor pays approximately 35-38 percent of the management, administrative and

                   22     maintenance services that Trucking provides to the Debtor and Postal.          In its Liquidation

                   23     Analysis, discussed in more detail below, the Debtor’s expert concluded that “Trucking acts as

                   24     an integrated unit with Flight and Postal and provides synergistic value to both.” Docket No.

                   25     341, p. 19.    Moreover, the Liquidation Analysis concludes that the Debtor’s proportionate

                   26     payment of 35 percent is “fair and reasonable to Flight.” Id. A copy of the Liquidation Analysis

                   27     is attached hereto as Exhibit I.

                   28     ///
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                     1            A copy of Trucking’s list of personal property assets is attached hereto as Exhibit E. The

                     2    book value of Trucking’s personal property assets is approximately $120,000. All of Trucking’s

                     3    most valuable personal property is collateral for the Wells Fargo letter of credit. A copy of the

                     4    UCC Financing Statement recorded with the California Secretary of State on November 4, 2013

                     5    is attached hereto as Exhibit C. The Financing Statement covers “All assets of Debtor [i.e.,

                     6    Trucking] (whether now owned or hereafter acquired or arising, and all proceeding (in whatever

                     7    form or nature) thereof.” Id.

                     8            Trucking owns an indirect shareholder interest in Debtor and is the direct shareholder of

                     9    Postal. A corporate chart is attached hereto as Exhibit F. As set forth on its audited financial

                   10     statements, Trucking is attributed with ownership of an unencumbered piece of real property in

                   11     California. Trucking’s interest in that property has been sold and the proceeds of sale constitute

                   12     Trucking’s New Value contribution to the Plan, to the extent new value is at issue in

                   13     confirmation. Specifically, Trucking has paid $1.3 million to the Stipulating Judgment Creditors

                   14     as the Initial Payment pursuant to the Settlement Agreement.       The Plan Proponents contend that

                   15     new value is not required to obtain confirmation of the Plan because unsecured creditors are

                   16     being paid in full.

                   17             Trucking is owed an account receivable by Mark Matheson in the amount of

                   18     approximately $1,000,000. The Liquidation Analysis includes an analysis of compensation paid

                   19     to the Debtor’s insiders and officers and concludes that “if the loan had been treated as

                   20     compensation to Mark Matheson, it would have placed Mark Matheson below an industry

                   21     Maximum Reasonable Compensation amount over the past five years.” Exhibit I, p. 19.

                   22             Trucking is also owed several million dollars by a start-up entity by the name of

                   23     Matheson Environmental, whose management closed its operations in January 2015. Trucking

                   24     believes this debt is uncollectible; even if it were not collectible, it is collateral on Wells Fargo’s

                   25     letter of credit.

                   26             The shareholders of Trucking are Mark Matheson, who directly and through an

                   27     irrevocable trust owns 65 percent of the stock, and his father, Robert Matheson, who owns 35

                   28     percent of the stock.     Robert Matheson and Mark’s mother, Carole Matheson, started the
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                     1    Matheson business. From 2011 to 2015, Trucking paid Robert an annual salary of approximately

                     2    $250,000; Carole an annual salary of $180,000 and Mark an annual salary of approximately

                     3    $511,000. For this same time frame, Trucking paid the irrevocable trust dividends of $120,000

                     4    annually and paid Robert dividends of approximately $65,000 annually. Mark and Robert have

                     5    personally guaranteed the Wells Fargo loan agreement for the letters of credit in favor of the

                     6    insurer. The Liquidation Analysis includes a Compensation Analysis, which concludes that

                     7    “[f]or equity executives, even with the inclusion of dividends, the Matheson total compensation

                     8    was well within the Total Maximum Reasonable Compensation estimates. … The wages paid

                     9    by Matheson are reasonable and no adjustment is necessary.” Exhibit I, p. 91 (emphasis in

                   10     original); see, id., pp. 88-91 for the entire Compensation Analysis.

                   11              All of Postal’s rolling stock and third party accounts are either collateral for the standing

                   12     letters of credit to Wells Fargo Bank, or, in the case of rolling stock, subject to purchase money

                   13     security interests. A copy of the UCC 1 Financing Statement filed with the California Secretary

                   14     of State against Postal is attached hereto as Exhibit D. The description of personal property

                   15     covered by the Financing Statement is lengthy and includes all accounts, goods, tools,

                   16     machinery, furnishings and other equipment. The Plan Proponents believe that all of Postal’s

                   17     rolling stock is similarly encumbered by appropriate listing of Wells Fargo on certificates of title.

                   18     Postal also owes a purchase money loans to Wells Fargo Equipment Finance and PACCAR Inc.

                   19     for the acquisition of additional rolling stock. The Plan Proponents believe that the acquired

                   20     property is encumbered by an appropriate listing of this creditor on certificates of title.

                   21            As a result of Postal’s debt structure, the Debtor believes there is little, if any liquidation

                   22     value to Postal, which is confirmed in the Liquidation Analysis. Exhibit I, pp. 10-13. However,

                   23     Postal contributes significantly – approximately 62 - 65 percent based on revenue and headcount

                   24     - to the shared costs of administrative and other functions provided by Trucking.                The

                   25     Liquidation Analysis concludes that this “allocation is fair and reasonable” and that “if the

                   26     companies used an Operating Cash Flow allocation method, the SG&A allocation to Flight

                   27     would approximately double.” Id., p. 19.

                   28     ///
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                     1            Trucking has been very concerned about filing its own Chapter 11 case because of the

                     2    potential ramifications of such a filing. A Chapter 11 filing by Trucking could conceivably lead

                     3    to the liquidation of MFEI, Trucking, and Postal for several reasons. First, Trucking is the

                     4    primary obligor on a Credit Agreement with Wells Fargo Bank, National Association pursuant to

                     5    which Wells Fargo has issued standby letters of credit in the current amount of approximately

                     6    $6,800,000 to secure the Companies’ worker’s compensation and auto liability claims. Second,

                     7    there is a real possibility that a Chapter 11 filing by Trucking could result in the provider of the

                     8    worker’s compensation and auto liability insurance calling the letters of credit and/or Wells

                     9    Fargo putting Trucking in default under the terms of the Credit Agreement. On an annual basis,

                   10     the Co-Proponents’ insurance provider estimates how much worker’s compensation claims could

                   11     be against the Companies in the event the Companies were to cease doing business, and the

                   12     Companies are required to provide a reserve for the benefit of in that amount.      That reserve is

                   13     provided by Trucking in the form of standby letters of credit from Wells Fargo. The insurer can

                   14     call the letters of credit at any time.

                   15             At the present time, Trucking pays an annual commitment fee to Wells Fargo in the

                   16     approximate amount of $120,000 for the issuance of the standby letters of credit. Should the

                   17     standby letters of credit be called, Trucking would go from paying this $120,000 annual

                   18     commitment fee to paying an approximate $6,800,000 amortizing loan with interest, if the loan

                   19     could even be restructured in this manner.

                   20             Since Trucking is not an income generating entity and has no business of its own,

                   21     Trucking’s subsidiaries would have to generate sufficient revenue to pay this obligation, and its

                   22     subsidiaries do not have the financial ability to do that and remain in business. The approximate

                   23     $6,800,000 current contingent liability due to Wells Fargo on the standby letters of credit is not

                   24     shown on the Companies' consolidated Financial Statement because it is not a liability that is

                   25     reportable on a balance sheet according to GAAP. As a result, that liability is only mentioned in

                   26     the notes to the Financial Statement. If the standby letters of credit are called, Co-Proponents

                   27     believe that MFEI, Trucking and Postal will have to liquidate. The burden of an additional debt

                   28     payment on $6,800,000 would be crushing and would eliminate all chance of a successful
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                     1    reorganization for either Trucking or the Debtor. In the event the Stipulating Judgment Creditors

                     2    were allowed to execute against any of Trucking’s assets, Trucking will likely be forced to file

                     3    its own chapter 11 case. As set forth above, this has been of serious concern because a filing by

                     4    Trucking may constitute a default under the Forbearance Agreement with Wells Fargo and may

                     5    result in either the worker’s compensation and auto insurer liability providers calling the letters

                     6    of credit or Wells Fargo putting Trucking in default under the terms of its Credit Agreement.

                     7    The Co-Proponents are concerned that either occurrence may inevitably result in the liquidation

                     8    of the Debtor, Trucking and Postal. In an effort to ameliorate these potential outcomes, Trucking

                     9    is now a co-proponent under the Plan and has sold its only unencumbered asset consisting of real

                   10     property in California for the Plan Proponents’ Effective Date requirements, consisting of the

                   11     Initial Payment made to the Stipulating Judgment Creditors pursuant to the Settlement

                   12     Agreement in the total amount of $1.3 million. Further, by virtue of the resolution of the

                   13     Stipulating Judgment Creditors’ Proofs of Claim in the Settlement Agreement, the Stipulating

                   14     Judgment Creditors have consented to the Supplemental Injunction in favor of Trucking for so

                   15     long as the Plan payments are not in default.

                   16            Thus, the overall structure of the Plan is for the Debtor and Trucking to remain in

                   17     business and for the Debtor to continue operations with its existing management structure and

                   18     management team.         The central feature of the Plan is the Settlement Agreement with the

                   19     Stipulating Judgment Creditors, which the Plan Proponents ask the Court to approve in the Plan.

                   20     The Plan provides for the unsecured creditors in Classes 3, 4 and 5 to be paid in full over time.

                   21     The secured Class 1 Claim of USPS will be paid in full by effectuating an offset on the Effective

                   22     Date and the Class 2 Convenience Class of Creditors owed less than $13,500 will be paid in full

                   23     on the Effective Date.

                   24            B.      Significant Events in the Chapter 11 Case.

                   25                    1.        Debtor’s First Day Motions.

                   26            On April 22, 2015, the Debtor filed its First Day Motion Regarding Payroll, Payroll

                   27     Taxes, Benefits, in the Ordinary Course and its First Day Motion Regarding Continued Service

                   28     by Utilities. Docket Nos. 15 and 17. These two motions were set on an order shortening time
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                     1    for hearing on April 24, 2015. Docket No. 21. At the hearing, the Court granted these two

                     2    motions on an interim basis, Docket Nos. 30 and 32, and set the final hearing for June 3, 2015.

                     3    Docket No. 31. The Court granted final relief on these two motions.

                     4           Also on April 22, 2015, the Debtor filed its First Day Motion To Enforce the Automatic

                     5    Stay and Directing United States Post Service to Direct Payment to Debtor. Docket No. 16. In

                     6    response to this Motion and the Debtor’s prior demand, the Colorado Plaintiffs withdrew their

                     7    writs of garnishment to the Postal Service, who in turn released some of the funds it was holding

                     8    subject to the garnishment. As a result, the Debtor withdrew this Motion on April 23, 2015.

                     9    Docket No. 27.

                   10            After the Debtor withdrew the Motion, the Postal Service asserted its right to offset

                   11     $457,663.96 of the garnished funds based on a prepetition overpayment that the Debtor had

                   12     previously brought to the Postal Service’s attention. The Debtor and the Postal Service had

                   13     entered into a repayment plan prepetition for this overpayment, and but for the Colorado

                   14     Plaintiffs’ garnishments, the Postal Service would not have been holding funds subject to setoff.

                   15                    2.     Debtor’s Motion to Modify the Automatic Stay.

                   16            On April 29, 2015, the Debtor filed its Motion to Modify the Automatic Stay to allow

                   17     certain pending motions in the Colorado Litigation to proceed and, to the extent necessary, to

                   18     allow an appeal therefrom to the Tenth Circuit Court of Appeals. Docket No. 37. The Court

                   19     conducted a hearing on this Motion on May 19, 2015, Docket No. 42, and granted the Motion in

                   20     its entirety at that hearing. Docket No. 79. As a result, the Colorado Litigation may proceed as

                   21     to certain post-trial motions and, to the extent necessary, appeal to the Tenth Circuit. The post-

                   22     trial motions for which the stay has been modified include Defendants’ Motion for Remittitur;

                   23     Defendants’ Renewed Motion for Judgment as a Matter of Law; Defendants’ Motion for New

                   24     Trial; Plaintiffs’ Motion to Amend Judgment and Award Front Pay and Interest on Back Pay;

                   25     and Plaintiff’s Motion for Attorneys’ Fees and Expert Witness Fees. The Colorado Court may

                   26     enter final judgment and the Debtor and Trucking may exercise any appellate rights therefrom.

                   27     Enforcement of any judgment against the Debtor remains stayed and any satisfaction of the

                   28     judgment will be through the Plan.
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                     1                   3.      Meeting of Creditors and Schedules and Statements

                     2           The Debtor filed its schedules of assets and liabilities and its statement of financial affairs

                     3    on May 13, 2015. Docket Nos. 70 and 71, respectively. The Debtor filed an amended Schedule

                     4    G on June 10, 2015. Docket No. 98. The Debtor filed an amended Schedule F on July 7, 2015.

                     5    Docket No. 152. Further amendments to the Schedules and Statements may be necessary.

                     6           The §341(a) meeting of creditors was scheduled for May 18, 2015 at 2:00 p.m. Docket

                     7    No. 8. Kaaran Thomas, Esq. appeared on behalf of the Colorado Plaintiffs. The meeting was

                     8    conducted at the regularly scheduled time and concluded that same day. Docket No. 74.

                     9                   4.      June 15, 2015 Mediation

                   10            The Colorado Plaintiffs and the Debtor attended a private mediation in Denver on June

                   11     15, 2015 before the Hon. Edward W. Nottingham, retired.          In an effort to meet the Colorado

                   12     Plaintiffs’ request to attend a mediation quickly and in direct response to the Colorado Plaintiffs’

                   13     plea of lack of any funds to contribute to the mediation, the Debtor in a show of good faith

                   14     determined to assume the responsibility for the entire fee of the mediator. The parties did not

                   15     reach a resolution and continued their informal discussions after the conclusion of the

                   16     proceedings on June 15, 2015.

                   17            The parties subsequently reached a resolution which is memorialized in the Settlement

                   18     Agreement between the Debtor and Trucking, on the one hand, and the Stipulating Judgment

                   19     Creditors, on the other hand, which is described in more detail below. A copy of the Settlement

                   20     Agreement is attached hereto as Exhibit J.

                   21                    5.      Employment of the Debtor’s Professionals and Appointment of
                   22                            Unsecured Creditors Committee

                   23            The Debtor filed its Motion to Employ (1) Hartman & Hartman, P.C. and Lee & High,

                   24     Ltd. As General Bankruptcy Counsel; and (2) Campbell Litigation, P.C. as Special Litigation

                   25     Counsel on May 8, 2015. Following a hearing on May 19, 2015, the Court granted the motion in

                   26     its entirety. Docket No. 78. The Debtor has filed its Application to Employ Gallina, LLP as

                   27     Certified Public Accountants, Docket No. 220, which is set for hearing on August 25, 2015.

                   28     Docket No. 222. Gallina LLP are the Debtor’s external auditors who audit the Debtor’s internal
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                     1    financial statements, which is an annual requirement to provide within 120 days after the end of

                     2    Trucking’s June 30 fiscal year end pursuant to the confidential Credit Agreement between

                     3    Trucking and Wells Fargo Bank, National Association. The Debtor is a guarantor of the Credit

                     4    Agreement, as is Postal. Trucking, the Debtor and Postal have a consolidated financial statement

                     5    and file consolidated tax returns. At the August 25, 2015, the Court denied the Application to

                     6    Employ Gallina LLP on the ground that the Trucking employs Gallina.

                     7           The Debtor filed an Application to Employ Dennis Mandell and Pacific Capital

                     8    Transactions as Liquidation Analyst, which the Court heard and granted at a duly noticed hearing

                     9    on August 5, 2015.

                   10            As a result, the Debtor has employed the following professionals in this case:

                   11                    Name of Professional          Scope of Employment           Docket Nos.
                   12                Hartman & Hartman, Ltd.          Bankruptcy Counsel             56, 58 and 78
                   13                Lee & High, Ltd.                 Bankruptcy Counsel             56, 57 and 78
                                     Campbell Litigation              Special Litigation Counsel 56, 59, 68 and 78
                   14
                                     Pacific Capital Transactions     Liquidation Analysis         207, 208 and 275
                   15

                   16            On May 20, 2015, two days after the Debtor’s 341 Meeting, the Office of the United

                   17     States Trustee filed a Notice of Appointment of Creditors’ Committee. Docket No. 76. The

                   18     appointed committee members are Dean Patricelli, Macire Diarra and Cresencio Sanchez. Mr.

                   19     Patricelli and Mr. Diarra are two of the Colorado Plaintiffs who have settled and are now

                   20     Stipulating Judgment Creditors. Mr. Sanchez was a plaintiff in the Colorado Litigation who

                   21     settlement with the defendants prepetition. His settlement agreement is current and not in

                   22     default.

                   23            By letter dated June 4, 2015, the Debtor requested that the Office of the United States

                   24     Trustee remove the committee members on numerous grounds. By letter dated June 23, 2015,

                   25     the Office of the United States Trustee declined the request. The Debtor filed a motion with the

                   26     Bankruptcy Court to remove the committee members pursuant to 11 U.S.C. §1102(a)(2). Docket

                   27     No. 133. The Court denied the Debtor’s motion. Docket No. 255.

                   28     ///
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                     1           Ms. Thomas filed a motion to employ McDonald Carano Wilson as counsel for the

                     2    Committee. Docket Nos. 85 and 105. The Court overruled the Debtor’s objection to the

                     3    employment and granted the application of McDonald Carano Wilson to be employed as counsel

                     4    for the Committee. Docket No. 256.

                     5           On June 26, 2015, the Committee also filed an Application to Employ Barnard Vogler &

                     6    Co. as Financial Advisor. Docket Nos. 116, 117 and 118. On June 30, 2015, the Committee

                     7    withdrew that application without explanation. Docket No. 127. That same day, the Committee

                     8    filed an Application to Employ FTI Consulting, Inc. As Financial Advisor for the Official

                     9    Committee of Unsecured Creditors Nunc Pro Tunc As of the Date of Filing and for Payment of

                   10     Compensation Pursuant to Order Granting Motion to Employ. Docket No. 130. The Court

                   11     declined to grant the Application on July 28, 2015, and set the matter for further hearing on

                   12     August 11, 2015. The Debtor objected to the employment of FTI Consulting on the grounds that

                   13     the Application describes services to be performed that are overly broad and unnecessary, and on

                   14     the ground that the terms of compensation – both in terms of the rate of compensation in excess

                   15     of $500 per hour and the requirement that the Debtor indemnify FTI - are unreasonable.

                   16            At the August 11, 2015 hearing, the Court conditionally granted the Committee’s

                   17     application to employ FTI on terms of compensation that were less than FTI’s proposal. On

                   18     August 12, 2015, the Debtor and Trucking were informed that FTI declined to accept the

                   19     employment on the conditions the Court required. On August 14, 2015, the Committee filed the

                   20     Application to Employ Henry & Horne, LLP as Financial Advisor. Docket No. 288. The Court

                   21     entered an order granting the application on August 31, 2015. Docket No. 325.

                   22                    6.     Plaintiffs’ Motion for Order Holding that Automatic Stay Does Not
                                                Apply to Trucking.
                   23

                   24            On July 14, 2015, the Colorado Plaintiffs filed a Motion for Order Holding that

                   25     Automatic Stay Does Not Apply to Matheson Trucking, Inc., Parent Company of Debtor (the

                   26     “Stay Motion”). Docket No. 174. In the Stay Motion, the Colorado Plaintiffs essentially seek a

                   27     comfort order that they will not be violating the automatic stay if they execute their judgment

                   28     against any of Trucking’s assets.
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                     1           The Debtor has filed an opposition to the Stay Motion, Docket No. 225, and the

                     2    supporting declaration of Daniel Maue, the Debtor’s former chief financial officer. Docket No.

                     3    226. The Debtor takes the position that the nature of Debtor’s relationship with Trucking

                     4    mandates that the automatic stay also apply to Trucking’s assets. Not only would execution on

                     5    Trucking’s assets necessarily interfere with Debtor’s ability to operate as a going concern during

                     6    its reorganization, but one of Trucking’s main assets is its indirect ownership interest in Debtor.

                     7    If the Colorado Plaintiffs were allowed to execute on the shares of Debtor owned by Trucking,

                     8    the Colorado Plaintiffs would control not only all of the assets of the bankruptcy estate but they

                     9    would also have the authority to control the bankruptcy proceedings to maximize their own

                   10     returns at the expense of all other creditors.

                   11            Moreover, the Debtor contends that the Colorado Plaintiffs are estopped from obtaining a

                   12     declaration from this Court that Trucking’s assets are separate from Debtor’s bankruptcy estate.

                   13     The Colorado Plaintiffs based their claim against Trucking in the Colorado Litigation on

                   14     allegations and argument that Trucking and Debtor were so closely related that both entities

                   15     should be treated as a single employer for the purposes of the Colorado Plaintiffs’ discrimination

                   16     claims. The Colorado Plaintiffs succeeded in their argument and the jury expressly found that

                   17     Trucking and Debtor were to be considered a single employer. That determination is the sole

                   18     basis for the judgment against Trucking. Having already fully litigated that issue, the Colorado

                   19     Plaintiffs are collaterally estopped from seeking a contrary determination from this Court.

                   20     Moreover, the Colorado Plaintiffs are judicially estopped from now taking the position that

                   21     Debtor and Trucking are separate entities and therefore Trucking’s assets are not protected by the

                   22     automatic stay. To allow the Colorado Plaintiffs to take a position that is diametrically opposed

                   23     to the position that they vigorously and successfully argued in the Colorado Litigation simply to

                   24     avoid the constraints of the automatic stay would be fundamentally unjust.

                   25            The Committee filed a “reply” to the Debtor’s opposition. Docket No. 253.

                   26            At the hearing on the Stay Motion on August 11, 2015, the Court permitted the Debtor to

                   27     file a short analysis of a case cited in the Plaintiffs’ last brief, which the Debtor did on August

                   28     21, 2015. Docket No. 312. The Plaintiffs also filed a supplemental brief on August 21, 2015.
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                     1    Docket No. 316. The Court took the matter under submission. A status hearing on this Motion

                     2    was scheduled for November 16, 2015 and was indefinitely continued as a result of four of the

                     3    Stipulating Judgment Creditors entering into the Settlement Agreement, thereby creating a

                     4    conflict of interest for their counsel. Docket No. 444. Because all of the Colorado Plaintiffs

                     5    have now entered into the Settlement Agreement, their Stay Motion to execute against Trucking

                     6    is moot.

                     7                  7.     Debtor’s Disclosure Statement Motion and Committee’s Motion to
                                               Indefinitely Continue the Disclosure Statement and Plan Process.
                     8

                     9           On June 30, 2015, the Debtor filed the Notice of Filing of [Proposed] Disclosure

                   10     Statement in Support of Chapter 11 Plan of Reorganization, to which it attached the [Proposed]

                   11     Disclosure Statement in Support of Chapter 11 Plan of Reorganization (the “Proposed Disclosure

                   12     Statement”) as Exhibit A and the Debtor’s Chapter 11 Plan of Reorganization (the “Proposed

                   13     Plan”) as Exhibit B. Docket No. 124.

                   14            Also on June 30, 2015, the Debtor filed a Motion For Order: (1) Approving Disclosure

                   15     Statement; (2) Setting Deadlines For Balloting And Approving Form Of Notice And Ballot; And

                   16     (3) Setting Confirmation Hearing And Related Deadlines (“Disclosure Statement Motion”) and

                   17     set the Motion for hearing on August 11, 2015. Docket No. 126.

                   18            On July 7, 2015, the Committee filed the Official Committee of Unsecured Creditors’

                   19     Motion to Continue Hearing On Debtor’s Motion For Order: (1) Approving Disclosure

                   20     Statement; (2) Setting Deadlines For Balloting And Approving Form Of Notice And Ballot; And

                   21     (3) Setting Confirmation Hearing And Related Deadlines [DE 125] (the “First Motion to

                   22     Continue”) and requested a hearing on shortened time. Docket Nos. 145-149.

                   23            On July 7, 2015, the Debtor filed a Notice of Continued Hearing on Motion For Order:

                   24     (1) Approving Disclosure Statement; (2) Setting Deadlines For Balloting And Approving Form

                   25     Of Notice And Ballot; And (3) Setting Confirmation Hearing And Related Deadlines, setting the

                   26     hearing on its Disclosure Statement Motion for September 9, 2015. Docket No. 151.

                   27            On July 13, 2015, the Committee filed Official Committee of Unsecured Creditors’

                   28     Second Motion to Continue Hearing On Debtor’s Motion For Order: (1) Approving Disclosure
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                     1    Statement; (2) Setting Deadlines For Balloting And Approving Form Of Notice And Ballot; And

                     2    (3) Setting Confirmation Hearing And Related Deadlines [DE 125] and Request to Set a Status

                     3    Hearing On September 9 (the “Second Motion to Continue”). Docket No. 170. The Committee

                     4    has since withdrawn its First Motion to Continue and its request that the Motion to Continue be

                     5    heard on shortened time. Docket Nos. 213 and 157, respectively.

                     6              In the Second Motion to Continue, the Committee requested that the September 9 hearing

                     7    on the Debtor’s Disclosure Statement Motion be continued pending resolution of the post-trial

                     8    motions in the Colorado Litigation. The Committee contended that resolution of the amount

                     9    owed to the Plaintiffs is necessary in order to proceed with the plan confirmation process.

                   10               The Debtor filed an opposition to the Second Motion to Continue, supported by the

                   11     declarations of Daniel Maue and Charles Mellor. Docket Nos. 239, 240 and 241, respectively.

                   12     The Debtor argued that not only is such a stay of the Disclosure Statement Motion prejudicial to

                   13     the Debtor, but determination of the post-trial motions in Colorado will not bring finality to the

                   14     Plaintiffs’ claims; rather, such resolution will only give rise to the parties’ appellate rights,

                   15     which, absent an intervening settlement, the parties would be certain to exercise.

                   16               There are also serious and important business reasons for pursuing the Debtor’s

                   17     Disclosure Statement and Plan in a timely manner. In addition to addressing peak season needs

                   18     that roughly double the Debtor’s labor force, . the peak season contracts are with the Postal

                   19     Service, which is Debtor’s largest customer and source of more than 80 percent of its revenue,

                   20     and thus it is extremely important that the Debtor be able to maintain that very important

                   21     relationship. The Chapter 11 case is consuming a great deal of the Debtor’s administrative work

                   22     force; conclusion of the chapter 11 plan is critical to free up the Debtor’s personnel so that they

                   23     can return to the task of operating the Debtor’s business. The personnel whose primary efforts

                   24     are currently devoted to this case are the same personnel whose services are needed for peak

                   25     season.

                   26               Trucking filed a Joinder in the Debtor’s opposition. Docket No. 243.

                   27               On August 7, 2015, the Debtor and Trucking, as a Co-Proponent of an Amended Plan,

                   28     filed an Amended Disclosure Statement, Docket No. 261. By docket entry on August 11, 2015,
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                     1    the Court continued the Disclosure Statement Motion to September 28, 2015. Docket No. 297.

                     2    On August 31, 2015, the Debtor filed a notice that was served on all creditors of the Disclosure

                     3    Statement Motion hearing set for September 28, 2015. Docket No. 334. Thereafter, on October

                     4    1, 2015, the Debtor served a notice to all creditors of the continued Disclosure Statement Motion

                     5    hearing for November 30, 3015. Docket No. 373. Following a hearing on November 2, 2015,

                     6    the Debtor continued the Disclosure Statement Motion to December 16, 2015. Docket No. 454.

                     7                  8.      Discovery By the Committee.

                     8           On June 25, 2015, the Committee filed two ex parte Rule 2004 applications to conduct

                     9    written discovery and examinations of the Debtor and Trucking. Docket Nos. 114 and 115,

                   10     respectively. On June 26, 2015, the Debtor filed a response to the ex parte requests and asked

                   11     the Court not grant them on an ex parte basis but instead set them for a noticed hearing. Docket

                   12     No. 119. In orders dated June 29, 2015, the Court denied the ex parte Rule 2004 applications

                   13     and directed the Committee to set them for hearing. Docket Nos. 122 and 123. On June 30,

                   14     2015, the Committee set the Rule 2004 applications for a hearing to be held on July 28, 2015.

                   15     Docket Nos. 128 and 129.

                   16            On July 7, 2015, the Committee hand delivered a subpoena to counsel for the Debtor.

                   17     Docket No. 161. That same date, the Committee attempted to serve Trucking with a subpoena

                   18     through its registered agent. Docket No. 160. The subpoena to the Debtor requested 54 separate

                   19     categories of documents, which undoubtedly includes hundreds of thousands of documents and

                   20     many privileged documents.

                   21            At the July 28, 2015 hearing, the Court denied the Rule 2004 applications and held that

                   22     no discovery would occur pending further order of the Court. The Debtor prepared an order as

                   23     directed by the Court, to which the Committee has filed an objection on August 5, 2015. Docket

                   24     No. 254.

                   25            The Wells Fargo loan documents between the Bank and Trucking contain a

                   26     confidentiality provision. Wells Fargo has consented to the production of the loan documents to

                   27     Committee and Plaintiffs on the condition that they execute an appropriate stipulated protective

                   28     order and the Court approves the same. The Debtor circulated a proposed Stipulated Protective
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                     1    Order to counsel for the Committee and counsel for the Colorado Plaintiffs.   The parties entered

                     2    into a Stipulated Protective Order, which the Court entered on August 12, 2015. Docket Nos.

                     3    281 and 282.

                     4           Thereafter, the Debtor and Trucking produced over 2,500 pages of documents to the

                     5    Committee, including four years of audited financial statements; monthly financial statements for

                     6    the past 24 months; copies of three years of tax returns; a detailed asset listing of all personal

                     7    and real property of Trucking, as well as schedules and statements that Trucking prepared and

                     8    signed under the penalties of perjury as if it were in its own bankruptcy case; a listing of all

                     9    executory contracts of the Debtor and Trucking, including leases; current accounts payable and

                   10     accounts receivable aging schedules; financial projections to support the August 7, 2015

                   11     amended Plan; summaries of the terms of employment for the two employees of Trucking who

                   12     are not terminable at will; summaries of terms of leases; Wells Fargo documents; documents on

                   13     the related party transactions; an accounting for the shared administrative and management

                   14     expenses pursuant to the Professional Services Agreement of September 2014; three months of

                   15     monthly operating reports for Trucking signed under the penalties of perjury; and over 1,500

                   16     pages of documents on which Pacific Capital Transactions relied in reaching its Liquidation

                   17     Analysis, which was filed with the Court on September 16, 2015. Docket No. 341; Exhibit I.

                   18            In the midst of these productions, the Committee filed a Motion to Compel on September

                   19     8, 2015, Docket No. 332, to which the Debtor and Trucking filed a thorough response. Docket

                   20     No. 386. At the hearing on October 19, 2015, the Court directed that a summary of leases and

                   21     summary of the terms of employment for the two employees who are not at will, existing records

                   22     on the management fee from September 2014 to September 2015, and any new agreement

                   23     between Trucking and Wells Fargo be provided to the Committee. Docket No. 443. As set forth

                   24     above, the Debtor and Trucking have complied entirely with all outstanding discovery.

                   25                    9.     Motion for Determination that Supplement Injunction Cannot Be
                                                Confirmed.
                   26

                   27            As set forth above, the Debtor and Trucking filed an amended joint Plan on Friday,
                   28     August 7, 2015. On August 10, 2015, the following Monday, the Committee filed a Motion for
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                     1    Determination that Supplemental Injunction Plan Cannot Be Confirmed (the “Supplemental

                     2    Injunction Motion”). Docket No. 272. The Debtor filed an opposition to the Supplemental

                     3    Injunction Motion, Docket No. 326, and the Court heard the motion at a hearing on September 9,

                     4    2015. The Court denied the Motion. Docket No. 345.

                     5                    10.    Debtor’s Motion to Approve Compromise.

                     6            As a result of written correspondence between the Debtor, Trucking and the Colorado

                     7    Plaintiffs, the Debtor and Trucking believed that they had reached an agreement with the

                     8    Colorado Plaintiffs for the resolution of their Proofs of Claim by August 21, 2015. The Debtor

                     9    accordingly filed a Motion to Approve Compromise, to which the Colorado Plaintiffs objected.

                   10     Docket Nos. 366 and 416, respectively. At the November 9, 2015 continued hearing, the Court

                   11     denied the Motion. Docket No. 458.

                   12             Thereafter, the Debtor and Trucking, on the one hand, and the Colorado Plaintiffs (now

                   13     the Stipulating Judgment Creditors), on the other hand, entered into the Settlement Agreement.

                   14     Exhibit J. In the Plan, the Plan Proponents ask the Court to approve the Settlement Agreement in

                   15     its entirety.

                   16                     11.    Motion to Assume Professional Services Agreement.

                   17             In response to the Committee’s demand that the Debtor sue Trucking for allegedly

                   18     improper receipt of payment for the administrative and managerial services Trucking provides to

                   19     the Debtor, the Debtor filed a Motion to Assume Executory Contract (the “Motion to Assume”).

                   20     Docket No. 347.       The Committee filed a “Limited Opposition”, followed by an Amended

                   21     Opposition. Docket Nos. 377 and 392. The United States Trustee filed an Opposition. Docket

                   22     No. 398. On November 16, 2015, the Court conducted an evidentiary hearing on the Motion,

                   23     consisting of testimony from Director of Finance Patty Kepner and from Chief Operations

                   24     Officer and Legal Counsel Charles Mellor. The final argument on this Motion is scheduled for

                   25     November 30, 2015 at 10:00 a.m.

                   26     ///

                   27     ///

                   28     ///
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                                                               IV.
                     1                               DESCRIPTION OF THE PLAN:
                                             CLASSIFICATION AND TREATMENT OF CLAIMS
                     2

                     3           The following is a general overview of the provisions of the Plan. This overview is

                     4    qualified in its entirety by reference to the provisions of the Plan.      For a more detailed

                     5    description of the terms and provisions of the Plan, please review the Plan, which is attached

                     6    hereto as Exhibit A.

                     7           Pursuant to Section 1123(a)(1) of the Bankruptcy Code, Unclassified Claims against the

                     8    Debtor are not designated as Classes and the holders of such claims are not entitled to vote on

                     9    this Plan. The treatment of Unclassified Claims is consistent with the requirements of Section

                   10     1129(a)(9)(A) of the Bankruptcy Code.

                   11            Administrative Claims that have been allowed by final order of the Bankruptcy Court

                   12     will be paid on the Effective Date or, if not Allowed by the Effective Date, then at such time as

                   13     the administrative claimant and the Debtor agree. Except as provided herein, Administrative

                   14     Claims that are allowed will be paid from the Net Operating Income.

                   15            Unless provided for payment in this Plan, all requests for payment of Administrative

                   16     Claims against Debtor must be filed by the Administrative Claims Bar Date or the holders

                   17     thereof shall be forever barred from asserting such Administrative Claims against Debtor and the

                   18     Reorganized Debtor. Requests for Administrative Claims may be amended to include any fees

                   19     and costs incurred after the Effective Date.

                   20            The Administrative Claims that the Co-Proponents seek approval of in this Plan and that

                   21     they propose to pay from the Debtor’s Net Operating Income on the Effective Date are as

                   22     follows:

                   23            Allowed professional fees to Hartman & Hartman, Ltd.; Lee & High, Ltd., Davis Graham

                   24     & Stubbs, LLP, Campbell Litigation, P.C., Pacific Capital Transactions, and to any other

                   25     professional employed by the Debtor, Committee counsel McDonald Carano Wilson and Henry

                   26     & Horne.

                   27     ///

                   28     ///
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                     1           The Priority Claims that have been filed are as follows:

                     2                                       Franchise Tax Board, $882.02

                     3                                  City and County of Denver, $5,569.50

                     4           The Debtor believes that these Priority Claims are either not owed or are not yet due.

                     5    The Debtor will attempt to resolve these Priority Claims with the respective creditor and, to the

                     6    extent any amounts are due, will either pay those amounts on the Effective Date or, if the Debtor

                     7    has not been able to resolve the matter by that date, will reserve the funds necessary to satisfy the

                     8    Claim and will pay it when the Claim has been resolved.

                     9           All fees required to be paid to the United States Trustee will be paid in full upon

                   10     confirmation of the Plan, and shall remain current until the case is fully administered or closed,

                   11     whichever occurs first.

                   12            Pursuant to Section 1123(a)(1) of the Bankruptcy Code, all Claims against the Debtor,

                   13     except Unclassified Claims, are placed in the classifications as set forth below. Classes of Claims

                   14     4 and 5 are impaired and are entitled to vote on the Plan. All other Classes of Claims are

                   15     unimpaired and not entitled to vote on the Plan. The Class of Equity Security Interests is not

                   16     impaired and is not entitled to vote.

                   17            Class 1:        Secured Claim of United States Postal Service, to the extent the Claim is a

                   18     Secured Claim, for offset in the amount of $457,663.96.

                   19            Class 2:        Administrative Convenience Allowed Claims of Unsecured Creditors

                   20     owed individually less than $13,500.00.

                   21            Class 3:        Allowed Claims of Settling Plaintiffs.

                   22            Class 4:        Allowed Claims of Unsecured Creditors owed more than $13,500.00 and

                   23     not entitled to priority under Section 507 of the Bankruptcy Code and not otherwise included in

                   24     any other class hereof, including, without limitation, claims which may arise out of the rejection

                   25     of executory contracts or unexpired leases.

                   26            Class 5:        Allowed Claims of the Stipulating Judgment Creditors.

                   27            Class 6:        Guaranty Claim of Wells Fargo Bank, national association.

                   28            Class 7:        The claims and interests of the Equity Security Holders of the Debtor.
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                     1            Classes of Claims and Interests shall be treated as set forth herein below.

                     2            4.1.    Class 1 – The Secured Claim of the United States Postal Service will be paid in

                     3    full on the Effective Date from the funds the United States Postal Service is holding to offset a

                     4    debt owed by the Debtor in the amount of $457,663.96 in full satisfaction of the Claim of the

                     5    United States Postal Service for $457,663.96. Class 1 is not impaired and is not entitled to vote.

                     6            4.2     Class 2 – Administrative Convenience Allowed Claims of Unsecured Creditors

                     7    individually owed less than $13,500.00. The Debtor proposes to pay the Allowed Claims of

                     8    Class 2 Creditors in full on the Effective Date. Class 2 Creditors are not impaired and are not

                     9    entitled to vote.

                   10             4.3     Class 3 – Allowed Claims of Settling Plaintiffs will receive Distributions from the

                   11     Net Operating Income of the Reorganized Debtor in accordance with the terms of the Settlement

                   12     Agreement between the Debtor, Matheson Trucking and each respective Settling Plaintiff. Class

                   13     3 Creditors are unimpaired and not entitled to vote.

                   14             4.4     Class 4 – Allowed Claims of Unsecured Creditors owed more than $13,500.00

                   15     will be paid 100 percent of their Allowed Claims with an Initial Payment of 14 percent of each

                   16     Allowed Claim on the Effective Date, and the balance of each Allowed Claim plus interest at the

                   17     Judgment Rate over eight years in quarterly installments. At the entire discretion of the

                   18     Reorganized Debtor, the Reorganized Debtor may prepay any Minimum Distribution on

                   19     Allowed Claims in Class 4 entirely at the discretion of the Reorganized Debtor from Net

                   20     Operating Income. Discretionary payments from Net Operating Income, if any, will be made

                   21     proportionately to every holder of an Allowed Claim in Class 4. Class 4 Creditors are impaired

                   22     and are entitled to vote.

                   23             4.5     Class 5 – In full satisfaction of the Proof of Claim each Stipulating Judgment

                   24     Creditor filed herein, the Stipulating Judgment Creditors will be paid in accordance with the

                   25     Settlement Agreement as follows: to each Stipulating Judgment Creditor, Trucking has made the

                   26     Initial Payment as defined in the Settlement Agreement in the amount of $185,714; on the

                   27     Effective Date, the Reorganized Debtor will pay to each Stipulating Judgment Creditor the

                   28     amount of $142,857 as the Effective Date Payment; and the Reorganized Debtor will pay the
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                     1    sum of $714,286 to each Stipulating Judgment Creditor in 32 equal quarterly payments with the

                     2    first quarterly payment to commence April 1, 2016. The amount awarded to each Stipulating

                     3    Judgment Creditor as back pay in the Colorado Judgment shall be paid to that Stipulating

                     4    Judgment Creditor as wages (i.e., subject to withholdings and reported on an IRS form W-2); the

                     5    remainder of the payments to each Stipulating Judgment Creditor shall be paid in gross, reported

                     6    on IRS form 1099s, and allocated between payments to the Stipulating Judgment Creditor and

                     7    his counsel as directed in advance by counsel; and any payment due to a Stipulating Judgment

                     8    Creditor will be made by check made payable to the Stipulating Judgment Creditor and delivered

                     9    to the Stipulating Judgment Creditor in care of his counsel. The Stipulating Judgment Creditors

                   10     are impaired and are entitled to vote.

                   11            4.6.    Class 6 – The Claim of Wells Fargo Bank, NA will retain its guaranty against the

                   12     Debtor and will be entitled to enforce it in the event of a material default on the terms of the

                   13     Forbearance Agreement and Credit Agreement. The Class 6 Creditor is not entitled to vote.

                   14            4.7     Class 7 – Equity Security Holders will retain their interests in the Reorganized

                   15     Debtor.

                   16            Unless otherwise specifically noted, the financial information in this Disclosure

                   17     Statement has not been subject to audit.       This Disclosure Statement was prepared from

                   18     information compiled from the Debtor’s schedules and statements and other sources. The Plan

                   19     Proponents have attempted to be accurate in the preparation of this Disclosure Statement.

                   20            Except as stated in this Disclosure Statement, no representations or assurances

                   21     concerning the Plan Proponents or the value of the Plan Proponents’ assets should be relied on.

                   22     Therefore, in deciding whether to accept or reject the Plan, you should not rely on any

                   23     information relating to Plan Proponents or the Plan other than that contained in this Disclosure

                   24     Statement and in the Plan itself.

                   25                                                    V.
                                                                   RISK FACTORS
                   26

                   27            Because the Plan provides for the reorganization of the Debtor as a going concern, many

                   28     of the common risk factors found in typical reorganizations apply with respect to the Plan.
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                     1    These include:

                     2           (a) the Debtor’s business is largely dependent on its contracts with the Postal Service.

                     3    Most of the Debtor’s contracts with the Postal Service are four year contracts, which may be

                     4    cancelled on 60 days notice without cause and without notice for cause. The Colorado Litigation

                     5    has affected the Debtor’s relationship with the Postal Service, particularly the findings of a

                     6    hostile work environment. There is no assurance that the contracts with the Postal Service will

                     7    not be terminated;

                     8           (b) there is a risk that the projections of Net Operating Income, with is the source with

                     9    which to pay the Allowed Claims of Creditors, may not be met;

                   10            (c) because the Debtor’s projections for payment to Creditors rely in part on the Net

                   11     Operating Income from the continued operation of the Debtor, the Allowed Claims of Unsecured

                   12     Creditors may receive no distribution under the Plan;

                   13            (d) the Bankruptcy Case may adversely affect the Debtor’s business prospects and/or its

                   14     ability to operate during the reorganization;

                   15            (e) the Bankruptcy Case and attendant difficulties of operating the Debtor’s business

                   16     while attempting to reorganize its business in bankruptcy may make it more difficult to maintain

                   17     the Debtor’s business;

                   18            (f) the Bankruptcy Case may cause the Debtor’s vendor and service providers to require

                   19     stricter terms and conditions;

                   20            (g) the Bankruptcy Case will cause the Debtor to incur substantial costs for professional

                   21     fees and other expenses associated with the bankruptcy;

                   22            (h) the Bankruptcy Case may restrict the Debtor’s ability to pursue opportunities to grow

                   23     the Debtor’s business;

                   24            (i) transactions outside the ordinary course of business are subject to the prior approval

                   25     of the Bankruptcy Court, which may limit the Debtor’s ability to timely respond to certain events

                   26     or to take advantage of certain opportunities;

                   27            (j) Plan Proponents may not be able to obtain Bankruptcy Court approval of the Plan or

                   28     such approval may be delayed with respect to actions the Plan Proponents seek to undertake in
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                     1    the case;

                     2           (k) the Debtor may be unable to retain and motivate key executives and employees

                     3    through the process of reorganization, and may have difficulty attracting new employees. In

                     4    addition, for so long as the Bankruptcy Case continues, the Debtor’s senior management will be

                     5    required to spend a significant amount of time and effort dealing with the reorganization instead

                     6    of focusing on business operations;

                     7           (l) there can be no assurance that the Plan Proponents will be able to confirm the Plan.

                     8    Third parties may also seek and obtain Bankruptcy Court approval to terminate or shorten the

                     9    exclusivity period for the Debtor to propose and confirm one or more plans of reorganization, to

                   10     appoint a chapter 11 trustee, or to convert to Chapter 7;

                   11            (m) The Forbearance Agreement with Wells Fargo expires on December 1, 2015 and

                   12     there is no assurance that Wells Fargo will extend the forbearance period or reissue the letters of

                   13     credit. No agreement has been reached with Wells Fargo as of this date. There is no assurance

                   14     that Trucking will secure a replacement lender.

                   15            If the Bankruptcy Case continues for a prolonged amount of time, the proceeding could

                   16     adversely affect the Debtor’s business and operations.        So long as the Bankruptcy Case

                   17     continues, the Debtor’s senior management will be required to spend a significant amount of

                   18     time and effort dealing with the Debtor’s reorganization instead of focusing exclusively on

                   19     business operations. Prolonged continuation of the Bankruptcy Case may also make it more

                   20     difficult to attract and retain management and other key personnel necessary to the success and

                   21     growth of the Debtor’s business. Likewise, prolonged continuation of the Bankruptcy Case

                   22     could make it very difficult for the Debtor to fulfill its obligations to the Postal Service during

                   23     the peak season. In addition, the longer the Bankruptcy Cases continues, the more likely it is that

                   24     the Debtor’s customers, suppliers and agents will lose confidence in the Debtor’s ability to

                   25     successfully reorganize the Debtor’s business and seek to establish alternative commercial

                   26     relationships.   Furthermore, so long as the Bankruptcy Case continues, the Debtor will be

                   27     required to incur substantial costs for professional fees and other expenses associated with the

                   28     Bankruptcy Case. Prolonged continuation of the Bankruptcy Case may also require the Debtor
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                     1    to seek additional financing. It may not be possible for the Debtor to obtain additional financing

                     2    during or after the Bankruptcy Case on commercially favorable terms or at all. If the Debtor

                     3    were to require additional financing during the Bankruptcy Cases and were unable to obtain the

                     4    financing on favorable terms or at all, their chances of successfully reorganizing its business may

                     5    be seriously jeopardized.

                     6           The Plan Proponents are unaware of any regulatory contingencies or risks in connection

                     7    with the Plan.
                                                                VI.
                     8                         FINANCIAL INFORMATION AND PROJECTIONS
                     9           In essence, the Plan provides that, upon the Effective Date, all property of the estate will
                   10     be revested in the Debtor. Exhibit G to this Disclosure Statement contains certain financial
                   11     projections for the Reorganized Debtor, which are subject to modification. The projections are
                   12     subject to the assumptions and limitations contained in Exhibit G, as well as any business,
                   13     operational, strategic or financial decisions that the Reorganized Debtor and its management may
                   14     make with respect to the operations of the Reorganized Debtor in the future. Subject to those
                   15     limitations and assumptions and to the Risk Factors set forth in this Disclosure Statement, the
                   16     Plan Proponents believe that Exhibit G to this Disclosure Statement demonstrates that the
                   17     Reorganized Debtor has a reasonable prospect of success in its future operations following the
                   18     Effective Date of the Plan.
                   19                                              VII.
                                                        SUMMARY OF VOTING PROCESS
                   20

                   21            A.        Who May Vote to Accept or Reject the Plan.

                   22            Generally, holders of Allowed Claims or Equity Security Interests that are “impaired”

                   23     under a plan are permitted to vote on the plan. A “claim” is defined by the Bankruptcy Code and

                   24     includes a right to payment from a debtor; an equity security represents an ownership stake in a

                   25     debtor. In this case, the Debtor is a California corporation.      The Plan provides that Classes 4

                   26     and 5 of Claims are impaired and entitled to vote. The Plan also provides that the holders of

                   27     Equity Security Interests in the Debtor will retain their interests and are not entitled to vote.

                   28     ///
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                     1           In order to vote, a Creditor must first have an Allowed Claim. The solicitation of votes

                     2    on the Plan will be sought only from those holders of Allowed Claims who are impaired and who

                     3    will receive property or rights under the Plan. As explained more fully below, to be entitled to

                     4    vote, a Claim must be both “Allowed” and “Impaired.”

                     5           B.      Summary of Voting Requirements.

                     6           In order for the Plan to be confirmed (i) either all Classes of Claims must be unimpaired,

                     7    or (ii) the Plan must be accepted by at least one non-insider, impaired Class of Creditors. A class

                     8    of claims is deemed to have accepted a plan when allowed votes representing at least two-thirds

                     9    (2/3) in amount and a majority in number of the claims of the class actually voting cast votes in

                   10     favor of a plan. The Plan Proponents are soliciting votes from all of the impaired Classes of

                   11     Creditors, namely Class 4 and Class 5.

                   12            The Plan Proponents anticipate that all holders of Administrative Claims and Priority

                   13     Claims will be paid in full. The claims of Creditors in Classes 4 and 5 are considered impaired.

                   14     The treatment of each Class is described in the Plan and is summarized generally in Article IV of

                   15     this Disclosure Statement above.

                   16            A VOTE FOR ACCEPTANCE OF THE PLAN BY IMPAIRED CREDITORS IS MOST

                   17     IMPORTANT.        THE PLAN PROPONENTS BELIEVE THAT THE TREATMENT OF

                   18     CREDITORS UNDER THE PLAN IS THE BEST ALTERNATIVE FOR CREDITORS AND

                   19     THE PLAN PROPONENTS RECOMMEND THAT THE HOLDERS OF ALLOWED CLAIMS

                   20     VOTE IN FAVOR OF THE PLAN.

                   21                                        VIII.
                                       POST EFFECTIVE DATE OPERATIONS AND PROJECTIONS
                   22

                   23            A.      Effective Date Requirements and Means to Effectuate the Plan.

                   24            This Plan provides that the Debtor will continue to exist on and after the Effective Date

                   25     as the Reorganized Debtor. The Plan will be implemented as follows as set forth in Section 5 of

                   26     the Plan:

                   27                    5.0.1   The Debtor will, as the Reorganized Debtor, continue to exist after the

                   28     Effective Date, with all the corporate powers under applicable law and without prejudice to any
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                     1    right to alter or terminate such existence (whether by merger, dissolution or otherwise) under

                     2    applicable state law, and the Debtor may enter into and consummate one or more corporate

                     3    restructuring transactions, including, but not limited to, changing the business or corporate form

                     4    of the Debtor. Except as otherwise provided herein, as of the Effective Date, all property of the

                     5    Estate of the Debtor, and any property acquired by the Debtor or Reorganized Debtor under the

                     6    Plan, will vest in the Reorganized Debtor, free and clear of all Claims, liens, charges, other

                     7    encumbrances and interests, other than those otherwise expressly provided for pursuant to the

                     8    Plan. On and after the Effective Date, the Reorganized Debtor may operate its business and may

                     9    use, acquire and dispose of property and compromise or settle any Claims without supervision or

                   10     approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or

                   11     Bankruptcy Rules, other than those restrictions expressly imposed by the Plan or the

                   12     Confirmation Order. Without limiting the foregoing, the Reorganized Debtor may pay the

                   13     charges that it incurs on or after the Effective Date for Professionals’ fees, disbursements,

                   14     expenses or related support services (including fees relating to the preparation of Professional fee

                   15     applications) without application to the Bankruptcy Court. To the extent the Reorganized Debtor

                   16     has Net Operating Income, the Reorganized Debtor will use its Net Operating Income to meet

                   17     Effective Date requirements and to make Distributions under the Plan. Distributions under the

                   18     Plan will be made from the New Value Contribution and Debtor’s Net Operating Income. The

                   19     New Value Contribution will be made to the Reorganized Debtor by Trucking

                   20                    5.0.2.   In accordance with Section 1123(b)(3) of the Bankruptcy Code, all

                   21     Litigation Claims will be assigned and transferred to the Reorganized Debtor.

                   22                    5.0.3. The Reorganized Debtor will continue to prosecute and defend the

                   23     Disputed Claims in the court or administrative venue in which each is currently pending,

                   24     including any appeals therefrom. To the extent the holders of Disputed Claims did not timely

                   25     file Proofs of Claim, the Disputed Claims will be disallowed in their entirety and any pending

                   26     Litigation related thereto will be dismissed with prejudice. In addition, the Reorganized Debtor

                   27     will continue to prosecute any and all Litigation Claims in the discretion of the Reorganized

                   28     Debtor, including obtaining dismissal of any Litigation Claim for which the Creditor did not
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                     1    timely file a Proof of Claim.

                     2                      5.0.4   The Settlement Agreement, which is incorporated herein by this reference

                     3    as if fully set forth herein, shall be deemed in full force and effect and approved in its entirety.

                     4    The Settlement Agreement shall be binding upon the parties thereto, including all successors and

                     5    assigns.       The Stipulating Judgment Creditors and the Plan Proponents will take all steps

                     6    necessary to effectuate all terms of the Settlement Agreement, whether or not set forth in full

                     7    herein.

                     8              B.      Discharge.

                     9              The Debtor will receive a discharge in accordance with 11 U.S.C. §1141.

                   10               C.      Injunction.

                   11               The Plan provides as follows:

                   12               General Injunction:

                   13               From and after the Effective Date and except as provided in this Plan and the

                   14     Confirmation Order, all entities that have held, currently hold or may hold a Claim or Equity

                   15     Security Interest in the Debtor that is Allowed, terminated, transferred, or conveyed pursuant to

                   16     this Plan or Disallowed or is not entitled to receive any distribution pursuant to this Plan, are

                   17     permanently enjoined from taking any of the following actions on account of any such claim or

                   18     interest: (i) commencing or continuing in any manner any action or proceeding against the

                   19     Debtor or the Reorganized Debtor or any of their respective property; (ii) enforcing, attaching,

                   20     collecting or recovering in any manner any judgment, award, decree or order against the

                   21     Reorganized Debtor, or their respective property; (iii) creating, perfecting or enforcing any lien

                   22     or encumbrance against the Reorganized Debtor’s property; (iv) asserting a setoff, right of

                   23     subrogation or recoupment of any kind against any debt, liability or obligation due to the

                   24     Reorganized Debtor or its property; (v) commencing or continuing any action, in any manner or

                   25     any place, that does not comply with or is inconsistent with the provisions of this Plan or the

                   26     Bankruptcy Code.

                   27               Supplemental Injunction, Applicable Only to Class 5 Stipulating Judgment Creditors:

                   28               In order to preserve and promote the treatment of Creditors contemplated by and
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                     1    provided for in the Plan, except as otherwise expressly provided in the Plan or the Confirmation

                     2    Order, all persons and any person claiming by or through them, which have held or asserted,

                     3    which currently hold or assert, or which may hold or assert any Claims or any other causes of

                     4    action, obligations, suits, judgments, damages, debts, rights, remedies, or liabilities of any nature

                     5    whatsoever, and all Equity Interests, or other rights of a Holder of an equity security or other

                     6    ownership interest, against any of the released parties based upon, attributable to, arising out of

                     7    or relating to any Claim against or Equity Interest in the Debtor, whenever and wherever arising

                     8    or asserted, whether sounding in tort, contract, warranty or any other theory of law, equity or

                     9    admiralty, shall be, and shall, as long as the Debtor is performing under its Plan or has completed

                   10     the Plan, be deemed to be, stayed, restrained and enjoined from taking any action against any

                   11     Trucking for the purpose of directly or indirectly collecting, recovering or receiving any payment

                   12     or recovery with respect to any such Claims or other causes of action, obligations, suits,

                   13     judgments, damages, debts, rights remedies or liability, and all Equity Interests or other rights of

                   14     a holder of an equity security or other ownership interest, arising prior to the Effective Date,

                   15     including, but not limited to (i) commencing or continuing in any manner any action or other

                   16     proceeding, (ii) enforcing, attaching, collecting or recovering in any manner any judgment,

                   17     award, decree or order, (iii) creating, perfecting or enforcing any lien or encumbrance, (iv)

                   18     asserting a setoff, right of subrogation or recoupment of any kind against any debt, liability or

                   19     obligation due to any Released Party, and (v) commencing or continuing any action, in any

                   20     manner, in any place that does not comply with or is inconsistent with the terms of the Plan.

                   21            D.      Exculpation and Limitation of Liability.

                   22            The Plan provides as follows:

                   23            Through the Effective Date, the Plan Proponents, and their officers, directors, managers,

                   24     attorneys, accountants, consultants, agents and employees since the Petition Date, including but

                   25     not limited to any professionals employed by them pursuant to an order of the Court under

                   26     Sections 327 and 1103 of the Bankruptcy Code, shall not incur any liability to the Debtor or any

                   27     other Creditor, Equity Security Interest or interest holder, and other parties in interest in the

                   28     Bankruptcy Case for any act or omission in connection with or arising out of the Bankruptcy
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                     1    Case, including, without limitation, prosecuting confirmation of this Plan, the administration of

                     2    this Estate, the Plan or the property to be distributed under this Plan, except for gross negligence

                     3    or willful misconduct, and in all respects, such person will be entitled to rely on the advice of

                     4    counsel with respect to their duties and responsibilities with respect to the Bankruptcy Case and

                     5    the Plan.

                     6           E.      Releases.

                     7           The Plan provides in Section 7 as follows:

                     8                   7.1.1   Releases for All Creditors and Interested Parties Except the Settling

                     9    Plaintiffs (Moussa Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams).

                   10     From and after the Effective Date, the following releases shall become effective:           by and

                   11     between the Debtor, on the one hand, and the holders of Claims with the exception of the

                   12     Settling Plaintiffs (Moussa Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams)

                   13     that to the fullest extent permissible under applicable law, as such law may be extended or

                   14     interpreted subsequent to the Effective Date; each such person that has held, holds or may hold a

                   15     Claim , whether Allowed, terminated, transferred, or conveyed pursuant to this Plan, Disallowed

                   16     or is not entitled to receive any distribution pursuant to this Plan, in consideration for the

                   17     obligations of the Reorganized Debtor and other contracts, instruments, releases, agreements or

                   18     documents to be delivered in connection with this Plan, shall conclusively, absolutely,

                   19     unconditionally, irrevocably and forever, release and discharge the Debtor from any claim or

                   20     cause of action existing as of the Effective Date, including but not limited to, any claim or cause

                   21     of action, interest, right, or dispute, including but not limited to any claim or cause of action,

                   22     interest, right or dispute arising from, based on or relating to, in whole or in part, the subject

                   23     matter of or the transactions or events giving rise to the Settlement Agreement and in the act,

                   24     omission, occurrence or event in any matter relating to such subject matter, transaction or

                   25     obligation. This release is intended to be as broad as possible, and shall include the Debtor’s

                   26     officers, directors, managers, attorneys, accountants, agents and employees.

                   27                    7.1.2   Releases for Settling Plaintiffs, Moussa Dembele, Mohamed Kaba,

                   28     Cresencio Sanchez and Ernest Williams.           As set forth in the Settlement Agreement and
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                     1    Release of All Claim between each of the Settling Plaintiffs, on the one hand, and the Debtor and

                     2    Trucking, on the other hand (defined therein as the “Matheson Defendants”), the following

                     3    releases apply as to each of the Settling Plaintiffs: “As a material inducement to the Matheson

                     4    Defendants to enter into this Agreement Plaintiff, as a free and voluntary act, forever releases,

                     5    discharges and covenants not to sue MATHESON for any Claims of any kind whatsoever, which

                     6    may have arisen on or prior to Plaintiff’s execution of this Agreement, including but not limited

                     7    to (1) Claims relating in any way to Plaintiff’s employment with MATHESON and/or the

                     8    employment opportunities that were provided and/or denied to Plaintiff, (2) Claims relating in

                     9    any way to the separation of Plaintiff’s employment with MATHESON, (3) Plaintiff’s

                   10     compensation by MATHESON, and (4) any other matter, cause or thing whatsoever which may

                   11     have occurred between Plaintiff and MATHESON on or prior to Plaintiff’s execution of this

                   12     agreement.”

                   13     In the event of a Default Under the Plan, the Supplemental Injunction will no longer be of force

                   14     and effect and the Stipulating Judgment Creditors will be entitled to file the Stipulated Judgment

                   15     in the Colorado Court against Trucking and to enforce the Stipulated Judgment in accordance

                   16     with the Settlement Agreement.

                   17            F.      United States Trustee’s Fees

                   18            The Debtor and, after the Effective Date, the Reorganized Debtor, is obligated to pay the

                   19     United States Trustee quarterly fees based upon all disbursements in accordance with the sliding

                   20     scale set forth in 28 U.S.C. §1930(a)(6). These fees accrue throughout the pendency of the

                   21     Chapter 11 Case, until entry of a final decree.        United States Trustee fees paid prior to

                   22     confirmation of the Plan will be reported in operating reports required by 11 U.S.C. §704(8),

                   23     1106(a)(1), 1107(a) and the United States Trustee Guidelines.           All United States Trustee

                   24     quarterly fees accrued prior to confirmation of the Plan will be paid on or before the Effective

                   25     Date pursuant to 11 U.S.C. §1129(a)(12) from the Cash held by the Debtor. All United States

                   26     Trustee fees accrued post-confirmation will be timely paid on a calendar quarter basis and

                   27     reported on any post-confirmation reports that are required to be filed by the Liquidation Trustee.

                   28     Final fees will be paid on or before the entry of a final decree in the Chapter 11 Cases.
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                     1           G.      Executory Contracts and Unexpired Leases.

                     2                   Plan Terms Applicable to All Executory Contracts and Unexpired Leases Except

                     3                   for XL Catlin.

                     4           The Plan provides that any executory contract and unexpired lease that (i) has not expired

                     5    by its own terms on or prior to the Effective Date, (ii) has not been assumed or rejected by the

                     6    Debtor during the pendency of the Chapter 11 Case, (iii) is not listed in Exhibit H attached hereto

                     7    as executory contracts or unexpired leases to be rejected, and (iv) is not the subject of a pending

                     8    motion to reject such executory contract or unexpired lease, shall be deemed assumed by the

                     9    Debtor as of immediately prior to the Effective Date, and the entry of the Confirmation Order by

                   10     the Bankruptcy Court shall constitute approval of any such assumption pursuant to section

                   11     365(a) and 1123 of the Bankruptcy Code. Any executory contract or unexpired lease listed on

                   12     Exhibit H as an executory contract or unexpired lease to be rejected by the Debtor shall be

                   13     deemed rejected by the Debtor as of immediately prior to the Effective Date, and the entry of the

                   14     Confirmation Order by the Bankruptcy Court shall constitute approval of any such rejection

                   15     pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

                   16            Entry of the Confirmation Order shall constitute (i) approval, pursuant to Section 365(a)

                   17     of the Bankruptcy Code, of the assumption by the Reorganized Debtor of each executory

                   18     contract and unexpired lease listed on Schedule A and each executory contract and unexpired

                   19     lease assumed by prior order of the Bankruptcy Court, (ii) approval for the Estate to reject each

                   20     executory contract and unexpired lease to which a Debtor is a party and which is not listed on

                   21     Schedule A to the Plan and neither assumed, assumed and assigned nor rejected by separate

                   22     order prior to the Effective Date. Upon the Effective Date, each counter party to an executory

                   23     contract or unexpired lease listed on Schedule A to the Disclosure Statement shall be deemed to

                   24     have consented to assumption contemplated by Bankruptcy Code Section 365(c)(1)(B), to the

                   25     extent such consent is necessary for such assumption. Any default entitled to monetary cure

                   26     respecting any assumed executory contract or unexpired lease shall be paid .

                   27            All proofs of claim arising from the rejection (if any) of executory contracts or unexpired

                   28     leases must be filed with the Bankruptcy Court by no later than 30 days after the earlier of: (i)
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                     1    the date of entry of an order of the Bankruptcy Court approving any such rejection and (ii) the

                     2    Effective Date. Any Claims arising from the rejection of an executory contract or unexpired

                     3    lease for which no proof of claim was timely filed will be forever barred from assertion against

                     4    the Debtor or the Reorganized Debtor, its estate and property. All such Claims shall, as of the

                     5    Effective Date, be subject to the discharge and permanent injunctions set forth in the Plan.

                     6             Any monetary amounts by which an executory contract or unexpired lease to be assumed

                     7    pursuant to the Plan is in default shall be satisfied pursuant to section 365(b)(1) of the

                     8    Bankruptcy Code by payment of the default amount in cash on the Effective Date or on such

                     9    other terms as the parties to each such executory contract or unexpired lease may otherwise

                   10     agree.    In the event of any dispute regarding the amount of any cure payments, (a) the

                   11     Bankruptcy Court will retain jurisdiction to adjudicate any such dispute, and (b) if the

                   12     Bankruptcy Court determines that any such disputed cure amount is required to be paid (in full or

                   13     in part) by the Debtor pursuant to section 365(b)(1) of the Bankruptcy Code, the Debtor will pay

                   14     such cure amount in the ordinary course following entry of the Bankruptcy Court’s Final Order

                   15     resolving such cure dispute, provided that, the Debtor or Reorganized Debtor shall have the

                   16     right, following entry of such a Final Order fixing a cure amount (if any) to reject the applicable

                   17     executory contract or unexpired lease and any such rejection shall be deemed to have occurred

                   18     immediately prior to the Effective Date.

                   19              Plan Terms Applicable to XL Catlin.

                   20              Greenwich Insurance Company and XL Specialty Insurance Company (collectively, “XL

                   21     Catlin”), filed a secured claim in an undetermined amount arising out of unpaid premium

                   22     payments and other amounts due under certain insurance policies and non-policy agreements

                   23     issued by XL Catlin to Trucking, on its own behalf and on behalf of the Debtor, and/or entered

                   24     into between XL Catlin and Trucking, on its own behalf and on behalf of the Debtor, prior to the

                   25     Petition Date.

                   26              Prior to the Petition Date, XL Catlin issued certain insurance policies (collectively, with

                   27     the “Aviation Policy” referred to below, the “Policies”) to Trucking, on its own behalf and on

                   28     behalf of the Debtor: (i) a Commercial General Liability Policy No. RGD9435053, having a
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                     1    policy period March 1, 2015 through March 1, 2016; (ii) an Automobile Liability Policy No.

                     2    RAD500195, having a policy period March 1, 2015 through March 1, 2016; (iii) an Automobile

                     3    Liability Policy No. RAD 9435052, having a policy period March 1, 2015 through March 1,

                     4    2016; and (v) a Workers Compensation Policy No. RWD9435054, having a policy period March

                     5    1, 2015 through March 1, 2016. Also prior to the Petition Date, XL Catlin issued an Aviation

                     6    Policy No. UA00010968AV15A, having a policy period March 1, 2015 through March 1, 2016

                     7    (the “Aviation Policy”) to the Debtor.

                     8            Also prior to the Petition date, XL Catlin and Trucking, on its own behalf and on behalf

                     9    of the Debtor, entered into an Insurance Program Agreement (the “Insurance Program

                   10     Agreement”) and a series of Plan Specification agreements (the “Plan Specifications” and, with

                   11     the Insurance Program Agreement, the “Non-Policy Agreements”). The Non-Policy Agreements

                   12     establish and provide for, among other things, the payments the insureds are required to pay to

                   13     XL Catlin (the “Obligations”), XL Catlin’s right of offset, the security for the insureds

                   14     Obligations that the insureds are required to deliver to XL Catlin (the “Collateral”), events of

                   15     default and XL Catlin’s rights in the event of default, including XL Catlin’s use of the Collateral,

                   16     the insureds’ obligation to indemnify XL Catlin, and the parties’ agreement with respect to

                   17     arbitration.

                   18             Pursuant to the Non-Policy Agreements, Trucking, on its own behalf and on behalf of the

                   19     Debtor, originally provided XL Catlin with a clean, unconditional and irrevocable letter of credit

                   20     (the “Letter of Credit”) in the amount of $2,500,000. For the policy period March 1, 2015

                   21     through March 1, 2016, the amount of the Letter of Credit has been increased to $6,340,000. XL

                   22     Catlin has not drawn on the Letter of Credit.

                   23             As of the Petition Date, XL Catlin has a claim against the Debtor in an undetermined

                   24     amount because, while all basic Premium has been paid as of that date, certain of the Policies

                   25     have a retrospective premium feature, pursuant to which Incurred Losses are used to calculate

                   26     and adjust the final Premium due. Accordingly, the amount of the Premium due in connection

                   27     with the Policies will not be known until the relevant policy periods have expired and the

                   28     necessary audits have been conducted.
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                     1           All of the insureds’ Obligations to XL Catlin are secured by XL Catlin’s right of setoff,

                     2    as provided under the Non-Policy Agreement and under other non-bankruptcy law. In addition,

                     3    all of the insureds’ Obligations to XL Catlin are secured by a security interest in the Collateral,

                     4    the proceeds of the Collateral and any return premiums or other amounts that may be payable to

                     5    the insureds by XL Catlin. XL Catlin’s claim is secured by a credit in the amount of $21,104.04

                     6    owed by XL Catlin to the insureds in connection with a prior year’s Workers Compensation

                     7    policy. In addition, in the event XL Catlin draws on the Letter of Credit, XL Catlin’s Claim also

                     8    is secured by the proceeds of the Letter of Credit. Notwithstanding anything to the contrary in

                     9    the Disclosure Statement, the Plan, the Confirmation Order, any other document related to any of

                   10     the foregoing or any other order of the Bankruptcy Court (including, without limitation, any

                   11     other provision that purports to be preemptory or supervening or grants an injunction or release,

                   12     including, but not limited to, the injunctions set forth in Section 7.7 and 7.8 of the Plan):

                   13            (a) on the Effective Date, the Reorganized Debtor shall assume all the Policies, as

                   14     amended or modified, issued at any time to the Debtor, its affiliates or predecessors, and all

                   15     agreements related thereto, as amended or modified (collectively, the “Insurance Contracts”);

                   16            (b) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other

                   17     document related to any of the foregoing or any other order of the Bankruptcy Court alters,

                   18     modifies or otherwise amends the terms and conditions of or the coverage provided by any of the

                   19     Insurance Contracts, except that as of the Effective Date the Reorganized Debtor shall become

                   20     and remain liable for all of the Debtor’s obligations and liabilities thereunder regardless of

                   21     whether such obligations and liabilities arise before or after the Effective Date; provided,

                   22     however that the Debtor or Reorganized Debtor, as applicable, shall retain the right to challenge

                   23     any amounts owed under the Insurance Contracts in accordance with their terms, and the rights

                   24     and obligations of the parties under the Insurance Contracts, whether or not such Insurance

                   25     Contracts are executory or were in effect before or after the Petition Date, shall remain fully

                   26     enforceable by the parties after the Effective Date;

                   27            (c) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other

                   28     document related to any of the foregoing or any other order of the Bankruptcy Court, including
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                     1    without limitation any prepetition or administrative claim bar date order or claim objection order

                     2    alters or modifies the duties, if any, that the insurers and/or third party administrators have to pay

                     3    claims covered by the Insurance Contracts or the insurers’ and/or third party administrators’

                     4    rights to seek payment or reimbursement from the Debtor or, after the Effective Date, the

                     5    Reorganized Debtor or to draw on any collateral or security therefor in accordance with the

                     6    terms of the Insurance Contracts;

                     7           (d) insurers and third party administrators shall not need to nor be required to file or serve

                     8    an objection to any proposed Cure Amount, or a request, application, claim, proof of claim or

                     9    motion for payment of any prepetition or administrative claim, and shall not be subject to the any

                   10     claim bar date or similar deadline governing Cure Amounts or prepetition or administrative

                   11     claims; and

                   12            (e) the automatic stay of section 362(a) of Bankruptcy Code and the injunctions set forth

                   13     in Section 7.7 and Section 7.8 of the Plan, if and to the extent applicable, shall be deemed lifted

                   14     without further order of the Bankruptcy Court solely to permit: (i) claimants with valid claims

                   15     covered by any of the Insurance Contracts (“Insured Claims”) to proceed with their Insured

                   16     Claims; (ii) insurers and/or third party administrators to administer, handle, defend, settle, and/or

                   17     pay, in the ordinary course of business and subject to the terms of the Insurance Contracts,

                   18     without further order of the Bankruptcy Court, all Insured Claims and all costs in relation

                   19     thereto; (iii) insurers and/or third party administrators to draw against any or all of any collateral

                   20     or security provided by or on behalf of the Debtor or the Reorganized Debtor, as applicable, at

                   21     any time and to hold the proceeds thereof as security for the obligations of the Debtor or the

                   22     Reorganized Debtor, as applicable, to the applicable insurers and/or third party administrators

                   23     and/or to apply such proceeds to the obligations of the Debtor or the Reorganized Debtor, as

                   24     applicable, in accordance with the terms of the Insurance Contracts, and (iv) insurers and/or

                   25     third party administrators to cancel any insurance policies under the Insurance Contracts, and

                   26     take other actions relating thereto, to the extent permissible under applicable non-bankruptcy

                   27     law, each in accordance with the terms of the Insurance Contracts. The terms set forth above are

                   28     in full satisfaction of the Proof of Claim filed on behalf of XL Catlin in the Bankruptcy Case.
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                                                                IX.
                     1                       CERTAIN FEDERAL INCOME TAX CONSEQUENCES

                     2            Implementation of the Plan may have federal, state, and local tax consequences to

                     3    Debtor, to Trucking and to the holders of Allowed Claims and Equity Security Interests. This

                     4    Disclosure Statement does not purport to cover any aspects of federal income taxation of the

                     5    Plan that may apply to the Debtor, Trucking, the Creditors, Equity Security Holders or to any

                     6    other persons, and in particular does not deal with issues that may be material to one or more of

                     7    those persons based upon their particular circumstances or tax status. Moreover, this Disclosure

                     8    Statement does not address the federal income tax consequences to certain types of Creditors

                     9    (including, but not limited to, brokers, dealers, traders of certain securities, life insurance

                   10     companies, tax-exempt organizations, and foreign individuals and entities) having a tax status

                   11     with respect to which special rules may apply or to Equity Securities Holders in their capacity as

                   12     such.

                   13             NO TAX OPINION HAS BEEN SOUGHT OR WILL BE OBTAINED WITH

                   14     RESPECT TO ANY CONSEQUENCES OF THE PLAN. HOLDERS OF ALLOWED

                   15     CLAIMS ARE ADVISED TO CONSULT WITH THEIR OWN TAX ADVISORS

                   16     REGARDING THE TAX CONSEQUENCES (INCLUDING FEDERAL, STATE, LOCAL

                   17     AND FOREIGN TAX CONSEQUENCES) TO THEM AND/OR TO DEBTORS ARISING

                   18     FROM         THE   TRANSACTIONS         CONTEMPLATED             BY    THE     PLAN.        THIS

                   19     DISCLOSURE STATEMENT IS NOT A SUBSTITUTE FOR CAREFUL TAX

                   20     PLANNING AND ADVICE BASED ON THE PARTICULAR CIRCUMSTANCES OF

                   21     EACH CREDITOR AND EQUITY SECURITY HOLDER, OR ANY OTHER PERSON

                   22     THAT MAY BE AFFECTED BY THE PLAN.

                   23                                            X.
                                                       CONFIRMATION OF THE PLAN
                   24

                   25             A.     Confirmation of the Plan.
                   26             Pursuant to Section 1128(a) of the Bankruptcy Code, the Bankruptcy Court will hold a
                   27     hearing regarding confirmation of the Plan at the United States Bankruptcy Court, 300 Booth
                   28     Street, Fifth Floor, Courtroom 2, Reno, Nevada, commencing on December 16, 2015 at 2:00
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   ATTORNEYS AT LAW
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                     1    p.m. prevailing pacific time.

                     2           B.      Objections to Confirmation of the Plan.

                     3           Section 1128(b) of the Bankruptcy Code provides that any party-in-interest may object to

                     4    confirmation of a plan. Any objections to confirmation of the Plan must be in writing, must state

                     5    with specificity the grounds for any such objections and must be filed with the Bankruptcy Court

                     6    and served upon the following parties so as to be received by the following on or before the time

                     7    fixed by the Bankruptcy Court:
                                                                Counsel for the Debtor:
                     8
                                                            DAVIS GRAHAM & STUBBS LLP
                     9
                                                                   Cecilia Lee, Esq.
                   10                                           Nevada Bar No. 3344
                                                                 Elizabeth High, Esq.
                   11                                           Nevada Bar No. 10082
                                                           50 West Liberty Street, Suite 950
                   12                                            Reno, Nevada 89501
                   13                                         Telephone: 775.229.4219
                                                              Facsimile: 775.403.2187
                   14                                       Email: cecilia.lee@dgslaw.com
                                                          Email: elizabeth.high@dgslaw.com
                   15
                                                             HARTMAN & HARTMAN, LTD.
                   16
                                                               Jeffrey L. Hartman, Esq.
                   17                                       510 West Plumb Lane, Suite B
                                                                  Reno, Nevada 89509
                   18                                         Telephone (775) 324-2800
                                                                  Fax (775) 324-1818
                   19                                     Email: notices@bankruptcyreno.com
                   20
                                                          Counsel for Matheson Trucking, Inc.
                   21
                                                                 DOWNEY BRAND LLP
                   22                                          Sallie B. Armstrong, Esq.
                                                              Nevada State Bar No. 1243
                   23
                                                                Michael B. Knox, Esq.
                   24                                         Nevada State Bar No. 8143
                                                           100 West Liberty Street, Suite 900
                   25                                            Reno, Nevada 89501
                                                             Telephone: (775) 329-5900
                   26                                        Facsimile: (775) 786-5443
                   27                                       Email: reno@downeybrand.com

                   28
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                     1             For the Plan to be confirmed, the Plan must satisfy the requirements stated in Section

                     2    1129 of the Bankruptcy Code. In this regard, the Plan must satisfy, among other things, the

                     3    following requirements.

                     4             C.      Best Interest of Creditors and Liquidation Analysis

                     5             Pursuant to Section 1129(a)(7) of the Bankruptcy Code for the Plan to be confirmed, it

                     6    must provide that Creditors with Allowed Claims will receive at least as much under the Plan as

                     7    they would receive in a liquidation of Debtor under Chapter 7 of the Bankruptcy Code (the “Best

                     8    Interest Test”). The Best Interest Test with respect to each impaired Class requires that each

                     9    holder of an Allowed Claim of such Class either: (i) accepts the Plan; or (ii) receives or retains

                   10     under the Plan property of a value, as of the Effective Date, that is not less than the value such

                   11     holder would receive or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy

                   12     Code. The Bankruptcy Court will determine whether the value received under the Plan by the

                   13     holders of Allowed Claims in each Class of Creditors equals or exceeds the value that would be

                   14     allocated to such holders in a liquidation under Chapter 7 of the Bankruptcy Code. The Plan

                   15     Proponents believe that the Plan meets the Best Interest Test and provides value that is not less

                   16     than that which would be recovered by each such holder of an Allowed Claim in a Chapter 7

                   17     bankruptcy proceeding. The Plan Proponents have filed the Liquidation Analysis performed by

                   18     Pacific Capital Transactions to the Court, a copy of which is attached hereto as Exhibit J.

                   19              Generally, to determine what holders of Allowed Claims in each impaired Class would

                   20     receive if the Debtor were liquidated, the Bankruptcy Court must determine what funds would be

                   21     generated from the liquidation of Debtor’s assets and properties in the context of a Chapter 7

                   22     liquidation case, which for unsecured Creditors would consist of the proceeds resulting from the

                   23     disposition of the assets of Debtor, augmented by the unencumbered cash held by Debtor at the

                   24     time of the commencement of the liquidation case. Such cash amounts would be reduced by the

                   25     costs and expenses of the liquidation and by such additional Administrative Claims and Priority

                   26     Claims as may result from the termination of Debtor’s activities and the use of Chapter 7 for the

                   27     purpose of liquidation.5
                          5
                   28         Because Debtor is a corporation, there are no non-exempt assets.
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                     1           In a Chapter 7 liquidation, holders of all Allowed Unsecured Claims would receive

                     2    distributions based on the liquidation of the non-exempt assets of Debtor.6 Such assets would

                     3    include the same assets being collected and liquidated under the Plan – the interest of Debtor in

                     4    the cash, the Debtor’s assets and all claims and causes of action.

                     5           The distributions from the proceeds of liquidation of the Debtor would be paid Pro Rata

                     6    according to the amount of the aggregate Allowed Claims held by each Creditor. The Debtor

                     7    believes that the most likely outcome of liquidation proceeds under Chapter 7 would be the

                     8    application of the “absolute priority rule.” Under that rule, no junior Creditor may receive any

                     9    distribution until all senior Creditors are paid in full, with interest, and no Equity Security Holder

                   10     may receive any distribution until all Creditors are paid in full.

                   11            As a result, the Debtor has determined that confirmation of the Plan will provide each

                   12     Creditor with no less of a recovery than it would receive if Debtor were liquidated under a

                   13     Chapter 7, and in fact, a greater and more timely recovery than in a Chapter 7.

                   14            The Debtor retained Pacific Capital Transactions to perform a liquidation analysis of the

                   15     Debtor, which of necessity included a liquidation analysis of its parent, Trucking and Trucking’s

                   16     wholly owned subsidiary, Postal.        Pacific’s written report was submitted to the Court on

                   17     September 16, 2015. Docket No. 341. Pacific performed a solvency analysis using the balance

                   18     sheet test, the cash flow test and the reasonable capital test. The solvency analysis required PCT

                   19     to value the assets of all three companies and to analyze actual cash flow and to project cash flow

                   20     into the future. PCT concluded that over the past five years, the companies have had stable cash

                   21     flow of approximately $5 million annually even after the payment of interest on equipment debt.

                   22     Based on all three tests, PCT concluded that the companies are a going concern.

                   23            Pacific also employed the income method and the transaction method to determine a

                   24     liquidation value. This process necessitated determining the value of collateral for secured debt

                   25     of Postal and Trucking, the amount available after payment of secured creditors to pay other

                   26     creditors and applying those amounts to a waterfall of priorities.          On liquidation, Pacific

                   27
                          6
                           Regardless of whether the Chapter 11 Case remains in Chapter 11 or is converted to a Chapter
                   28     7, the analysis below will generally be the same.
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       STUBBS LLP
   ATTORNEYS AT LAW
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                     1    concluded that in addition to the costs of chapter 11, employee payouts under the WARN Act or

                     2    for other employee liabilities would exceed $8 million, which would not yield any cash available

                     3    to unsecured creditors, regardless of low, mid or high assumptions of values of assets.

                     4           PCT then analyzed the companies’ value as a going concern, including the historical

                     5    growth of the companies and other factors, to conclude that the fair value of the companies as a

                     6    going concern is $10,000,000.

                     7           As a result of its extensive analysis, Pacific was also able to conclude that there was no

                     8    evidence that discretionary spending had changed as a result of the Colorado Litigation; that the

                     9    allocation of shared administrative costs between Postal and Flight of the services provided by

                   10     Trucking was fair and reasonable to the Debtor; that payments of dividends over the past five

                   11     years were approximately 0.9 million and that Mark Matheson had been loaned $1 million,

                   12     which if treated as compensation to him would place him below an industry maximum

                   13     reasonable compensation over the past five years.

                   14            D.      For these reasons, the confirmation of the Plan provides a greater recovery
                                         for Creditors than a Chapter 7 liquidation. The Best Interest of Creditors
                   15                    test is satisfied. Feasibility.

                   16            The Bankruptcy Code requires that in order to confirm the Plan, the Bankruptcy Court

                   17     must find that Confirmation of the Plan is not likely to be followed by liquidation or the need for

                   18     further financial reorganization of Debtor (the “Feasibility Test”). For the Plan to meet the

                   19     Feasibility Test, the Bankruptcy Court must find that Debtor will possess the resources and have

                   20     the other tools necessary to meet its obligations under the Plan.         The Debtor’s financial

                   21     projections are attached hereto as Exhibit G.

                   22            E.      Accepting Impaired Class.

                   23            Because a Class of Claims is impaired under the Plan, for the Plan to be confirmed, the

                   24     Plan must be accepted by at least one impaired Class of Claims (not including the votes of any

                   25     insiders of a Debtor).

                   26            F.      Acceptance of Plan.

                   27            For an impaired Class of Claims to accept the Plan, those representing at least two-thirds

                   28     (2/3) in amount and a majority in number of the Allowed Claims voted in that Class must be cast
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                     1    their votes for acceptance of the Plan.

                     2           G.      Confirmation Over Dissenting Class (“Cram Down”).

                     3           If a Class of Claims does not accept the Plan, the Bankruptcy Court nevertheless may

                     4    confirm the Plan at the request of the Plan Proponents. Bankruptcy Code Section 1129(b)

                     5    provides that if all other requirements of Bankruptcy Code Section 1129(a) are satisfied and if

                     6    the Bankruptcy Court finds that: (i) the Plan does not discriminate unfairly and (ii) the Plan is

                     7    fair and equitable with respect to the rejecting Class(es) of Claims impaired under the Plan, the

                     8    Bankruptcy Court may confirm the Plan despite the rejection of the Plan by an impaired Class of

                     9    Claims. The Plan Proponents will request confirmation of the Plan pursuant to Bankruptcy Code

                   10     Section 1129(b) with respect to any impaired Class of Claims that does not vote to accept the

                   11     Plan. The Plan Proponents believe that the Plan satisfies all of the statutory requirements for

                   12     Confirmation, that they have complied with or will have complied with all the statutory

                   13     requirements for Confirmation of the Plan and that the Plan is proposed in good faith. At the

                   14     Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies the

                   15     statutory requirements for Confirmation.

                   16            H.      Allowed Claims.

                   17            A.      You have an Allowed Claim if: (i) you or your representative timely file a proof

                   18     of Claim and no objection has been filed to your Claim within the time period set for the filing of

                   19     such objections; (ii) you or your representative timely file a proof of Claim and an objection was

                   20     filed to your Claim upon which the Bankruptcy Court has ruled and allowed your Claim; (iii)

                   21     your Claim is listed by the Debtor in its Schedules or any amendments thereto (which are on file

                   22     with the Bankruptcy Court as a public record) as liquidated in amount and undisputed and no

                   23     objection has been filed to your Claim; or (iv) your Claim is listed by a Debtor in its Schedules

                   24     as liquidated in amount and undisputed and an objection was filed to your Claim upon which the

                   25     Bankruptcy Court has ruled to allow your Claim. Under the Plan, the deadline for filing Claims

                   26     is the Bar Date of August 17, 2015 for non-governmental creditors and October 16, 2015, the

                   27     date established by the Notice of Commencement of Case for the filing of proofs of claims by

                   28     certain governmental creditors.
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                     1            If your Claim is not an Allowed Claim, it is a Disputed Claim and, provided your Class

                     2    is impaired, you will not be entitled to vote on the Plan unless the Bankruptcy Court temporarily

                     3    or provisionally allows your Claim for voting purposes pursuant to Section 502(c) and Federal

                     4    Rule of Bankruptcy Procedure 3018. If you are uncertain as to the status of your Claim or if you

                     5    have a dispute with Debtor, you should check the Bankruptcy Court record carefully, including

                     6    the Schedules of Debtor, and you should seek appropriate legal advice. The Plan Proponents

                     7    cannot advise you about such matters.

                     8           The Plan Proponents are unable to estimate the Administrative Claims at this time, in

                     9    large part because of the uncertainty as to the professional expenses of the Committee’s counsel

                   10     and any Court-approved expert. The Debtor will supplement its estimate of the Administrative

                   11     Claims in its Plan supplement. This estimate will increase or decrease as a function of the

                   12     amount of litigation generated in this case, including, for example, resolving objections against

                   13     the Plan and any discovery issues that may arise. Based on the Debtor’s Schedules and the

                   14     proofs of claim on file, the Plan Proponents believe that there are few Priority Claims of the

                   15     Debtor.7

                   16            I.     Listing of Creditors By Class.

                   17            To follow are charts of the Debtor’s listing of creditors in Class 2, 3, 4 and 5.     The

                   18     Debtor will pay Class 2 Creditors in full on the Effective Date. The Debtor is unable to estimate

                   19     the amount that will be paid to Classes 3, 4 and 5. After the Effective Date Payment to the Class

                   20     5 Stipulating Judgment Creditors and the Class 4 Unsecured Creditors owed more than $13,500,

                   21     payments to Class 3, 4 and 5 may be zero.

                   22     ///

                   23     ///

                   24     ///

                   25     7
                            The Internal Revenue Service has filed a priority claim in the amount of $134,224.95 pursuant
                          to 11 U.S.C. §507(a)(8). Claim No. 5. The Debtor believes the amounts reflected in this proof
                   26
                          of claim were paid, which is consistent with the amended Claim filed by the Internal Revenue
                   27     Service in the amount of $0.00. The Debtor believes that other priority claims that have been
                          filed have either been paid or are not yet due. The Debtor will attempt to resolve these issues
                   28     with the priority claimants.
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                                         Unsecured Creditors Holding Claims Less Than $13,500
                     1                                         Class 2
                               PAID IN FULL ON THE EFFECTIVE DATE AND NOT ENTITLED TO VOTE
                     2
                                                  Name of Creditor                            Amount of Claim
                     3
                          Sabell's Snow Plowing                                                       $ 12,520.00
                     4
                          Husch Blackwell, LLP                                                        $   3,934.50
                     5    TS Staffing Services                                                        $   1,708.80
                     6    PR Newswire                                                                 $   1,520.00

                     7    Strategic Systems & Technology                                              $   1,439.23
                          Chartwell Staffing                                                          $   1,299.48
                     8
                          T.M.T. Specialties                                                          $   1,209.30
                     9
                          MH Equipment Company                                                        $   1,113.00
                   10
                          Global Equipment Company                                                    $    880.32
                   11     US Logistics                                                                $    850.00
                   12     Amazon Cleaning Inc.                                                        $    800.00

                   13     Griffin Dock & Door Services, Inc.                                          $    685.72
                          Stratus Building Solutions                                                  $    650.00
                   14
                          Full Source LLC                                                             $    478.95
                   15
                          WCP Solutions                                                               $    464.24
                   16     Industrial Communications                                                   $    436.00
                   17     Alpha Mechanical Service Inc.                                               $    410.75
                   18     Vanzebo Laser                                                               $    399.95

                   19     Cintas Corporation-631025                                                   $    311.87
                          The Stoner Electric Group                                                   $    303.71
                   20
                          Azael Velazquez                                                             $    300.00
                   21
                          La Quita Inn Seattle Sea-Tac                                                $    238.04
                   22     GE Capital C/O                                                              $    226.88
                   23     Contrast Design Services                                                    $    225.00
                   24     Salt Lake City Dept. of Airports                                            $    200.00

                   25     Billings Army Navy Surplus Store                                            $    185.00
                          Honey Bucket                                                                $    164.50
                   26
                          Fleetwash, Inc.                                                             $    132.00
                   27
                          Gohman Mechanical, Inc.                                                     $    124.00
                   28
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                                                    Name of Creditor                          Amount of Claim
                     1
                          State of Alaska - Badging                                                     $      100.00
                     2
                          City of Albuquerque                                                           $        55.00
                     3    Mountain Mist Water                                                           $       43.70
                     4    Aquaperfect                                                                   $        43.19

                     5    Denver International Airport                                                  $        30.00
                          Culligan                                                                      $        21.78
                     6
                          Coffee Break Roasting Co.                                                     $        14.00
                     7

                     8                                 Settling Plaintiffs
                                                             Class 3
                     9          PAID PURSUANT TO TERMS OF PREPETITON SETTLEMENT CONTRACTS
                                                              AND
                   10                              NOT ENTITLED TO VOTE

                   11                               Name of Creditor                        Amount of Claim On
                                                                                              Petition Date
                   12
                          Cresencio Sanchez                                                         $       145,454.18
                   13     Ernest Williams                                                           $       145,454.18
                   14     Mohamed Kaba                                                              $       145,454.18
                   15     Moussa Dembele                                                            $       145,454.18

                   16
                                            Unsecured Creditors Holding Claims More Than $13,500
                   17                                              Class 4
                                            PAID BY 14 PERCENT EFFECTIVE DATE PAYMENT
                   18                              AND BALANCE OVER EIGHT YEARS
                                                           ENTITLED TO VOTE
                   19
                                                    Name of Creditor                          Amount of Claim
                   20     Littler Mendelson, P.C.                                                   $       520,005.72
                   21     GHP Horwath, P.C.                                                         $        39,740.25
                   22     Campbell Litigation PC                                                    $        36,600.00

                   23

                   24

                   25

                   26     ///

                   27     ///

                   28     ///
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                     1                               Stipulating Judgment Creditors Class 5
                                               SETTLED AMOUNT PAID IN ACCORDANCE WITH
                     2                                   SETTLEMENT AGREEMENT
                                                                     AND
                     3                                       ENTITLED TO VOTE

                     4    Name of Creditor        Proof of Claim     Proof of Claim      Proof of Claim         Settled
                                                     Amount          Compensatory           Punitive         Amount to Be
                     5                                                  Amount              Amount           Paid Through
                     6                                                                                           Plan
                          Dean Patricelli        $ 2,679,957.14     $      679,957.14    $ 2,000,000.00       $ 1,042,857.14
                     7
                          Macire Diara           $ 2,745,375.62     $      745,375.62    $ 2,000,000.00       $ 1,042,857.14
                     8
                          Ernest Duke            $ 2,528,514.54     $      528,514.54    $ 2,000,000.00       $ 1,042,857.14
                     9    Salif Diallo           $ 2,522,393.94     $      522,393.94    $ 2,000,000.00       $ 1,042,857.14
                   10     Bemba Diallo           $ 2,488,887.94     $      488,887.94    $ 2,000,000.00       $ 1,042,857.14
                   11     Andre De Oliveira      $ 2,461,634.18     $      461,634.18    $ 2,000,000.00       $ 1,042,857.14
                          Mahamet Camara         $ 2,455,419.10     $      455,419.10    $ 2,000,000.00       $ 1,042,857.14
                   12
                          TOTAL:                 $ 17,882,182.46    $    3,882,182.46    $ 14,000,000.00      $ 7,299,999.98
                   13

                   14                             CURE AMOUNTS FOR ASSUMPTION OF
                                             UNEXPIRED LEASES AND EXECUTORY CONTRACTS
                   15
                                                   Name of Creditor                                    Cure Amount
                   16
                          Landmark Aviation-Sioux Falls                                                       $   39,922.07
                   17     Federal Transport (Doreen Wetham)                                                   $   13,452.09
                   18     Aviation GSE America, Inc.                                                          $   10,813.13
                   19     Core Transport Technologies, Inc.                                                   $    6,756.95
                          Pierce Leasing                                                                      $      584.64
                   20

                   21            J.         Impaired Claims.

                   22            Impaired Claims include those whose legal, equitable or contractual rights are altered by

                   23     the Plan, even if the alteration is beneficial to the Creditor, or if the full amount of the Allowed

                   24     Claims will not be paid under the Plan. Holders of Claims which are not impaired under the Plan

                   25     are deemed to have accepted the Plan pursuant to Section 1126(f) of the Bankruptcy Code and

                   26     the Debtor need not solicit the acceptances of the Plan of such unimpaired Claims. Holders of

                   27     Claims which are to receive nothing under the Plan are deemed to have voted to reject the Plan.

                   28     There are no such Claims in the Plan. As such, holders of Claims in Classes 4 and 5 under the
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                     1    Plan are entitled to vote. Holders of Equity Security Interests are not entitled to vote.

                     2           K.      Voting Procedures.

                     3                   1.      Submission of Ballots.

                     4           All Creditors in Class 4 and Class 5 are entitled to vote and will be sent a Ballot, together

                     5    with instructions for voting, a copy of this approved Disclosure Statement and a copy of the Plan.

                     6    You should read the Ballot carefully and follow the instructions contained therein. Please use

                     7    only the Ballot that was sent with this Disclosure Statement. You should complete your Ballot

                     8    and return it as follows:

                     9                                      DAVIS GRAHAM & STUBBS LLP
                                                                   Cecilia Lee, Esq.
                   10
                                                                Nevada Bar No. 3344
                   11                                            Elizabeth High, Esq.
                                                                Nevada Bar No. 10082
                   12                                      50 West Liberty Street, Suite 950
                                                                 Reno, Nevada 89501
                   13                                         Telephone: 775.229.4219
                   14                                         Facsimile: 775.403.2187
                                                            Email: cecilia.lee@dgslaw.com
                   15                                     Email: elizabeth.high@dgslaw.com

                   16            TO BE COUNTED, YOUR BALLOT MUST BE RECEIVED AT THE ADDRESS
                   17     LISTED ABOVE BY THE DATE AND PREVAILING PACIFIC TIME SET FORTH IN
                   18     THE ORDER CONDITIONALLY APPROVING DISCLOSURE STATEMENT, A COPY
                   19     OF WHICH IS SERVED ON YOU ALONG WITH THIS DISCLOSURE STATEMENT.
                   20                    2.      Incomplete Ballots.
                   21              Unless otherwise ordered by the Bankruptcy court, Ballots which are signed, dated and
                   22     timely received, but on which a vote to accept or reject the Plan has not been indicated, will be
                   23     counted as a vote in favor of the Plan.
                   24                    3.      Withdrawal of Ballots.
                   25            A Ballot may not be withdrawn or changed after it is cast unless the Bankruptcy Court
                   26     permits you to do so after notice and a hearing to determine whether sufficient cause exists to
                   27     permit the change.
                   28     ///
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       STUBBS LLP
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                     1                      4.     Questions and lost or damaged Ballots.

                     2           If you have any questions concerning these voting procedures, if your Ballot is damaged

                     3    or lost or if you believe you should have received a Ballot but did not receive one, you may

                     4    contact:
                                                              DAVIS GRAHAM & STUBBS LLP
                     5                                               Cecilia Lee, Esq.
                                                                  Nevada Bar No. 3344
                     6
                                                                   Elizabeth High, Esq.
                     7                                            Nevada Bar No. 10082
                                                             50 West Liberty Street, Suite 950
                     8                                             Reno, Nevada 89501
                                                                Telephone: 775.229.4219
                     9                                          Facsimile: 775.403.2187
                   10                                         Email: cecilia.lee@dgslaw.com
                                                            Email: elizabeth.high@dgslaw.com
                   11

                   12            L.         Alternatives To The Plan

                   13            The Plan Proponents believe that the Plan provides Creditors the best and most complete

                   14     form of recovery available. As a result, the Plan Proponents believe that the Plan serves the best

                   15     interests of all Creditors and parties-in-interest in the Chapter 11 Case.

                   16                The Plan Proponents believe not only that the Plan, as described herein, fairly adjusts the

                   17     rights of various Classes of Creditors and enables the Creditors to realize the greatest sum

                   18     possible under the circumstances, but also that rejection of the Plan in favor of some theoretical

                   19     alternative method of reconciling the Claims of the various Classes will require, at the very least,

                   20     an extensive and time consuming negotiation process and/or litigation and will not result in a

                   21     better recovery for any Class.

                   22                       1.     Alternative Plans of Reorganization.

                   23            Under the Bankruptcy Code, a debtor has an exclusive period of one hundred and twenty

                   24     (120) days and an additional vote solicitation period of sixty (60) days from the entry of the

                   25     order for relief during which time, assuming that no trustee has been appointed by the

                   26     Bankruptcy Court, only a debtor may propose and confirm a plan. After the expiration of the

                   27     initial one hundred and eighty (180) day period and any extensions thereof, Debtor, or any other

                   28     party-in-interest, may propose a different plan provided the exclusivity period is not further
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                     1    extended by the Bankruptcy Court.

                     2           The only alternative available to the Estate is liquidation under Chapter 7 of the

                     3    Bankruptcy Code. As set forth above, the Plan Proponents believe that Creditors, other than

                     4    Administrative Creditors, will receive little, if any, recovery in a Chapter 7 liquidation.

                     5                   2.      Liquidation Under Chapter 7.

                     6           If a plan cannot be confirmed, a Chapter 11 case may be converted to a case under

                     7    Chapter 7 of the Bankruptcy Code, in which a Chapter 7 trustee would be elected or appointed to

                     8    liquidate the assets of a debtor for distribution to its creditors in accordance with the priorities

                     9    established by the Bankruptcy Code. For a discussion of the effect that a Chapter 7 liquidation

                   10     would have on the recovery by Creditors and Equity Security Holders, see Section X(C),

                   11     “Confirmation of the Plan -- Best Interest of Creditors and Equity Security Holders and

                   12     Liquidation Analysis.”

                   13                                                  XI.
                                                               LITIGATION CLAIMS
                   14

                   15            The Plan provides that Litigation Claims will be transferred to the Reorganized Debtor on

                   16     the Effective Date. Without limiting the Plan provisions for claims resolution, the Reorganized

                   17     Debtor will continue to prosecute and defend the Henry Litigation, to the extent Henry preserves

                   18     his right to pursue his Claim as set forth in the Plan, in the court in which that Litigation is

                   19     currently pending, including any appeals therefrom and, upon entry of final judgment on appeal,

                   20     by the trial court or by consensual resolution, the claim of Henry will be deemed either an

                   21     Allowed Claim, in whole or part, or it will be disallowed, in whole or part. Because Henry did

                   22     not timely file a Proof of Claim, his Claim is Disallowed and the Henry Litigation will be

                   23     dismissed.

                   24

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                   26     ///

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                                                               XII.
                     1                            RECOMMENDATION AND CONCLUSION

                     2           The Plan provides the best possible recovery for Creditors and Equity Security Holders.

                     3    Accordingly, to the extent any Class is entitled to vote, the Debtor recommends that all Creditors

                     4    and Equity Security Holders who are entitled to vote on the Plan should vote to accept the Plan.

                     5           DATED this 23rd day of November, 2015.

                     6                                                 DAVIS GRAHAM & STUBBS LLP
                     7
                                                                        /s/ Cecilia Lee
                     8                                                  CECILIA LEE, ESQ.

                     9                                                 HARTMAN & HARTMAN, LTD.
                   10                                                  /s/ Jeffrey L. Hartman, Esq.
                   11                                                  JEFFREY L. HARTMAN, ESQ.

                   12                                                  DOWNEY BRAND, LP

                   13                                                  /s/Sallie B. Armstrong, Esq.
                                                                       SALLIE B. ARMSTRONG, ESQ.
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                    EXHIBIT A
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                 20
                          Attorneys for Co-Proponent Matheson Trucking, Inc.
                 21
                                                  UNITED STATES BANKRUPTCY COURT
                 22
                                                      FOR THE DISTRICT OF NEVADA
                 23
                           In re:                                        Case No. BK-N-15-50541-BTB
                 24                                                      Chapter 11 Case
                           MATHESON FLIGHT EXTENDERS,
                 25                                                      SECOND AMENDED CHAPTER 11 PLAN
                           INC.,
                 26                 Debtor.                              OF REORGANIZATION

                 27                                                      Hearing Date: December 16.2015
                                                                         Hearing Time: 2:00 p.m.
                 28
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                    1           Debtor and Debtor-in-Possession Matheson Flight Extenders, Inc.("Debtor" or "MFEI")

                   2     and co-proponent Matheson Trucking, Inc. ("Trucking" and, along with the Debtor, the "Plan

                    3    Proponents") submit this Plan of Reorganization ("Plan") pursuant to Section 1121(a) of the

                   4     Bankruptcy Code for the resolution of the outstanding claims of the Creditors and Equity

                   5     Security Holders of the Debtor. All parties-in-interest should refer to the Disclosure Statement

                   6     for a discussion of the Debtor's and Trucking's history, assets, and for a summary and analysis

                   7     ofthis Plan and certain related matters.

                   8            Subject to the restrictions on modifications set forth in Section 1127 of the Bankruptcy

                   9     Code and Bankruptcy Rule 3019, and those restrictions on modification set forth herein, the Plan

                  10     Proponents expressly reserve the right to alter, amend, strike, withdraw or modify this Plan one

                  11     or more times before its substantial consummation.

                  12            1.      DEFINITIONS,RULES OF INTERPRETATION

                  13            1.1     Definitions.

                  14            For purposes of this Plan, except as expressly provided or unless the context otherwise

                  15     requires, all capitalized terms not otherwise defined shall have the meanings ascribed in this

                  16     Section 1. Any term used in this Plan that is not defined herein, but is defined in the Bankruptcy

                  17     Code or the Bankruptcy Rules, shall have the meaning ascribed to that term in the Bankruptcy

                  18     Code or the Bankruptcy Rules, in that order of priority. Whenever the context requires, such

                  19     terms shall include the plural as well as the singular, the masculine gender shall include the

                 20      feminine, and the feminine gender shall include the masculine. As used in this Plan, the

                 21      following terms shall have the meanings specified below.

                 22             A.      Administrative Claim. A Claim for any cost or expense of administration of the

                 23      Chapter 11 Case allowed under Sections 507(b) or 546(c) of the Bankruptcy Code and entitled to

                 24      priority under Section 507(a)(1) of the Bankruptcy Code, including, but not limited to (i) fees

                 25      payable pursuant to Section 1930 of Title 28 of the United States Code; (ii) the actual and

                 26      necessary costs and expenses incurred after the Petition Date of preserving the Estate, including

                 27      wages, salaries or commissions for services rendered after the commencement of the Chapter 11

                 28      case; and (iii) all professional fees approved by the Bankruptcy Court pursuant to interim and
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                    1    final allowances. To the extent that a Claim is allowed as an Administrative Claim pursuant to

                   2     Section 365(d)(3) of the Bankruptcy Code, such Claim shall also be deemed an Administrative

                   3     Claim under this paragraph.

                   4            B.      Administrative Claim Bar Date.       Forty-five days after the Effective Date.

                   5            C.      Allowed Claim. Any claim, or any portion thereof, against Debtor (except for an

                   6     Unclassified Claim): (i) as to which a proof of claim has been filed with the Court within the

                   ~~ time fixed by the Court or, if such claim arises from the Debtor's rejection of an unexpired lease

                   8     or other executory contract, within thirty (30) days after the Effective Date of the Plan, or (ii)

                   Gl which is scheduled as of the Confirmation Date of the Plan in the schedules filed by the Debtor

                  10     or amended by the Debtor as of said date, and is liquidated in amount and undisputed; and in

                  11     either of the above events, as to which no objection to allowance of such claim or request for

                  12     subordination thereof has been filed within any applicable time period fixed by the Court or as to

                  13     which an order allowing such claim and establishing its priority has become final and non-

                  14     appealable. To the extent any Litigation Claim is not otherwise resolved in this Plan or is

                  15     otherwise dismissed for failure of the Creditor to timely file a proof of claim, any Litigation

                  16     Claim against the Debtor will be an Allowed Claim upon entry of a final determination after

                  17     postjudgment proceedings and appellate rights are exhausted.

                  18            D.      Bankruptcy Case. The pending Chapter 11 case entitled In re: Matheson Flight

                  19     Extenders, Inc., Case No. BK-N-15-50541-BTB.

                 20             E.      Bankruptcy Code. The Bankruptcy Code of 1978, as codified in Title 11 of the

                 21      United States Bankruptcy Code by Public Law 95-598, including all amendments thereof and

                 22      thereto applicable to the Bankruptcy Case.

                 23             F.      Bankruptcy Court. The United States Bankruptcy Court for the District of

                 24      Nevada, Reno, or such other court as has jurisdiction ofthe Bankruptcy Case.

                 25             G.      Bankruptcy Rules. Collectively, the Federal Rules of Bankruptcy Procedure and

                 26      the Local Rules of the Bankruptcy Court as applicable to the Chapter 11 Case.

                 27             H.      Bar Date.       August 17, 2015, the date established by the Notice of

                 28      Commencement of Case for the filing of proofs of Claim by Creditors and October 16, 2015, the
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                   l~ date established by the Notice of Commencement of Case for the filing of proofs of claims by

                   2     certain governmental creditors.

                   3            I.      Claim. Any right to payment, whether or not such right is reduced to judgment,

                   4     liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

                   5     equitable, secured or unsecured; or any right to an equitable remedy for breach of performance,

                   6     if such breach gives rise to a right to payment, whether or not such right to an equitable remedy

                   7     is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or

                   8 ~~ unsecured.

                   9            J.      Colorado Litigation. Camara, et al. v. Matheson Flight Extenders, Inc., et al.,

                  10     filed in the United States District Court for the District of Colorado, Civil Action No.: 12-CV-

                  11     03040-CMA-CBS.

                  12            K.      Confirmation Date. The date upon which an order is entered in the Bankruptcy

                  13     Case confirming the Plan, including amendments thereto.

                  14            L.      Confirmation Hearing. The duly noticed initial hearing held by the Bankruptcy

                  15     Court to confirm this Plan pursuant to Sections 1128 and 1129 of the Bankruptcy Code, and any

                  16     subsequent hearing held by the Bankruptcy Court from time to time to which the initial hearing

                  17     is adjourned without further notice other than the announcement of the adjourned dates at the

                  18     Confirmation Hearing.

                  19            M.      Confirmation Order.          The order entered by the Bankruptcy Court

                 20      confirming this Plan.

                 21             N.      Creditor. Any holder of a Claim, whether or not such Claim is an Allowed

                 22 ~ Claim.

                 23             O.      Debtor. Matheson Flight Extenders, Inc., a California corporation.

                 24             P.      Default Under the Plan. If the Debtor fails to make any payment when due

                 25      under this Plan and that payment is not cured within one month thereafter, a Default Under the

                 26      Plan will exist.

                 27             Q.      Disclosure Statement. The written disclosure statement that relates to this Plan,

                 28      as conditionally approved by the Bankruptcy Court pursuant to Section 1125 of the Bankruptcy
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                   1     Code and Bankruptcy Rule 3017, as such disclosure statement may be amended, modified or

                  2      supplemented from time to time.

                  3             R.      Disputed Claim. A Claim that is (i) subject to timely objection interposed by the

                  4      Debtor or any party-in-interest entitled to file and prosecute such objection in this Chapter 11

                   5     case, if at such time the objection remains unresolved; (ii) listed by the Debtor as disputed

                  6      unliquidated or contingent in the Bankruptcy Schedules; or (iii) if no objection has been timely

                  7      filed, a Claim which has been asserted in a timely filed proof of claim in an amount greater than

                   8     or in a Class different than that listed by the Debtor in the Bankruptcy Schedules as Liquidated in

                   9     amount and not disputed or contingent; provided, however, that the Bankruptcy Court may

                 10      estimate a Disputed Claim for purposes of allowance pursuant to Section 502(c) of the

                 11      Bankruptcy Code. The term "Disputed", when used to modify a reference in this Plan to any

                 12      Claim or Class of Claims shall mean a Claim that is a Disputed Claim as defined herein. In the

                 13      event there is a dispute as to classification or priority of a Claim, it shall be considered a

                 14      Disputed Claim in its entirety. Until such time as a Disputed Claim becomes fixed and absolute,

                 15      such Claim shall be treated as a Disputed Claim and not an Allowed Claim for purposes related

                 16      to allocations and distributions under this Plan. A Disputed Claim includes each Litigation

                 17      Claim, including without limitation any Claim of any plaintiff in Henry v. Matheson Flight

                 18      Extenders, Inc., Case No. 15AC-CC0082 (Circuit County Court, Cole County, MO,class action

                 19      Fair Credit Reporting Act lawsuit), and the claim, if any, of Kristi Blowers in an EEOC

                 20      employment discrimination proceeding.

                 21             S.      Disputed Claim Reserve.        The Reserves established to hold in one or more

                 22      accounts of cash equal to the aggregate amount thereof as provided for in this Plan that would

                 23      have been distributed on a Distribution Date on account of a Disputed Claim or as otherwise

                 24      established by Final Order.

                 25             T.      Distribution. Any Distribution by the Debtor or the Reorganized Debtor to the

                 26      holders of Allowed Unclassified Claims, Allowed Priority Claims and Allowed Claims in

                 27      accordance with the terms of this Plan.

                 28      //I
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                   1            U.      Distribution Date.       Each of: (a) the date on which the Debtor makes a

                   2     Distribution pursuant to any order entered by the Bankruptcy Court to Allowed Unclassified

                   3     Claims, Allowed Priority Claims or Allowed Claims;(b)the date that is the first day of the third

                   4     month following the First Distribution Date on which the Reorganized Debtor will make

                   5     Distributions to holders of Allowed Claims in Class 4 and Class 5, and each successive first day

                   6     of the third month thereafter until the Allowed Claims in Class 4 and Class 5 are paid in

                   7     accordance with this Plan.

                   8            V.      Effective Date. The first business day which is five days after the Confirmation

                   9     Order becomes a Final Order.

                 10             W.      Effective Date Payment.        The payment made by the Reorganized Debtor to

                 11 ', each Stipulating Judgment Creditor as defined in the Settlement Agreement in the amount of

                 12      $142,857, and the payment made by the Reorganized Debtor to each individual holder of an

                 13      Allowed Claim in Class 4 on the Effective Date in the amount of fourteen (14) percent of the

                 14      total amount of each such respective Claim, and the payment made to any counterparty to

                 15      effectuate a cure of an executory contract or unexpired lease of real property that is assumed.

                 16             X.      Equity Security. Any equity security in the Debtor as the term is defined in

                 17      Section 101(16) of the Bankruptcy Code, which states "(A) share in a corporation, whether or

                 18      not transferable or denominated `stock', or similar security;(b) interest of a limited partners in a

                 19      limited partnership; or (C) warrant or right, other than a right to convert, to purchase, sell, or

                 20      subscribe to a share, security, or interest of a kind specified in subparagraph (A) or (B) of this

                 21      paragraph."

                 22             Y.      Equity Security Holder. The holder of an Equity Security of the Debtor. For

                 23      purposes of this Plan, Joe Garrett, Inc. is the shareholder of the Debtor. Trucking is the parent of

                 24      Joe Garrett, Inc., the indirect shareholder ofthe Debtor and a Plan Proponent.

                 25             Z.      Federal Judgment Rate. The rate of interest on judgments as provided for by 28

                 26      U.S.C. §1961 as of the Petition Date.

                 27             AA.     Final Order. An order,judgment or other decree ofthe Bankruptcy Court which

                 28      has been appealed but which has not been vacated, reversed, modified or amended or stayed, or
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                   1     for which the time to appeal or seek review or rehearing has expired with no appeal having been

                  2 ', filed.

                   3            BB.    First Distribution Date.       April 1, 2016, the date on which the Reorganized

                   4     Debtor will make a Distribution on the Allowed Claims in Class 4 and Class 5.

                   5            CC.    Litigation Claim.     All rights, claims, torts, liens, liabilities, obligations, action,

                  6      causes of action, avoidance actions, derivative actions, proceedings, debts, contracts,judgments,

                   7     damages and demands whatsoever in law or in equity, whether known or unknown, contingent or

                   8     otherwise, that Debtor or the Estate may have against any person, or that any person may have

                   9     against the Debtor or the Estate. Failure to list a Litigation Claim herein or in the Disclosure

                 10      Statement shall not constitute a waiver or release by the Debtor or the Reorganized Debtor.

                 11             DD.     Matheson Trucking,Inc.        The parent corporation of Joe Garrett, Inc., the

                 12      indirect parent of MFEI and a Plan Proponent and sometimes referred to as a "Plan Proponent"

                 13      or as "Trucking".

                 14             EE.     Net Operating Income. The cash generated from operations of the Reorganized

                 15      Debtor, minus Operating Costs and Operating Reserves. "Net Operating Income" is sometimes

                 16      referred to as "Cash from Operations" in the Debtor's cash projections.

                 17             FF.     New Value Contribution.       The amount of $1,300,000 contributed by Trucking

                 18      to the Plan as an appropriate contribution pursuant to 11 U.S.C. §1129(b)(2)(B).

                 19             GG.     Operating Costs. All costs associated with the operation, maintenance and

                 20      management ofthe Reorganized Debtor.

                 21             HH.          Operating Reserves. The amount of cash determined in good faith by the

                 22      Debtor or the Reorganized Debtor as appropriate, from time to time, to be reserved and

                 23      maintained in order to pay all reasonably anticipated Operating Costs of the Reorganized Debtor

                 24      for up to a two month period of time.

                 25             II.     Petition Filing Date. April 19, 2015, the date on which Debtor filed its voluntary

                 26      petition commencing the Bankruptcy Case.

                 27             JJ.     Plan.    This Plan of Reorganization, together with any amendments or

                 28      modifications thereto as may be hereafter filed by the Plan Proponents.
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                   1             KK.    Reorganized Debtor. The entity known as Matheson Flight Extenders, Inc., a

                   2     California corporation, created upon entry of the Confirmation Order.

                   3             LL.    Secured Claim. A Claim that is secured by a Lien against property of the Estate

                   4     to the extent of the value of any interest in such property of the Estate securing such Claim or to

                   5     the extent of the amount of such Claim subject to setoff in accordance with Section 553 of the

                   6     Bankruptcy Code, in either case as determined pursuant to Section 506(a) of the Bankruptcy

                   7     Code.

                   8             MM. Settlement Agreement. The document entitled Offer of Matheson Trucking Inc•

                   9     and Matheson Flight Extenders Inc. to Mahamet Camara, Andre De Oliveira, Bemba Diallo,

                 10      Salif Diallo Macire Diarra Ernie Duke and Dean Patricelli, that was accepted by Mahamet

                 11      Camara, Andre De Oliveira, Ernie Duke and Dean Patricelli, on the one hand, and Trucking and

                 12      the Debtor, on the other hand, on November 13, 2015, and that was accepted by Bemba Diallo,

                 13      Salif Diallo and Macire Diarra, on the one hand, and Trucking and the Debtor, on the other hand,

                 14      on November 18, 2015.

                 15              NN.    Settling Plaintiffs.      The four plaintiffs in the Colorado Litigation, Moussa

                 16      Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams, who entered into separate

                 17      contracts with the Debtor and Matheson Trucking prepetition for the settlement and release of

                 18      their claims in the Colorado Litigation and which contracts were not in default on the Petition

                 19      Date and are not currently in default.

                 20              00. Stipulating Judgment Creditors. The seven plaintiffs in the Colorado Litigation

                 21      who did not settle with the Debtor and Trucking prepetition, namely, Andre De Oliveira, Bemba

                 22      Diallo, Dean Patricelli, Ernie Duke, Macire Diarra, Mahamet Camara and Salif Diallo and who

                 23      have entered into the Settlement Agreement with the Debtor and Trucking to fully, completely

                 24      and finally resolve their respective Proofs of Claim filed in this Bankruptcy Case and to fully,

                 25      completely and finally resolve and dismiss the Colorado Litigation.

                 26              1.2    Computation of Time. In computing any period of time prescribed or allowed

                 27      by this Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a)

                 28      shall apply.
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                   1            1.3     Rules of Interpretation.      For purposes of this Plan only (i) any reference in

                  2      this Plan to a contract, instrument, release, or other agreement or documents being in particular

                   3     form or on particular terms and conditions means that such document shall be substantially in

                  4      such form or substantially on such terms and conditions; (ii) any reference in this Plan to an

                   5     existing document or exhibit filed or to be filed means such document or exhibit as it may have

                  6      been or may be amended, modified, or supplemented; (iii) unless otherwise specified, all

                   7     references in this Plan to Sections, Articles, schedules and exhibits are references to Sections,

                   8     Articles, schedules or exhibits of or to this Plan;(iv) the words "herein," "hereof," hereto," and

                   9     "hereunder" refer to this Plan in its entirety rather than to a particular portion of this Plan;(v)

                 10      captions and headings to Articles and Sections are inserted for convenience of reference only and

                 11      are not intended to be a part of or to affect the interpretation of this Plan; and (vi) the rules of

                 12      constructions and definitions set forth in Sections 101 and 102 of the Bankruptcy Code and in the

                 13      Bankruptcy Rules shall apply unless otherwise expressly provided.

                 14             2.      TREATMENT OF UNCLASSIFIED CLAIMS

                 15             Pursuant to Section 1123(a)(1) of the Bankruptcy Code, Unclassified Claims against the

                 16      Debtor are not designated as Classes and the holders of such claims are not entitled to vote on

                 17      this Plan. The treatment of Unclassified Claims is consistent with the requirements of Section

                 18      1129(a)(9)(A) ofthe Bankruptcy Code.

                 19             2.1     Administrative Claims.

                 20              Administrative Claims that have been allowed by final order of the Bankruptcy Court

                 21      will be paid on the Effective Date or, if not Allowed by the Effective Date, then at such time as

                 22      the administrative claimant and the Debtor agree. Except as provided herein, Administrative

                 23      Claims that are allowed will be paid from the Reorganized Debtor's Net Operating Income.

                 24              Unless provided for payment in this Plan, all requests for payment of Administrative

                 25      Claims against Debtor must be filed by the Administrative Claims Bar Date or the holders

                 26      thereof shall be forever barred from asserting such Administrative Claims against the Plan

                 27      Proponents and the Reorganized Debtor. Requests for Administrative Claims may be amended

                 28      to include any fees and costs incurred after the Effective Date. Because the Official Committee
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                   1     of Unsecured Creditors will be dissolved no later than the Effective Date, the Plan Proponents

                  2      anticipate that requests for Administrative Claims on behalf of its professionals incurred after

                   3     the Effective Date will be limited to any fees and costs incurred in seeking final awards

                  4      authorizing payment offees and costs.

                   5            The Administrative Claims that the Plan Proponents seek approval of in this Plan and that

                  6      they propose to pay from the Reorganized Debtor's Net Operating Income on the Effective Date

                   7     are as follows:

                   8            Allowed professional fees to Hartman &Hartman, Ltd.; Lee &High, Ltd., Campbell

                   9     Litigation, Davis Graham &Stubbs, LLP, Pacific Capital Transactions, McDonald Carano

                 10      Wilson and Henry &Horne,LLP.

                 11             2.2        Priority Claims.

                 12             All Priority Claims of any kind specified in Sections 507(a)(1) through (a)(10) are not

                 13      classified and are excluded from the following classes in accordance with Section 1123(a)(1) of

                 14      the Bankruptcy Code. All Priority tax claims, if any, will be paid by the Reorganized Debtor (a)

                 15      on the Distribution Date;(b) such other time as is agreed to by the holder of such Claim and the

                 16      Debtor and the holder of such Claim prior to the Effective Date or the Reorganized Debtor and

                 17      the holder of such Claim after the Effective Date; or (c)regular payments in case of a total value,

                 18      as of the Effective Date of the Plan, equal to the allowed amount of such claim, over a period

                 19      ending not later than 5 years after the Petition Date and in a manner not less favorable than the

                 20      most favored nonpriority unsecured Claim provided by this Plan.

                 21              The Priority Claims that have.been filed are as follows:

                 22                                           Franchise Tax Board, $882.02

                 23                                     City and County of Denver, $5,569.50

                 24             The Debtor believes that these Priority Claims are either not owed or are not yet due.

                 25      The Debtor will attempt to resolve these Priority Claims with the respective creditor and, to the

                 ~~      extent any amounts are due, will either pay those amounts on the Effective Date or, if the Debtor

                 27      has not been able to resolve the matter by that date, will reserve the funds necessary to satisfy the

                 28      Claim and will pay it when the Claim has been resolved.
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                  1                     2.3     Fees to Office of the United States Trustee.

                  2             All fees required to be paid to the United States Trustee will be paid in full upon

                  3      confirmation of the Plan, and shall remain current until the case is fully administered or closed,

                  4      whichever occurs first.

                  5             3.      CLASSIFICATION OF CLAIMS AND INTERESTS

                  6             Pursuant to Section 1123(a)(1) of the Bankruptcy Code, all Claims against the Debtor,

                  7      except Unclassified Claims, are placed in the following classifications as set forth below. The

                  8      holders of Claims in Classes of Claims 4 and 5 are impaired and are entitled to vote on the Plan.

                  9      The Class of Equity Security Interests is not impaired and is not entitled to vote.

                 10 I           Class 1:        Secured Claim of United States Postal Service, to the extent the Claim is a

                 11      Secured Claim,for offset in the amount of $457,663.96.

                 12             Class 2:        Administrative Convenience Allowed Claims of Unsecured Creditors

                 13      owed individually less than $13,500.00.

                 14             Class 3:        Allowed Claims of Settling Plaintiffs.

                 15             Class 4:        Allowed Claims of Unsecured Creditors individually owed more than

                 16      $13,500.00 and not entitled to priority under Section 507 of the Bankruptcy Code and not

                 17      otherwise included in any other class hereof, including, without limitation, claims which may

                 18      arise out of the rejection of executory contracts or unexpired leases.

                 19              Class 5:       Allowed Claims of the Stipulating Judgment Creditors.

                 20              Class 6:          Claim of Wells Fargo Bank, NA.

                 21              Class 7:       The claims and interests of the Equity Security Holders of the Debtor.

                 22              4.      TREATMENT OF CLAIMS AND INTERESTS

                 23              Classes of Claims and Interests shall be treated as set forth herein below.

                 24              4.1.   Class 1 —The Secured Claim of the United States Postal Service will be paid in

                 25      full on the Effective Date from the funds the United States Postal Service is holding to offset a

                 26      debt owed by the Debtor in the amount of $457,663.96 in full satisfaction of the Claim of the

                 27      United States Postal Service for $457,663.96. Class 1 is not impaired and not entitled to vote.

                 28      /ll
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                   1             4.2    Class 2 —Administrative Convenience Allowed Claims of Unsecured Creditors

                         owed less than $13,500.00. Plan Proponents propose to pay the Allowed Claims of Class 2

                  3      Creditors in full on the Effective Date.   Class 2 Creditors are unimpaired and are not entitled to

                  4      vote.

                  5              4.3    Class 3 —Allowed Claims of Settling Plaintiffs will receive Distributions from the

                  6      Net Operating Income of the Reorganized Debtor in accordance with the terms of the respective

                  7      pre-petition contract between the Debtor and Trucking, on the one hand, and each respective

                   8     Settling Plaintiff, on the other hand. Class 3 Creditors are unimpaired and are not entitled to

                  9      vote.

                 10              4.4    Class 4 —Allowed Claims of Unsecured Creditors individually owed more than

                 11      $13,500 will be paid 100 percent of their Allowed Claims plus interest at the Federal Judgment

                 12      Rate, with an Initial Payment of 14 percent of each Allowed Claim on the Effective Date, and the

                 13      balance of each Allowed Claim over eight years in quarterly installments.            At the entire

                 14      discretion of the Reorganized Debtor, the Reorganized Debtor may prepay any Minimum

                 15      Distribution on Allowed Claims in Class 4 entirely at the discretion of the Reorganized Debtor

                 16      from Net Operating Income. Discretionary payments from Net Operating Income, if any, will be

                 17      made proportionately to every holder of an Allowed Claim in Class 4.

                 18              4.5    Class 5 — In full satisfaction of the Proof of Claim each Stipulating Judgment

                 19      Creditor filed herein, the Stipulating Judgment Creditors will be paid in accordance with the

                 20      Settlement Agreement as follows: to each Stipulating Judgment Creditor, Trucking has made the

                 21      Initial Payment as defined in the Settlement Agreement in the amount of $185,714; on the

                 22      Effective Date, the Reorganized Debtor will pay to each Stipulating Judgment Creditor the

                 23      amount of $142,857 as the Effective Date Payment; and the Reorganized Debtor will pay the

                 24      sum of $714,286 in 32 equal quarterly payments with the first quarterly payment to commence

                 25      April 1, 2016. The amount awarded to each Stipulating Judgment Creditor as back pay in the

                 26      Colorado Judgment shall be paid to that Stipulating Judgment Creditor as wages (i.e., subject to

                 27      withholdings and reported on an IRS form W-2); the remainder of the payments to each

                 28      Stipulating Judgment Creditor shall be paid in gross, reported on IRS form 1099s, and allocated
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                   1     between payments to the Stipulating Judgment Creditor and his counsel as directed in advance

                  2      by counsel; and any payment due to a Stipulating Judgment Creditor will be made by check

                  3      made payable to the Stipulating Judgment Creditor and delivered to the Stipulating Judgment

                  4      Creditor in care of his counsel.

                                 4.6.   Class 6 —Wells Fargo Bank, NA will retain its guaranty against the Debtor and

                   G~    will be entitled to enforce it in the event of a material default on the terms of the Forbearance

                  7      Agreement and Credit Agreement. The Class 6 Creditor is unimpaired and is not entitled to vote.

                   8             4.7    Class 7 —Equity Security Holders will retain their interests in the Reorganized

                  9      Debtor. Equity Security Interests are unimpaired and the holders of Equity Security Interests are

                 10      conclusively deemed to have accepted the Plan pursuant to §11260 of the Bankruptcy Code.

                 11      Therefore, the holders of Equity Security Interests are not entitled to vote to accept or reject the

                 12      Plan.

                 13              5.     MEANS TO EFFECTUATE THE PLAN

                 14              5.0    Means to Effectuate Plan. The Plan Proponents intend to effectuate the Plan in

                 15      one oftwo alternative means, as follows:

                 16                     This Plan provides that the Debtor will continue to exist on and after the Effective

                 17      Date as the Reorganized Debtor. The Plan will be implemented as follows:

                 18                     5.0.1   The Debtor will, as the Reorganized Debtor, continue to exist after the

                 19      Effective Date, with all the corporate powers under applicable law and without prejudice to any

                 20      right to alter or terminate such existence (whether by merger, dissolution or otherwise) under

                 21      applicable state law, and the Debtor may enter into and consummate one or more corporate

                 22      restructuring transactions, including, but not limited to, changing the business or corporate form

                 23      of the Debtor. Except as otherwise provided herein, after the Effective Date Payment is made,

                 24      all property of the Estate of the Debtor, and any property acquired by the Debtor or Reorganized

                 25      Debtor under the Plan, will vest in the Reorganized Debtor, free and clear of all Claims, liens,

                 ~~      charges, other encumbrances and interests, other than those otherwise expressly provided for

                 27      pursuant to the Plan. On and after the Effective Date, the Reorganized Debtor may operate its

                 28      business and may use, acquire and dispose of property and compromise or settle any Claims
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                   1     without supervision or approval by the Bankruptcy Court and free of any restrictions of the

                  2      Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the

                  3      Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized Debtor may

                  4      pay the charges that it incurs on or after the Effective Date for Professionals' fees,

                  5      disbursements, expenses or related support services (including fees relating to the preparation of

                  6      Professional fee applications) without application to the Bankruptcy Court. To the extent the

                  7      Reorganized Debtor has Net Operating Income, the Reorganized Debtor will use its Net

                  8      Operating Income to meet Effective Date requirements and to make Distributions under the Plan.

                  9      Distributions under the Plan will be made from the New Value Contribution and Debtor's Net

                 10      Operating Income. The New Value Contribution has been made to the Reorganized Debtor by

                 11      Trucking.

                 12                     5.0.2. In accordance with Section 1123(b)(3) of the Bankruptcy Code, all

                 13      Litigation Claims will be assigned and transferred to the Reorganized Debtor.

                 14                     5.0.3. The Reorganized Debtor will continue to prosecute and defend the

                 15      Disputed Claims in the court or administrative venue in which each is currently pending,

                 16      including any appeals therefrom. To the extent the holders of Disputed Claims did not timely

                 17      file .Proofs of Claim, the Disputed Claims will be disallowed in their entirety and any pending

                 18      Litigation related thereto will be dismissed with prejudice. In addition, the Reorganized Debtor

                 19      will continue to prosecute any and all Litigation Claims in the discretion of the Reorganized

                 20      Debtor, including obtaining dismissal of any Litigation Claim for which the Creditor did not

                 21      timely file a Proof of Claim.

                 22                     5.0.4 The Settlement Agreement, which is incorporated herein by this reference

                 23      as if fully set forth herein, shall be deemed in full force and effect and approved in its entirety.

                 24      The Settlement Agreement shall be binding upon the parties thereto, including all successors and

                 25      assigns. The Stipulating Judgment Creditors and the Plan Proponents will take all steps

                 26      necessary to effectuate all terms of the Settlement Agreement, whether or not set forth in full

                 27      herein.

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                   1            5.1     Effective Date Events. On the Effective Date, the following events shall occur:

                  2                     5.1.1   The Reorganized Debtor will be created as set forth in this Plan and the

                  3      Confirmation Order.

                  4                     5.1.2. Trucking shall be deemed to have made a New Value Contribution to the

                   5     Debtor.

                  6                     5.1.3. Effective Date Payments to Creditors as set forth in this Plan as required

                   7     to be made on the Effective Date will be made.

                   8                    5.1.4   The Reorganized Debtor will continue to operate the business of the

                  9      Debtor.

                 10                     5.1.5    The Settlement Agreement will be in full force and effect and all of its

                 11      terms, whether or not set forth herein will be fully enforceable and binding on all parties.

                 12                     5.1.6 To the extent the Official Committee of Unsecured Creditors has not

                 13      previously been disbanded, it will be dissolved.

                 14            5.2      Procedures for Resolving Disputed Claims

                 15                     5.2.1   Prosecution of Objections to Claims

                 16                     The Bar Date for filing proofs of claim is August 17, 2015 for nongovernmental

                 17      Creditors and October 16, 2015, for certain governmental creditors. After the Confirmation

                 18      Date, only the Debtor or the Reorganized Debtor will have the authority to file, settle,

                 19      compromise, withdraw or litigate to judgment objections to Claims, including pursuant to any

                 20      alternative dispute resolution or similar procedures approved by the Bankruptcy Court. After the

                 21      Effective Date, the Reorganized Debtor may settle or compromise any Disputed Claim without

                 22      approval of the Bankruptcy Court.

                 23                     5.2.2 Treatment of Disputed Claims

                 24                     Notwithstanding any other provisions of the Plan, no payments or distributions

                 25      will be made on account of a Disputed Claims until such Claim becomes an Allowed Claim. Any

                 26      Disputed Claim for which a proof of claim was not timely filed will be disallowed in its entirety

                 27      and any Litigation related thereto will be dismissed with prejudice.

                 28      ///
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                   1                   5.2.3   Distributions on Account of Disputed Claims Once Allowed

                   2                    The Reorganized Debtor will promptly make all distributions on account of any

                   3     Disputed Claim that has become an Allowed Claim. Such distributions will be made pursuant to

                   4     the provisions of the Plan governing the applicable Class.

                   5                    5.2.4 Estimation

                   6                    The Debtor or the Reorganized Debtor, as the case may be, may at any time

                   7     request that the Bankruptcy Court estimate any Disputed Claim pursuant to section 502(c) of the

                   8     Bankruptcy Code regardless of whether the Debtor or the Reorganized Debtor has previously

                   9     objected to such Claim. The Bankruptcy Court will retain jurisdiction to estimate any Claim at

                 10      any time, including during proceedings concerning any objection to such Claim. If the

                  11     Bankruptcy Court estimates any Disputed Claim, such estimated amount may constitute either

                  12     (a) the Allowed amount of such Claim,(b)the amount on which a reserve is to be calculated for

                  13     purposes of any reserve requirement under the Plan, or (c) a maximum limitation on such Claim,

                  14     as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum

                  15     limitation on such Claim, the Debtor or the Reorganized Debtor, as the case may be, may elect to

                  16     object to ultimate payment of such Claim. All of the aforementioned Claims objection,

                  17     estimation and resolution procedures are cumulative and not necessarily exclusive of one

                  18     another.

                  19            6.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                 20                     6.01. Plan Terms Applicable to All Executory Contracts and Unexpired Leases

                 21                     Except for XL Catlin.

                 22            Any executory contract and unexpired lease that (i) has not expired by its own terms on or

                 23      prior to the Effective Date, (ii) has not been assumed or rejected by the Debtor during the

                 24      pendency of the Chapter 11 Case, (iii) is not listed in Exhibit H to the Disclosure Statement as

                 25      executory contracts or unexpired leases to be rejected, and (iv) is not the subject of a pending

                 26      motion to reject such executory contract or unexpired lease, shall be deemed assumed by the

                 27      Debtor as of immediately prior to the Effective Date, and the entry of the Confirmation Order by

                 28      the Bankruptcy Court shall constitute approval of any such assumption pursuant to section
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                  1      365(a) and 1123 of the Bankruptcy Code. Any executory contract or unexpired lease listed in

                  2      Exhibit H to the Disclosure Statement as an executory contract or unexpired lease to be rejected

                  3      by the Debtor shall be deemed rejected by the Debtor as of immediately prior to the Effective

                  4      Date, and the entry of the Confirmation Order by the Bankruptcy Court shall constitute approval

                  5      of any such rejection pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

                  6             Entry of the Confirmation Order shall constitute (i) approval, pursuant to Section 365(a)

                  7      of the Bankruptcy Code, of the assumption by the Reorganized Debtor of each executory

                  8      contract and unexpired lease listed on Schedule A and each executory contract and unexpired

                  9      lease assumed by prior order of the Bankruptcy Court,(ii) approval for the Estate to reject each

                 10      executory contract and unexpired lease to which a Debtor is a party and which is not listed on

                 11      Schedule A and neither assumed, assumed and assigned nor rejected by separate order prior to

                 12      the Effective Date. Upon the Effective Date, each counter party to an executory contract or

                 13      unexpired lease listed on Schedule A shall be deemed to have consented to assumption

                 14      contemplated by Bankruptcy Code Section 365(c)(1)(B), to the extent such consent is necessary

                 15      for such assumption. Any default entitled to monetary cure respecting any assumed executory

                 16      contract or unexpired lease shall be paid on the Effective Date.

                 17             All proofs of claim arising from the rejection (if any) of executory contracts or unexpired

                 18      leases must be filed with the Bankruptcy Court by no later than 30 days after the earlier of: (i)

                 19      the date of entry of an order of the Bankruptcy Court approving any such rejection and (ii) the

                 20      Effective Date. Any Claims arising from the rejection of an executory contract or unexpired

                 21      lease for which no proof of claim was timely filed will be forever barred from assertion against

                 22      the Debtor or the Reorganized Debtor, its estate and property. All such Claims shall, as of the

                 23      Effective Date, be subject to the discharge and permanent injunctions set forth in the Plan.

                 24              Any monetary amounts by which an executory contract or unexpired lease to be assumed

                 25      pursuant to the Plan is in default shall be satisfied pursuant to section 365(b)(1) of the

                 26      Bankruptcy Code by payment of the default amount in cash or on such other terms as the parties

                 27      to each such executory contract or unexpired lease may otherwise agree. In the event of any

                 28      dispute regarding the amount of any cure payments, (a) the Bankruptcy Court will retain
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                   1     jurisdiction to adjudicate any such dispute, and (b) if the Bankruptcy Court determines that any

                  2      such disputed cure amount is required to be paid (in full or in part) by the Debtor pursuant to

                  3      section 365(b)(1) of the Bankruptcy Code, the Debtor will pay such cure amount in the ordinary

                  4      course following entry of the Bankruptcy Court's Final Order resolving such cure dispute,

                  5      provided that, the Debtor or Reorganized Debtor shall have the right, following entry of such a

                  6      Final Order fixing a cure amount(if any)to reject the applicable executory contract or unexpired

                  7      lease and any such rejection shall be deemed to have occurred immediately prior to the Effective

                  8      Date.

                  9                       6.02. Plan Terms Applicable to XL Catlin.

                 10              Greenwich Insurance Company and XL Specialty Insurance Company (collectively,"XL

                 11      Catlin"), filed a secured claim in an undetermined amount arising out of unpaid premium

                 12      payments and other amounts due under certain insurance policies and non-policy agreements

                 13      issued by XL Catlin to Trucking, on its own behalf and on behalf of the Debtor, and/or entered

                 14      into between XL Catlin and Trucking, on its own behalf and on behalf of the Debtor, prior to the

                 15      Petition Date.

                 16              Prior to the Petition Date, XL Catlin issued certain insurance policies (collectively, with

                 17      the "Aviation Policy" referred to below, the "Policies") to Trucking, on its own behalf and on

                 18      behalf of the Debtor: (i) a Commercial General Liability Policy No. RGD9435053, having a

                 19      policy period March 1, 2015 through March 1, 2016; (ii) an Automobile Liability Policy No.

                 20      RAD500195, having a policy period March 1, 2015 through March 1, 2016; (iii) an Automobile

                 21      Liability Policy No. RAD 9435052, having a policy period March 1, 2015 through March 1,

                 22      2016; and (v) a Workers Compensation Policy No. RWD9435054, having a policy period March

                 23      1, 2015 through March 1, 2016. Also prior to the Petition Date, XL Catlin issued an Aviation

                 24      Policy No. UA00010968AV15A, having a policy period March 1, 2015 through march 1, 2016

                 25      (the "Aviation Policy")to the Debtor.

                                 Also prior to the Petition date, XL Catlin and Trucking, on its own behalf and on behalf

                 27      of the Debtor, entered into an Insurance Program Agreement (the "Insurance Program

                 28      Agreement") and a series of Plan Specification agreements (the "Plan Specifications" and, with
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                   1     the Insurance Program Agreement, the "Non-Policy Agreements"). The Non-Policy Agreements

                  2      establish and provide for, among other things, the payments the insureds are required to pay to

                   3     XL Catlin (the "Obligations"), XL Catlin's right of offset, the security for the insureds

                  4      Obligations that the insureds are required to deliver to XL Catlin (the "Collateral"), events of

                   5     default and XL Catlin's rights in the event of default, including XL Catlin's use of the Collateral,

                  6      the insureds' obligation to indemnify XL Catlin, and the parties' agreement with respect to

                   7     arbitration.

                   8            Pursuant to the Non-Policy Agreements, Trucking, on its own behalf and on behalf of the

                   9     Debtor, originally provided XL Catlin with a clean, unconditional and irrevocable letter of credit

                 10      (the "Letter of Credit") in the amount of $2,500,000. For the policy period March 1, 2015

                 11      through March 1, 2016, the amount of the Letter of Credit has been increased to $6,340,000. XL

                 12      Catlin has not drawn on the Letter of Credit.

                 13              As of the Petition Date, XL Catlin has a claim against the Debtor in an undetermined

                 14      amount because, while all basic Premium has been paid as of that date, certain of the Policies

                 15      have a retrospective premium feature, pursuant to which Incurred Losses are used to calculate

                 16      and adjust the final Premium due. Accordingly, the amount of the Premium due in connection

                 17      with the Policies will not be known until the relevant policy periods have expired and the

                 18      necessary audits have been conducted.

                 19              All of the insureds' Obligations to XL Catlin are secured by XL Catlin's right of setoff,

                 20      as provided under the Non-Policy Agreement and under other non-bankruptcy law. In addition,

                 21      all of the insureds' Obligations to XL Catlin are secured by a security interest in the Collateral,

                 22      the proceeds of the Collateral and any return premiums or other amounts that may be payable to

                 23      the insureds by XL Catlin. XL Catlin's claim is secured by a credit in the amount of $21,104.04

                 24      owed by XL Catlin to the insureds in connection with a prior year's Workers Compensation

                 25      policy. In addition, in the event XL Catlin draws on the Letter of Credit, XL Catlin's Claim also

                 26      is secured by the proceeds of the Letter of Credit. Notwithstanding anything to the contrary in

                 27      the Disclosure Statement, the Plan, the Confirmation Order, any other document related to any of

                 28      the foregoing or any other order of the Bankruptcy Court (including, without limitation, any
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                   1     other provision that purports to be preemptory or supervening or grants an injunction or release,

                  2      including, but not limited to, the injunctions set forth in Section 7.7 and 7.8 ofthe Plan):

                   3            (a) on the Effective Date, the Reorganized Debtor shall assume all the Policies, as

                  4      amended or modified, issued at any time to the Debtor, its affiliates or predecessors, and all

                   5     agreements related thereto, as amended or modified (collectively, the "Insurance Contracts");

                  6             (b) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other

                  7      document related to any of the foregoing or any other order of the Bankruptcy Court alters,

                   8     modifies or otherwise amends the terms and conditions of or the coverage provided by any of the

                   9     Insurance Contracts, except that as of the Effective Date the Reorganized Debtor shall become

                 10      and remain liable for all of the Debtor's obligations and liabilities thereunder regardless of

                 11      whether such obligations and liabilities arise before or after the Effective Date; provided,

                 12      however that the Debtor or Reorganized Debtor, as applicable, shall retain the right to challenge

                 13      any amounts owed under the Insurance Contracts in accordance with their terms, and the rights

                 14      and obligations of the parties under the Insurance Contracts, whether or not such Insurance

                 15      Contracts are executory or were in effect before or after the Petition Date, shall remain fully

                 16      enforceable by the parties after the Effective Date;

                 17             (c) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other

                 18      document related to any of the foregoing or any other order of the Bankruptcy Court, including

                 19      without limitation any prepetition or administrative claim bar date order or claim objection order

                 20      alters or modifies the duties, if any, that the insurers and/or third party administrators have to pay

                 21      claims covered by the Insurance Contracts or the insurers' and/or third party administrators'

                 22      rights to seek payment or reimbursement from the Debtor or, after the Effective Date, the

                 23      Reorganized Debtor or to draw on any collateral or security therefor in accordance with the

                 24      terms of the Insurance Contracts;

                 25             (d)insurers and third party administrators shall not need to nor be required to file or serve

                 26      an objection to any proposed Cure Amount, or a request, application, claim, proof of claim or

                 27      motion for payment of any prepetition or administrative claim, and shall not be subject to the any

                 28      claim bar date or similar deadline governing Cure Amounts or prepetition or administrative
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                   1 ~) claims; and

                  2             (e) the automatic stay of section 362(a) of Bankruptcy Code and the injunctions set forth

                  3      in Section 7.7 and Section 7.8 of the Plan, if and to the extent applicable, shall be deemed lifted

                  4      without further order of the Bankruptcy Court solely to permit: (i) claimants with valid claims

                  5      covered by any of the Insurance Contracts ("Insured Claims") to proceed with their Insured

                  6      Claims; (ii) insurers and/or third party administrators to administer, handle, defend, settle, and/or

                  7      pay, in the ordinary course of business and subject to the terms of the Insurance Contracts,

                  8      without further order of the Bankruptcy Court, all Insured Claims and all costs in relation

                  9      thereto; (iii) insurers and/or third party administrators to draw against any or all of any collateral

                 10      or security provided by or on behalf of the Debtor or the Reorganized Debtor, as applicable, at

                 11      any time and to hold the proceeds thereof as security for the obligations of the Debtor or the

                 12      Reorganized Debtor, as applicable, to the applicable insurers and/or third party administrators

                 13      and/or to apply such proceeds to the obligations of the Debtor or the Reorganized Debtor, as

                 14      applicable, in accordance with the terms of the Insurance Contracts, and (iv) insurers and/or

                 15      third party administrators to cancel any insurance policies under the Insurance Contracts, and

                 16      take other actions relating thereto, to the extent permissible under applicable non-bankruptcy

                 17      law, each in accordance with the terms ofthe Insurance Contracts.

                 18              The terms set forth above are in full satisfaction of the Proof of Claim filed on behalf of

                 19      XL Catlin in the Bankruptcy Case.

                 20              7.      MISCELLANEOUS PROVISIONS

                 21              7.1     On the Confirmation Date, immediately after the Effective Date Payment is made,

                 22      all property of the estate of Debtor shall be re-vested in the Reorganized Debtor, which shall

                 23      retain such property free and clear of all liens, claims, encumbrances and interests of the

                 24      Creditors. The name of the Reorganized Debtor will be Matheson Flight Extenders, Inc., a

                 25      California corporation.

                 26              7.2     Reorganized Debtor will serve as disbursing agent and shall disburse all property

                 27      to be distributed under the Plan. Reorganized Debtor may employ or contract with other entities

                 28      to assist in or to perform Distributions and shall serve without bond.
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      STUBBS LLP
   ATTORNEYS AT LAW
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  RENO, NEVADA 89501
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                   1            7.3     Confirmation of the Plan constitutes the discharge pursuant to 11 U.S.C. § 1141

                  2      of any and all liabilities of the Debtor which are discharged pursuant to the provisions of the

                  3      Bankruptcy Code.

                  4             7.4     In accordance with Section 1123(b)(3) of the Bankruptcy Code, any and all

                  5      Litigation Claims that may exist shall be transferred and assigned to the Reorganized Debtor.

                  6             7.5     The estate shall be deemed to be fully administered upon the commencement of

                  7      Distribution to Creditors as set forth herein, and a final decree may be entered in accordance with

                  8      Fed. R. Bankr. Pro. 3022. In the event of any default by the Reorganized Debtor in performing

                  9      any term of this Plan, the Reorganized Debtor will have 60 days after receipt of written notice of

                 10      such a default by the holder of an Allowed Claim within which to cure the default.

                 11             7.6     Releases

                 12                     7.6.1   Releases for All Creditors and Interested Parties Except the Settling

                 13      Plaintiffs (Moussa Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams).

                 14      From and after the Effective Date, the following releases shall become effective: by and

                 15      between the Debtor, on the one hand, and the holders of Claims with the exception of the

                 16      Settling Plaintiffs (Moussa Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams),

                 17      on the other hand, that to the fullest extent permissible under applicable law, as such law may be

                 18      extended or interpreted subsequent to the Effective Date; each such person that has held, holds or

                 19      may hold a Claim, whether Allowed, terminated, transferred, or conveyed pursuant to this Plan,

                 20      Disallowed or is not entitled to receive any distribution pursuant to this Plan, in consideration for

                 21      the obligations of the Reorganized Debtor and other contracts, instruments, releases, agreements

                 22      or documents to be delivered in connection with this Plan, shall conclusively, absolutely,

                 23      unconditionally, irrevocably and forever, release and discharge the Debtor from any claim or

                 24      cause of action existing as of the Effective Date, including but not limited to, any claim or cause

                 25      of action, interest, right, or dispute, including but not limited to any claim or cause of action,

                 26      interest, right or dispute arising from, based on or relating to, in whole or in part, the subject

                 27      matter of or the transactions or events giving rise to the Settlement Agreement and in the act,

                 28      omission, occurrence or event in any matter relating to such subject matter, transaction or
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      STUBBS LLP
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                   1     obligation. This release is intended to be as broad as possible, and shall include the Debtor's

                  2      officers, directors, managers, attorneys, accountants, agents and employees.

                   3                    7.6.2 Releases for Settling Plaintiffs, Moussa Dembele, Mohamed Kaba,

                  4       Cresencio Sanchez and Ernest Williams.          As set forth in the Settlement Agreement and

                   5      Release of All Claim between each of the Settling Plaintiffs, on the one hand, and the Debtor

                  6       and Trucking, on the other hand (defined therein as the "Matheson Defendants"), the following

                   7      releases apply as to each of the Settling Plaintiffs: "As a material inducement to the Matheson

                   8      Defendants to enter into this Agreement Plaintiff, as a free and voluntary act, forever releases,

                  9       discharges and covenants not to sue MATHESON for any Claims of any kind whatsoever,

                 10       which may have arisen on or prior to Plaintiff's execution of this Agreement, including but not

                 11       limited to (1) Claims relating in any way to Plaintiff's employment with MATHESON and/or

                 12       the employment opportunities that were provided and/or denied to Plaintiff,(2) Claims relating

                 13       in any way to the separation of Plaintiff's employment with MATHESON, (3) Plaintiff's

                 14       compensation by MATHESON,and (4) any other matter, cause or thing whatsoever which may

                 15       have occurred between Plaintiff and MATHESON on or prior to Plaintiff's execution of this

                 16       agreement."

                 17             7.7     Plan Injunction. From and after the Effective Date and except as provided in this

                 18      Plan and the Confirmation Order, all entities that have held, currently hold or may hold a Claim

                 19      or Equity Security Interest in the Debtor that is Allowed, terminated, transferred, or conveyed

                 20      pursuant to this Plan or Disallowed or is not entitled to receive any distribution pursuant to this

                 21      Plan, are permanently enjoined from taking any of the following actions on account of any such

                 22      claim or interest: (i) commencing or continuing in any manner any action or proceeding against

                 23      the Debtor or the Reorganized Debtor or any of their respective property; (ii) enforcing,

                 24      attaching, collecting or recovering in any manner any judgment, award, decree or order against

                 25      the Reorganized Debtor, or their respective property; (iii) creating, perfecting or enforcing any

                 26      lien or encumbrance against the Reorganized Debtor's property; (iv) asserting a setoff, right of

                 27      subrogation or recoupment of any kind against any debt, liability or obligation due to the

                 28      Reorganized Debtor or its property;(v) commencing or continuing any action, in any manner or
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      STUBBS LLP
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                   1     any place, that does not comply with or is inconsistent with the provisions of this Plan or the

                   2     Bankruptcy Code.

                   3            7.8    Supplemental Injunction Applicable Only to the Class 5 Stipulating

                  4      Judgment Creditors.          In order to preserve and promote the treatment of Creditors

                   5     contemplated by and provided for in the Plan, except as otherwise expressly provided in the Plan

                  6      or the Confirmation Order, all persons and any person claiming by or through them, which have

                   7     held or asserted, which currently hold or assert, or which may hold or assert any Claims or any

                   8     other causes of action, obligations, suits, judgments, damages, debts, rights, remedies, or

                   9     liabilities of any nature whatsoever, and all Equity Interests, or other rights of a Holder of an

                 10      equity security or other ownership interest, against any of the released parties based upon,

                 11      attributable to, arising out of or relating to any Claim against or Equity Interest in the Debtor,

                 12      whenever and wherever arising or asserted, whether sounding in tort, contract, warranty or any

                 13      other theory of law, equity or admiralty, shall be, and shall, as long as the Debtor is performing

                 14      under its Plan and completes its Plan, be deemed to be, stayed, restrained and enjoined from

                 15      taking any action against any Trucking for the purpose of directly or indirectly collecting,

                 16      recovering or receiving any payment or recovery with respect to any such Claims or other causes

                 17      of action, obligations, suits, judgments, damages, debts, rights remedies or liability, and all

                 18      Equity Interests or other rights of a holder of an equity security or other ownership interest,

                 19      arising prior to the Effective Date, including, but not limited to (i) commencing or continuing in

                 20      any manner any action or other proceeding, (ii) enforcing, attaching, collecting or recovering in

                 21      any manner any judgment, award, decree or order,(iii) creating, perfecting or enforcing any lien

                 22      or encumbrance,(iv) asserting a setoff, right of subrogation or recoupment of any kind against

                 23      any debt, liability or obligation due to any Released Party, and (v) commencing or continuing

                 24      any action, in any manner, in any place that does not comply with or is inconsistent with the

                 25      terms of the Plan.

                 ~~             7.9     Exculpation. Through the Effective Date, the Plan Proponents, and their officers,

                 27      directors, managers, attorneys, accountants, consultants, agents and employees since the Petition

                 28      Date, including but not limited to any professionals employed by them pursuant to an order of
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      STUBBS LAP
   ATTORNEYS AT LAW
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                   1     the Court under Sections 327 and 1103 of the Bankruptcy Code, shall not incur any liability to

                   2     the Debtor or any other Creditor, Equity Security Interest or interest holder, and other parties in

                   3     interest in the Bankruptcy Case for any act or omission in connection with or arising out of the

                   4     Bankruptcy Case, including, without limitation, prosecuting confirmation of this Plan, the

                   5     administration of this Estate, the Plan or the property to be distributed under this Plan, except for

                   6     gross negligence or willful misconduct, and in all respects, such person will be entitled to rely on

                   7     the advice of counsel with respect to their duties and responsibilities with respect to the

                   8     Bankruptcy Case and this Plan.

                   9            7.10     In the event that any impaired Class entitled to vote is determined to have rejected

                 10      this Plan in accordance with Section 1126 of the Bankruptcy Code, the Plan Proponents may

                 11      invoke the provisions of Section 1129(b) of the Bankruptcy Code to satisfy the requirements for

                 12      confirmation of this Plan. The Plan Proponents reserve the right to modify this Plan to the

                 13      extent, if any, that confirmation pursuant. to Section 1129(b) of the Bankruptcy Code requires

                 14      modification.

                 15             7.11     After the Effective Date, the Reorganized Debtor may object to Proofs of Claim.

                 16      Any such objections shall be filed and served not later than 90 days after the Effective Date;

                 17      provided, however, that such period may be extended by order of the Bankruptcy Court for good

                  18     cause shown.

                 19             7.12     No Proof of Claim filed after the Bar Date shall be allowed, and all such Claims

                 20      are deemed disallowed and forever barred. No Creditor shall be permitted to amend any Proof of

                 21      Claim except to decrease the amount owed.

                 22             7.13     This Plan shall be binding upon, and inure to the benefit of the Debtor, the

                 23      Reorganized Debtor, Creditors, Equity Security Holders and their respective successors and

                 24      assigns.

                 25             7.14 Except to the extent the Bankruptcy Code or other federal law is applicable or as

                 26      provided in any contract, instrument, release or other agreement, the rights, duties and

                 27      obligations of Debtor and any other person arising under this Plan shall be governed by and

                 28      construed and enforced in accordance with the internal laws of the State of Nevada, without
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                   1     giving effect to Nevada's choice of law provisions.

                   2            7.15. In the event of a Default Under the Plan, the Supplemental Injunction will no

                   3     longer be of force and effect and the Stipulating Judgment Creditors will be entitled to file the

                   4     Stipulated Judgment in the Colorado Court against Trucking and to enforce the Stipulated

                   5     Judgment in accordance with the Settlement Agreement.

                   6            8.        RETENTION OF JURISDICTION

                   7            The Bankruptcy Court shall retain jurisdiction for the following specific purposes:

                   8            8.1       For the purpose specified in Section 1142 ofthe Bankruptcy Code;

                                8.2       The consideration of Claims and such objections as may be filed to the Claims of

                 10      Creditors pursuant to Section 502 of the Bankruptcy Code, to decide or resolve any matter over

                 11      which the Bankruptcy Court has jurisdiction pursuant to Section 505 of the Bankruptcy Code,

                 12      and to file and prosecute any claims of the estate or counterclaims against such Creditors as may

                 13      be permitted by law;

                 14             8.3       The fixing of compensation for the persons entitled thereto;

                 15             8.4       To hear and determine the amount of all encumbrances or the recovery of any

                 16 ', preferences, transfers, assets or damages to which the Debtor's estate may be entitled under

                 17      applicable- provisions of the Bankruptcy Code or other federal, state, or local law;

                  18            8.5       To resolve any disputes regarding interpretation and enforcement of the Plan and

                 19      the Settlement Agreement;

                 20             8.6       To implement the provisions of the Plan and the Settlement Agreement, including

                 21      all provisions in the Plan which specify the retention of jurisdiction, and to make such further

                 22      orders as will aid in consummation of the Plan, including granting declaratory relief, issuing

                 23      injunctions, and ordering the transfers as set forth in the Plan after the Confirmation Date;

                 24             8.7       To adjudicate controversies regarding property of the Debtor's estate and

                 25      regarding ownership thereof, including adjudication of causes of action which constitute property

                 26      of the estate;

                 27             8.8       To modify this Plan in accordance with Section 1127 of the Bankruptcy Code;

                 28      ///
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      STUBBS LLP
   ATTORNEYS AT LAW                                                       l~.J
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                   1           8.9     To enter such orders as may be necessary or appropriate to implement or

                  2      consummate the provisions of this Plan and all contracts, instruments, releases and other

                  3      agreements or documents created in connection with this Plan, the Settlement Agreement, the

                  4      Disclosure Statement or the Confirmation Order; and

                  5             8.10   To enter a final decree and order closing the case.

                  6             9.     MODIFICATION OF PLAN

                  7             The Plan Proponents may modify the Plan with regard to the treatment of any Creditor

                  8      class, in connection with any agreement or settlement with such Creditor class or in order to

                  9      comply with the requirements of the Code as established by the Court, provided such

                 10      modification does not materially. adversely affect any other class of Creditors.        Such

                 11      modifications may be reflected in the order confirming the plan of reorganization. Any other

                 12      modification of the Plan shall be in accordance with Section 1127 of the Code.

                 13             DATED this 23`d day of November,2015.

                 14
                                                                     DAMS GRAHAM 8G STUBBS LLP
                 15
                                                                      /s/ Cecilia Lee, Esq.
                 16
                                                                      CECILIA LEE,ESQ.
                 17                                                   ELIZABETH HIGH,ESQ.

                 18                                                   HARTMAN BL HARTMAN,LTD.

                 19 '                                                /s/ Jeffrey L. Hartman, Esq,.
                                                                     JEFFREY L. HARTMAN,ESQ.
                 20
                                                                      DOWNEY BRAND LLP
                 21
                                                                     /s/ Sallie B. Armstron~q.
                 22
                                                                     SALLIE B. ARMSTRONG,ESQ.
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      STUBBS LLP
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 SCHEDULE A TO PLAN
                                            Matheson Flight Extenders, Inc.
                                           Summary of Executory Contracts
                                                  Schedule A to Plan
                 Subject to approve ofthe Debtor's Motion to Assume Professional Services Agreement

    Contracting Party                    Description of Contract                           Cure Amount Due
                                                                                            on Confirmation

1   Aviation G.S.E. America              Personal Property Rental Agreement                           $10,813.13
    120 Sylvan Avenue                    36 month rental agreement
                                                                                                                   Case 15-50541-btb




    Suite 114                            Beginning date: June 3, 2014
    Englewood Cliffs, NJ 07632           1 - 2014 JBT Tech Commander 30i loader(New).

2   Core Transport Technologies LLC      Debtor is the Customer in Web Services                        $6,756.95
    6508 The Landings Dr.                Agreement and Addendum,for use of CORE
                                                                                                                   Doc 482




    Orlando, FL 32812                    Scanners and related accessories, to support
                                         Debtor's contract obligations with LISPS.

3   Delta Airlines                       Airport Services Master Agreement dated
    1030 Delta Boulevard                 November 6, 2014, Contract No. MA-2014-02487
    Atlanta, GA 30354                    Mail Handling Services Seattle Airport Annex
                                         December 1, 2014 to December 31, 2017.

4   DHL                                  Road -Feeder service between Austin and San
    Attn: Christopher Hamilton           Antonio, Texas airports, November,2014 for 36
    9401 Cargo Avenue, Ste. A            months.
    Austin, TX 78719
                                                                                                                   Entered 11/23/15 17:02:48




5   DHL Express                          Ground Handling Agreements for Austin, Texas
    Attn: Shane Clark                    Boeing Field, Seattle, Portland, Oregon
    Sen. Mgr. Of US Airside Operations   Cancellation on 30 days' notice.
    336 Wendell H. Ford Blvd.
    Erlanger, KY 41018
                                                                                                                   Page 88 of 252
     Contracting Party                  Description of Contract                             Cure Amount Due
                                                                                             on Confirmation

6    Federal Express Corporation        Contract No. 04-0740-013, Aircraft Ground
     1148 First Avenue North            Handling Agreement, Billings, Montana
     Billings, MT 59101                 Originally dated June 3, 2005; current extension
                                        expires August 31, 2016.

7    Federal Transport                  Material Handling Subcontract Great Falls,                 $13,452.09
     Attn: Doreen Whetham               Montana, airport, month to month.
                                                                                                                Case 15-50541-btb




     Po Box 3714
     Great Falls, MT 59403

8    Landmark Aviation- Sioux Falls     Material Handling Subcontract, Sioux Falls, South          $39,922.07
     Attn: Jack Browning                Dakota, airport, month to month.
                                                                                                                Doc 482




     3501 Aviation Avenue
     Sioux Falls, SD 57104-0197

9    Matheson Trucking, Inc.            Professional Services Agreement between
     100 Glen Carrara Circle            Matheson Trucking, Inc. and Matheson Flight
     Sparks, NV 89431                   Extenders, Inc., dated September 17, 2014.

10   Non-Mail, Ocean &Rail              Consolidation Deconsolidation Facility Services
     Surface Transportation CMC         Agreement; Contract No. SBOCRA-I2-B-0006
     United States Postal Service       Cincinnati, Ohio; Contract No. SBOCRA-I4-B-
     1200 Mercantile Blvd., Suite 109   0001; Portland, Oregon; Contract No. SBOCRA-
     Largo, MD 20774-5389               13-B-0005; Seattle, Washington
                                        October 1, 2015 to March 14, 2017.
                                                                                                                Entered 11/23/15 17:02:48
                                                                                                                Page 89 of 252
     Contracting Party                   Description ofContract                              Cure Amount Due
                                                                                              on Confirmation

11   Terminal Handling                   Terminal Handling Services Contract
     Air Transportation CMC              Contract No. SA-13-A-0009
     United States Postal Service        Albuquerque, New Mexico
     475 L'enfant Plaza, Sw,Room 1P650   Billings, Montana
     Washington, DC 20260-0650           Boise, Idaho
                                         Charleston, West Virginia
                                         Cincinnati, Ohio
                                         Denver, Colorado
                                                                                                                Case 15-50541-btb




                                         Sion Falls, South Dakota
                                         Spokane, Washington
                                         Great Falis, Montana
                                         Orlando, Florida
                                                                                                                Doc 482




                                         Louisville, Kentucky
                                         Seattle, Washington
                                         Salt Lake City, Utah
                                         Tulsa, Oklahoma
                                         Tucson, Arizona
                                         May 31, 2014 to June 1, 2018, Opt. 2 year
                                         Extension, terminable on 60 days' notice by USPS.

12   Terminal Handling                 Terminal Handling Services Contract
     Air Transportation CMC            Contract No. SA-12-A-0002
     United States Postal Service      Anchorage, Alaska
     475 L'enfant Plaza, SW,Room 1P650 Las Vegas, Nevada
     Washington, DC 20260-0650         Portland, Oregon
                                                                                                                Entered 11/23/15 17:02:48




                                       Phoenix, Arizona
                                       Sacramento, California
                                       September 1, 2012 to September 4,2014; optional
                                       2 year ext. September 6, 2014 to September 2,2016
                                       Terminable on 60 days' notice by LISPS.
                                                                                                                Page 90 of 252
     Contracting Party           Description of Contract                              Cure Amount Due
                                                                                       on Confirmation

13   United Parcel Service Co.   (Executory Contract)
     8203 National Turnpike      Transportation and Cargo Handling Services
     Louisville, KY 40214        Agreement
                                 Billings, Montana
                                 Charleston, West Virginia
                                 Denver, Colorado
                                 Salt Lake City, Utah
                                 Originally dated July 22, 2008; current expiration
                                                                                                         Case 15-50541-btb




                                 is open ended, cancellation on 30 days' notice.
                                                                                                         Doc 482
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                                           Matheson Flight Extenders, Inc.
                                  Suininary ofNon-Residential Real Property Leases
                                                 Schedule A to Plan

    Location                     Landlord                                  Term                      Cure Amount Due
                                                                                                      on Confirmation

1   6200 Boeing Ave., Bldg B-2   Alaska Cargoport, LLC                     5/1/2014 - 4/30/2016
    Anchorage, AK 99502
                                                                                                                        Case 15-50541-btb




2   301 Eagle Mountain Road      Central West Virginia Airport Authority   6/1/2014 — 5/31/2018
    Charleston, WV 25311

3   3720 Spirit Drive SE         City of Albuquerque, Aviation             12/11/2014 —12/11/2018
    Albuquerque, NM 87106        Department
                                                                                                                        Doc 482




4   2425 E. Landstreet Rd.#200   DCT Boggy Creek FL LP                     6/1/2014 —for 48 months
    Orlando, FL 32824

5   1400 Air Cargo Road          Federal Express Corporation               5/1/2014 — 4/30/2018
    Great Falls, MT 59404
                                 *This is characterized as a License
                                 Agreement for Matheson Flight
                                 Extenders to use internal space
                                 designated by FedEx located on the
                                 premises leased by FedEx pursuant to
                                 that certain lease agreement dated
                                                                                                                        Entered 11/23/15 17:02:48




                                 11/4/1999 between FedEx and Great
                                 Falls International Airport Authority.

6   1828 So. Perry               John Miller                               2/5/2015 — 2/28/2020
    Spokane, WA 99203

7   3650 E. Post Road, Suite D   KTR Capital Partners                      5/1/2014 —10/31/2016
    Las Vegas, NV 89120
                                                                                                                        Page 92 of 252
     Location                      Landlord                                 Term                        Cure Amount Due
                                                                                                         on Confirmation

8    4650 Air Freight Drive,       Louisville Regional Airport Authority    5/1/2015 — 4/30/2016
     Bays 2-7
     Louisville, Kentucky 40209-
     0129

9    2191 Overlook Drive           Pierce Leasing                           6/2/2014 — 6/1/2015                  $584.64
     Billings, MT 59105
                                                                                                                           Case 15-50541-btb




10   7425 NE Airtrans Way,#100     Prologis, L.P.                           10/1/2014 — 9/30/2016
     Portland, OR 97218

11   588 So. Gladiola Street       Thomas P. Nielson &Assoc.                49 months beginning
                                                                                                                           Doc 482




     Salt Lake City, UT 84104                                               10/1/2012 —10/31/2016
                                   *Sublease from Matheson Postal, Inc.
                                   for Salt Lake City Shop

12 2590 So. 156th St               LISPS                                    Initial term: 11/1/2009 —
   Seattle, WA 98168                                                        4/11/2010; with renewal
                                   *as a Sublessor of Sea-Tac Air Cargo     options
                                   Limited Partnership, Lessor, acting by
                                   and through its general partner,
                                   Transiplex, a Washington Corporation

13   Spokane Washington Airport    Spokane Airport Board                    Month to month
                                   3707 S. Godfrey Boulevard, Suite 107
                                                                                                                           Entered 11/23/15 17:02:48




                                   Spokane, WA 9924

                                   *Use Agreement for access to east side
                                   area of Airport

14 2600 E. Los Reales Road         Tucson Airport Authority                 6/1/2014 for 3 years
   Tucson, AZ 85706
                                                                                                                           Page 93 of 252
     Location              Landlord                           Term                   Cure Amount Due
                                                                                      on Confirmation

15   2161 N. Cargo Road,   Tulsa Airports Improvement Trust   6/1/2014 — 5/31/2018
     Bldg. 2 Suite M
     Tulsa, OK 74115
                                                                                                        Case 15-50541-btb
                                                                                                        Doc 482
                                                                                                        Entered 11/23/15 17:02:48
                                                                                                        Page 94 of 252
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                    EXHIBIT B
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   Camara                                                   $6,500                                                    $75,000                                                    $81,500                                           $2,000,000                                                   $2,081,500                                                    24.5:1                                                           $81,SQ0-                                                                     ~ $I63,000-
                                                                                                                                                                                                                                                                                                                                                                                                                               $163,OOa                                                                       $244,500
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   De Olzveiza $11,600                                                                                                 $75,000                                                   $86,600                                           $2,000,000                                                   $2,086,600                                                    23.1:1                                                           $86,600-                                                                            $173,200-
                                                                                                                                                                                                                                                                                                                                                                                                                               $173,200                                                                            $259,800

   Bemba                                                     $31,500                                                   $75,000                                                   $I06,500 $2,000,000                                                                                            $2,1Q6,500                                                     18.$:1                                                          $106,500-                                                                           $213,000-
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   Diallo                                                                                                                                                                                                                                                                                                                                                                                                                      $213,000                                                                            $319,500

    SalifDiallo $31,800                                                                                                $75,000                                                   $106,800 $2,000,000                                                                                            $2,106,800                                                     18.7:1                                                           $I06,$00-                                                                          $213,600-
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    Diaira                                                   $122,600                                                  X75,004                                                   $197,600 $2,000,000                                                                                            $2,197,600                                                     10.1:1                                                           $197,600-                                                                          $395,200-
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   Duke                                                      X39,300                                                   $75,OD0                                                   $114,300 $2,000,000                                                                                            $2,114,300                                                     17.5:1                                                           $114,300-                                                                          $228,600-
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   Patricelli                                             '$74,800                                                     $200,000                                                  $274,800 $2,000,000                                                                                            $2,274,800                                                    07.3:1                                                            $274,800-                                                                          $549,600-
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    Totals                                                   $318,104                                                  $550,000                                                  $968,100 $14,000,000 $14,968,100 14.5:1                                                                                                                                                                                                        $968,100-                                                                          51,936,200-
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Case 15-50541-btb   Doc 482   Entered 11/23/15 17:02:48   Page 97 of 252




                    ExHIBIT C
       Case 15-50541-btb                           Doc 482             Entered 11/23/15 17:02:48                                    Page 98 of 252




UCC FINANCING STATEMENT                                                                                                       i
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7t. NAIUNO ADDRESS                                                                                                          ~TpTE   POSTAL CODE             COUNTRY
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2a MNLJNG ADDRESS                                                         IG7Y                                          (STATE ~PQSTALCODE                  (COUNTRY


                                   INFO RE ~Za.TYPE OF ORG~tN17ATION     ~4L JVRISDICTIQN OF ORGANI7ATION               ~2q.OROANi7AitONALIDM,Nany
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                                   Ni       ~                            ~                                              ~                                      ❑NONE
kl                                 E fw NAME of TOTAL ASSIO N EE of AS81GN0R 61P1— freed onk me severed oarty name!3a or 3b1
      3a.0RpANIZATION'BNAME                   --
~ Wells Fargo Bank, National Association
      3b.iNDIVIOWt'3 UST NAME                                             F~RSi NAME                                        MIDp.E NAME                     SUFfUC


9c.MA1LIN(3ADDRES3                                                        CI'(Y                                         STATE       POSTAL CODE             COUNTRY
400 Capitol Mall, 7th Floor                                                   Sacramento                                     CA             95814              USA
4. I111S hINANI:IN(i gTATEMEN 1 OOV~s use raiQ.nng cp~wore~;

All assets of Debtor {whither now owned or hereafter acquired or arising}, and all proceeds (In whatever form or nature}
thereof.




 5. ALTERNATIVE DESIGNATION i(    ~kabb : LE99EE(I.ESSOR LJCONSIGNEE/CONStGNOR UBAiLEE/6AILOR                SEt1ERlBUYEA UAG.UEN     NON•UCC FILING
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 '       the REAL ESTATE RECOi4D8.  Attach Addendum'           a k~ble] [ADDITIONAL FEC)             o Ionel               ~~°~   ~eblof 1  Dablor 2
 s. OPT10WiL FILER REFERENCE DATA                                                                                      i7~ ~ n / `~~ ✓
 Ffle w/ California Secretary of State Matter #3607365!DMS #3480582                                                                   ~~    dr
RII.INt3 OFFICE COPY - NATIONAL UCC FINANCING STATEMENT(CORM UCC1j-CALIFORNIA(REV.011D4l08)
Case 15-50541-btb   Doc 482   Entered 11/23/15 17:02:48   Page 99 of 252




                    EXHIBIT D
     Case 15-50541-btb                      Doc 482            Entered 11/23/15 17:02:48                                 Page 100 of 252



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      UCC F#NANCIN(~ S`f'A7E~1tENT                                                      J-7460551347
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      A. NAk~iPFltl/~ OK CONTACTAT HLER(opGona~

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                   ***PLEASE RETURN TO+~##                                 --~            ~           ~`~~i                         ~~
            CSC
            2710 Gateway Oaks Drive,Suite I50N                                                       ~0~ ~u 1 ~:~,~
            Sacramento,CA 95833
            Acct.#IQ011306                                                 ..J             .,._.~.~.__.~~..~~....._--
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                                                     EXHIBIT A
                                                        TD
                                             UCC FINANCMIL3 STATEMENT

                This Exfiibit A is atkached to and made a par# ofthat certain UCC Fin~ctng Statement                   ~+'
           narrdng MATNESON POSTAL SERVICES,INC.as Debtor. end UVELLS FARGO SANK.                                      ~
           NATIONAL.ASSQC1ATfON as Secured Party.                                                                      ~,
                                                                                                                       w
                 The fiollowing is hereby ~toorpotated into said UCC F~nancUtg Stateme~rt as the                       ,~
           desa~ptio+r ofthe coriaterai subjecf hereto:                                                                ~
            Ail acoourtta,deposit acc~saunts, chattel paper{whether elec~rania cr langlble), Mstruments,               ~
            promissory notes, documents,general t~rtang~les, Payment Lrtangibles,software,liter ofcxedit
            rights, health-care ~►surance receivables and other rights to payment(coli~vey called "Rights
           to Payrnent'~, now existing or at any time hereaiber,~d prbr to the termination hereof, aris(ng
           (wheaher they salsa from the sate,lease ar oRh~ disposkion of inventory orfirom performance of
           corttre~sfor servke, manufacture,t            c~ion, repair or otherwise or from at~y ether souroe
           vvh~tsoeve~, k~cEud'mg aN securities, guar~ntles~ warrar~ies.irniemn'rty agreements,instuance
           palicaes, supporting ob!'~gati~ns and other agreements perEa[ning to the same or the property
           desai~ed herein. and in eA goods net~umed by or rep~sse~sad from Debfot's t~sfionters,
           together with a security Interest ~ a~ inv~ntot~r~ 9ood~ held for safe or lease or to be furnished
           under oatbratxs fot setvloe~ foods so based +or fumist~ed,raw materiets~ component parba~ artid
           embedded software, work 3n proc ass or ma~srials used or c~ortsumed ~ Debtw's bt                sand
           ell warehouse teceipts~ bltfs ofIeding ~d otiteP documents evidenang goods e~wned or acquired
           by Debtor ~d a8 goods covered thcreby, now or at any time hereafter,and prior to the
           termination heneof~ vvvned or acgaired by DobEnr~ wherever locateri~ and ail products thereof
           (coilecUv~ety caifed'Inver~Mry"), whether in the possession of Debfor~ warehouser~ren, ba~ees or
           any otltier person, pr in process of detivery~ and whether located at Debbr's places of business
           or elsewhere,together with whatever is receivable or received when any ofthe Rights Uo
           Payment or Invenbary or premeds tfter~ofare sold, leased,coHecxed,exchanged or uthen+vise
           disposed oE, whether such disposition is voluntary or inu~alurrtery, ~Cclucling witi~out gmfta~tion~ all
           Rights to AaymPmt,~duding returned premiums, wlth rasped to arty insurance relating to ~y of
           the ~egoitag.and all Righis M PeymeM with respectto any claim or cause of action affec8ng or
           relaUr~ to arty of the faregotng.
           A!1 goods.foals, mec~~G~ery,furnishings,fi~mfture and other equ~ment,irtduding aft motor
           vehides~ hectors. balers,and roiling stock and related equipmetrt ofevery k&~d, now or at any
           Ume heroaRer,and prior W the termina~ian hereof owned or acquired by Oebtor~ wherever'
           toca~d.whether in the possession of Debb►~ or any other parsa~ and whether foc~tted on
           Debfiors property or elsewhere and all imprvvements~ repf~oements, aooessions and adtl~ior~s
           thereto a~td embedded soflyrare includes!therein (co118c~itiwiy Celled "Equ~meni")~ togetl~r wHh
           whatever ~ reoeiveb}~ or received when ~uiy ofthe ~quipmeM or proveeds thensof are sold,
           Leased, c~o~Cted,excb~ged or otherv~ise dfspased of, whether such disposiban is volunt~y ar
           involuntary, ~dud~ig wittwut Umftation,{a)a~ accounts,contract rights, chattel pier(whether
           electronic or tangible), instrucneMs, promissory notes,documents,general inta►tg' ,payment
           intangbies and od~er rights to payment of every k(ttd rrow or at any tlme hereafter arising out at
           any such sale, lease, colNaction, exchanSe or other disposition ~of any M the inregoing,(b}ail
           rights to payrner►t. including returned premiums, with respect to any insurance relating to any of
           the foregoing, and(c)ail rights bo payment with resp~t E~ any claim or cause of action affecting
           w relating to any of the foregoing.




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                     ExHIBIT E
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                            TRUCK     N!A     BOAT     000000000243    BT2      Rogue Tandem Axle Trailer          4,795.00     4,795.00    -   60     8/3V1998 30080
                            TRUCK     N/A     BOAT     OOQ000000244    BT9      88Traiier(boat)                      539,00       539.D0    -   60     6/12li998 30080
                            TRUCK     WA      COMM     000000000269             Satellite Phone                    6,402.00     6,402.00    -   60       4/9!1998 30080
                            TRUCK     WA      CAMM     000000000270             Voice Mai!System                  14,138.00    14,138.00    -   60     9!30!1998 30080
                            TRUCK     N!A     COMM     000000000271             Two Way Messaging                  2,564.19     2,564.19    -   60     7/30f2000 48010
                            TRUCK     NIA     COMM     OOQ000000272             Battery Backup System              5,974.32     5,974.32    -   60     7/31/2001 48010
                            TRt1CK    WA      COMM     OOOOOOOQ0434           ~ Cabieing #or Corp Off i2econfi9      765.00       765.00    -   60     3131/ZOD6 30080 000000000433
                            TRUCK     NIA     COMM     000000000435             Cabiein9 for Corp Ofi~ce Remod     6,045.00     6,045.00    -   60     3l3~/2QD6 30080 000000000433
                            TRUCK     N!A     COMM     00000000504              KABADEYELOPMENT                    2,880.OD     2,880.00    -   60     2/23!2007 30060
Entered 11/23/15 17:02:48




                            TRUCK     N/A     COMM     000000000570             Gcethe Phone System                2,548.82     2,548.82    -   60    1'1!19/2008 30D80
                            TRUCK     N/A     COMM     000000000606             New Phone System- Dino            21,959.00    21,959.00    -   60     9/15/2009 30060
                            TRUCK     N/A     COMPU    000000000090    643      Nordic Computers                   2,032.00     2,032.00    -   60     i?J3/1992 30060
                            TRUCK     WA      CAMPll   000000000103    7167     Nordic Computer                    1,616.00     1,616.04    -   60     5!21!1993 30060
                            TRUCK     N/R     COMPU    000000000108    126      HP Laserjet Printer                1,388.00     1,388.00    -   60     1014/7993 3006D
                            TRUCK     NIA     COMPU    000000000110    1198     Nordic Computer                    1,378.00     1,378.00    -   60       219/199448010
                            (RUCK     NIA     COMPU    OOOOOOOOOt2~             Nortfic Computer                   1,496.00     7,496.00    -   60     9128!1994 30060
                            TRUCK     WA      COMPU    OOOOOOQ00128    131      Nordic Computer                    1,265.00     1,265.00    -   60     'I 1!9/1994 30060
                            TRUCK     N!A     COMPU    OOOOOOQOUS37             Mfi Backup System                  2,120.00     2,120.00    -   fi0    111/1995 30060
                            TRUCK     NlA     COMPU    000000000136    ~i4      HP 4SI Laser Printer               3,472.00     3,472.00    -   60     6/12/1985 30060
                            TRUCK     N/A     COMPU    000000000138    1328     Penfium 100 System                 1,669.00     1,669.00    -   60     1012/1995 3006D
                            TRUCK     N/A     COMPU    000000000140    X340     MegaBookT70Laptop                  2,98Q.00     2,980.00    -   60    tOlf3l199548010
                            TRUCK     N/A     COMPU    000000000142    1326     Chembook 5500 Laptop               4,090.00     4,080.00    -   60    10/11/1995 30060
                            TRUCK     N1A     COMPll   000000000144    921      Pentium t00 System                 1,595.00     1,595.00    -   SO    11l2?J1995 30060
                            TRUCK     N!A     COMPU    000000000147    920      Pentium 700 System                 1,859.00     1,859.00    -   60     1J30/1996 30060
                            TRUCK     NJA     COMPU    00~00000015~    919      Pentium 133 System                 1,755.06     1,755.00    -   60     5l1M1996 30060
                            TRUCK     N/A     COMPU    000000000153    165      Epson DFX5000+                     1,504.00     7,504.00    -   60        7/6/1996 30080
Doc 482




                            TRUCK     N!A     COMPU    000000000154    1372     Pentium 133 System                 1,636.00     1,636.00    -   60       817!1996 30080
                            TRUCK     N/A     COMPU    000000000155    1375     Pentium '!33 system                1,447.00     1,447.00        60       9/611996 30080
                             TRUCtC   N/A     COMPU    000000000156    1376     Pentium t33 system                 1,447.00     1,447.00    -   66       9/611996 30080
                            TRUCK     N/A     COMPU    000000000157             Deli Lat LM Notebook 133           2,731.00     2,737.00    -   60     108/1996 30D80
                            TRUCK     NIA     COMPU    000000000158    160      HP Laserjet 5 Printer              1,401.00     1,401.00    -   60     10!3/1996 30080
                            TRUCK     N/A     COMPU    000000000159    7        Pentium t335ystem                  1,389.00     1,389.00    -   60     11/6/1996 30060
Case 15-50541-btb




                            TRUCK     N!A     COMPU    000000000160    5        Pentium 133 System                 2,153.00     2,153.00    -   60     11/6/1996 30080
                            TRUCK     N!A     COMPV    000000000161             Dell Lat LM Notebook 733           4,463.00     4,463.00    -   60     1!29/1997 30080
                            TRUCK     NIA     COMPU    OD00000001fi2            Pentium 166 System                 9,669.00     1,669.00    -   60     4/2411997 30080
                            TRUCK     N!A     COMPU    OD0000000163    10       Empac PenSum 166                   1,fi81.00    1,681.00    -   '60       6/5/1997 30060
                            TRUCK     N/A     COMPU    ODOOOOOOOl64    ~3       Pentium 166 PCI System             1,681.Q0     1,681.00r   -   60        7!2/1997 30060
                            TRUCK     N/A     COMPU    400000000165    14       Pentium 200 PCI System             1,789.00     1,789.00    -   60     7/29!1997 30060
                            TRUCK     NIA     COMPU    00000000066     16       Pentium 200 PCI System             1,789.00     1,789.OQ    -   60     7/2911997 30060
                            TRUCK     N/A     COMPU    000000000167    17       Pentium 200 PCI System             1,789.00     7,789.00    -    60    7/2911997 30080
                            TRUCK     N/A     COMPU    000000000968    22       Pertiium 200 PCI System            9,789.00     1,789.00    -   60        8/8/1997 30060
                            TRUCK     N!A     COMPU    000000000169    717      Epson DFX8000                      2,596.00     2,596.Q0    -    60    9/16/1997 30080
                            TRUCK     N!A .   COMPU    QOOOOOQ00170    837      Micron LXE166 System               2,187.00     2,187.00    -    60    9/1S/1997 3006Q                _
Page 104 of 252




                            TRUCK   N/A   COMPU    000000000171    698   Micron MME200 System            2.596.00     2,596.00    -   60 9119/1997 30060
                            TRUCK   N/A   COMPU    000000000172          MSDN Software - NT upgrade      2.330.00     2.330.00    -   60 9/26/1997 30060
                            TRUCK   N!A   COMPU    000000000173          MS Server Upg2de                5,900.00     5,900.00    -   60 10/10(1997 30060
                            TRUCK   N/A   COMPU    000000000174    720   Micron Millennia 300XKU         5,404.00     5,404.00    -   60 10/9/1997 30060
                            TRUCK   N!A   COMPU    000000000175    196   Micron Millennia 300XKU         5,404.00     5,404.00    -   60 10!911997 3D060
                            TRUCK   N!A   COMPU    000000000176    718   Micron Millennia 300XKU         5,404.00     5.404.Q0    -   60 10/9/1997 30060
                            TRUCK   N!A   COMPU    000000000177    770   Micron Millennia MME233         2,703.00     2.703.00    -   60 10/15/1997 30060
                            TRUCK   NJA   GOMPU    000000000178          Network Software upgrade        9,502.00     9,502.00    -   60.11/1111997 30060
                            TRUCK   N/A   COMPU    OOOOOOOOD179    705   Micron Millennia MME233         3,026.00     3,026.00    -   60 70124/1997 30060
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                            TRUCK   N/A   COMPU    000000000180          Cheyenne Back-up software-NT    1,476.00     1,416.00    -   60 12/3!1997 30060
                            TRUCK   N!A   COMPU    00000000018'I         SuperStack II Switch            2,159.00     2.159.00    -   60 12/8!1997 30060
                            TRUCK   N/A   COMPU    000000000182          LH Pro6J200 Apps Server         8,499.00     8,499.00    -   60 12181'1997 30060
                            TRUCK   N!A   COMPU    OOOOOO~OOt83          APC Smart-UPS                   1,218.00     1,218.00    -   60 1117/'I997 30060
                            TRUCK   N/A   COMPIt   000000600184          Windows Software BP201          2,479.00     2,479.00    -   60 2M2/1998 30060
                            TRUCK   WA    COMPU    000000000185          Windows Software ER35           3,470.00     3,470.00    -   60 2/12M998 30060
                            TRUCK   NIA   COMPU    000000000186          Epson Stylus Color 3000         1,709.00     1,709.00    -   60 212!1998 30060
                            TRUCK   N/A   COMPU    000000000187          Cobol Workbench Software        3,291.OQ     3,291.06    -   60 2/1311998 30060
                            TRUCK   N/A   COMPU    000000000788          HP ill SI printer               1,832.00     1,832.OD    -   60 2118/1998 30060
                            TRUCK   N/A   COMPU    OOp0000D0189          Epson DFX8000                   1,616.00     1,616.00    -   fi0 3/'IOH998 30060
                            TRUCK   N!A   COMPU    000000000190          Cisco 1601 Router               2,344,00     2,344.00    -   60 3H7/1998 30060
                            TRUCK   NIA   COMPU    OOOOOOOD0181          Cisco 1601 Router               2,344.00     2,344.00    -   60 3/17/1998 30060
                            TRUCK   NIA   COMPU    OOOOOOOD0192          Cisco'I601 Router               2,155.00     2,155.00    -   60 3!17/1998 30060
                            TRUCK   N/A   COMPU    000000000193          Cisco 1601 Router               2,150.00     2,150.00    -   60 3117!1998 30060
                            TRUCK   N/A   COMPU    000000000194          TSUi00wlAdtranNx56/64V.35       1.530.00     1,530.00    -   60 3N 7/199830060
                            TRUCK   N/A   COMPU    000000000195          TSU100 w/AdtranNx56164 V.35     1,530.OU     1,530.00        60 3/17!1998 30060
Doc 482




                            TRUCK   N/A   COMPU    000000000196          HP Netserver                   44,885.OQ    44,885.00    -   60 41611998 30060
                            TRUCK   N/A   COMPU    OOOOWOQO'197          Orate 7.3 Microsoft            11,443.00    11,443.00    -   60 4/24/1998 30060
                            TRUCK   NIA   COMPU    000000000198          SuperStack II Switch            2,440.00     2,440.00    -   60 5/2il1998 30060
                            (RUCK   NfA   COMPU    000000000799          SuperStadc II Sl~vitch          2,440.00     2,440.00    -   60 5/21/1998 30060
                            TRUCK   NIA   CODAPU   OOOOOOOOD200          (4)9G8 ULTRA SCSI DISK MOO.     4,594.63     4,694.83    -   60 7/1/1998 30060
                            TRUCK   NIA   COMPU    000000000201          Backup Agent 2.0 SQL SRV          .553.65      553.85    -   60 711/1998 30060
                            TRUCK   NIA   COMPU    000000000202          SuperStack II Switch            2,417.53     2,417.53    -   fi0   9/3/'1998 30060
Case 15-50541-btb




                            TRUCK   NIA   COMPU    000000000203          Analog Router Wl21nt 5             780.49      780.49        60 9/28/1998 30060
                            TRUCK   NIA   COMPU    000000000204           ML320 Turbor 9-Pin             1,452.39     7,452.39    -   60 10/1411998 30060
                            ?RUCK   NIA   COMPU    OOOOOOOD9205           Nefserver LH3 PII-450         17,733.66    17,733.66    -   60 10/2911998 30060
                            TRUCK   NIA   COMPU    000000000206           Netserver LH3 Pit-450         17,733.67    17.733.67    -   60 i0l29H998 30060
                            TRUCK   N/A   COMPU    0000 0000207          CPU UGRADE KIT                  1,469.20     1,469.20    -   60 11/311998 30060
                            TRUCK   N!A   COMPU    OD0000000208          CPU UGRADE KIT                  1,469.19      1,469.19   -   60 11/3!1998 30060
                            TRUCK   NIA   COMPU    OOOOOQ000209           Support Pack for Netserver     1.524.97     1,524.97    -   60 11/5/1998 30060
                            TRUCK   NIA   COMPU    000000000210           Support Padc for Netserver      1.524.97    1.524.97    -   60 11/5/1998 30060
                            TRUCK   N/A   CQMPU    000000000215          Software forpocumentatiort      5,831.45     5,83.45     -   60 11/191799830060
                            TRUCK   N!A   COMPII   000000000212           Network Server                19,415.92    19,415.92    -   60 1/18(t999 30060
Page 105 of 252




                            TRUCK    N/A-   COMPU   000000000213   NerivorkServer                     10,151.81     10,151.81     -      60     1!22/199930080
                            TRUCK    NfA    COMPU   000000000215   Network Server                     12,637.14     12,637.14     -      60    7l28J1999 30060
                            TRUCK    N/A    COMPU   OOOQU0000216   Aventail ExtrNet Server             8,514.61       8,674.61    -      60    7122/1999 30060
                            TRUCK    N/A    COMPU   000000000217   Oracle ServerwfinstalVsupp          6,293.70       6,293.70    -      60    3/20/2600 30060
                            TRUCK    N/A    COMPU   000000000218   OracieServerwfinsfalUsupp         117,640.06    117,640.06     -      60    3/21/2000 30060
                            TRUCK    NIA    COMPU   000000000219   Micron Computer                     1,896.75       1,896.75    -      60    10/1!2000 30080
                            TRUCK    N!A    COMPU   000000000720   4U Racivnount Intel System          7,38524        7,385.24    -      60   10!10/2000 30060
                            TRUCK    N/A    COMPU   000000000221   CISCO 3640 4 SLOT ROUTER           2'1,095.88    21.095.88     -      60    10/1/2000 30060
                            TRUCK    NIA    COMPU   000000000222   CASE SERVER LVD HARD DRIVE         15,582.31     15,582.31     -      60    10/1/2000 30060
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                            TRUCK    NIA    COMPU   000000000223   OPEN WINDOWS NT SVR V4.0           12,054.00     12.054.00     -      60    't0/1!2000 30060
                            TRUCK    NIA    COMPU   000000000224   HP36.4G8 10K ULTRA3WIDE SCSI       19,56621      '19,56621     -      60    10!112000 30060
                            TRUCK    WA     COMPU   000000000225   Compaq Server                      31,214.43     31,274.43     -    - 60    6!2112001 30os0
                            TRUCK    N/A    COMPU   000000000226   Emaii Package                       1,257.00       1,257.00    -      60   10130!1996 30080
                            TRUCK    N/A    COMPU   000000000227   2 Ciierit Pro's w/mon (Sch#130)     1,456.67       1,456.67    -      60    2/13!2001 30060
                            TRUCK    N/A    COMPU   000000000228   6 Client Pro's w/mon (Sch#140)      2,689,$9       2,689.89    -      60    ?J13l2001 30060
                            TRUCK    NIA    COMPU   000000000229   12 Client Pro's w/mon(Sch#150)      6,454.54       6,454.54    -      60    2/13/2041 30060
                            TRUCK    N/A    COMPU   000000000230   6 Client Pro's w/mon(Sch#i6)        2,821.87       2,821.87           60      5/1120Qt 30060
                            TRUCK    NIA    COMPU   000000000231   PCI 4 Port Analog Fax               2,183.70       2,183.7D     -     60    7!30!2000 30060
                            TRUCK    NIA    COMPU   000000000232   Surestore Optical Jukebox           a,11~.64       4,111.64     -     60    7/30/2000 30060
                            TRUCK    NIA    COMPU   000000000233   Add on Drive DLT8000                6,116.75       6.116.75     -     60     10/9/2001 30060
                            TRUCK    N/A    COMPU   000000000234   Sonicwatt Pro Internet Frewfl       1,945.50       1,94&.50     -     60     11/512001 30060
                            TRUCK    N/A    COMPU   OOOOOOOD0235   ProliantDL5801MBServer             1,774.00      11,774.00      -     60   10!18!200130060
                            TRUCK    NIA    COMPU   000000000236   Novell NTW S.i 25U Add Lic UPG      1,172.81       1,t728t      -     60   10/23!2007 3Q080
                            TRUCK    NlA    COMPU   000000000237   Novell NTW 5.1 25U Add Lic          2,619.82       2,619.82     -     60   10125!2001 34060
                            T}2UCK   N/A    COMPU   000000000238   PROLlANT COMPAQ                     4,133.78       4,133.78     -     60   11/19/2001 3006Q
                            TRUCK    N!A    COMPU   OOOOOOOD0238   HP Netserver                        4,853.70       4,853.70     -     60
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                                                                                                                                                 3/6l20Q2 30060
                            TRUCK    NJA    COMPU   OOQ000000240   Compaq ServerwlPentium lil          6,362.89       6,362.89     -     60    6/28/2002 30060
                            TRUCK    NIA    COMPU   060000000241   MFXPSStarterSystem                  6,755.D8       6,755.08     -     60    6/28/20Q2 3006D
                            TRUCK    N!A    COMPU   000000000368   Sony VAIO Laptop                    2,173.60       2,173.60   ~ -     60    7!2112002 30080
                            TRUCK    NIA    COMPU   000000000369   MS Server Upg2de                   27,346.64     27,346.84      -     60      815/2002 30080
                            TRUCK    N/A    COMPU   000000000370   Soflvrare &Support                  2,180.00       2,180.00     -     60    5J~912003 30080
                            TRUCK    NiA    COMPU   000000000371   MS VSTUDIO.NEf ENT DEVELOPER        4,715.78       4,715.78     -     60    6/24/2003 30060
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                            TRUCK    N/A    COMPU   000000000372   Sunfire V120 650MGZ Server         70,638.59     70,638.53      -     60    6/30/2003 30060
                            TRUCK    NIA    COMPU   000000000373   Sun Microsystems                      498.88         498.88     -     60    6130!2003 30060
                            TRUCK    N/A    COMPU   000000000376   Veritas Spec-Buy                    2,007.38       2,007.38     -     60    6/20/2003 30060
                            TRUCK    N1A    COMPU   000000000377   MetaFrame XPs Connect License       1,451.39       1,451.39     -     60    6130!2003 30060
                            TRUCK    N/A    COMPU   000000000381   COMPAQ SERVER                       4,644.21       4,644.21     -     60   1 1/30!2003 30060 000000000381
                            TRUCK    N/A    COMPU   000000000382   F}PPROLIANTSERVER                   2,779.45       2,779.45     -     60     1131/200430060
                            TRUCK    N/A    COMPU   000000000383   PRESENTATION SERVER                 5,128.13       5,128.13     -     60    9/30!2003 30060
                            TRUCK    N/A    COMPU   OOOD00000387   MAIL SERVER                         6,256.00       6,256.00     -     60    7!3112004 30060
                            TRUCK    N/A    COMPU   000000000391   Antivirus software for 140pcs      12,120.09      72,120.00     -     60   12110/200430060
                            TRUCK    NJA    COMPU   OOOOOOU00392   Track-it 6.5 Enterprise             7,240,00       7,240.00     -     60     12/3/2004 30060
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                            TRUCK   N/A   COMPlJ   000000000393    Fujitsu Color Duplex Spnner        3,352.44     3,352.44       60 ~/12/20Q5 30060
                            TRUCK   N/A   COMPU    000000000394    Quick Start Implementation         4,440,15     4,440.15   -   60 1!13/2005 30060
                            TRUCK   NIA   CAMPU    00~0000004~ 1   TAPES & CASLES FOR SERVER            690.37       690.37   -   60 11/3/2004 28020 000000001148
                            TRUCK   NIA   COMPU    OOOOOOQOOd18    Oracle, intemetApp.Processor      51,534.83    51,534.83   -   60 6l8t2005 30060
                            TRUCK   N!A   COMPU    000000000419    F~cpand Networks Accelerators    105,897.85   105,897.85   -   60 7!14!2005 30060 000000000419
                            TRUCK   N/A   COMPU    000000000421    Acceieratw                        16,251.00    16251.00    -   60 8/9/2005 30060 OOOOOOOOOai9
                            TRUCK   NIA   COMPU    000000000427    UPS FOR SERVER ROOM                2,492.18     2,092.18   -   60 ?J1l2006 30060
                            TRUCK   N/A   COMPU    OOOOOOQ00428    FRAME RELAYT MIGRATION             8,506.50     8,506.50   -   60 2/?J2006 30060
                            TRUCK   N!A   COMPU    0060000Q0429    F32AME RELAY MIGRATION             1,412.34     1,412.34   -   60 212!2006 30060
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                            TRUCK   NIA   COMPU    OOOOQ0000430    FRAME RELAY MIGRATION                 34.30        34.30   -   60 7J212006 3060
                            TRUCK   NIA   COMPU    000000000431    DISCOVER SERVER                    6,046.12     6.046.12   -   6D ?J?I2006 30060
                            TRUCK   N/A   COMPU    OOOOOOQ00432    SERVER FOR MONITORING SOFRNARE     2,803.76     2,803.76   -   6D 3!14/2006 3QD60
                            TRUCK   N1A   CdMPU    000000000444    PEOPLESOFf SOFTWARE              145,740.00   145,740.00   -   60 611/20U6 30060
                            TRUCK   N!A   COMPU    000000000451    UPS BACKUPS                        5,858.61     5,858.61   -   60 8!8!200630060
                            TRUCK   N/A   COMPU    000000000458    P3301 HR PRINTER/SOFfWARE          8,670.00     8,610.00   -   60 9/20/2006 30050
                            TRUCK   N/A   COMPU    000000000465    KABA BENZING PAYROLL PROJECT            -            -     -   60 7/1/2006 30060 000000000465
                            TRUCK   N/A   COMPU    000000000475    Ouat Core Xeon Processor 5130      3,459.84     3,459.84   -   60 11/212006 30060
                            TRUCK   N!A   COMPU    000000000482    PROJECT MANAGERitM6-11/30!06         200.00       200.00   -   6011/30/200630060000004000459
                            TRUCK   WA    COMPU    000000000483    PS TIME AND LABOR                  1,500.00     1,500.06   -   60 11/22/2006 36060 OOOD00000455
                            TRUCK   N/A   COMPU    000000000488    WEB SERVER                         3,458.78     3,458.78   -   60 12/10/2006 30050
                            TRUCK   N/A   COMPU    000006000489    WEB SERVER                         3.458.78     3,458.78   -   60 12/10!2006 30060
                            TRUCK   N/A   COMPU    600000000491    PRINTER-HR/PAYROLL                      -            -     -   60 1?J21/200630050
                            TRUCK   NIA   COMPU    OOOOOOOQ0494    KABA PROJECT MANAGER                 380.80       380.80   -   60 11J31f2006 30060 000000000465
                            TRUCK   N!A   COMPU    000000000495    KP.BA PROJECT MANAGER                700.00       100.00   -   60 4/29/2007 30060 000000000459
                            TRUCK   N/A   COMPU    000000000503    2ND EXFERNAL DNS SERVER            3,470.64     3,470.64   -   60 212/2007 30060
                            TRUCK   NIA   COMPU    000000000505    REN MONITORING SOFTWARE            2,614.46
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                                                                                                                   2,674.46   -   60 2122/2007 30060
                            TRUCK   N/A   COMPU    000000000510    KABA PS TIME AND LABOR             1,500.00     1,500.00   -   60 313112Q07 30060 000000000465
                            TRUCK   N/A   COMPU    000000000511    KABA PS TAME AND L460R             3,573.30     3,573.30   -   6p 3/3112007 30060 000000000517
                            TRUCK   N/A   COMPU    OOQ000000513    ETHERNET & PROXIMITY READER       36,669.48    36,669.48   -   60 4119/2007 30060 000000000465
                            TRUCK   N/A   COMPU    000000000517    PROJECT MANAGER 611-61151Q7          879.25       879.25   -   60 6125/2007 30060
                            TRUCK   N/A   COMPU    DOOOOOOQ0518    PROJECT MGR 5!16.5!31!07             754.25       75425    -   60 5/31/2007 30060
                            TRUCK   N/A   COMPU    000000000519    DUAL CORE XEON PftQC               3,814.38     3,874.38   -   60 4/2412007 34060
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                            TRUCK   N!A   COMPU    000000000520    Quad Core Xeon Processor           4,097.82     4,097.82   -   60 6/1YL007 30060
                            TRUCK   N/A   COMPU    000000000522    MS MBL VS?UDIO                     5,682.00     5,682.00   -   60 8/22/2007 30060
                            TRUCK   N/A   COMPU    000000000524    DELL PRECISION                     1,725.58     1.725.58   -   60 8/20/200 30060
                            TRUCK   NlA   COMPU    000000000525    QUAD CORE XEON PROCESSOR           4,173.20     4,1732D    -   60 9/4!2007 30060
                            TRUCK   N1A   COMPU    000000000526    QUAD CORE XEON PROCESSOR           6,399.95     6,399.95   -   60 9!2112007 30060
                            TRUCK   WA    COMPtJ   00000000053'1   VIEWSONIC LCD HDN                  1,742.55     1,742.55   -   60 70!112007 30060
                            TRUCK   WA    COMPU    000000000532    VIEWSONIC LCD HDN                  7,742.55     1,742.55   -   60 10/1/2007 30060                 -
                            TRUCK   WA    COMPU    000000000535    Corp Dev Server                    4,372.87     4,312.87   -   60 10117!2007 3006D
                            TRUCK   N/A   COMPU    000000000536    Corp App Server                    4,372.87     4,312.87   -   60 t0/~612007 30060
                            TRUCK   N/A   COMPU    000000000540    1T EXCHANGE SERVER                 3,675.99     3,675.99   -   60 1?J21l2007 30060
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                            TRUCK    N!A   COMPU    000000000541          INTEL CORE LAPTOP                 1,964.98      1,964.98        -    60 1/20l20Q8 30080
                            TRUCK    NIA   COMPU    OOOOQOOQ0542          QUAD CORE XEON PROCESOR           3,477.10     3,477.10         -    60 1/1612008 30060
                            TRUCK    N1A   COMPU    000000000545          POWER VAULT                       7,676.69     7,616.69         -    60 2!2812008 30060
                            TRUCK    N/A   COMPU    000000060547          QUAD CORE XEON PROCESSOR          3,348.13     3,348.t3         -    60 4/27/2008 30060
                            TRUCK    N!A   COMPU    000000000556          SERVER RACKS                     10,766.70    'l0,76S.70        -    60 7/30/2008 30060
                            TRUCK    WA    COMPU    000000000553          Janam Hantl Neld Sgnner           1,606.56     1,606.56         -    60 7fJl2008 30060
                            TRUCK    NfA   COMPU    000000000557          TMT Computer Equipment           67,233.98    67,213.98         -    60 5/19/2008 30060
                            TRUCK    N/A   COMPU    OOQ000000558          CDW Kingston 2GB BL320P           2,545.65     2,545.65         -    60 9/30/2008 30Q60 000000400381
                            TRUCK    N(A   COMPU    000000000559          AREV SERVER                       6,745.39     6,745.39         -    60 9/i5/2008 30060
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                            TRUCK    N!A   COMPU    000000000564          CDW UPS's                         4,351.62     4,357.62         -    60 9127!2008 30060
                            TRUCK    NJA   COMPU    000000000565          CDW Server Backup                 2,943.43     2,943.43         -    60 8/15/2008 30060
                            TRUCK    N!A   COMPU    OOOOD0000573          BADGE PRINTER                     1,889.60     1,889.60         -    60 12/77/2008 30060
                            TRUCK    N!A   COMPU    000000000574          TMTTravel Expenses                  457.73        457,73        -    60 3/21Y2008 30060
                            TRUCK    NIA   COMPU    000000000576          TMTSOP                           12,500.00    t2,500.00         -    60 12/3112008 30060
                            TRUCK    N!A   COMPU    000000000577.         Corporate Phone System           27,356.03    27,356.U3         -    60 10/3/2008 30080
                            TRUCK    N!A   COMPU    000000000587          MARKS COMPUTER-SONYSTYLE DfREC    3,590.47     3,590.47         -    60 3!3112008 30080
                            TRUCK    N/A   COMPU    000000000593          SERVER                            6,955.72     6.955.72         -    60 6Mf2009 30060
                            ?RUCK    N/A   COMPU    000000000595          APC SMARTUPS &RACK PDU SWITCH     2,216,&1     2,216.61         -    60 SI26Y1009 30060
                            TRUCK    NIA   COMPU    OOOD00000660          UPS Battery Backup                2,771.63     2,171.08      600.55 60 4/24/2011 30060
                            TRUCK    N/A   COMPU    00000000656           SONICWALLNSA4500                  6,43220      4,716.92    1,715.28 60 7/111201130060
                            TRUCK    NIA   COMPU    Od0000000667          HARD DRIVE                        2,07522      1,521.85      553.37 60 7!25/2011 30060
                            TRUCK    N!A   COMPU    000000000707          KABA Trme Collection Device       2,849.00        474.81   2,374.19 60 5/15/2014 30060
                            TRUCK.   N/A   COMPU    OOQOOOQ00708          KABA Time Collection Device       2,849.00        474.87   2,374,19 60 5M5l2014 30060
                            TRUCK    N/A   COMPU    000000000709          KABA Time Collection Device       2,849.00        474.81   2,374.19 60 5t75/Z014 30060
                            TRUCK    N/A   COMPU    000000000710          KABA Time Collection Device       2,849.00        474.81   2,374.19 60 5!75/2014 30060
                            TRUCK    N/A                                  HP 1/8 G2 Tape Autobader
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                                           COMPU    000000000713                                            x,35929         589.28   3,778.01  SO   7!?J201a 30060
                            TRUCK    N/A   FORK     000000000036 M75      Toyota Forklift                   4,300.00     4,300.00         -    96 3/4/1982 28010
                            TRUCK    N!A   FORK     000000000441 ,FL157   FORKLIFT/P60KlP NISSAN           14,718.65    14,718.65         -    96 5/1/2006 48010
                            TRUCK    N!A   FORK     000000000528 FL113    93 Hyster Forklift               16.583.00    16,583.00         -    96 7/13/1993 28070
                            TRUCK    N/A   FORK     000000000622 FL137    98 Hyster Forklift               19,581,40    19,581.40         -    96 17/19/1998 28050
                            TRUCK    NIA   LEASE    000000000252          Light Fxtures                     8,860.00     8,860.00         -   120 3/5/1996 48010
                            TRUCK    NIA   LEASE    000000000253          Haws Shower/Eyewash               1,475.00      1,475.00        -   124 2I2S/1996 48010
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                            TRUCK    N!A   LEASE    000000000260          Chain Link Fence                 27,841.00    27,&41.00         -   120 9!3011998 28010
                            TRUCK    N!A   LEASE    600000000261          New Chain Link Fence              3,754.00      3,754.00        -   120 3/9/1999 28010
                            TRUCK    N!A   (_EASE   000000000263          Floor Tiles-E.G. Office Expan.      219.48        219.48        -   120 12/1!1999 48010
                            TRUCK    NlA   LEASE    006000000265          EG Shop Expansion                22,758.'17   22,758.17         -   120 121291'1999 48010
                            TRUCK    WA    LEJISE   000000000266          BreaklChngng Room mod             1,500,00      1,500.00        -   120 4/26/2000 28070
                            TRUCK    N/A   LEASE    000000000268          Shop Heaters                      8,836.00     8,836.00         -   120 1/2511994 48010
                            TRUCK    WA    LEASE    000000000360          Waste Oil Tank Installation       5,093.55      5,093.55        -   120 7/26!2002 48010
                            TRUCK    N!A   LEASE    000000000367          Roilup DoorlMan Door Instal.      4,590.00     4,590.00         -   12~ 12/5712002 28030
                            TRUCK    N/A   LEASE    000000000362          Wiring at new facitiry            2,317.52      2,317.52        -   120 1/31/2003 28030
                            TRUCK    WA    LEASE    000000000490          ELECTRICAL IMP -FIFE              5,434.56      4,528.82     905.74 120 11/3120062807
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                            TRUCK    N!A     LEASE   000000000496           DATA CABLING IMPROVEMENT                  241.96       197.63       44.33   120 1!1012007 28010
                            TRUCK    WA      LEASE   000000000533           INSTA~LED.2 METAL DRS-SEA               3,720.96     2,759.73      961.23   120 10112/2007 28070
                            TRUCK    N/A     LEASE   000000000551           RAISED FLOOR                           15,581.80    10,258.03    5,323.T7   t20 8/29!2008 30080
                            TRUCK    NIA     LEASE   000000000552           POWER FOR DATA ROOM                     9,000.00     5,925.00    3,075.00   120 812912008 30080 000000000552
                            TRUCK    NIA     LEASE   000000000561           Gcethe Road Comp Street Signs           2,735.79     1,755.48      980.31   120 10l27I2008 30080
                            TRUCK    N/A     (EASE   000000000562           Sonitro! Security System                4,559.00     3,061.33    1,557.67   t20 8(20/2008 30080
                            'TRUCK   NIA     (EASE   OOOQ00000567           £lechigl Work in Server Room            4,633.00     3.017.46    1,621.54   120. 9/29/2008 30080 000000000552
                            TRUCK    NIA     LEASE   OOOOQ000o569           Electrical Wak in Data Room             4,648.00     2,982.44    (,665.56   120 10/29!2008 30080 OOo0000D0552
                            TRUCK    N/A     LEASE   000000000575           Space Heaters                           4.824.15     3,055.29
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                                                                                                                                             x,768.86   120 11/t8/2008 28020
                            TRUCK    NIA     LEASE   000000000581           IT ROOM COOLING                        51,T50.OD    31,481.25   20,268.75   120 2/9/2009 30080
                            TRUCK    NIA     LEASE   000000000588           TRANSFER FAP!INSTALL                    2,500.00     1,499.97    1,D00.03   120 3!31!2009 30080
                            TRUCK    N/A     LEASE   OOOODQOOU602           New office Highland shop                3,000.UO     1,SOQ.00    1,560.00   120 3!11/2020 28050
                            TRUCK    NIA     LEASE   000000000609           INSTALL. OF LOW VOLTAGE PIPING          4,950.00     2,392.50    2,557.50   120 SIS/2010 28050
                            TRUCK    N/A     LEASE   OOOOOOOQO658           EG-Replace A!C Unit                     3,664.00     1,526.64    2,137.38   120 1!172011 48010
                            TRUCK    NIA     LEASE   000000000675           Denver Shop Office Remodel         ~    5,17'1.00    1,574.50    3,596.50   120. 21~0/20t2 28010
                            TRUCK    NIA     LEASE   000000000681           Install Concrete pad at Shop            2,744.00       731.76    2,Ot2.24   120 7/10/2012 28030
                            TRUCK    WA      LEASE   OOOOQ0000692           Electripf Installs-Corp Mpve            6,827.00     1,794.71    5,63229    120 6126!2013 30D80
                            TRUCK    N/A     LEASE   000000000695           New CatES Cabling InSEaU               77,550.00     2,925.00   14,625.00   120 7/31!2013 30080
                            TRUCK    N1A     MISC    000000000468           TSJ55 AIR SCISSORS JACK                 3,179.03     3,179.03         -      60 10!2512006 28070
                            TRUCK    NIA     OPFIC   OOD000000042           ConfRoomFumiture-Oak                    1,609.00     1,609.00         -      60 72/20J~99030060
                            TRUCK    N/A     OFFfC   000000000043           Butcher Block Desk                      3,320.00     3.320.00         -      60 6!611997 30080
                            TRUCK    N/A     OFFIC   000000000044           Office Furniture -Oak                   2,097.00     2,097.00         -      60 6/231'1997 30080
                            TRUCK    NIA     OFFIC   000000000045           FumitwefafTdept                         3,449.08     3,449.08         -      60 3/31/2000 30060
                            TRUCK    NIA     OFFIC   000000000046           Furniture for IT dept                   3,449.08     3,449.08         -      60 4I13I2000 30060
                            TRUCK    NIA     OFFlC   000000000047           Furniture for IT dept                     750,00       750.00         -      60 4/13Y2000 30060
                            TRUCK    N/A
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                                             OFFIC   OOOOOOOOOD50    164    iBM Selechic III                          847.00       847.00         -      60 9/78/i9&1 30080
                            TRUCK    fJ/A    OFFlC   000000000055    830    Pitney Bowes Scale                      1,358.00     1,358.00         -      60 4/29/1988 30080
                            TRUCK    N/A     OFFIC   OOOOOOOOOQ5fi   829    Pitney Bowes Mail Mach                  3,203.00     3,203.00         -      60 72/301 988 30080
                            TRUCK    NIA     OFFiC   000000000058    1145   Panafax UE311                           1,509.00     1,509.00         -      60 6/2311992 30080
                            TRUCK    N/A     OFFlC   000000000067    125    Panasonic Fax UF755                     2,478.00     2,478.00         -      60 8!26!1994 30080
                            TRUCK    N/A     OFFIC   000000000068           Panasonic UF322 Fax                     1,292.00     1,292.00                60 8/26/1994 30080
                            TRUCK    N!A     OFFIC   00000000007Q           Norstar?hone System                    13,604.00    13,604.00
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                                                                                                                                                 -       60 10/20/1994 30080
                            TRUCK    NIA     OFFIC   000000000073           Precision Measure                       3,220.00     3,220.00        -       60 4Y24l1995 30080
                            TRUCK    N/A     OFFIC   000000000077    727    Panasonic UA44 Fa~c                     1,809.00     1,809.00        -       60 8110/1995 30080
                            TRUCK    N/A .   OFFlC   000000000081    1332   Panasonic UF744 Fax           ~         1,788.00     1,788.00        -       60 70/6!1995 30080
                            TRUCK    N!A     OFFIC   000000000087    948    Xerox X01255 Copier                     7,624.00     1,624.00        -       60. 5/1/1997 30080
                            TRUCK    N!A     OFFIC   000000000088    875    Canon NP6650ft Copier                   9,48200      9,48200         -       60 8/811997 30080
                            TRUCK    NIA     OFFIC   000000000089    1T80   Multisync Overhead Projecter            4,385.53     4,385.53        -       60 '10/1/1998 30080
                            TRUCK    N!A     OFFiC   000000000380           DESK 8, FILE CABINET-M. NfA7HES0        3,715.95     3,715.95        -       60 7/31!2003 30080
                            TRUCK    N/A     OFFIC   000000000386           OFFICE FURNITURE                        3,102.12     3,102.12        -       60 9!1!2004 30060
                            TRUCK    N!A     OFFIC   000000000433           Cubides,Desks,OH storage, etc          18,273.07    16,273.01        -       60 3x2812006 30080 Oo000000D433
                            TRUCK    N/A     OFFIC   OOOOOOD00440           OFFICE REMODEL-TRAINING ROOM              340.00       340.00        -       60 4/1/20Q6 30080 000000000433
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                             TRUCK   WA    aFFlC     000000000443      M MATHESON CHAIR                1,136.00    ~,736.OD         -      6p     6I21Y1006 30080
                             TRUCK   WA    OFFIC     000000000445     A!P CU81ClES 50%                 S,000.61    5,000.61         -      60     7/15/2006 30080
                             TRUCK   N/A   OFFIC     OO~OOOOOQ450     A/P OFFICE RECQNFIGURATION       4,760.60    4,760.60         -      60     8111/20D6 30080
                             TRUCK   NIA   OFFIC     000000000452     AIP OFFICE CUBICLES              1,640.00    1,640.00         -      60       8/4/2006 30080
                             TRUCK   N/A   OFFIC     000000000498      M MATNESON FURNITURE            5,791.50    5,791.50         -      60      1/31/2007 30080
                             TRUCK   N/A   OFFIC     000000000563     Rulands Cubicle Stations    -    5.620.11    5,620.1 t        -      60     8!28!2008 30080
                             TRUCK   N(A   OFFIC     000000000566     Corporate Printer                2,387.04    2,387.04         -      60     10!712008 30080
                             TRUCK   NIA   OFFIC     000000000690     Office Chair- M.Matheson         3,983.35    1,991.68    1,997.67    60     9/20!2012 30010
                            TRUCK    N/A   OFFIC     000000000714     Office Furniture 4 Dan Maue      1,728.00      772,80
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                                                                                                                               7,555.20    60     9/30/2014 30080
                            TRUCK    N/A   PLANT     000000000273     Power Pruner                     1,293.Q0    7,293.00         -     120     7/17/1996 30060
                             TRUCK   N/A   PLANT     OOOOOOQ00274     Lawn Mower                      10.539.00   10,539.00         -     120     7123/199& 30080
                             TRUCK   N(A   PLANT     000000000275     Hydraulic Jack(00008)              350.00      350.00         -     120     1!31!1968 48030
                             TRUCK   NfA   PLANT     000000000276     Welder(00009)                      412.00      412.00         -     120     7!31!1968 48070
                            TRUCK    N!A   PLANT     000000000277     Gas Holding Tank(00017)            199.00      199.00         -     120     1/31/1972 48030
                            TRUCK    N/A   PLANT     000000000278 ,   Grease Pump(00024}                 250.00      250.00         -             2!2811973 48030
                                                                                                                                          120
                            TRUCK    NIA   PLANT     000000000279     2 Fans{00020)                      169.00      169.00         -     120     6!30/1973 46030
                            TRUCK    NIA   PLANT     OOOOOQ000280     Grease Dispenser(00021)            421.00      421.00         -     120    10131!1973 48030
                            TRUCK    N/A   PLANT     000000000281     Hose Reels(6)                      786.00      786.00         -     120    12131/1973 48030
                            TRUCK    N/A   PLANT     000000000282     UUlityCart                         610.60      610.00         -     !20     6!30/197648030
                            TRUCK    N/A   PLANT     000000000283     Walker Jack                        862.00      862.00         -     720    12130!1976 48030
                            TRUCK    N/A   PLANT     0000000002&!     Air Compressor                   1,481.00    1,358.00      123.00   'I20    ?J28/1977 48030
                            TRUCK    NfA   PLANT     000000000285     A/C Tester(0027)                   715.00      715.00         -     120     8/31/977 48030
                            TRUCK    N/A   PLANT     000000000286     Start-Aif Unit                   2,175:OQ    2,175.00         -     120    12/31/1984 28010
                            TRUCK    NIA   PLANT     000000000287     BlendetlFueVOiF                  1,476.00    1,476.00         -     i20       3!2/1987 28010
                            TRUCK    N/A   PLAM      000000000288     Blender/Fuet/Oi1                   852.00      852.00         -     720    12/161987 28010
                            TRUCK    N/A   PLAN'!'
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                                                     OOOOOOOOD289     Steamer                          4,859.00    4,859.00         -     120     61171199128010
                            TRUCK    WA    PLANT     000000000290     Pressure Washer                  4,200.00    4,200.00         -     720     8/12/1992 48010
                            TRUCK    N/A   PLANT     000000000292     Tire SpinnerBalancer             3,273.00    3,273.00         -     X20       3/3!7995 28Q10
                            TRUCK    NIA   PLANT     000000000293     Chain Mender                     3,227.00    3.227.00         -     X20    t1/201~995 28020
                            TRUCK    N/A   PLANT     000000000294     Whee[ BalancedSpinner            3,749.D0    3,749.00         -     120     7/18H997 28020
                            TRUCK    NIA   PLANT     000000000295     AlC Recharges                    2,473.D0    2,473.00         -     120     3/25/1998 28010
                            TRUCK    NIA   ALANT     D00000000296     AIC Recha~ger                    3,883.00
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                                                                                                                   3,883.00         -     120     3/31!1998 28020
                            'TRUCK   N/A   PLANT     000000000297     Air Compressor                   2,474.00    2,474,00         -     120     5/29/1998 28020
                            TRUCK    WA    PLANT     000000000298     Smoke Meter                      5,629.00    5,629.00         -     120     11/7/1998 28020
                            TRUCK    WA    PLANT     000000000299     Elec Hoist                         125.00      125.00         -     120     5!3117971 48010
                            TRUCK    NIA   PLANT     000000000300     Storage Bins                       763.00      763.00         -     120     7/31!1971 48010
                            TRUCK    NfA   PLANT     000000000301     Shelving                         1,566.00    1,566.00         -     120     9/301197128010
                            TRUCK    NIA   PLANT     000000000302     Transmission Jack                  623.00      623.00         -     120     1!24/1984 28010
                            TRUCK    NlA   PLANT     000000000303     Fbor Jack-10 Ton                 1,642.00    1,fi42.00        -     720       4/111984 48010
                            TRUCK    N/A   PLANT     000000000304     Engine Crane                     2,277.00    2,277.00         -     120       41111984 48010
                            TRUCK    NIA   PLANT     OOQ000000305     Blender FueVOil                  1,476.00    1,476.00         -     120       312!7887 480t0
                            TRUCK    NIA   PLANT     0000000003Q6     Campbe1112hpCompressor           1,757.00    7,75!.00         -     120     3726H98748Dt0
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                             TRUCK   NIA    PLANT    000000000307
                                                                                _-
                                                                        Transmission Jack                   901.00       901.00     -   120 3f31H969 480'10
                             TRUCK   NlA.   PLANT    000000000308        Air/Oil Water System            17,244.00    17,244,00     -   i20 i1/29/1990480~0
                             TRUCK   N/A    PLANT    000000000309       Pressure Washer                   4,202.00     4,202.00     -   120 1018l199~ 48010
                             TRUCK   N!A    PLANT    000000000310       Air$cissorLift                    1,996.00     1,996.00     -   920 7/2g/1gg24801p
                             TRUCK   WA     PLANT    000000000311       Tire Balancer                     3,395.00     3,395.00     -   120 8/1QH994 48010
                             TRUCK   NIA    PLANT    000000000312       Welder                            1,554.00     1,554.00     -   720    1!9!1995 48010
                             TRUCK   N/A    PLANT    000000000313       Floor Jack                        2,044.OQ     2,044.00     -   12(1 11!25/1997 A8010
                             TRUCK   N/A    PLANT    000000000314       AIC Recharger                     3,883.00     3,863.00     -   120 3!31/1998 48010
                             TRUCK   N!A    PLANT    OOOOOOQ00315       A/C Recharger                     3,883.00     3,883.00     -   120 3!3111998 48020
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                             TRUCK   NIA    PLANT    000000000316       SassorJadc                        2,296.00     2,296.00     -   12D 4!20/1998 48070
                             TRUCK   N/A    PLAN7    600000000317       Pneudraulic Inst Tooi             5,407.00     5.407.00     -   120 5129/1998 48010
                             TRUCK   N!A    PIANT    000000000318       Plasma Cutter                     2,289,00     2,289.00     -   120 7/1(1998 48010
                             TRUCK   N!A    PIANT    000000000319       Floor geaning Machine               895.40       895,40     -   120 10!29!1998 48010
                             TRUCK   NIA    PLfWT    OOOOOQ000320       Smoke Meter                       5,603.00     5,603.00     -   120 17/7/1998 48010
                             TRUCK   N/A    PLANT    000000000321       Wheel lift                        7,830.00     7,830.00     -   120 8/13/1999 28010
                             TRUCK   N!A    PLANT    OOOOQ0000322       Portabtewreckerattachment         4,604.38     4,604.36     -   120 11/15/1999 48010
                             TRUCK   N/A    PLANT    000000000323       Transmission Jadc                 1,589.31     1,589.31     -   120 4/20/2000 28D10
                             TRUCK   N/A    PLANT    000000000324       Dritl Press                       2,590.61     2,590.61     -   120 4/27!2000 48040
                             TRUCK   N/A    PIP.NT   000000000325       Digital Battery $ Elec. Sys.      1,396.84     1,396.84     -   120 4!27/2000 4$OAO
                             TRUCK   N!A    PLANT    OD0000000326       Workbench&shelf                   1,323.77     7,323.17     -   120 4127/200048040
                             TRUCK   NIA    PLANT    000000000327       PortaWeWelder                     3.097.17-    3,097.17     -   120 4/27200048010
                             TRUCK   NiA    PLANT    000000000328       Chop Saw Cylinders                1,294.32     1,294.32     -   120 4/27/2000 48040
                            TRUCK    NJA    PLANT    000000000329       Welder                            1,759.51     1,759.51     -   120 4l27/2D00 48010
                             TRUCK   N/A    PLANT    OOOOOOOD0330       Welder                            2,833.01     2,833.01     -   120 4/2712000 48010
                            TRUCK    N/A    PLANT    000000000331       Shop Die set V'se grfnder         1,483.64     1,493.64     -   120    M5l2000 48040
                             TRUCK   N/A    PLANT    004000000332       Floor Jack                        2,65825
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                                                                                                                       2,658.25     -   120 6M/2000 48040
                             TRUCK   N/A    PLAM'    OOOOOOOOQ333       Jack Wrench &Toots                2,358.40     2,358.4D     -   120 6/1/2000 48040
                            'TRUCK   N/A    PLANT    DD0000000334       Welder &Cylinder                  2,058.73     2,058.73     -   120 5!31/2000 48040
                             TRUCK   N!A    PLANT    000000000335       Welding Equip.                    1,007.52     1,007.52 .   -   120 7/30/2000 48040
                             TRUCK   WA     ALANT    000000000337       Transmission Jack                 2,191.13     2,791.13     -   120 10/31/2000 28050
                            TRUCK    WA     PLANT    000000000338       Ingersoll Air Compressor          1,079.00     1,079.00     -   120 SR/1987 28030
                            TRUCK    N!A    PLANT    000000000339 M81   Compressor(M8~)                   1,838.00     1,838.00     -   120 10/26/1982 28020
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                            TRUCK    NJA    PLANT    000000000340       Norco 3 T. Eng Stand V#41830      3.288.00     3,288.00     -   120 6/29/2002 48070
                            TRUCK    WA     PLANT    OOOOOOOQ0364       PRESSURE WASHER,V#46840           4,629.61     4.629.67     -   120 9/30!2002 48010
                            TRUCK    NfA    PLANT    000000000365       LASER LEVEL &TRIPOD               4,304.61     4,364.61     -   120 3!10/2003 480'10
                            TRUCK    NfA    PLANT    OOOOOQ~DD366       USED F1.00R SCRU68ER              1,610.63     1,610.63     -   120 5116!2003 48010
                            TRUCK    NiA    PLANT    OOOOOQ000367       EXPENDABLE TOOLS                  2,040.00     2,040.00     -   120 5/31/2003 48010
                            TRUCK    NIA    PLANT    OOOOOOOOQ374       TWd SYSTEMONE PARTSWASHERS        8,955.52     8,955.52     -   120 6130!2003 4801Q
                            TRUCK    N!A    PLANT    000000000375       7 SYSTEMONE PARTSWASHERS         23,827.67    23,827.61     -   120 6!30!2003 48010
                            TRUCK    N!A    PLANT    000000000379       PARTSWASHEt2S-BUYOUT PYMT           124.11       124.11     -   120 913012003 48010
                            TRUCK    NIA    PLANT    000000000385       PORTABLE POWER BAStC KIT          5,791.20     5,797.20     -   120 617/2004 48010
                            TRUCK    NIA    PLANT    000000000388       Robinair 347002K Cool-Tech 700    2,476.95     2,476.95     -   720 10!112004 48010
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                              ~►~ae
                            F~`vn-
                                                                                                                                                                             P
                             TRUCK     NiA     PLANT     000000000389        CarpoA fa shop                        7,965.00      x,965.00         -      t20 1 i/29/200a 28040
                             TRUCK     WA     PWNT       OOQ0000004t3        Ingersoll Air Compressor              1,079.00      7,079.00         -      120 5/7!1981 28020
                             TRUCK     N!A    PWNT       000000000416        Data Link Kit S!S to J47500CCD        1,581.63      1,542.09      39.54     120 62M2005 28070
                             TRUCK     N/A,   PLANT      000000000417        Kit,DatalinkAdapter                   t,733.~4      1,689.79      43.35     720 6/~M200548090
                             TRUCK     N!A    PLANT      000000000424        Steam Cleaner#5540                    3,302.00      3,302.00         -      X20 3114!1988 28040
                             TRUCK     N/A    PLANT      000000000425        Wash Water System                    6,302.00       6,302.00         -      120 8/29!1994 28040
                             TRUCK     WA     PIANT      000000000470        HUCK2D25TOOL                          1,698.48      1,429.53     266.95     120 10/24/200b 28070
                             TRUCK     N/A     pIAPfT    000000000471         COMPftESSOR.AIR#-1WD78              3,622,04       3.048.52     573.52     120 10l~0/2006 28070 000000000471
                             TRUCK    NIA     PLANT     000000000472          WELDER/GENERATOR 20 HP 907211       4,069.88       3,425.52     644.36
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                                                                                                                                                         120 10/10/2006 28070 000000000472
                             TRUCK     WA     PLANT     000000000476          Minuteman Cart                      2,449.50       2.061.64     387.86     120 10Q4/2006 28070
                             TRUCK    NIA     Rl.ANT    000000000480         WASTE REMOVAL SYSTEM                 3.585.00      2,957.67      627.33     720 12/11/2006 28070
                             TRUCK    N/A     PLANT      OQOOOOQ00481         AIR COMP-FRKLFT RNTL                   371.73        309.79      61.94     720 11/2?12006 28070 000000000471
                             TRUCK    N/A     PLANT     000000000485         LURE SYSTEM                         10,467.55      8,635.73    1,837.82     124 7216/2006 28070
                             TRUCK    NIA     PLANT     000004000486         PARTS WASHER                         3.935.78      3,279.30      655.88     i20 11!7!2006 28070
                             TRUCK    N/A     PLANT     000000000487         PARTS WASHER                         3,939.57      3,282.98      656.59    i20 11!7/2006 48010
                             TRUCK    N!A     PLANT     000000000506         CHARGING SYSTEM TESTER               4,088.54      3,236.72      851.78     120 4!4!2007 4$010
                             TRUCK    N/A     PLANT      OOOD00000507        CHARGING SYSTEM TESTER               4,088.50      3,236.72      851.78    120 4/412007 28050
                             TRUCK    N/A     PLANT     000000000508         CHARGING SYSTEM TESTER               4,088.50      3,236.72      857.78    720 4/4/2007 28020
                             TRUCK    N/A     PLANT     000000000509         M. MATHESON PRESSURE WASHER          2,059.30       1,647.43     411.87     120 3123/2007 30080
                             TRUCK    N!A     PLANT     000000000514         MACHINE TO CHECK CHARGING SYST       4,088.50      3,202.65      885.85    120 5/i412007 28030
                             TRUCK    N/A     PLANT     00000000515          MACHINE TO CHECK CHARGING SYST       4,088.50      3.202.65      885.85    120 5114!2007 28010
                             TRUCK    NIA     PLANT     000000000516         MACHINE TO CHECK CHARGING SYST       4,088.50      3,202.65      885.85    120 5/142067 28070
                             TRUCK    N/A     PLANT     ODOOOOQ00523         7.5 HP AIR COMPRESSOR                2,723.78      1,6 0.56      573.22     X20 8/22/ZOD7 2806Q
                             TRUCK    N!A     PLANT     000000000538         Air Conditioning Machine             2,785.34      2,088.99      696.35    920 9/73!2007 2801Q
                             TRUCK    N/A     PLAM'     OD0000000543         Hotsy Pressure Washer                5,270.86      3.865.27    1,405.59    120 1/312008 48010
                            TRUCK     N/A     PLANT     000000000583         AIR COMPRESSOR
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                                                                                                                  3,023.94      1.864.76    1,159.18    120 112712D09 28050
                             TRUCK    NIA     PLANT     000000000599 EPJ01   Hyster Elec Pallet Jack EPJ-01       3,845.59      3,845.59         -      120 3/2812000 30041
                            TRUCK     N/A     PLANT.    060000000600 EPJ07   Ftystet Elec Pallet Jack EPJ-07      3,845.59      3.845.59         -      i20 6/26/2000 30041
                            TRUCK     N/A     PLANT     000000000610         ROBINAiR COOLTECH 11NIT34288         2,379.99      1,130.47    1,249.52    '120 6115I201U 28060
                            TRUCK     N/A     PLANT     OOOOOOOQDS57         2,200 Galiwi Qif Tank                2,917.50      1,26423     1,653.27    12Q 11!1012010 28070
                             TRUCK    N/A     PLANT     000000000663         AIR FiLTERIREGUTATOR                 4,125.00      1,478.17    2,646.83    120 8/3/2011 28010
                            TRUCK     N/A     PLANT     000000000664         AIR FtLTER/REGULATOR W!BRACKE        4,125.00      1,478.17    2,646.83
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                                                                                                                                                        120 8l3/201~ 28060
                            TRUCK     NIA     PLANT     000000000665         AIR FILTERIREGUTATOR W/ BRACKE       4,502.12      1,61327     2,888.85    120 8f3/2011 28070
                            TRUCK     N!A     SECUR     000000000694         InWsion Equip (Spfiitrol)            3,662.00      1,220.64    2,441.3fi     60 7/22/2073 30080
                            TRUCK     N!A     SOFT      OOOOOOp00347         Peoplesoftsoftware                517,200.00     517,200.00         -        36 4H/1998 30060
                            TRUCK     NIA     SOFT      000000000342         Peoplesoftsoftware                 10,775.00      10,775.00         -        36 10/15/1998 30060
                            TRUCK     NIA     SOFT      OOOOOOOOQ343         PeoplesoR soRware                  96,975.00      96,975.00         -        36 10126!1998 3006Q
                            '!RUCK    N/A     SOFT      000000000344         Peoplesoftsoftware                 68,058.22      68,058.22         -        36 10/2?I7998 30060
                            TRUCK     NIA     SOFT      400000000345         Peoplesoft software                17,985.00      17,985.00         -        36 1/18/1999 3006Q
                            TRUCK     NIA     SOFT      000000000346         Check Wrfing Software               4,564.62       4,564.62         -        36 2/i 1!1999 3Q060
                            TRUCK     N/A     SOFT      000000000347         D'gitizing Service Logos            2.586.00       2,586.00         -        36 2I11M999 30060
                            TRUCK     NIA     SOFT      000000000348         Check Writing Software              8,955.26       8,955.2&         -        36 1!1911999 30060
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                            TRUCK   N!A   SOFT'   000000000349   Orate Server w!insMdlVsupp          53.411.00       53,411.00          -      36    5/20!7999 30060
                            TRUCK   NIA   SOFT    000000000350   Software Dev.                      160,000.00      160.000.00          -      36     6/2/1999 30Q60
                            TRUCK   WA    SOFT    000000000351   Fi(eNet Software                  262,335.00       262,335.00          -      38     2/1/2000 30060
                            TRUCK   NIA   SOFT    000000000352   Sales tax                            5,236.38         5,236.38         -      36    5!20/1999 30060
                            TRUCK   NIA   SOF?    000000000353   Sales tax                           16,262.97        16,262.97         -      36     2/112000 30060
                            TRUCK   NIA   SOFT    000000000354   Mapping Software                    38,000.00       3&,000.00          -      36     1HJ2000 30060
                            TRUCK   N/A   SOFT    OOOOOD000355   Internet Devebper Suite              3,969.74         3,969.74         -      36    6/2812002 30060
                            TRUCK   N/A   SOFT    000000000458   KABA PROJECT MGR                     5,300.00         5,300.Q0         -      60    8116!2006 30060 000000000465
                            TRUCK   N!A   SOFT    000000000460   K.4BA PROJEG7 MANAGER                  300.00           300.00         -      60     9/1/2006 30060 OOOOD0000465
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                            TRUCK   WA    SOFT    OOQ000000461   KABA PROJECT MANAGER                   300.00           300.Q0         -      60     8/1!2006 30060 000000000465
                            TRUCK   NIA   SOFT    000000000462   KABA PROJECT tv1ANAGER                 959.01           959.01         -      60     9!?J2006 30060 000000000465
                            TRUCK   N!A   SOFT    000000000463   KABA PROJECT MANAGER                 1,4A0.00         1,A00.00         -      60    1011!2006 30060 000000000465
                            TRUCK   WA    SOFT    OOOOOOOOQ464   KABA LICENSE FEE                    25,000.00.      25,000.00          -      36     7!1!2006 30060 000000000465
                            TRUCK   N/A   SOFT    000000000477   PeopleSoff!Kaba License Fee         25,000.00       25,000.00          -      36     7/1/2006 30060 000000000464
                            TRUCK   N/A   SOFT    OOOOOQ000478   Kaba Project Manager-E. Aslou        1,100.00         1,100.00         -      36   10/31/2006 30060 000000000459
                            TRUCK   NIA   SOFT    000000000546   Openlnsight Developer Edition        6,50Q.00         6,500.00         -      36     4/1!2008 30060
                            TRUCK   N/A   SOFT    000000000554   TMT Transman Software Deposit       53,710.00       53,710.60          -      36    5!19/2008 3006D
                            TRUCK   N/A   SOFT    000000000555   TMT T2nsman Sothvare Deposit        12,500.00       12,500.00          -      36    5!1912008 30060
                            TRUCK   WA    SOFT    000000000556   TMT Trartsman                       62,675.95       62,675.95          -      36    5119/2008 30060
                            TRUCK   WA    SOFT    OOOD00000579   TOAD FOR SQL SERVER DEV              2,700.00         2,700.00         -      36   12/3012Q08 30Q60
                            TRUCK   N/A   SOFT    OOOD00000582   ACTIVEX SCAN SOFTWARE                3.293.00         3,293.00         -      36    1!16!2009 30960
                            TRUCK   NIA   SOFT    000000000589   RESULTS NOW WITH DAWG SQL            7,694.00         7,480.28      213.72    36     4/2/2009 30060
                            TRUCK   N/A   SOFT    D00000000590   Easy Projects 10-user license        1.885.00         1,885.00                36     M6l2009 30060
                            TRUCK   NIA   SOFT    000004000591   Track-IL                             1.500.00         1,500.00          -     36    4113/2004 30060
                            TRUCK   N1A   SOFT    000000000592   NETWORK LICENSE                      6,003.00         6,003.00          -     36     6/1/2009 30080
                            TRUCK   N/A   SOFT    000000000601   Road Cal4 Module                     8.118.90
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                                                                                                                       9,719.90          -     36    3!14/2010 30441
                            TRUCK   N!A   SOFT    000000000611   TMTOrderTrans£erProgram              2,500.00         2,430.56        69.44   36    6/1112010 30060 OOOOOOOU061~
                            TRUCK   N!A   SOFf    000000000659   TMT Order Transfer 2 OF 2            2,500.00         2,500.00          -     36    4/20!2011 30060 OOOOQ00006'I'I
                            TRUCK   N1A   SOFT    000000000693   Upgrade to Corporate 8               1,719.00         1,002.75       716.25   36    612612013 30060
                                                                                                 3,75/,862.43     3,637,098.60    120,763.$3
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                    EXHIBIT F
                                 Matheson Trucking,Inc.(MTI}
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Joe GarretE,Inc.(JGSJ    ~   ~      Mafheson Posfal(MPI}    ~         ~ Matheson Fast Freight(MFG
                                                                                                    Doc 482




    Flight Extenders(MFE)I   ~    Endure Transport,Inc. I       i Matheson Mail Transportation
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                    EX~IIBIT G
                              FLIGHT EXTENDERS INC.
                              Cash Flow Projection
                              FY 2015 - FY 2019
                              Dollars in Thousands
                              Beginning Cash Balance                                                                       52200.0     52202.0      52010.0     52595.0      52517.0      57495.47       5803.06     $1052.66       5977.98       5935.15     S'I209.75     51154.82      51'129.95     S'I103.45
                              Cash inflows
                                FLTEX Collections:
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                                 FLiEX-LISPS THS A/R Coiledions                                                            $1340.0     $1335.0      $1355.0     $1350.0      $1350.0        $1975.0      $1350.0      $1350.0       $1350.0       $1350.0      $1350.0       $1350.0       $1350.0       $1350.0
                                 FLTEX-LISPS CDF AJR Collections                                                            $205.0      $396.0       $990.0      $300.0       $300.0         $280.0       $280.0       $260.0        $280.0        $280.0       $280.0        $280.0        $280.0        $280.0
                                 FLTEX-Commercial A/R Collections                                                           $390.0      $297.0       $500.0      $400.0       $500.0      ~ $410.0        $400.0       $500.0        $410.0        5470.0       $500.0        $425.0        $525.0        $425.0
                                Total FLTEX AR CoAedions                                                                   S'1935.0    52028.0      52845.0     52050.0      52750.0        52665.0      52030.0      52130.0       52040.0       52040.0      52130.0       52055.0       52155.0       52055.0
                              Total Cash Inflows from Customers                                                             S'I935.0   52028.0      52845.0     52050.0      52150.0       52665.0       52030.0      52'130.0      52040.0       52040.0      52130.0       52055.0       52155.0        52055.0
                              Cash Outflows from Operating Costs
                                Payroll F~cpenses:
                                  Payroll                                                                                   (s~~o.o)    (seoo.o>    (sno.o)      (s~zo.o>   (s~a25.o)      (s~zo.o)      (s~2o.o)      (ssao.o)      (s~zo.o)     (s~zo.o)     (seoo.o)      (s~25.o)       tssos.o)      (s~25.o>
                                  Payroll Taxes                                                                             ($247.0)    ($315.0)    ($355.0)     ($265.0)    ($528.0)      ($440.0)      ($265.0)     ($330.0)      ($390.0)      ($265.0)     ($330.0)      ($390.0)      ($330.0)      ($265.0)
                                  H&W/401(k) Funding                                                                         ($75.0)     ($72.0)     ($80.0)      ($75.0)    ($100.0)       ($75.0)       ($75.0)      ($85.0)       ($75.0)       ($75.0)      ($85.0)       ($75.0)       ($85.0)       ($75.0)
                                  GamishmentsNoluntary Benefits                                                              ($13.0)     ($140)      ($15.0)      ($20.0)     ($35.0)       ($20.0)       ($20.0)      ($25.0)       ($20.0)       ($20.0)      ($25.0)       ($20.0)       ($25.0)       ($20.0)
                                Total Payroll Expenses                                                                     ($1045.0)   (47301.0)   (S'I220.0)   (51080.0)   ($2088.0)     (57255.0)     (51080.0)    ($1340.0)     (51205.0)     (51080.0)    ($1340.0)     ($1210.0)     ($1345.0)     ($1085.0)
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                                Facility Related Expenses:
                                  Facility Rent                                                                             ($140.0}    ($162.0)    ($275.0)     ($230.0)    ($197.0)      ($169.0)      ($169.0)      ($172.0)      ($169.0)     ($169.0)     ($172.0)      ($169.0)      ($172.0)       ($169.0)
                                  Utilities/Yard&Building Maintenance                                                        ($150)      ($13.0)     ($18.0)      ($12.0)     ($20.0)       ($72.0)       ($12.0)       ($15.0)       ($72.0)      ($12.0)      ($75.0)       ($12.0)       ($15.0)        ($12.0)
                                ToWI Facility Related Expenses                                                              ($155.0)    (b175.0)    (5293.0)     ($242.0)    (5217.0)      (5181.0)      ($181.0)      ($187.0)      (5181.0)     (5181.0)     (5187.0)      (5181.0)      (5187.0)       (5161.0)
                                Accounts Payable:
                                  Fuel Payments to Vendors                                                                   ($32.0)     ($21.0)     ($25.0)      ($20.0)     ($25.0)      ($20.40)      ($20.40)      ($25.50)      ($20.40)      ($20.40)     ($25.75)     (522.44)      ($25.50)       ($22.44)
                                  Outside Service (primarily GTF & FSD Subcontractors)                                       (580,0)     ($66.0)     ($65.0)      ($60.0)     ($60.0)       ($60.0)       ($60.0)       ($60.0)       ($60.0)       ($60.0)      ($60.0)      ($60.0)       ($60.0)        ($60.0)
                                  Debtor's Legal &Professional fees                                                         ($165.0)     (583.0)     ($90.0)      ($65.0)    ($175.0)      ($175.0)       ($45.0)       ($50.0)       ($50.0)       ($30.0)      ($30.0)      ($30.0)       ($30.0) ~      ($30.0)
                                  Committee Legal &Professional fees                                                            $.0         -           -         ($76.0)        $.0       ($125.0)          $.0
                                  WFB Credit Cards (Navel, mist terminal supplies)                                           (520.0)     ($25.0)     ($30.0)      ($25.0)     ($20.0)       ($50.0)       ($20.0)      ($20.0)       ($20.0)       ($20.0)      ($20.0)       ($20.0)       ($20.0)       ($20.0)
                                  Other(scanners, equip rentals, R&M,taxes, etc)                                             ($84.0)    ($184.0)    ($160.0)     ($200.0)    ($155.0)      ($110.0)      ($110.0)     ($130.0)      ($110.0)      ($110.0)     ($130.0)      ($110.0)      ($130.0)      ($710.0)
                                ToWI Accounts Payables                                                                      ($381.0)    (5379.0)    (5370.0)     (5446.D)    ($435.0)     ($540.40)     (5255.40)    (5285.50)     ($260.40)     (5240.40)    (5265.75)     (5242.44)     ($265.50)     ($242.44)
                                   Trensfers to Trucking (Corporete Mgmt &Overhead)                                         ($352.0)    ($365.0)    ($377.0)     ($360.0)    ($360.0)
                                   Postal to Centralized Services                                                                                                                          $7200.0       $1200.0       $1200.0      $1200.0       $1200.0      $1200.0       $1200.0       $1200.0        $7200.0
                                   Centralized Services cash requirements:
                                      Corporate &Shops Payroll                                                                                                                              ($440.0)      ($440.0)     ($550.0)      ($440.0)      ($440.0)     ($550.0)     ($440.0)       ($550.0)      ($440.0)
                                      Facility &related expenses                                                                                                                             ($64.0)       ($64.0)      ($64.0)       ($64.0)       ($64.0)      ($64.0)      ($64.0)        ($64.0)       ($64.0)
                                      Corp &Shops A/P (supplies, parts, tires, repairs, legal &prof fees)                                                                                   ($800.0)      ($800.0)     ($800.0)      ($800.0)      ($800.0)     ($800.0)     ($810.0)       ($810.0)      ($870.0)
                                      Insurance                                                                                                                                             ($160.0)      ($160.0)     ($160.0)      ($160.0)      ($160.0)     ($160.0)     ($160.0)       ($160.0)      ($160.0)
                                   Centralized Services cash requirements                                                                                                                  ($1464.0)     ($1464.0)    ($1574.0)     ($1464.0)     ($1464.0)    ($1574.0)    ($1474.0)      ($1584.0)     ($1474.0)
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                                 Total Centralized Services Cash Requirements                                               (5352.0)    (5365.0)    (5377.0)     ($360.0)    (5360.0)       ($264.0)      (5264.0)     (5374.0)      (5264.0)      (5264.0)     ($374.0)     (5274.0)       (5384.0)      (5274.0)
                              Total Cash Outflows Before Plan Payout                                                       (57933.0)   (52220.0)   (52260.0)    (52125.0)   (53'100.0)    (52240.40)    (51780.40)   (52'186.50)   (51910.40)    (57765.40)   (52166.75)   (51907.44)    (52181.50)     (51782.44)
                              Cash from Operations                                                                             $2.0     (5192.0)     5585.0       ($78.0)     (5950.0)     $424.60        $249.60      ($56.50)     5729.60        5274.60      ($36.75)     5747.56        ($26.50)      $272.56
                                   New Value Contribution                                                                                                        $~seo.o
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                                   Executory Contract Cure Payments                                                                                                           ($71.53)
                                   Reorganization Pian -Class #1 -LISPS
                                   Reorganization Plan -Class #2 -Creditors < $13.SK                                                                                                        ($33.52)
                                   Reorganization Plan -Class #3 -Settled Plaintiffs                                                                                                                                   t$ts.is)                                 ($18.18)                                  (518.'18)
                                   Reorganization Plan -Class #4 -Creditors > $13.5K                                                                                                        ($83.49)                                 ~sis.is>                                 ~sis.is~
                                   Reorganization Plan -Class #5 - CO Plaintiffs                                                                                (S~aoo.o~                  ~s~000.o~                                ($156.25)                               ($156.25)
                                   Reorganization Plan -Class #6 -Wells Fargo Bank
                                   Reorganization Plan -Class #7 - MFE Equity holders
                                    Financial Impact of Plan                                                                     S.0        S.0          5.0          Y.0     ($71.53)    ($1'117.01)         $.0      (578.'18)    ($'172.43)         5.0      (518.18)    (5172.43)           8.0       (578.18)
                                Total Cash Outflows After Plan Payout                                                      ($1933.0)   (52220.0)   (52260.0)    ($2128.0)   ($3171.53)    (53357.41)    ($1780.40)   ($2204.68)    (52082.83)    ($1765.40)   (52184.93)   (52079.87)     ($2181.50)    (51800.62)
                               Ending Cash Balance                                                                          $2202.0     $2010.0     52595.0      $2517.0     S'I495.47      $803.06      $1052.66      5977.98       5935.15      S'I209.75    51154.82     51129.95       $1103.45      $1357.83
                               KEY ASSUMPTION
                              -Cash inflows from customxs are based on curtent LISPS contracts(THS +CDF); current
                              $NET-74 <onVact(THS) has a 30%rate reduction effective June 201 e; commeridal
                              contract cash inflows are projected to increase as MFE continues to diversify its customer
                              base.
                            11/23/2015 4:14 PM                                                                                                                              Page 1 of 4                                                                         MFE Cash Flow- November 2015(Version 8) 11-23-15.xlsx
                              FLIGHT EXTENDERS INC.
                              Cash Flow Projection
                              FY 2015 - FY 2019
                              Dollars in Thousands
                                                                                                                           •      .'Y.~':            _.~            ._..~        '_ ___,_~      s~~ ^yam'         ~ ,_.      ...._~                        _    ~:         v. ~.                               ....           ~_    _
                              Beginning Cash Balance                                                                       S'I357.83        b7342.96       57306.46          5781.54       51397.52       51653.63      $1511.36      21486.04     S'I461.95     51715.88          51672.44      51647.31             57868.'12         51550.56
                              Cash Inflows
                                FLTEX Collections:
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                                 FLTEX-LISPS THS AIR Collections                                                               $1350.0       $1350.0        $1350.0          $2025.0       $1350.0        $1350.0        $1350.0       $1350.0      $1350.0          $1350.0        $1350.0       $1350.0              $1350.0           $1350.0
                                 FLTEX-LISPS CDf NR Collections                                                                 $280.0        $280.0         $280.0           $280.0        $280.0         $280,0         $280.0        $280.0       $280.0           $280.0         $280.0        $280.0               $280.0            $280.0
                                 FLTEX-Commercial A/R Collections                                                               $435.0        $515.0         $425.0           $475.0        $425.0         $440.0         $440.0        $550.0       $440.0           $445.0         $565.0        $430.0               $570.0            $430.0
                                                                                                                               52065.0       52745.0        52055.0          52780.0       52055.0        52070.0        52070.0       52180.0      52070.0          52075.0        52795.0       52060.0              52200.0           52060.0
                                Total fLTEX AR Copections
                                                                                                                                                            52055.0          52780.0       52055.0        52070.0        52070.0       52180.0      52070.0          52075.0        52195.0        52060.0             52200.0           52060.0
                              Total Cash Inflows from Customers                                                                52065.0       52745.0
                              Cash Outflows from Operating Costs
                                Payroll F~cpenses:
                                  Payroll                                                                                   ($725.0)         ($905.0)      ($1250.0)         ($725.0)      ($725.0)       ($910.0)       ($725.0)      ($910,0)     ($725.0)      ($730.0)          ($910.0)       ($730.0)            ($910.0)          ($730.0)
                                  Payroll Taxes                                                                             ($390.0)         ($330.0)       ($424.0)         ($440.0)      ($265.0)       ($330.0)       (5390.0)      ($330.0)     ($265.0)      (5390.0)          ($330.0)       ($265.0)            (5455.0)          ($265.0)
                                  H&W/401(k) Funding                                                                         ($75.0)          ($85.0)        ($90.0)          ($75.0)       ($75.0)        ($85.0)        ($75.0)       ($85.0)      ($75.0)       ($75.0)           ($85.0)        ($75.0)             ($85.0)           ($75.0)
                                  GamishmentsNoluntary Benefits                                                              ($20 0)          ($25.0)        ($25.0)          ($20 0)       ($20.0)        ($25.0)        ($20.0)       ($25.0)      ($20.0)       ($20.0)           ($25.0)        ($20.0)             ($25.0)           ($20.0)
                                Total Payroll Expenses                                                                     (51270.0)        (57345.0)      (51789.0)        (51260.0)     (57085.0)      ($1350.0)      ($1210.0)     ($1350.0)    (;1085.0)     (57215.0]         ($1350.0)      (51090.0)           ($1475.0)         (51090.0)
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                                Facility Related Expenses:
                                                                                                                               ($169.0)      ($172.0)        ($204.0)        ($169.0)      ($169.0)       ($172.0)       ($769.0)      ($172.0)     ($169.0)         ($169.0)        ($172.0)      ($169.0)            ($172.0)          ($169.0)
                                  Facil'dy Rent
                                  UtilitiesNard&Building Maintenance                                                            ($12 0)       ($15.0)         ($17.0)         ($12.0)       ($12.0)        ($15.0)        ($12.0)       ($15.0)      ($12.0)          ($12.0)         ($15.0)       ($12.0)             ($15.0)           ($12.0)
                                                                                                                               ($181.0)      (5187.0)        (5221.0)        (5181.0)      (5181.0)       (5187.0)       ($181.0)      (5187.0)     (5181.0)         (5781.0)        ($187.0)      (5181.0)            ($187.0)          (5181.0)
                                ToWI Facility Related Expenses
                                Accounts Payable:
                                                                                                                               ($22.44)      ($25.50)        (522.44)        ($22.89)      ($22.89)       ($28.09)       ($22.89)      ($28.09)      ($22.89)        ($26.01)        ($29.13)      ($26.01)            ($29.13)          ($26.01)
                                  Fuel Payments to Vendors
                                  Outside Service (primarily GTf & FSD Subcontractors)                                          ($60.0)       ($60.0)         ($60.0)         ($60.0)       ($60.0)        ($60.0)        ($60.0)       ($60.0)       ($60.0)         ($62.0)         ($62.0)       ($62.0)             ($62.0)           ($62.0)
                                                                                                                                ($30.0)       ($30.0)         ($30.0)         ($30.0)       ($30.0)        ($30.0)        ($30.0)       ($30.0)       ($30.0)         ($30.0)         ($30.0)       ($30.0)             ($30.0)           ($30.0)
                                  Debtots Legal &Professional fees
                                  Committee Legal &Professional fees
                                                                                                                             ($20.0)          ($20.0)        ($20.0)          ($50.0)       ($20.0)        ($20.0)        ($20.0)       ($20.0)      ($20.0)       ($22.0)           ($22.0)        ($22.0)             ($22.0)           ($22.0)
                                  WFB Credit Cards (travel, mist terminal supplies)
                                                                                                                            ($1100)          ($1300)        ($745.0)         ($1100)       ($110.0)       ($130.0)       ($'110.0)     ($130.0)     ($110.0)      ($105.0)          ($725.0)       ($105.0)            ($125.0)          ($105.0)
                                  Other(scanners, equip rentals, R&M,taxes, etc)
                                                                                                                           (5242.44)        (5265.50)      (5277.44)        (b272.89)     (5242.89)      (5268.09)      (5242.89)     (5268.09)    (5242.89)     (5245.01)         (5268.13)      ($245.07)           (5268.13)         (5245.01)
                                Total Accounts Payables
                                   Transfers to Trucking (Corporate Mgmt &Overhead)
                                                                                                                               $1200.0       $1200.0         $1200.0         $1200.0       $1200.0        $1200.0        $1200.0       $1200.0      $1200.0          $1200.0        $1200.0        $1200.0             $1200.0           $1200.0
                                   Postal to CenValized Services
                                   Centralized Services cash requirements:
                                      Corporate 8 Shops Payroll                                                                ($440.0)       ($550.0)       ($440.0)         ($450.0)     ($450.0)       ($550.0)       ($450.0)       ($560.0)     ($450.0)        ($450.0)        ($560.0)      ($450.0)             ($560.0)          ($450.0)
                                      Facility &related expenses                                                                ($64.0)        ($64.0)        ($64.0)          ($64.0)      ($64.0)        ($64.0)        ($64.0)        ($64.0)      ($64.0)         ($65.0)         ($65.0)       ($65.0)              ($65.0)           ($65.0)
                                      Corp &Shops NP (supplies, parts, tires, repairs, legal &prof fees)                       ($aio.o>       (Sa~o.a)       (ss~o.o)         (saio.o)      (ss~o.o)      (sa~a.o)       (ssio.o)       (sa~o.o>     (sa~o.o)        (sa25.o)        ($s25.o)      (ss25.o)             (sszs.o)          (sszs.a~
                                      insurance                                                                              ($1600)          ($1600)        ($160.0)         ($160.0)     ($160.0)       ($165.0)       ($165.0)       ($165.0)     ($165.0)      (5165.0)          ($165.0)      ($165.0)             (5165.0)          ($165.0)
                                   Centrelized Services cash requirements                                                   ($1474.0)        ($1584.0)      ($1474.0)        ($1484.0)    ($7484.0)      ($1589.0)      ($1489.0)      ($1599.0)    ($1489.0)     ($1505.0)         ($1615.0)     ($1505.0)            ($1615.0)         ($1505.0)
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                                                                                                                               (5274.0)       (5384.0)       (5274.0)         (5284.0)      (5284.0)      ($389.0)       ($289.0)       (5399.0)     (5289.0)        ($305.0)        (5415.0)      (5305.0)             (5415.0)          ($305.0)
                                 Total Centralized Services Cash Requirements
                              Total Cash Outflows Before Plan Payout                                                       ($1907.44)       (52181.50)     (5256'1.44)      (57997.89)   (51792.89)     (52194.09)     (51922.89)     (52204.09)   (51797.89)    (b'1946.01)       (52220.13)   (51821.01)            (52345.13)        (51821.01)
                               Cash from Operations                                                                            $157.56        (536.50)      (5506.44)         5782.11      5262.'11      (5124.09)       $147.11        (524.09)     5272.17         5128.99         ($25.13)      $238.99             ($145.73)         5238.99
                                   New Value Contribution
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                                   Executory Contract Cure Payments
                                    Reorganization Plan -Class #1 -LISPS
                                    Reorganization Plan -Class #2 -Creditors < $i 3.SK
                                    Reorganization Plan -Class #3 -Settled Plaintiffs                                                                        ts~a.ia~                                     ($18.18)                                   ($18.18)                                      (s~s.ia>
                                    Reorganization Plan -Class #4 -Creditors > $13.SK                                        ($16.18)                                         (516.18)                                   ($16.15)                                     ($16.15)                                          isis.ia>
                                    Reorganization Plan -Class #5 - CO Plaintiffs                                           ($156.25)                                        ($156.25)                                  ($156.25)                                    ($156.25)                                         (8'156.25)
                                    Reorganization Plan -Class #6 -Wells Fargo Bank
                                    Reorganization Plan -Class #7 - MFE Equity holders
                                    Financial Impact of Plan                                                                (8~72.as)             s.o        (S~s.~s)        (5~7z.a3)          s.o       (S~s.ia)      (Snz.as)            S.o      (Sis.ia)        (5~72.a3)           S.o       (Sia~a)             (8~7z.aa~              S.o
                                Total Cash Outflows After Plan Payout                                                      ($2079.87)       (5218'1.50)    (52579,62)       (52'170.32   (5179289)      ($2272.27)     ($2095.32)     (52204.09)   ($1816.07)    (52'118.44)       (52220.13)    ($'1839.19)          ($2517.56)        (57821,07)
                               Ending Cash Balance                                                                          $1342.96         57306.46        578'1.84        51391.52      57653.63      51511.36       $1486.04       51461.95     51775.88         51672.44       51647.37      $1868.72             E~550.56          51789.55
                               KEY ASSUMPTION
                               -Cash inflows from customxs are based on current LISPS contracts(THS t CDF); wrrent
                               SNET-1d conhaM(THS) has a 30%rate reduction effective June 2018; commericral
                               contract cash inflows are projected to increase as MFE wntinues to diversify its customer
                               bas .
                            '1'1!23/20'15 4:14 PM                                                                                                                                         Page 2 of 4                                                                                MFE Cash Flow- November 2015(Version 8) 11-23-'1 S.zlsx
                              FLIGHT EXTENDERS INC.
                              Cash Flow Projection
                              FY 2015 - FY 2019
                              Dollars in Thousands
                              Beginning Cash Balance                                                                         51789.55     51221.36     E~628.21     5'1877.68    52'11'1.97    52073.01     52052.30     52292.58     b'1827.32    S'I945.79     $2026.08       S'I565.81      51664.28        $680.57
                              Cashlnflows
                                FLiEX Colledians:
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                                 FLTEX-LISPS THS A/R Collections                                                              $1350.0      $2100.0      $1350.0      $1350.0      $1350.0       $1350.0      $1350.0      $1215.0      $1215.0      $1215.0       $1215.0        $1215,0        $1215.0        $1890.0
                                 PLTEX-LISPS CDF A/R Collections                                                               $280.0       $280.0       $280.0       $280.0       $280.0        $280.0       $280.0       $280.0       $280.0       $280.0        $280.0         $280.0         $280.0         $280.0
                                 FLTEX-Commercial A/R Collections                                                              $445.0       $600.0       $435.0       $450.0       $450.0        $575.0       $450.0       $575.0       $460.0       $440.0        $585.0         $440.0         $475.0         $700.0
                                Total FL7EX AR Collections                                                                    52075.0      52980.0      52065.0      52080.0      $2080.0       X2205.0      52080.0      52070.0      57955.0      51935.0       52080.0        $1935.D        57970.0        52870.0
                              Total Cash Inflows from Customers                                                               52075.0      52980.0      52065.0      $2080.0      52080.0       52205.0      52080.0      52070.0      51955.0      51935.0       52080.0        51935.0        5'1970.0       52870.0
                              Cash Outflows from Operating Costs
                                Payroll Expenses:
                                  Payroll                                                                                    ($1255.0)     ($915.0)     ($730.0)     ($730.0)     ($730.0)      ($915.0)     ($730.0)     ($915.0)     ($735.0)     (5735.0)      ($920.0)       ($735.0)      ($7475.0)       ($920.0)
                                  Payroll Taxes                                                                               ($424.0)     ($505.0)     ($265.0)     ($265.0)     ($390.0)      ($330.0)     (5265.0)     ($455.0)     ($265.0)     (5265.0)      ($455.0)       ($265.0)       (5424.0)       ($505.0)
                                  H&W/401(k) Funding                                                                           ($90.0)      ($85.0)      ($75.0)      ($75.0)      ($75.0)       ($85.0)      ($75.0)      ($85.0)      ($75.0)      ($75.D)       ($85.0)        ($75.0)        ($90.0)        ($85.0)
                                  GamishmentsNoluntary Benefits                                                                ($25 0)      ($25.0)      ($20.0)      ($20.0)      ($20.0)       ($25.0)      ($20.0)      ($25.0)      ($20.0)      ($20.0)       ($25.0)        ($20.0)        ($25.0)        ($25.0)
                                ToWI Payroll E~cpenses                                                                       (5'1794.0)   (51530.0)    (51090.0)    (51090.0)    (57215.0)     (5'1355.0]   (51090.0)    (51480.0)    (51095.0)    (51095.0)     (57485.0)      (57095.0)      (52014.0)      ($1535.0)
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                                Facility Related Expenses:
                                  Facility Rent                                                                               ($214.0)     ($172.0)     ($169.0)     ($169.0)      ($169.0)     ($172.0)     ($169.0)     ($172.0)     ($169.0)      ($169.0)      ($172.0)      ($169.0)       ($254.0)       ($172.0)
                                  Utilities/Yard86uilding Maintenance                                                          ($17.0)      ($15.0)      ($12.0)      ($12.0)       ($12.0)      ($15.01      ($12.01      ($15.0)      ($12.0)       ($12.01       ($15.0)       ($12.0)        ($17.0)        ($15.0)
                                Total Facil"qty Related Expenses                                                              (5231.0)     (5187.0)     (5181.0)     (5181.0)      ($181.0)     ($187.0)     (5181.0)     ($187.0)     (5181.0)      (5781.0)      ($187.0)      ($181.0)       (5271.0)       ($187.0)
                                Accounts Payable:
                                  Fuel Payments to Vendors                                                                    ($26.01)     ($29.71)     ($26.53)     ($26.53)      ($26.53)     ($29.71)     ($26.53)     ($31.84)      ($26.53)     ($26.53)      ($31.84)      ($26.53)       ($26.53)       ($34.64)
                                  Outside Service (primarily GTF & FSD Subcontractors)                                         ($62.0)      ($62.0)      ($62.0)      ($62.0)       ($62.0)      ($62.0)      ($62.0)      ($62.0)       ($62.0)      ($62.0)       ($62.0)       ($62.0)        ($62.0)        ($62.0)
                                  Debtofs Legal &Professional fees                                                             ($30.0)      ($30.0)      ($30.0)      ($30.0)       ($30.0)      ($30.0)      ($30.0)      ($30.0)       ($30.0)      ($30.0)       ($30.0)       ($30.0)        ($30.0)        ($30.0)
                                  Committee Legal &Professional fees
                                  WFB CredR Cards (Navel, misc terminal supplies)                                              (522.0)      (522.0)      ($22.0)      ($22.0)       ($22.0)      ($22.0)      ($22.0)      ($22.0)      ($22.0)      ($22.0)       ($22.0)        ($22.0)        ($22.0)        ($22.0)
                                  Other (scanners, equip rentals, R&M,taxes, etc)                                             ($1550)      ($125.0)     ($105.0)     ($105.0)      ($105.0)     ($125.0)     ($105.0)     ($125.0)     ($105.0)     ($705.0)      ($125.0)       ($105.0)       ($195.0)       ($125.0)
                                Total Accounts Payables                                                                      (5295.0'1)   ($268.71)    ($245.53)    (5245.53)     (5245.53)    (5268.70     (5245.53)    (5270.84)    ($245.53)    (5245.53)     ($270.84)      ($245.53)      (5335.53)      ($273.64)
                                   Transfers to Truciting (Corporate Mgmt &Overhead)
                                   Postal to CenValized Services                                                              $1200.0      $1200.0      $1200.0      $1200.0      $1200.0       $1200.0      $1200.0      $1200.0      $7200.0       $1200.0      $1200.0        $1200.0        $1200.0        $1200.0
                                   Centrelized Services cash requirements:
                                      Corporate &Shops Payroll                                                                 ($450.0)     ($560.0)     ($450.0)     ($450.0)     (5450.0)      ($560.0)     ($450.0)     ($560.0)     ($450.0)     ($450.0)      ($560.0)      ($450.0)       ($450.0)       ($560.0)
                                      Facility &related expenses                                                                ($65.0)      ($65.0)      ($65.0)      ($65.0)      ($65.0)       ($65.0)      ($65.0)      ($65.0)      ($65.0)      ($65.0)       ($65.0)       ($65.0)        ($65.0)        ($65.0)
                                      Corp &Shops A/P (supplies, parts, tires, repairs, legal &prof fees)                      ($825.0)     ($825.0)     ($825.0)     ($825.0)     ($825.0)      ($825.0)     ($825.0)     ($835.0)     ($835.0)     ($835.0)      ($835.0)      ($835.0)       ($835.0)       ($635.0)
                                      Insurence                                                                                ($165.0)     ($165.0)     (5165.0)     ($165.0)     ($165.0)      ($165.0)     ($165.0)     ($165.0)     ($165.0)     ($165.0)      ($165.0)      ($165.0)       ($165.0)       ($165.0)
                                   Centralized Services cash requirements                                                     ($1505.0)    ($1615.0)    ($1505.0)    ($1505.0)    ($1505.0)     ($1615.0)    ($1505.0)    ($1625.0)    ($1515.0)    ($1515.0)     ($1625.0)     ($1575.0)      ($1515.0)      ($1625.0)
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                                 Total Centrslized Services Cash Requirements                                                  (5305.0)     (5415.0)     (5305.0)     (5305.0)     (5305.0)      (5415.0)     ($305.0)     ($425.0)     (5315.0)     (5315.0)      (5425.0)      (5315.0)       (5315.0)       ($425.0)
                              Total Cash Outflows Before Plan Payout                                                         (52625.01)   (52400.71)   ($1821.53)   (57821.53)   ($1946.53)    ($2225.71)   (57827.53)   (52362.84)   (51836.53)   (5'1836.53)   (52367.84)    ($1836.53)     (52935.53)     (52420.64)
                              Cash from Operations                                                                            (5550.01)     5579.29      5243.47      $258.47      $133.47       ($20.71)    $258.47      ($292.84)     5118.47       598.47      ($287.54)       $98.47       ($965.53)       $449.36
                                   New Value Contribution
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                                   Executory Contract Cure Payments
                                   Reorganization Plan -Class #1 -LISPS
                                   Reorganization Plan -Class #2 -Creditors < $13.SK
                                   Reorganization Pian -Class #3 -Settled Plaintiffs                                           ($18.18)                               ($18.18)                                (518.18)                               (518.18)                                   ($18.18)
                                   Reorganization Plan -Class #4 -Creditors > $13.5K                                                        ($16.18)                               ($16.18)                                ($16.18)                                ($16.18)                                    ($16.18)
                                   Reorganization Plan -Class #5 - CO Plaintiffs                                                           ($156.25)                              ($15625)                                ($15625)                                ($t 56.25)                                  ($156.25)
                                   Reorganization Plan -Class #6 -Wells Fargo Bank
                                   Reorganization Play -Class #7 - MFE Equity holders
                                    Financial Impact of Plan                                                                   (S~s.~s)    (Sn2.as~          E.o      (518.76)    ($172.43)          S.o      ~S~a.~s)    (Snz.as~          S.a      (S~a~s)      (Snz.as~            S.o       (S~s.~a)      (Snz.aa~
                                Total Cash Outflows After Plan Payout                                                        x$2643.19)   (52573.14)   (51821.53)   ($1839.71)   ($2118.96)    ($2225.71)   ($1839.71)   ($2535.27)   ($1836,53)   ($1854.71)    ($2540.27)    ($1836.53)     (52953.7'1)    (52593.07)
                               Ending Cash Balance                                                                            51221.36     51628.21     57871.68     52111.97     $2073.01      52052.30     52292.58     $1827.32     51945.79     $2026.08      $1565.81      $1664.28        5680.57        $957.50
                                 KEY ASSUMPTION
                                -Cash inflows from customers are basetl on current LISPS contracts(THS + CDF); current
                                SNET-14 conUaM(THS) has a 30%rate reduction effective June 2078; commericiai
                                contract cash inflows are projected to increase as MFE continues to diversify its customer
                                base.
                            'I 1/23/20'15 4:14 PM                                                                                                                                Page 3 of 4                                                                       MFE Cash Flow- November 20'15 (Version 8) 11-23-'15.zisx
                                                 FLIGHT EXTENDERS INC.
                                                 Cash Flow Projection
                                                 FY 2015 - FY 2019
                                                 Dollars in Thousands
                                                 Beginning Cash Balance                                                                         5957.50       Et'115.44   51250.20       b799.30       5952.24       5758.42      5608.93
                                                 Cash Inflows
                                                   FLTEX Collections:
Page 119 of 252




                                                    FLTEX-LISPS THS A/R Collections                                                             $1215.0        $1215.0      $1215.0      $1215.0       $1215.0       $1215.0      $1215.0
                                                    FLTEX-LISPS CDF A/R Collections                                                              $280.0         $280.0       $280.0       $280.0        $280.0        $280.0       $280.0
                                                    FLTEX-Commercial A/R Collections                                                             $500.0         $500.0       $600.0       $500.0        $585.0        $500.0       $500.0
                                                   ToWI FLTEX AR Collections                                                                    S'I995.0       51995.0      52095.0      5'1995.0      ;2080.0       E'I995.0     51995.0
                                                 Total Cash inflows from Customers                                                             5995.0          51995.0      52095.0      51995.0       52080.0       51995.0      51995.0
                                                 Cash Outflows from Operating Costs
                                                   Payroll Expenses:
                                                     Payroll                                                                                   ($735.0)       ($735.0)      ($920.0)     (5735.0)      ($925.0)      ($740.0)     ($740.0)
                                                     Payroll Taxes                                                                             ($265.0)       ($265.0)      ($455.0)     ($265.0)      ($330.0)      ($390.0)     ($265.0)
                                                     H&W/401(k) Funding                                                                         ($75.0)        ($75.0)       ($85.0)      ($75.0)       ($85.0)       ($75.0)      ($75.0)
                                                     GamishmentsJVoluntary Beneffis                                                             ($2~.0)        ($20.0)       ($25.0)      ($20.0)       ($25.0)       ($20.0)      ($20.0)
                                                   ToWI Payroll Expenses                                                                      (51095.0)      (51095.0)     (51485.0)    (§1095.0)     (5'1365.0)    (51225.0)    ($'1100.0)
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                                                   Facility Related Expenses:
                                                     Facility Rent                                                                              ($169.0)       ($169.0)     ($172.0)     ($169.0)      ($172.0)      ($769.0)     ($169.0)
                                                     Utilities/YardBBuilding Maintenance                                                         ($12.0)        ($12.0)      ($15.0)      ($12.0)       ($15.0)       ($12.0)      ($12.0)
                                                   ToWI Facility Related Expenses                                                               ($181.0)       (518.0)      (5787.0)     (5'181.0)     (5187.0)      ($181.0)     ($181.0)
                                                   Accounts Payable:
                                                     Fuel Payments to Vendors                                                                   ($27.06)       ($27.06)     ($32.47)     ($27.06)      ($34.64)      ($27.06)     ($27.06)
                                                     Outside Service (primarily GTF 8 FSD Subcontractors)                                        ($62.0)        ($62.0)      ($62.0)      ($62.0)       ($62.0)       ($62.0)      ($62.0)
                                                     Debtots Legal &Professional fees                                                            ($30.0)        ($30.0)      ($30.0)      ($30.0)       ($30.0)       ($30.0)      ($30.0)
                                                     Committee Legal &Professional fees
                                                     WFB Credit Cards (trevel, mist terminal supplies)                                          ($22.0)        ($22.0)       ($22.0)      ($22.0)       ($22.0)       ($22.0)      ($22.0)
                                                     Other (scanners, equip rentals, R&M,taxes, etc)                                           ($105.0)       ($105.0)      ($125.0)     ($105.0)      ($125.0)      ($105.0)     ($105.0)
                                                   ToWI Accounts Payables                                                                     (5246.06)      (5246.06)     (5271.47)    (5246.06)     (5273.64)     (5246.06)    (5246.06)
                                                     Transfers to Trucking (Corporete Mgmt &Overhead)
                                                     Postal to Centralized Services                                                            $1200.0         $1200.0     $1200.0       $1200.0       $1200.0      $1200.0       $1200.0
                                                     Centralized Services cash requirements:
                                                        Corporate &Shops Payroll                                                                ($450.0)       ($450.0)     ($560.0)     ($450.0)      ($560.0)      ($450.0)     ($450.0)
                                                        Facility &related expenses                                                               ($65.0)        ($65.0)      ($65.0)      ($65.0)       ($65.0)       ($65.0)      ($65.0)
                                                        Corp 8 Shops A/P (supplies, parts, tires, repairs, legal &proffees)                     ($835.0)       ($835.0)     (5835.0)     ($835.0)      ($835.0)      ($835.0)     ($835.0)
                                                        Insurance                                                                               ($165.0)       ($170.0)     (5170.0)     ($170.0)      ($170.0)      ($170.0)     ($170.0)
                                                     Centralized Services cash requirements                                                    ($1515.0)      ($1520.0)    ($1630.0)    ($1520.0)     ($1630.0)     ($1520.0)    ($1520.0)
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                                                   ToWI Centralized Services Cash Requirements                                                  ($315.0)       ($320.0)     (5430.0)     (5320.0)      (5430.0)      (5320.0)     (5320.0)
                                                 Total Cash Outflows Before Plan Payout                                                       (S~ss~.os)    (S~sa2oa)     (Sza7a.a7)   (S~aaz.oe)    (Szzss.sa~    (51972.06)   (S~aa7.os~
                                                 Cash from Operations                                                                           Sts~.sa        S~52sa      (S2~a.a~>     5~52.ea      (Sns.sa~        tz2.sa      S~azsa
                                                     New Value Contribution
Case 15-50541-btb




                                                     Executory Contract Cure Payments
                                                     Reorganization Plan -Class #1 -LISPS
                                                     Reorganization Plan -Class #2 -Creditors < $13.5K
                                                     Reorganization Plan -Class #3 -Settled Plaintiffs                                                         ~$ta.is~                                (ste.~s~
                                                     Reorganization Pian -Class #4 -Creditors > $13.5K                                                                      ~sis.~s>                                 ~$~s.is>
                                                     Reorganization Plan -Class #5 - CO Plaintiffs                                                                         (sissze)                                 (s~se.z5)
                                                     Reorganization Plan -Class #6 -Wells Fargo Bank
                                                     Reorganization Plan -Class #7 - MFE Equity holders
                                                      Financial Impact of Plan                                                                      S.o        (Sts.ta)    (5~~2.a3)         S.o       (S~a.~s)     (Etn.a3)          S.o
                                                  Total Cash Outflows After Plan Payout                                                       ~S~ss~.as~     ~Stsso.2a~   ~Szs4s.eo~   ~S~sa2.os~    ~S22~a.a2~    (S2~aa.ae~   ~s~sa~.os~
                                                 Ending Cash Balance                                                                           S»>s,aa        S~zso.zo      S~ss.so      assz.za       S~ss.a2       Ssoa.ea      $756.86
                                                 KEY ASSUMPTION
                                                 -Cash inflows from customers are based on current LISPS contracts(THS ~ CDF); current
                                                 SNET-14 contract(THS)has a 30% rate retluction effective June 2018; rnmmeripal
                                                 contract cash inflovrs are projected to inaease as MFE continues to diversify its customer
                                                 base.
                            11/23/2015 4:14 PM                                                                                                        Page 4 of 4                                                                           MFE Cash Flow- November 2015 (Version 8) 11-23-15.xlsx
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                    EXHIBIT H
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                     EXHIBIT I
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                      Cecilia Lee, Esq.
                   2  Nevada Bar No.3344                                  Electronically Filed September 16, 2015
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                   7

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               10 ~I Reno, Nevada 89509

               11    Telephone(775)324-2800
                     Fax (775)324-1818
               12 Email: notices~a bankruptcyreno.coxn

               13       Attorneys for Debtor Matheson Flight Extenders, Inc.
               14
                                                    UNITED STATES BANKRUPTCY COURT
               15
                                                        FOR THE DISTRICT OF NEVADA
               16
                         In re:                                            Case No.: BK-N-15-50541-BTB
               17

               18 ~'     MATHESON FLIGHT EXTENDERS,                        Chapter 11 Case
                         INC.,
               19                                                          DECLARATION OF DENNIS MANDELL
                                          Debtor.                          IN SUPPORT OF EXPERT OPINION OF
               20                                                          LIQUIDATION ANALYSIS AS OF
               21                                                          SEPTEMBER 15,2015

               22 'I~                                                     (NO HEARING REQUIRED)

               %IG~
                                  I, Dennis Mandell, do hereby depose and say under the penalty of perjury:
               24
                                  1.     I am over the age of l8 years, am mentally competent, and have personal
               25
                        knowledge of the matters set forth in this declaration. If called upon as a witness, I could and
               26
                        would competently testify to these matters.
               ~~~
                                  2.     I am a principal of Pacific Capital Transactions, the court-appointed expert for
               ►. '?
Lee &High, Ltd.
448 Ridge Street
Reno, NV 89501
(775)324-1011
(745)324-0113
                     Case 15-50541-btb            Doc 482     Entered 11/23/15 17:02:48        Page 124 of 252


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                    1        Debtor and Debtor-in-Possession Matheson Flight Extenders, Inc.(the "Debtor" or "MFEI").

                    2              3.      Attached to this declaration as Exhibit 1 is a true and correct copy of Pacific

                    K~ Capital's expert report with appendices of its liquidation analysis of the Debtor, which, out of

                    4        necessity, includes Matheson Trucking, Inc. and Matheson Postal, Inc., dated as of September

                    5        15, 2015.
                        '
                    6              DATED this 16"' day of September, 201,..-.

                    7                                                                        `'~-J_

                                                                                DENNIS    ANDELL

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                     EXHIBIT 1
Matheson
Opinion as of September 15, 2015

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outline:                                                          .~
                                                                        Case 15-50541-btb




1. Summary
2. Solvency Opinion                                               0
                                                                  0
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                                                                  w
3. Liquidation Vaiue
                                                                        Doc 482




4. Going Concern Value                                            m
                                                                  m
5. Concluding Comments
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Appendices

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                                   PACIFIC CAP{7AL TRANSACTIONS
                                                         page 1
Matheson
Opinion as of September 15, 2015

1. Summary
Pacific Capital Transactions, Inc.(PCT) has been engaged by Matheson Flight Extenders, Tnc.(MEET or Flight), the Debtor, to                 m
                                                                                                                                            N
estimate the liquidation value of NIFEI, Matheson Postal Services,Inc.(Postal) and Matheson Trucking, Inc.(MTI or Trucking and, as
                                                                                                                                            ~n
                                                                                                                                            0
a consolidated unit, Matheson) as of September 15, 2015.                                                                                    .A
                                                                                                                                            s
                                                                                                                                                 Case 15-50541-btb




                                                                                                                                            s
Purpose, Our opinion of value is for the purpose ofthe United States Bankruptcy Court liquidation analysis only.
                                                                                                                                            •

Value, We have determined: 1) Matheson was not insolvent at our valuation date and has an annual pre-tax earnings capacity of$5
                                                                                                                                                 Doc 482




million; 2)Based on an orderly liquidation, there would be no cash available to the unsecured creditors; and 3)The fair value of            m
Matheson, as a going concern., is $XO mzllzon. We have no opinion concerning the $IS milCion litigation judgment and have not               m
                                                                                                                                            co
                                                                                                                                            Q
adjustedfor its impact(subject litigation).                                                                                                 0
                                                                                                                                            N
                                                                                                                                            rn
                                                                                                                                            N
This analysis considers only those facts and circumstances known at the time of the valuation. It is possible that, were a different date
used, our opinion would be different.                                                                                                       :A
                                                                                                                                            0
                                                                                                                                            i~
                                                                                                                                                 Entered 11/23/15 17:02:48




We reserve the right to amend our report based on the to be issued independent audit report and other events that may subsequently          v
occur. PCT's CVs can be found in Appendix A.                                                                                                c~
                                                                                                                                            0
                                                                                                                                            N
AlC~nancial numbers presented in this report are in millions ofdollars -there is rounding.                                                  N
                                                                                                                                            w
                                                                                                                                                 Page 127 of 252




                                                                                                    PACIFIC CAPITAL 7RANSACTIOIVS
                                                                                                                                   page 2
Matheson
Opinion as of September 15, 2015

2. Solvency Opinion
Standard solvency analysis is used to determine whether or not a subject company is a going concern and commonly applies three             c~
                                                                                                                                           N
tests:
                                                                                                                                           0
1)The Balance Sheet Test;
                                                                                                                                           .A
                                                                                                           Tab[e 1 -Assets                 N
2)The Cash Flow Test; and
                                                                                                                                                 Case 15-50541-btb




                                                                                                                                           a
                                                                                                                         Book     Fair
3)The Reasonable Capital Test.
                                                                                                                                 Value     O
                                                                                                                                           0
                                                                                                  Cash                   $7.4     $7.4     n
                                                                                                                                           w
                                                                                                                                           .A
                                                                                                                                                 Doc 482




The Balance Sheet Test                                                                            Accounts                 3.7     3.7     N
                                                                                                  Receivables
The Balance Sheet Test looks at whether or not Matheson's assets exceed its liabilities. Table                                             u
                                                                                                  Prepaid Expenses         1.5     1.5
1 is Matheson's book assets adjusted to Fair Vaiue. Our opinion is based on the fair value                                                 c~
                                                                                                  Related Party Notes      1.7     7.7     Q
standazd calling fora "willing buyer" and a "willing seller." These willing buyers and willing                                             0
                                                                                                  Equipment               14.1    17.0
sellers conduct informed transactions using available data.                                                                                N
                                                                                                  Other                    0_5     0.5     rn
                                                                                                                                           N
                                                                                                  Operating Assets       $28.9   $31.8 ~   N
We have adjusted the Book Value of equipment(rolling stock) up to Fair Value of$17.0              Breitenbucher Land       0.8     0.7     :A
                                                                                                                                           0
million. Appendix B provides our Low, Mid and High values. Appendix K is the Net Book                                                      i-~
                                                                                                  Totai Assets           $29.7   $32.5
                                                                                                                                                 Entered 11/23/15 17:02:48




Value of the non-rolling stock.
                                                                                                                                           c~
                                                                                                                                           rn
We have adjusted the value of the Breitenbucher Land asset to $0.7 million, reflecting the last appraisal, dated 2010.                     0
                                                                                                                                           -„
                                                                                                                                           N
                                                                                                                                           N
                                                                                                                                           w
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Table 2 is Matheson's Book Liabilities adjusted to Fair Value.
                                                                                                                 Table 2 -Liabilities
                                                                                                                               Book      Fair        m
We have adjusted the value of the Equipment Secured Debt to reflect the below market rates,                                                          N
                                                                                                                                        Value
                                                                                                                                                     to
ranging from 2.75 percent to 4.01 percent. We assumed that the most current financing by                 Accounts Payable      $2.9      $2.9        0

                                                                                                         Accrued Payroll,        6.1      6.1        N
PACCAR at 4.45 percent is the current market rate, Appendix C.                                                                                       s
                                                                                                                                                          Case 15-50541-btb




                                                                                                         Benefits &                                  s
                                                                                                         Compensation
                                                                                                                                 1.2       1.2
                                                                                                                                                     O
                                                                                                         Short-Term Debt -                           0
                                                                                                         Ins. Related                                n
                                                                                                                                                     w
                                                                                                                                                     .p
                                                                                                                                                          Doc 482




                                                                                                         Equipment Secured       9.0      8.9        N
                                                                                                         Debt
                                                                                                                                                     m
                                                                                                         Deferred Book Tax       2.6       2.6
                                                                                                                                                     m
                                                                                                         Other                   ~         0.2       Q
                                                                                                                                                     0
                                                                                                         Total Liabilities     $22.0    $21.9
                                                                                                                                                     N
                                                                                                                                                     rn
                                                                                                                                                     N
Table 3 is total assets less total liabilities on a Book Value basis and on a Fair Value
                                                                                                                                                     N
                                                                                                                                                     cn
basis.                                                                                             Table 3 -Net Balance Sheet                        :~
                                                                                                                                                     0
                                                                                                                   Book       Fair Notes             N
                                                                                                                                                          Entered 11/23/15 17:02:48




                                                                                                                             Value
Based on the Balance Sheet test, Matheson is solvent.                                                                                                v
                                                                                           Total Assets            $29.7     $32.5 Table 1           cn
                                                                                                                                                     cD
                                                                                           Total                   $22.0      21.9 Table 2
                                                                                           Liabilities                                               0
                                                                                                                                                     N
                                                                                           Assets Less               $7.7    $10.6                   N
                                                                                                                                                     W
                                                                                           Liabilities                                           ~
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The Cash Flow Test

The Cash Flow Test starts with actual cash flows and projects the cash flows ofthe company, subject to a sensitivity analysis, to              m
determine whether or not a margin of safety exists. In Table 4 and
                                                                                                                                               0
Appendix I, we observe that over the past five years Matheson has
                                                                                       Table 4 -Available Cash Flow
had stable cash flow results even after the payment of interest on the                                                                         s
                                                                                                                                                    Case 15-50541-btb




                                                                                                        .p       ,p
equipment debt. The five-year average cash flows after interest
                                                                         Revenue             $81.3     $84.6    $76.31        $73.5   $79.4    O
payments, but before taxes, was $5 million, rounded.                                                                                           0
                                                                                                                                               n
                                                                         Less                                                                  w
                                                                                                                                               .A
                                                                                                                                                    Doc 482




                                                                         Payroll              50.8      52.3     47.6          46.2    50.6    N
Based on the Cash Flow Test, Matheson is solvent.                        Vehicles             12.7      14.4     11.2 I        10.9    12.4    m
                                                                                                                                               c~
                                                                         Contractors           3.5       3.7      3.3           2.8     2.1    c~
Note, 20141zad a $0.9 miClion Non-Operating coding error to              Rent                  3.0       3.2      3.2I          3.2     3.0    0

Other Expenses oflegalfees, as discussed in Appendix H, which            Office                3.7       3.7      3.7           3.7     3.7    N
                                                                                                                                               rn
                                                                                                                                               N
we have adjusted                                                          Other                 2_5       2.0     1.4           1_8     i.7
                                                                                                                                               N
                                                                          Operating           76.2       78.7    70.4 i        68.6    73.5
                                                                         Expenses                                                              0
                                                                                                                                               i~
                                                                         In#eres#               0.5       0.3     0_4 i         0.4     0.4
                                                                                                                                                    Entered 11/23/15 17:02:48




                                                                         Available Cash,      $4.6       $5.6    $5.5 i        $4.5    $5.5
                                                                         pre-tax
                                                                                                                                               m
                                                                         Five-Year                                        ~            $5.7    0
                                                                         Average
                                                                                                                                               N
                                                                                                                                               w
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Reasonable Working Capital Test
                                                                                                                                              w
Even if a company passes the Balance Sheet Test the company's cash or equrty may, nonetheless, be too small to provide reasonable             c~
                                                                                                                                              N
downside protection if business conditions deteriorate.
                                                                                                                                              ~n
                                                                                                                                              0
                                                                                                           Table 5 -Working Capital
The Reasonable Working Capital Test seeks to address this problem by demonstrating whether or                                      Fair       .*
                                                                                                                                                   Case 15-50541-btb




                                                                                                                                  Value
not a company has a reasonable level of surplus capital.
                                                                                                           Cash                    $7.4       O
                                                                                                                                              0
                                                                                                                                              n
                                                                                                           Accounts                 3.7       w
We observe in Table 5 that Current Assets less Current Liabilities, a common test for working              Receivables
                                                                                                                                                   Doc 482




                                                                                                                                              N
capital, are positive by $2.4 million, providing Matheson reasonable downside protection if business       Prepaid Expenses         1.5       m
conditions deteriorate.                                                                                    CurrentAssets           12.61      m
                                                                                                                                              m
                                                                                                           Accounts Payable        $2.9       Q
                                                                                                                                              0
                                                                                                           Accrued Payroll,         6.1       N
Based on the Working Capital Test, Matheson is solvent.                                                                                       rn
                                                                                                           Benefits &
                                                                                                           Compensation                       N

                                                                                                           Short-Term Debt -            1.2   v~
Based on all ofthe soCvency tests, ~Iafheson is a going concern.                                                                              :A
                                                                                                           Ins. Related                       0
                                                                                                           Current Liabilities     10.2
                                                                                                                                                   Entered 11/23/15 17:02:48




We note that the financial statements used for year-end June 30,2015, Matheson's year-end,.were            Working Capital         $2.4
unaudited. We understand from management and the independent auditors that there have been no                                                 c~
 material changes to the trial balance, Appendi~t 3, and that from July 1, 2015 until our valuation date, there have been no material         0
                                                                                                                                              N
changes to Matheson's financial position.                                                                                                     N
                                                                                                                                              w
                                                                                                                                                   Page 131 of 252




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3. Liquidation Value
We have made the deternzination that Matheson is a going concern and,therefore, the appropriate valuation method would be either
the Income or Transaction Method for determining Fair Value.                                                                             cn
                                                                                                                                         0
                                                                                         Table 6 -Liquidation Adjustments

                                                                                                                    Fair
However, if we assume that Matheson is not a going concern and use the Asset
                                                                                                                                               Case 15-50541-btb




                                                                                                                   Value                 s
Method based on an orderly liquidation, Tables 6 - 9 provide the value to the                               Law      Mid      High       O
                                                                                                                                         0
                                                                                                                                         n
various stakeholders in priority order (or the Waterfall determination) as         Flight Equipment         $0.9    $1.3      $2.1       w
                                                                                                                                               Doc 482




follows: 1)Equipment debt lenders including PACCAR,Wells Fargo and GE              Net at 80%for            X0.7     1.0       1.7
                                                                                   Auction Fee &                                         m
secured by Matheson Postal's equipment, Appendix C; 2) Wells Fargo Standby         Misc Costs
                                                                                                                                         m
Letter of Credit(LOC)for Matheson's insurance program secured by the               Postal and               11.8    15.7      20.0       m
                                                                                                                                         Q
                                                                                   Trucking                                              0
Matheson Postal's and Trucking's equipment and Postal's accounts receivable        Equipment
                                                                                                                                         N
(AR)and Matheson Holdings' properties, Appendix D; 3) Chapter 11 costs; 4)         Net at 80% for           $9.4   $12.6     $16.0       rn
                                                                                   Auction Fee &
Employee WARN Act or other employee liability payouts,Appendix E,and               Misc Costs
unpaid taxes, which we have assumed to be zexo; and 5)Unsecured claims.                                                                  0
                                                                                                                                         i-~
Appendix F, is our liquidation analysis on a detailed consolidated basis.          Flight - AR              $3.2    $3.2      $3.2
                                                                                                                                               Entered 11/23/15 17:02:48




                                                                                   Net at 75%for            $2.0    $2.0      $2.0        A~
                                                                                   collections & $0.5                                    ca
                                                                                                                                         cD
In Table 6, we make two adjustments to our Fair Value determination to reflect     USPS Holdback                                         N
                                                                                                                                         0
an orderly liquidation: 1) Flight, Postal and Trucking Equupment would be          Postal - AR               0.5      0.5          0.5   0
                                                                                                                                         N
                                                                                   Net at 75%for            $0.4    $0.4       $0.4      N
subject to an auction fee and other costs. We have assumed this to be 20 percent                                                         w
                                                                                   collections
of the Fair Value, resulting in 80 percent value for our orderly liquidation
                                                                                                                                               Page 132 of 252




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                                                                                                                             page 7
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analysis, Appendix B; and 2)Flight and Postal's AR in an orderly liquidation may be subject to collection issues. We understand that       .*
there is an approximate $0.5 million hold back by the USPS                                                                                 m
                                                                                                                                           N
                                                                                                                                           cn
currently and we have assumed that there will be a 25 percent                                                                              cr
                                                                                       Table 7 -Asset /Debt Waterfall                      0
'reduction of the Fair Value to reflect collection issues resulting                                                                        -p
                                                                                                        Fair              Notes
in 75 percent value for our orderly liquidation analysis.                                               Value                              s
                                                                                                                                                 Case 15-50541-btb




                                                                                                                                           a
                                                                                                Low        Mid    High
                                                                                                                                           D
                                                                      Net Postal &              $9.4      $12.6   $16.0 Table 6            0
In Table 6 we calculated the net Fair Value ofthe Flight, Postal                                                                           n
                                                                      Trucking Equipment                                                   w
                                                                                                                                           .A
and Trucking equipment under an orderly liquidation. Table 7          Value
                                                                                                                                                 Doc 482




uses only the net Postal and Trucking equipment value (after           Equipment Secured         9.0        9.0     9.0 Table 2            m
                                                                      Debt
liquidation costs).                                                                                                                        c~
                                                                      Balance                     0.4       3.6     7.0                    a.
                                                                                                  0.4       0.4     0.4 Tabie 6            0
                                                                      Add Postal - AR Net
                                                                                                                                           N
The Fair Value of the secured debt in a liquidation analysis          Balance                     0.8       3.9     7.4                    rn
                                                                                                                                           N
 would be the face value ofthe debt with no adjustment for             LOC Secured by ~           6.9       6.9     6_9 Appendix D         N
                                                                      Postal &Trucking
 market rates (face value).                                           Equipment & AR                                                       0
                                                                                                                                           i-~
                                                                      Remaining                  $0.0      $O.Q    $0.5
                                                                      Equipment & AR
                                                                                                                                                 Entered 11/23/15 17:02:48




                                                                                                                                           -o
 We note that the net Postal and Trucking equipment Fair Value        value for Dist. If > 0                                               A~
 is greater than the face value ofthe security equipment debt.                                                                             c~
                                                                                                                                           N
 The remaining balance (in bold) plus net Postal AR would be available to apply to the LOC. See Appendix D for details.                    0
                                                                                                                                           N
                                                                                                                                           w
 Only in the high case would there be remaining fiu~ds for the next priority stakeholders.
                                                                                                                                                 Page 133 of 252




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In Table 8 we calculate the remaining funds available after all secured lenders.1
                                                                                                                                                            c~
                                                                                                                                                            N
Table 1 provides the total Fair Value assets (other than                                    Table 8 -Available for Distribution                             c~
                                                                                                                                                            0
equipment and AR).                                                                                                   Fair                I Notes
                                                                                                                     Value                                  N
                                                                                                                                                            a
                                                                                                                                                            ,-.
                                                                                                                                                                  Case 15-50541-btb




                                                                                                              Low       Mid      High
Table 6 provides the net Fair Value of the Flight equipment and
                                                                            Total Assets tess      '         $14.5     $14.9    $15.5 Table 1 &             0
                                                                                                                                                            0
AR. The term "net" means after liquidation costs.                           Equipment & AR plus    ~                                  Ta61e 6               n
                                                                            Flight net Equipment &                                                          w
                                                                                                                                                            N
                                                                                                                                                                  Doc 482




                                                                            AR
Table 7 provides the remaining balance for the net Postal and               Add: Remaining Postal             $0.0      $0.0      $0.5 Table 7              rn
                                                                            and Trucking Equipment                                                          Fo
Trucking Equipment and AR.                                                  & AR value for               j                                                  m
                                                                            Distribution                                                                    Q
                                                                                                                                                            0
                                                                                                                                                            cfl
                                                                            Less: Liabilities (excluding I   $10.4     $10.4     $10.4 Table 2              N
Table 2 provides liabilities excluding secured equipment debt               Equipment Debt &                                                                rn
                                                                            Deferred Taxes)                                                                 N
and deferred taxes, anon-cash liability.2                                                                                                                   N
                                                                            Available for                ~    $4.1      $4.5      $5.6                      v~
                                                                            Distribution                                                                    :A
                                                                                                                                                            0
                                                                                                                                                            i~
Table 8 results in the amount available for distribution to
                                                                                                                                                                  Entered 11/23/15 17:02:48




Chapter 11 costs and next priority payments.                                                                                                                v
                                                                                                                                                            c~
                                                                                                                                                            N
                                                                                                                                                            N
~ Table 8, line one =Table 1, Fair Value of Assets of $32.5 million less Total Fair Value of Equipment of $17 million, less AR of $3.7 million = $11.8      0
plus net Flight Equipment of $0.7 (low), $1.0 (Mid) and $1.7 (high), plus Flight AR $2.0 (all cases} _ $14.5 (low), $14.9, rounded (Mid) and $7 5.5         N
(High)                                                                                                                                                      N
                                                                                                                                                            w
2 Table 8, line three =Table 2 Fair Value of Liabilities of $21.9 less Equipment Secured Debt of $8.9 million less Deferred Book Tax of $2.6 million
                                                                                                                                                                  Page 134 of 252




_ $70.4 million
                                                                                                              PACIFIC CAPITAL TRANSACTIONS
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In Table 9, we show our estimated Chapter 11 costs and employee payouts under the WARN Act or for other employee liabilities. See    f

Appendix E for the detailed estimate amounts. Based on                                                                               m
                                                                                                                                     N
Table 8's deternunation ofremaining funds available for                           Table 9 -Liquidation Analysis                      cr
                                                                                                                                     0
distribution after obligations to the lenders are satisfied,                                 Fair              Notes
                                                                                            Value                                    N
Table 9 shows our determination that there would be no                                                                               a
                                                                                                                                           Case 15-50541-btb




                                                                                     Low      Mid      High                          a
cash available to the unsecured creditors in all cases.
                                                               Available for         $4.1    $4.5      $5.6 Table 8                  0
                                                                                                                                     0
                                                               Distribution                                                          n
                                                                                                                                     w
We have assumed that Wells Fargo, the holder of the LOC,        Less Chapter 11       0.5      0.5      0.5 Debtor Counsel, Liq.     N
                                                                                                                                           Doc 482




                                                               Costs                                        Analysis, CC Counsel,
would pursue all the collateral which secures its claims.                                                                            m
                                                               Wind down Costs        0.9      0.9      0.9
                                                                                                                                     c~
                                                               Net Cash to           $2.7     $3.1     $4.2                          c~
                                                                                                                                     n.
                                                               Claimants                                                             0
                                                               Priority Claims                                                       N
                                                                                                                                     rn
                                                                                     $8.0     $8.0      $8.0 Appendix E              N
                                                               Employee Payouts
                                                                                                                                     N
                                                               Net Cash to           $0.0     $0.0      $0.0                         ui
                                                               Unsecured Claims                                                      0
                                                               if>0                                                                  i-~
                                                                                                                                           Entered 11/23/15 17:02:48




                                                                                                                                      v
                                                                                                                                     cn
                                                                                                                                      c~
                                                                                                                                      N
                                                                                                                                     w
                                                                                                                                     0
                                                                                                                                     N
                                                                                                                                     N
                                                                                                                                     w
                                                                                                                                           Page 135 of 252




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4. Going Concern Value                                                                                                                      *,
We have made the determination that Matheson is a going concern.'Therefore, the appropriate valuation methods include the Income
                                                                                                                                            N
Method and the Transaction Method.                                                                                                          ~n
                                                                                                                                            0
                                                                       Table 10 -Matheson Operating History                                 N
Table 10 summarizes Matheson's operating                                                                                                    s
                                                                                                                                                 Case 15-50541-btb




                                                                                              .~
history. Matheson has two operating                                                                                                         D
                                                   Revenue
                                                                                                                                            0
subsidiaries: Postal and Flight. Postal is a                                                                                                n
                                                   Postal                  $57.7 ~           $58.0   $58.9    $53.0       $50.1   $53.5     w
                                                                                                                                            .p
                                                                                                                                            N
                                                                                                                                                 Doc 482




contracted trucking division based on set          Growth Rate                      li       0.5%    1.6%    -10.0%       -5.5%    6.8%

rates. See Appendix G for discussion. Flight is    Five-Year Average                ~                                 ~           -'1.3%    m

a contracted services division. See Appendix       Flighi                    21.4 ~           23.3    25.7     23.3        23.4     25.9
                                                                                                                                            n.
G for discussion. The two operating divisions      Growth Rate                      ~        8.9%    10.3%    -9.3%       0.4%    10.7%     0
                                                   Five-Year Average                                                               4.2%     rn
have had different historical growth rates as
                                                                                                                                            N
                                                   Total Revenue            $79.1            $81.3   $84.6    $76.3       $73.5    $79.4
noted in Table 10. Postal's five-year average is
                                                   SG&A(without                          I     9.2     8.9      8.3         8.7      8.4
                                                                                                                                            .p
-1.3 percent, while Flight has a 4.2 percent       Salaries)                             ~                                                  0
                                                                                                                                            i~
growth rate.                                       SG&A /Revenue                         I   11.3%   10.5%    70.9%       11.8%   10.6%
                                                                                                                                                 Entered 11/23/15 17:02:48




                                                   Five-Year Average                     i                                        17.0%
                                                                                                                                            cQ
                                                   Equipment           ~     $7.0 ~           $0.5    $6.2     $3.9        $2.2             m
We observe that SG&A has been stable at
                                                   Purchases
around 11 percent -the five year average.                                                                                                   0
                                                   Five-Year Average                                                       $4.0
                                                                                                                                            N
                                                                                                                                            w
We observe that Matheson has made equipment purchases over the past years, but there appears to be no relationship with revenue.
                                                                                                                                                 Page 136 of 252




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Based on our observations of Matheson's historical trends and discussions with management, we have established the,following Key
Operating Assumptions surrunazized in Table 11:                                                                                            m
                                                                                                                                           N
                                                                                                             Table 11 -Key Operating       ~n
                                                                                                                   Assumptions             0
1)Postal annual growth rate of 1 percent. Matheson Postal has seen an -1.3 percent shrinkage over
                                                                                                             Annual Growth         ~       N
the past five years. However, based on discussions with management tYus was the result of                    Rate -Postal
                                                                                                                                                Case 15-50541-btb




management decisions responding to the U.S. Postal Service CUSPS)contracts that were not                     Annual Growth         4%
                                                                                                                                           O
                                                                                                             Rate -Flight                  0
profitable. We are projecting a 1 percent growth rate based on Matheson's most recent experience;                                          n
                                                                                                             Posta( Salaries /    65%      w
                                                                                                                                           .A
                                                                                                             Revenue                       N
                                                                                                                                                Doc 482




2) Flight annual growth rate of4 percent, which is reflective of Flight's historical growth rate over        Flight Salaries /    60%
                                                                                                             Revenue
the past five years;                                                                                                                       m
                                                                                                             2015 Contract        $14.5    a
                                                                                                             Services &Vehicle             0

                                                                                                             SG&A (without         12%     N
3)Postal and Plight salaries as a percentage of Revenue. We found these to be approximately 65                                             rn
                                                                                                             Salaries)/Revenue             N
percent and 60 percent, respectively, in 2015 and have used this in our forward projection.                                                N
                                                                                                             Annual Equipment      $2.0
                                                                                                             Purchases
                                                                                                                                           0
                                                                                                                                           i~
4)SG&A has been projected at the rounded historical rate of 12 percent.
                                                                                                                                                Entered 11/23/15 17:02:48




                                                                                                                                           -D

5) We have projected annual equipment purchases of$2.0 million based on discussions with management. We understand that                    m
                                                                                                                                           N
equipment purchases could increase above the $2.0 million estimate, with favorable USPS contract renewals.                                 0

Table 12 provides our Key Financial Assumptions.                                                                                           N
                                                                                                                                           w
                                                                                                                                                Page 137 of 252




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We have assumed a Federal and State tax blended rate of46 percent.

                                                                                                                                       m
                                                                                                        Table 12 -Key Financial        N
We have assumed a discount rate of 11 percent based on the Pepperdi.ne Private Capital Mazkets
                                                                                                             Assumptions               to
                                                                                                                                       0
Project for 2015. We have determined that the appropriate comparable rate would be Mezz~ne Debt
                                                          6                                            Tax Rate (Federal &       46%   N
for over $10 million 1st quartile. We believe mezzanine debt would be appropriate based on: 1)         State)
                                                                                                                                              Case 15-50541-btb




                                                                                                                                       s
iVlatheson's secured debt rate at 4.45 percent; and 2)a debt convertible to equity reflecting           Discount Rate            11
                                                                                                                                       O
Matheson's consistent cash flow (see Table 4).                                                          Grow Rate                3%    0
                                                                                                                                       n
                                                                                                                                       w
                                                                                                                                       N
                                                                                                                                              Doc 482




We used a 3 percent growth rate based on common inflation expectations,in our valuation for years after 2021.                          m

                                                                                                                                       c~
                                                                                                                                       a
Appendix H provides our evaluation of salaries for Matheson's executive management and whether or not these salaries are at market.    0
Based on our evaluation, the,Matheson salaries are at market; therefore, no adjustments were made to the operating cash flows.         N
                                                                                                                                       rn
                                                                                                                                       N

                                                                                                                                       :tom
                                                                                                                                       0
                                                                                                                                       i~
                                                                                                                                              Entered 11/23/15 17:02:48




                                                                                                                                       cQ
                                                                                                                                       cD
                                                                                                                                       N
                                                                                                                                       rn
                                                                                                                                       0
                                                                                                                                       -„
                                                                                                                                       N
                                                                                                                                       N
                                                                                                                                       w
                                                                                                                                              Page 138 of 252




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Based on the Key Operating Assumptions, Table 13 provides our estimate of the projected Postal revenue and direct expenses. To           z
project Contract Services and Vehicle Costs we have used the                                                                             c~

Key Operating Assumptions for revenue gzowth.                          Table 13 -Matheson Operating Cash Flow -Postal                    cn
                                                                                                                                         0


                                                                 Revenue                      $54.0      $54.6     $55.1     $55.7
                                                                                                                                              Case 15-50541-btb




                                                                   Less Payroll                 35.1      35.5      35.8         36.2
                                                                                                                                         D
                                                                  Less Contract Services &      14.6      14.8      14.9         15.1    0
                                                                                                                                         n
                                                                 Vehicle Costs                                                           w
                                                                                                                                              Doc 482




                                                                 Operating Cash Flows           $4.3      $4.3      $4.4         $4.4

                                                                                                           8%        8%           8%     m
                                                                 Operating Margin                8%
                                                                                                                                         m
                                                                                                                                         m
                                                                                                                                         a
Based on the Key Operating Assumptions, Table 14 provides our estimate ofthe projected Flight revenue and direct expenses. To            0

project Payroll costs we have used the Key Operating Assumptions                                                                         rn
                                                                                                                                         N
for revenue growth.                                                       Table 14 -Matheson Operating Cash Fiow -Flight                 N
                                                                                                .~                                       0
                                                                                                                                         N
                                                                      Revenue                  $26.9     $28.0     $29.1         $30.3
                                                                                                                                              Entered 11/23/15 17:02:48




                                                                       Less Payroll             76.2      16.        17.5         182

                                                                      Operating Cash Flow      $10.8     $71.2      $11.7        $12.1   m

                                                                      Operating Margin          40%       40%        40%          40%    0
                                                                                                                                         N
                                                                                                                                         N
                                                                                                                                         w
                                                                                                                                              Page 139 of 252




                                                                                                PACIFiC CAPITAL TRANSACTIONS
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Table 15, provides our calculation of the Discounted Cash Flow (DCF),less the Fair Value ofthe Debt from Table 2,for the
determuiation of Fair
                                                            Table 15 -Matheson Operating Cash Flow                                             N
Value based on the
                                                                                                                                               ~n
                                                                                                                                               0
Income Approach.3                                                                                                                              .~
                                         - -_                                                                                                  N
                             ~ Revenue                              $79.4      $81.0 ~        $82.6   $84.3     $86.0
                                                                                                                                                    Case 15-50541-btb




                                                                                                                                               a
The Fair Value of              Payroll                                50.6       51.31         52.3    53.3       54.4
                                                                                                                                               D
                                                                                                                                               0
Matheson, as a going          Contract Services &Vehicle              14.5       14.6 ~        14.8    14.9       15.1                         n
                                                                                                                                               w
                                                                                                                                               .A
concern, is $10 million       SG&A                                     8.4        9.7           9.9    y0.1       10.3                         N
                                                                                                                                                    Doc 482




rounded.                      Total Expenses                          73.5       75.6          77.0    78.4       79.8 Assume 2019             m
                              Operating Cash Ffow                      5.9        5.3           5.6     5.9        6.2        62         6.2   -,
                                                                                                                                               ~o
                                                                       2.0        2.0 ~         2.0     2.0        2.0        2.0        2.0   Q
Appendix G,provides a         Less Vehicle Purchases                                                                                           0
                              Free Cash Flow pre-tax                   3.9        3.3 !         3.6     3.9        4.2        4.2        4.2   N
discussion of the                                                                                                                              rn
                              After Tax Cash Flow                      2.1        1.8 ;         1.9     2.1        2.3 ~      2.3        2.3   N
limitations of selling                                                                                                                         N
                              Terminal Vafue                                              ~                                            X21.2
Matheson, either in parts                                                                                                                      .p
                              Discount Rate                                     0.901 ~       0.812   0.731      0.659      0:593      0.535   O
                                                                                                                                               Ij
or as a whole.
                              Discounted                                          1.6 ;         1.6     1.5        1.5         1.3      11.4
                                                                                                                                                    Entered 11/23/15 17:02:48




                              DCF                                               $18.9
                                                                                                                                               c~
                              Less Equipment Debt @Fair                           8.9                                                          N
                              Value                                                       i
                                                                                                                                               0
                              Fair Value of Going Concern                       $10.0                                                          N
                                                                                                                                               N
                                                                                                                                               w
3 Terminal Value of $21.2 million in year 2020 ^ $2.3 x {(1+ 3%Growth Rate)=11%Discount Rate). This is a present value of future payments,
                                                                                                                                                    Page 140 of 252




Discount Rate of .535 =1 =(1+ 11%Discount Rate)6. Note the 6th year in cash flow. Note 2016 is the 1st year.
                                                                                                       PACIFIC CAPITAL TRANSACTIONS
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Matheson
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5. Concluding Comments                                                                                                                       ~
Based on our liquidation determination, there would be no cash avaiCable to the unsecured creditors. Matheson's value to the                 c`~n
                                                                                                                                             ~,
unsecured creditors is'as a going concern.                                                                                                   ~
                                                                                                                                             0
                                                                                                                                             cry
                                                                                                                                             N
Matheson's SG&A has been stable over the past five years and we found no evidence that Matheson's discretionary spending changed             s
                                                                                                                                                    Case 15-50541-btb




in response to the subject litigation. We note that Trucking acts as an integrated unit with Flight and Postal and provides synergistic      ~
                                                                                                                                             0
value to both. See Appendix G.                                                                                                               w
                                                                                                                                             N
                                                                                                                                                    Doc 482




We understand the accounting allocation of SG&A between Postal and Flights is based on revenue and headcount. However, although              ~

there are multiple ways to allocate overhead, we believe that Operating Cash Flows (Tables 13 & 14) would provide a more                     ~
                                                                                                                                             a
meaningful measure of value of the services provided by Trucking, due to the fact that Postal has reimbursable costs like fuel, which        ~

overstate revenue. Thus, if the companies used an Operating Cash Flow allocation method, the SG&A allocation to Flight would
                                                                                                                                             N
approximately double. The current allocation is fair and reasonable to Flight.                                                               ~
                                                                                                                                             csi
                                                                                                                                             .p
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We have included in Appendix L dividend payments to related-parties for the past five years, which totaled $0.9 million. In Appendix          ~
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H we found that CEO Mark Ma#heson's compensation (including his received dividends) was in the 50 percent to the 75 percent                   ~

industry quartile range. Over the past five years, Matheson has loaned Mark Matheson approximately $1 million. We note, if the loan           ~

had been treated as compensation to Mark Matheson, it would have placed Mark Matheson beCow an industry Maximum Reasonable                    o

Compensation amount over the past five years.                                                                                                 W
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                                                                                                     PACIFIC CAPITAL TRANSACTIONS
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We have included in Appendix D a summary of the insurance program standby letters of credit(LOC). We found that the LOCs were                 n

issued to guarantee fixture payments of high-limit deductibles for workers' compensation and vehicle liability insurance claims and           ~
                                                                                                                                              N
have a reasonable business purpose due to the fact that the largest single expense is payroll, which is 65 percent of revenue. We
                                                                                                                                              0
believe it is imperative that the LOCs be maintained.                                                                                         v'
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We have included in Appendix E an estimate of employee payouts for 60 days. We have cited the WARN Act as support in our
                                                                                                                                              0
liquidation determination. Based on our experience, with or without application ofthe WARN Act, it is reasonable to expect that a             °
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Matheson business termination would result in, at a minunum,60 days ofemployee payments in various forms.
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We reserve the right to amend our report based on the to be issued independent audit report and other events that may subsequently            ~

occur.                                      ~                                                                                                 o
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                   Appendices:
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               A   CVs                                                                              a
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                                                                                                    s
               S   Equipment Fair Value Analysis
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               C   Debt Fair Value Analysis                                                         0
                                                                                                    n
               D   Summary of Insurance Program Standby Letters of                                  w
                                                                                                    -p
                                                                                                    F-~
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                   Credit
               E   Employee Payout Support - 60 Days
                                                                                                    m
               F   Liquidation Analysis                                                             m.
                                                                                                    n.
               G   Contract and Historical Financials Analysis                                      0

               H   Adjusting Entries and Compensation Analysis                                      N
                                                                                                    rn
               I   2008 - 2014 Audited Financial Statements                                         cn

               J   2015 Trial Balance                                                               v~
                                                                                                    0
               K   Non-Rolling Stock Net Book Value                                                 N
               L   Related-Party Payments
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               M   Documents List
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Pacific Capital Transactions -Principals

                                                                                                                                             n
    1 DENrtIS ~✓IANDELL                                                                                                                      m
                                                                                                                                             N
    Mr. Mandell has over 30 years of business experience providing services to counsel, including civil and criminal matters;                ~-,
                                                                                                                                             0
    corporate fraud investigations; business valuation services in support of federal tax and civil disputes; and financial advisory         ~
                                                                                                                                             N
    services for corporate transactions such as restructuring, debt consolidation, sell-off of subsidiaries, facility shut-down, and sale
                                                                                                                                                   Case 15-50541-btb




                                                                                                                                             s
    of tangible and intangible business assets. Before forming Pacific Capital Transactions (PC1~, Mr. Mandell was a senior vice
    president with Houlihan Lokey. Prior to that, he was a principal with Willamette Management Associates and managed                       o
     Willamette's San Francisco office; he was the managing director of litigation and forensic services for the West Coast at Grant         ~
                                                                                                                                             N
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    Thornton LLP; and he was the Northwest managing director ofappraisals/valuations and litigation for KPMG LLP.In addition,
     Mr. Mandell has l8 years of experience working with ARCO,where he managed the evaluation of oil &gas transactions. Mr.
                                                                                                                                             m
     Mandell earned a Bachelor of Arts in Accounting from California State University, Fullerton in 1977 and a Master of Science in          Q
     Taxation from the Golden Gate University, Los Angeles in 1990.                                                                          ~
                                                                                                                                             rn

    2 LUCINDA MAHONEY
                                                                                                                                             ~,
     Ms. Mahoney has over 30 years of business experience in accounting, financial analysis, business valuations, due diligence              ~
                                                                                                                                             0
     analysis, government contracts, budgeting, strategy development, reporting, systems development, audit, litigation support and          ~
                                                                                                                                             cfl
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     contract negotiation. Ms. Mahoney has worked with Fortune 10 multinational oil companies as well as government agencies,                -p
     Native Corporations/villages, small businesses and not-forprofit organizations. Tn the oil industry she he(d a broad variety of         ~
     roles that include audit and investigations, financial reporting and analysis, systems management, operations support,                  ~
                                                                                                                                             0
     accounting and internal control. She was the CFO for the Municipality of Anchorage and her duties included oversight of                 ~,
     appraisals/valuations and litigation. While employed at KPMG,Ms. Mahoney managed the business advisory practice for the                  W
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    State of Alaska which included business valuations and a variety offinancial and process analyses. Ms. Mahoney is a Certified      *;
    Valuation Analyst, CVA,and is a member in good standing with the National Associated of Certified Valuation Analysts. Her          c~
                                                                                                                                       N
    education includes a CVA -Certified Valuation Analyst, National Association Certified Valuation Analysts(NACVA),an
                                                                                                                                       cn
    MBA -Masters of Business Administration, University of Alaska and a BBA -Bachelors of Business Administration, Finance             0
                                                                                                                                       .~
    concentration, from the University ofTexas at E1 Paso                                                                              N
                                                                                                                                       a-
                                                                                                                                            Case 15-50541-btb




    3 RON GAGOSIAN                                                                                                                     0
                                                                                                                                       0
                                                                                                                                       n
                                                                                                                                       w
    Mr. Gagosian has over 30 business experience in business and consumer banking, payments, e-banking technology and other            .A
                                                                                                                                            Doc 482




    financial services industry expertise. Before forming PCT, he served as Senior Vice President of Client and Enterprise
                                                                                                                                       m
    Technology at Silicon Valley Bank in Santa Clara, CA. Mr. Gagosian was Vice President within the Operations Group at BA
     Merchant Services, Inc., a Bank of America Company. He was responsible for all major conversions, enterprise technology           m
                                                                                                                                       a
                                                                                                                                       0
     implementation, and built a very strong relationship for BA Merchant Services, Inc. among VISA U.S.A. and MasterCard,
                                                                                                                                       N
     International. Mr. Gagosian has a B.A. in Economics and Business from Westmont College and earned his Masters in Business         rn
                                                                                                                                       N
     Administration from Golden Gate University in San Francisco, CA.                                                                  N

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     4 Exec OxsE
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     Mr. Orse has been involved as a financial executive with early stage and financially distressed companies in the Northwest for    v
     over 20 years. He has worked with distressed companies, working on behalfofshareholders and creditors, selling off assets and     c~
                                                                                                                                       N
     restructuring entities. Mr.Orse was Court Appointed Trustee in the Price/Um Chapter 11 Bankruptcy. He was appointed Chapter       cn
                                                                                                                                       0
     11 Trustee to manage a $150 million commercial real estate portfolio owned by the debtors Frice and Um.Mr. Orse was also the
                                                                                                                                       N
     Court Appointed Receiver in the Hartman Escrow, Inc. Receivership. Mr. Orse was appointed General Receiver over the assets        w
                                                                                                                                            Page 147 of 252




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    of this escrow company. After this company was seized by the State of Washinbon, Mr. Orse was brought in to wind up the               n
    business operations and settle the claims associated with outstanding balances in numerous escrow transactions. He was also           ~
    Court Appointed Chief Financial Advisor to Diana K. Carey, Trustee in the Berg Chapter 11 Bankruptcy. This Bankruptcy,                cn
                                                                                                                                          cn
    resulting from a $100m+ Ponzi scheme, resulted in Mr. Orse managing over 20 operating companies, including the MTR Coach              o
    Operations ($25m in annual revenue and 250 employees} which was successfully sold in January 2411. Under the Berg                     F-'
                                                                                                                                                Case 15-50541-btb




    Bankruptcy, Mr. Orse was responsible for eight bankrupt companies and the dissolution ofthose estates. Prior to forming Orse          s
    &Company,Tnc., Mr.Orse, was a CPA and served as Senior Accountant in the Audit Group and Senior Consultant in the Dispute             o
    Analysis &Corporate Recovery Group at Price Waterhouse LLP from July 1989 to January 1992 and January 1994 to April                   W
                                                                                                                                                Doc 482




    1995. Mr. Orse has B.A. in Accounting and an M.B.A. in Finance and Business Management from Seattle University.                       ~-'
                                                                                                                                          m

    5 Llsa Ln~rD                                                                                                                          `~
                                                                                                                                          Q
     Ms. Lind currently serves as Vice President at Shorenstein Reality Services L.P. in the Portfolio Accounting Group. There she        ~
     directs the financial reporting for assigned real estate investment funds and private real estate investment trusts. Through the     ~
     oversight ofa team often to ffteen people,she also ensures technically accurate financial reporting for fund properties including:   ~
                                                                                                                                          N
     financial statements (which maybe on a cash, historical cost, and/or fair value basis), loan compliance, property level monthly      ~'
                                                                                                                                          :~
     asset plans and other special reporting. Prior to this, Ms. Lind spent ten years at Deloiite and Touche, LLP performing financial
     statement audits for clients in a variety of industries including: real estate, construction,. government contracting and not-for-
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                                                                                                                                          -o
     profit. Ms. Lind is a licensed CPA in California and Alaska and obtained her Bachelors in Accounting and Finance from New            ~
                                                                                                                                          c~
     York University- Leonard N. Stern School of Business.                                                                                ~
                                                                                                                                          0
                                                                                                                                          N
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Pacific Capital Transactions -Principals

    6 CoLON~:O'RouxxE
    Conal O'Rourke has over 10 years ofexperience in the Professional Services industry, working for both private partnerships and
    public companies. He is an experienced Learning and Development professional known for operational excellence in the               cn
                                                                                                                                       0
                                                                                                                                       cn
    planning an:d execution of instructor-led, management development and learning programs consisting of 20-400 learners. Mr.         N
    O'Rourke is four-time PwC Contribution award recipient, eight-time Accenture Performance Bonus award recipient and while           a-
                                                                                                                                              Case 15-50541-btb




                                                                                                                                       s
    at Andersen Consulting he was the New England Practice Excellence award recipient He is currently a Senior Associate
                                                                                                                                       O
    Learning Consultant for the San Jose and Rockies (Denver and Salt Take City) markets. He is responsible for the planning,          0
                                                                                                                                       n
                                                                                                                                       w
    delivery and learning management system (LMS) knowledge of all market-delivered Learning &Development curriculum.                  .P
                                                                                                                                       N
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    Previously he provided meeting and event logistics, software selection and implementation and he was responsible for the general
                                                                                                                                       m
    improvement of administrative support tasks for a variety of businesses and individual clients.                                    c'~o
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                                                                                                                                       n.
                                                                                                                                       0
     7 Gt7Y REED
     Guy Reed has over 26 yeazs of experience in mining, civil &industrial construction, facility management, and environmental        N

     remediation and in the oil &gas industries. He has worked on Federal, State and local Public works contracts that were $100+
     million. He has abroad-based understanding ofcivil and industrial construction, mine management, environmental remediation,       0
                                                                                                                                       ij
     operational planning and execution. Mr.Reed currently holds a position with U.S. Mine Corps as an Operations Manager. There
                                                                                                                                              Entered 11/23/15 17:02:48




     he oversees project development, plan writing, permitting and overall operations. Mr.Reed is certified by USACOE —NAVFAC
                                                                                                                                       cn
     in Construction Quality Management. He has an extensive working knowledge of industrial trucks and equipment. He is also           c~
                                                                                                                                        N
     OSHA and MSHA compliant certified.                                                                                                0
                                                                                                                                       N
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Pacific Capital Transactions -Staff

                                                                                                                                           *,
    1. Jarr DAvis

     Jan Davis is currently president of Blue Sage Research. She coordinates a team of trained information specialists to provide          ~n
                                                                                                                                           0
     business appraisers and financial analysts with the data they need in a timely and cost effective manner. Ms.Davis received her
     Master's in Library and Information Studies from UC Berkeley, and has almost 20 years of experience in business and finance           s
                                                                                                                                                 Case 15-50541-btb




                                                                                                                                           a
     research experience. Before starting her company in 1997, she was director ofresearch at Willamette Management Associates.
                                                                                                                                           O
     She also acted as the Business and Management Librarian at Willamette University. Ms. Davis has presented nationally and              0
                                                                                                                                           n
     internationally on research strategies and has published in a variety of professional journals. She subscribes to several database    w
                                                                                                                                           N
                                                                                                                                                 Doc 482




     services and is an expert in Internet research.
                                                                                                                                           m
                                                                                                                                           c~
     2. MICHELLE RUBENSTEI~                                                                                                                c~
                                                                                                                                           0
     Michelle Rubenstein is currently working with PCT assisting primaries with research, report writing, and document formation.          N
                                                                                                                                           rn
                                                                                                                                           N
     Ms.Rubenstein previously worked at American Apparel in many capacities. She contributed to the development ofthe wholesale
                                                                                                                                           N
     sales team. Her team was were responsible for selling 1 Mill garments a week that were domestically manufactured in Downtown
     Los Angeles. As an assistant for the Director ofInternational Wholesale she traveled to American Appaxel's corporate locations        0
                                                                                                                                           i-~
     in Germany and the UK.There she conducted research to produce solutions in order to strearnline intracompany communications.
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     Mrs. Rubenstein has her Associates in Business Marketing from College ofthe Canyons.
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    3. HILARY CAMPBELL                                                                                                                     n
    Hilary D. Campbell has over 10 years of experience research and writing. Working and volunteering within privatized and non-           fD
                                                                                                                                           N
    profit organizations has given her a wide scope of knowledge in current political trends. She is experienced in fact finding           ~
                                                                                                                                           0
    expeditions and case summary reports. Ms. Campbell is currently working with PCT as a researcher. She is a published author            ~
                                                                                                                                           N
    and Political Scientist, deadlines are a close friend of Ms. Campbell's. Data analysis and Internet research are her strong points,    a
                                                                                                                                                Case 15-50541-btb




    and she thrives on finding market correlations.
                                                                                                                                           O
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    4. REBECCA REED
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     Rebecca Reed has 20 years ofexperience in business administration and state and federal compliance. She worked as a Paralegal         ~

     and Office Manager for Law Offices of Richard R.Johnson. There she prepared and compiled pleadings, contracts, complaints
     and legal research, created complex documents into workable files. She is proficient at multiple computer applications, Pro           ~

     Forma, Word,Excel, Microsoft Office acrd QuickBooks. More recently Ms. Reed worked for Washoe County District Attorney.
     There she managed and investigated multiple case files, collected DNA samples, and used multiple complex secured state and            ~,

     national computer data bases. She also obtained bank account and property seizure orders through the Nevada court system. Ms.         ~
                                                                                                                                           :a
     Reed received her education from American River College majoring in Human Services and from Lassen Community College                  N
     majoring in Business Administration/Administration of Justice.
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     5. HERNON CORTES                                                                                                                      N
                                                                                                                                           0
                                                                                                                                           -~
     Herron Cortes has an in depth working knowledge of the Agricultural industry including the trucking and equipment. More
     recently he founded, designed and managed an abicultural website www.califarms.net that creates baphic design solutions for           W
                                                                                                                                                Page 151 of 252




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Pacific Capital Transactions -Staff
    Agricultural businesses. Mr. Comes has an A.A.S. degree in Computer Technology from Heald Business College in Salinas, CA.
    He also attended the University ofPhoen~.
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Equipment Fair Value Analysis




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Desk Top Appraisal -Market Approach:
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We used the Market Approach Comparison method, using similar machinery, equipment and rolling stock that has been sold or is             0
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currently offered for sale in the marketplace to value Matheson's equipment.                                                             N
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By comparing the machinery, equipment and rolling stock appraised with similar items that have been sold recently or aze currently       0
                                                                                                                                         n
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offered for sale in the marketplace, we estimated the Fair Value of each item. When making comparisons of similar items, the factors
                                                                                                                                         N
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considered, when arriving at an adjusted value were: make, model, capacity, age, odometer,location and date of sale when
                                                                                                                                         rn
applicable. Marketability ofthe machinery, equipment and rolling stock was also a determinant of value. Marketability; as a measure
                                                                                                                                         c~
of demand, was approximated through recent sales in the marketplace of comparable items. Where actual sales were not available,
                                                                                                                                         0
relationships were established and based upon dealer "asking prices" for comparable items less the best comparable through similar       N
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actual sales.                                                                                                                            N
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Equipment Fair Value Analysis

Table 1: We have summarized the equipment lists provided by Matheson compaxues.


                                                                      Table 1 - By Company
                                                                                                                                    m
                                                                                                                         High       N
                                                                       Count              Low            Mfd
                                                                                                                                    in
                                          Flight Equipment list 1       697         $919,630 [ $1,317,385        $2,091,735 ~       0
                                                                                                                                    .p
                                          Flight Equipment list 2        15            26,929         38;929          38,929        N
                                                                                                                                    a
                                                                                                                                          Case 15-50541-btb




                                          Posta! Equipment list         638 4      11,460,485 ~   15,050,159 ~    19,099,341        s
                                          Trucking Equipment list 1      35 ~         148,054.       188,537         243,575        0
                                                                                                                                i   0
                                                                                                                                    n
                                          Trucking Equipment list 2      64 ~         193.532       346.686         4    41     ~
                                                                                                                                    w
                                     }                                      ~                                                       .~
                                                                            a
                                                                                                                                          Doc 482




                                          Total                        1,449 ~    $12,748,630 ! $16,941,690 ~    $21,942,990        m
                                                                            i                                                       m
                                                                                                                                    c~
                                      ~ Flight                          712 ~         946,559 ~    1,356,314 ~     2,130,664
                                                                                                                                    0
                                          Postat                        638 ;      11,460,485     15,050,159      19,099,341
                                                                                                                                    N
                                                                                                     535.217.        712.985        rn
                                      ~ Trucking                          99          341.586 ~

                                                                             I                ~             {`               tr     N
                                      ~                                1,449 ~    $12,748,630 ~ $16,941,690 ~    $21,942,990 t      :A
                                                                                                                                    0
                                                                                                                                    i-~
                                                                                                                                          Entered 11/23/15 17:02:48




                                                                                                                                    c~
                                                                                                                                    w
                                                                                                                                    w
                                                                                                                                    0
                                                                                                                                    N
                                                                                                                                    w
                                                                                                                                          Page 155 of 252




                                                                                                                     Page2of5
Equipment Fair Value Analysis


We also received a comparative desk top appraisal from Brian Barger, Ritchie Brothers Industrial Territory Manager. Barger was
unable to provide an evaluation ofthe entire list, as some items lacked sufficient data(53 items or about 3.5% of total items). Banger's
Fair Value desk top appraisal numbers were in the range of$X1.3 mrllzon - $15.8 million v our range of$12.7 miCCion - $2X.9                    c~
                                                                                                                                               N
                                                                                                                                               cn
million. Barger nor our.numbers include liquidation cost such as auction fees, transportation, assembly, labor and other cost associated       ~n
                                                                                                                                               0
with the liquidation.
                                                                                                                                                    Case 15-50541-btb




Table 2: siunmarizes equipment by vintage. We note that 75 percent ofthe equipment is pre-2007 vintage, while 81 percent of the Mid
                                                                                                                                               0
                                                                                                                                               0
case Fair Value is 2007 -current vintage.                                                                                                      n
                                                                                                                                               w
                                                                                  Table 2 - By Year
                                                                                                                                                    Doc 482




                                                               Count     % of             Low              Mld       % of          High        rn
                                                                         Total                                       Total

                                             I Pre-2007 i      1,080     75%       $1,949,565 ~   $3,138,390 ~       19% . $4,807,945 y        c~
                                                                                                                                               a
                                             #     2007         178      12%        1,672,925       2,670,310 e      16% ~   3,794,892         0
                                                   2008 f         3~      0% ~         34,000          48,500 r       0% ~      76,750         rn
                                                                                                                                               N
                                             ~     2009 ~        27       2%          638,650         856,650 ~       5% i   1,047,650
                                                                                                                                               N
                                             ~     2010 i        58 ~     4% 3      7,368,100       2,328,800 ~      14% (   2,830,600 4
                                                                                                                                               :A
                                                                                                                                  1,650        0
                                                    201i          3~      0%'            ~ ,650         1,650 ,       0% E                     N
                                                                                                                 s                         i
                                                    2013 ~       49       3% ~      3,378,000       3,615,000        21% ~   4,394,563
                                                                                                                                                    Entered 11/23/15 17:02:48




                                                                                                                                               v
                                                    20i4 s       15       1% g      7 ,032,4.40     1,138,890         7%      i ,309,240
                                                                                                    3,143,500 ~      19%     3,679,700 F       c~
                                              F     2015         36       2% ~      2,733,300                                                  w
                                              ~            ,                 ~                                            ~            ;
                                                                                                                          i                    0
                                                           j   1,449    .100% ~   $12,748,630 ~ $16,941,690 g        100% ~ $21,942,990        N
                                                                                                                                               N
                                                                                                                                               w
                                                                                                                                                    Page 156 of 252




                                                                                                                             Page 3 of 5
Equipment Fair Value Analysis



Table 3: suxrunary of the market approach desktop appraisal for the equipment by the state in which the equipment is licensed. We note           z
there are some items that do not require a license.
                                                                                                                                                 rn
                                                                                        Table 3 - by State License
                                                                                                                                                 cr
                                                                                                   Low                Mld              High      0
                                                                                Count j
                                                                                                                                                 .~
                                                                                                                                                 N
                                                           ~ AK                     1 ~         $1,500 ~ -       $1,500 ~           $1,500       s
                                                                                                                                                       Case 15-50541-btb




                                                            AZ                      8           17,300           19,800             23,250 ~
                                                            CA                   636         10,966,043      13,992,012         17,611,469       D
                                                                                                                                                 0
                                                                                                                                                 n
                                                            CO                    311          226,650 (        362,773            721,241       w
                                                                                                                                                 N
                                                                                                                                                       Doc 482




                                                            FL                      2(          26,000           30,OOd ~           37,800
                                                            ID                     10             7,000 ~         7,750              9,000       m
                                                            KY                      2             1,050            1,050             1,050       m

                                                            MT                     11             5,600 ~         5,600              5,600       0
                                                            NV                      1              500 '           1,000             2,000
                                                                                                                                                 rn
                                                            OK          ~          Y3             8,200 ~        12,000 ~           i 6,400
                                                            OR                     27            12,400 ~        24,450             38,348 ~     N

                                                            TX                     22 ~          59,235          65,235             73,235       0
                                                                                                                                                 i-~
                                                             UT                     1 ~             550              1,500 `          2,600 ~.
                                                                                                                                                       Entered 11/23/15 17:02:48




                                                           i WA                     3             3,000            3,400 ~            3,800
                                                           g WV                     6~            4,250 a          9,750             28,500      c~
                                                                                                                                  3,367,197 E    w
                                                             NOn LiC              395 ;       1,449,352 ~      2,403,870
                                                                                                        a                   f                    0
                                                                                                                                                 N
                                                             Total          ~   1,449       $12,748,630 j    $16,941,690 ,      $21,942,990      w
                                                                                                                                                       Page 157 of 252




                                                                                                                                 Page4of5
Equipment Fair Vaiue Analysis



Following is our detailed market approach desktop appraisal for the equipment with our resources.                                                   f
                                                                                                                                                    A~
                                                                                                                                                    cD
The resources used for research and Fair Value comparisons were primarily sourced from auction data bases. There were some                          N

additional sources especially on newer items                                                                                                        ~n
                                                                                                                                                    0
                                                                                       Table 3 Sources                                              .A
not yet in the auction stream and some                                                                                                              N
                                                   SOURCE                  Name
                                                                                                                                                          Case 15-50541-btb




equipment companies that specialized in the                                                                                                         s
                                                                           AFRO Specialties(new and used GSE equipment retailer)- GSE
Ground Support Equipment(GSE} category.             AFRO SPECIALTIES                                                                                D
                                                                          !Equipment                                                                0
                                                                                                                                                    n
We note, that 70 percent of our Fair Value                                                                                                          w
                                                    ATVCONNECTION          ATV Connection (online ATV retailer)-ATV Units                           N
                                                                                                                                                          Doc 482




comparisons were from Ritchie Brothers                                                                                                      ~
                                                                           Commercial Truck Trader (online new and used truck and trailer           m
                                                    CTT
Auction Data Base, Tractors, Trailers, Forklifts                           service)- Tractors
                                                                                                                                                    m
and Vehicles (Ritchie B oz RB). The other           EQUIP TRAD             Equipment Trader(new and used equipment retailer) -Forklifts     ~
                                                                                                                                                    0
material resources are listed in Table 3.                                  GSE Globa](new and used GSE equipment retailer) - GSE                    N
                                                    GLOBAL GSE                                                                                      rn
                                                                           Equipment                                                        ~       N
                                                    F{gB                  I Kelly Blue Book (online used car valuation service} vehicles            N
                                                                                                                                                    :A
                                                   ~ MT                   ~ Matheson FMV Sheet(GSE only)                                        ~   0
                                                   1                                                                                            ~   i-~
                                                   s
                                                     PurrpleWaveAuction    Purple Wave Auction (online auction service)-Tractors
                                                                                                                                                          Entered 11/23/15 17:02:48




                                                                           Scale Masters (scale and component retailer)-Scales and
                                                    SCALEMASTERS                                                                                    c~
                                                                           Components
                                                                                                                                                    w
                                                                                                                                                    rn
                                                                           Total Comp (scale and component retailer) -Scales and                    0
                                                    TOTALCOMP.COM
                                                                           Components                                                               N
                                                                                                                                                    N
                                                                                                                                                    w
                                                                           Truckpaper.com (online new and used truck and trailer service)-~
                                                    Truckpaper
                                                                          ~ Tractors
                                                                                                                                                          Page 158 of 252




                                                                                                                                Page 5 of 5
             Matheson Equipment


File Source                Unit No   Type        Make      Model         YR       Year   VINE                  State Odometer   GVW     LIQ VALUE IOV IIq VALUEAVE        LIQ VAL HIGH    COMF CON SOURCE
Flight Equipment list 1    FEFLS     FORKLIFT    NSSMT     KAPH02A25PV   Pre~2007 1800 900269                  Non Lic 3,594            $      3,000 $        5,000       $       6,500   N        EQUtP TRAD
Flight Equipment listl     F802      MISC        UNKNOWN   UNKNOWN       Pre-Z00>   1800 ED233192              CA                       $       500 $           500       5         500   N        Estimated
Flight Equipment List 1    FEFU      FOiiKLIFi   NSFKL     KAPH02A25PV   Pre-2007   1800 900270                Non Lic 4,660            $      2,300 5        2,300       S       2,300   Y        GLOBAL
flight Equipment list 1    GST501     MISC       WASPX     A04093D       Pre~2007   1500 1444005               Non Lic                  S       500 $          500        $         500   N        Estimated
flight Equipment list 1    TB03      ~MISC       WASPX     UNKNOWN       Pre-2007   1800 167127                Non Lic                  $~       100 S          100       5         100   N        Estimated
Flight Equipment list 1    FEFl3     fORKLiPT    NSSMT     KAPH02A25PV   Pre-2007   1800 900194                Non Llc 7,914            $      2,250 $        2,250       $       2,250   Y      1 RB
Flight Equipment listl     7B01       MISC       CLYDE     UNKNOWN       Prr2007 18006903                      CO         ~             $        500 $          S00       $         500   N        Estimated          CP
flight Equipment tistl     7B02       MISC       UNKNOWN   UNKNOWN       Prr2007    18002405                   CO             _         $        500 $          500       $ -       500   N        Estimated
                                                                                                                                                                                                                      N
flight Equipmentlistl      F803       MISC       UNKNOWN   UNKNOWN       Prr2007 1800XF536016                  NonLic                   5        500 $          500       $         500   N        Estimated          CSI
Flight Equipment list 1.   fEFLB      FORKLIFT   NSFKL     CPH02A20V     Prr2007    1800 CPH02-38318           Non Lic 49               $        750 $        1,750       $      4,500 Y         3 RB                 Ul
Flight Equipmentlistl      TBOS       MISC       CLYDE     UNKNOWN       Pre~2007   1900 UNKNOWN               TX                       $        100 $          100       S        100 N           Estimated          O
Fight Equipment list 1     7B04       MISC       CLYDE     15F2284   ~   Prr2007 1900 48055                    OR                       $         50 $           50       5         50 Y         1 AERO SPECU+LTIES   U't
Flight,Equipmenttistl      G5T41     NG          TUGMN     MA-SO         Prr2007 19780428                      CO     2546              $      1,500 S        7,000       S     15,500 Y         1 Pst.,GLOBALGSE     N
Plight Equipment list 1    G5T42     TUG         TUGMN     MA-50         Pre~2007   1978 0102                  CO     1,660             5      3500 $         7,000       5     15,500 Y         1 Est.,GLOBALGSE
Flight Equipment list 1    GSBTS     TUG         FORDX     F600          Prr2007    1978                       Non Lic 1,266            5       250 $              250 5           250 N           MAT
                                                                                                                                                                                                                            Case 15-50541-btb




                                                                                                                                                                                                                      ~'
FlightEGuipmentlistl       GS139     TUG         NGMN      MA-50         Prr2007    19780542                   CO      2,732            $     1500 $             7,000 S        15,500 Y         1 Est.,GlOBALGSE
Flight Equipment fist 1    GST40     TUG         7UGMN     MA-50         Pre-2007   1978 11653                 CO      2,371            $     1,000 $            1,000 $         1,000 N           MAT
Flight Equipmentlistl      PTi14     TRAILER     LFK7R     TRAILER       Pre-2007   198056744                  AZ       0               5      3,000 $            3500    $      4,000    Y      2TrutkTraderL30%
Flight Equipment list 1    KL10      LOADER      FMCXX     MDL-40        Prc2007    1980 H1840010R             Non Lit 2,450            $     32,000 $           42,000   $     52,000    Y      1 LEGACYGSE          O
                                                                                                                                                                                                                      (7
Flight Equipment list 1    GSD496    DOLLY       CLYDE     CBD2201       Pre2007    1980 17555                 Non i.ic                 $        500 $             500    S        500    N        MAT,AERO
                                                                                                                                                                                                                      W
Flight Equipment list 1    KL15      LOADER      FMCXX     2284300       Prt2007    1980 H1940002              Non Lit 223              $      ZS00 $            10,000   $     19,900  Y         1 MAT,AERO
                                                                                                                                               2500 $             2,500   $      2,500  N           Estimated         I-~
                                                                                                                                                                                                                            Doc 482




Flight Equipment list 1    PBKOl     MISC        STNST     M82-GT40      Pre~2007   1981 144-008               TX      3,030            $
flight Equipment list 1    G58T6     Tl1G        FORpX     F600          Pre-2007   1981 1FDMC60H98VA05546     Non Lit 8,306            $        25~ $              250   $        250  N           MAT
Flight Equipment list 1    PBK02     MISC        HOUGH     1800          Prr2007    1981 T800 4024             Non Lic 2,423            $        500 $              500   $        500  N           Estimated
Flight Equipment list 1    C507      MISC        WASPX     15F2011       Prr2007    1982                       Non Lic                  S        550 5              550   $        550  N           MAT
                                                                                                                                                                                                                      m
                                                                                                                                                                                                                      r-r
Flight Equipment list 1    G56T4     TUG         FORDX     F-350         Pre2007    1983 2~D1F37Y2DCA74692     Non lic 0                5        250 5            iS00    5      1,500  Y         1 MA7,AER0          CD
flighx Equipment list 1    FEFL9     FORKUFf     CfRPL     T40C          Prr2007    1983 38Y02201              Non Lic 5,174            $      1,000 ,$           1,000   $      1,000  Y         3 MACH TRADE
                                                                                                                                                                                                                      CD
Flight Equipment list 1    G5T32     TUG         STWST     MA-50         Prr2007    1984 2516                  Non Lic 6,295            $      1,500 $            1$00    $      1,500  N        ~ MAT                Q
Flight Equipment list 1    GST43     TUG         TUGMN '   MA-50         Pre-2007   1984 2517                  CO      5,305            $      1500 $             7,000   $     15,500  Y         1 Estimated         O
Flight Equipment list 1    650497     DOLLY      WASPX     A03924D       Pre2007    1984 135032                Non Lic                  S        500 $              500   S        500 N            Estimated         (D
Flight Equipment list 1    GSD498     DOILY      WASPX     AlO55D        Gre2007    1984                       Non Lic                  $        500 $              500   S        500 .N           Estimated         N
Flight Equipment list 1    GST20     7U6         EQTCH     M40           Pre-2007   1985 588                   CO      2,917            5      1,000 $            1,000   $       1,000 N           MAT
Flight Equipmentlistl      BL04      LOADER      CCHRN     600           Prc2007    19852129                   TX      4,869            $        700 $              700   $~       700 N            MAT               N
Flight Equipmentlistl      GST52     NG          TUGMN     MA•50         Prr2007    19853408511                TX      1                $      1,506 $            7500    $      15,500 Y         i GIOBAL65E         CSI
Flight Equipment list 1    BC009     MISC        WASPX     510           Prr2007    1985 85730                 Non lic 0        ~       $        500 $              500   $        500 N            Estimated         F~
Flight Equipment list 1    BCO10      MISC       WASPX     510           Prr2007    1985 91042                 Non Lic                  $        500 $              S00   $        500 N            Estimated
Flight Equipment list 1    GSRS       TUG        EQTCH     M40           Pre~2007   1985 055929017             CO      9,973        ~   $       700      $         700 $           700 N            MAT
                                                                                                                                                                                                                      O
Flight Equipmentlistl      BL02       LOADER     CCHRN     600           Prr2007    19852134                   CA      9,739            $       700      $   ~     700 $           700 N            MAT
                                                                                                                                                                                                                      f-~
Flight Equipment list 1    BL03       LOADER     CCHRN     600           Pre-2007   1985 2132                  Non lit 7$91             $       700      $         700 $           700    N         MAT
 Flight Equipmentlistl     GST22     7UG         EQTCH     M40           Pre-2007   1985575                    CO      598              $       700      $         700    $        700    N         MAT
                                                                                                                                                                                                                            Entered 11/23/15 17:02:48




 Flight Equipment List 1   GST19     1116        EQ7CH     M50           Prr2007    1985 496                   ID      1597             $      1,500     $        1,500   $       1,500   N         MAT
 Flight Equipment list 1   GSil      TUG         EQTCH     M50           Pra2007    1985 495                   CO      1,553            $      1,500     S        1,500   $       1,500   N         MAT
 Flight Equipment list 1   GST4       TUG        EQTCH     M40           Pre~2007   1985 582                   CO      1564             $        700     $         700    $         700   N         MAT
 Fiight Equipment list 1    KLOS      LOADER     FMCXX     1CPL-2        Pre2007    1985 PL285279              Non Lic 5,055.           $        800     $        1,600   $       2,400   Y       1 AERO              CD
 Flight Equipment list 1    BLOS      LOADER     LNTSX     LANT15        Prr2007    1985                       Non Lic 97               5      1,500     $        3,500   5      29,500   N         Estimated         W
 Flight Equipmentlistl      GS12      TUG        EQTCH     M50           Pre-2007   1985499                    CO      1,211            $      1500      $        1,500   $       1,500   N         MAT               v
 flight Equipment list 1    GSIS      TUG        EQTCH     M40           Prr2007    1955 SS9                   Non Lit 2,296            $      1,000     $        i,000    $      1,000   N.        MAT               O
                                                                                                                                                                                                                      -~,
 Flight Equipment fist 1    GST18     TUG        EQTCH     M50           Prr2007    1985 441                   OK      1,741            $      1,500     S        1,500    $      1500    N         MAT
                                                                                                                                                                                                                      F-~
 Flight Equipment list 1    GST3      NG         EQTCH     M40           Pre~2007   1985 579                   OK ~ 1,655                $     1,000     $        1,000    $      1,000   N         MAT               F'
 Flight Equipment list 1    G5T17     TUG        EQTCH     M30           Pre~2007   1986 752                   CA      1591              $     1,D00     $        1,000    $      1,000 N           MAT               W
 Flight Equipment List 1    GST35     TUG        EQTCH     M40           Pre2007    1986 705                   Non lic 431               $       700 .   5          700    $       700 N            MAT
 Flight Equipment list i    GSi6      TUG        EQTCH     M40           Pre~2007   1986 623                   CO      6,178             $      700 $               700    $~       700 N           MAT
                                                                                                                                                                                                                            Page 159 of 252




 Fight Equipment list 1     GSi33     TUG        CLARK     M40           Prr2007    1986 CTA640E-153-2031569   Non Lic 2,545             $      500 $               500    $       500 N            MAT
 Flight Equipment list 1    KL03      10A0ER     FMCXX     JCPL-2        Pre-2007   1986 PL286460              CA      9,223             $    18,000 5           18,000 $        18,000 Y         1 LEGACVGSE




                                                                                                       Page 1 of 27
             Matheson Equipment


fi~eSource                    Unit No      Type       Make       Model             YR        Year VIN 3t              State Odometer     GVW   L14WLLUElOV UQVALUEAVF LIgVALHIGH COMFCONSOURCE
Flight Equipment list 1       GSTSO        TUG        TUGMN      MA30              Prc200J 1986 12867                 WA       164             $     1,000 $      1,000 $      1,000 N      MAT
Flight Equipment list 1       KL14         LOADER     fMCXX      COMMANDER IS      Pre2007 1987 CR87201               TX       1,980           $    45,000 $    45,000 $      45,000 N      MAT
Flight Equipment list i       KL12         LOADER     FMCXX      MOL•40            Pre-2007 1987 MDL87513             Non Lic 1,127            $    32,000 $    42,000 $      52,000 Y   1 LEGACY GSE
Flight Equipment list 1       GS135        TUG        SNJST      MA-50             Pre-2007 1987 619                  CA       3,327           $     1,500 $      7,000 $     15,500 Y   1 Est., GLOBALGSE
Flight Equipment list 1       G5T16        TUG        EQTCH      M40               Pre-2007 1987 864                  CA       837             $     1,000 $      1,000 $      1,000 N      MAT
Flight Equipment list 1       KLOS          LOADER    LNiSX      818-144           Prr2007 1988 471                   Non Lic 1                $     3,500 $     15,000 S     29,950 Y   1 MAT,AFRO
                                                                                                                                                                                                             N
Flight Equipment list 1       GST7         TUG        EQTCH      M30               Pre-2007 1988 967                  CO       927             $     1,000 $      1,000 $      1,000 N      MAT              CD
Flight Equipment list i       G5121        TUG        EQTCH      M30               Pre2007 1988 9990388               CO       8,679           $     1,000 $      1,000 $      1,000 N      MAT
                                                                                                                                                                                                             I-~
Flight Equipment list 1       GSD499        DOLLY     W0.5PX     A1312D            Prr2007 1988 25126                 Non Lic                  $       500 $        500 $        500 N      Estimated        CT'i
Flight Equipment list 1       GSD503        DOILY     WASPX      A1312D            Prr2007 1985 121117                 Non Lic                 $       500 $        500 $        S00 N      Estimated        U~I
Flight Equipment list 1       G5T11         NG        EQTCH      M30               Prr2007 1988 9770288                Non Lic 2,142           $     1,000 $      1,000 $      1,000 N      MAT              O
                                                                                                                       Non Lic                 $       500 $        500 $        500 N      MAT              U1
Flight Equipment list 1       GSD505        DOLLY     WASPX      A131ZD            Prr2007 1988 121115
 Flight Equipment list 1      GSD506        DOLLY     WASPX      A1312D            Pce~2007 1988 121116                Non Lic                 5       500 5        500 $        500 N      MAT              I-~
 Flight Equipmentlistl        GSD507        DOLLY     WASPX      A1312D            Prr2007 198825125                   NonLic                  $       500 $        500 $        500 N      MAT
 Flight Equipment list 1      G5T12         TUG       EQTCH      M30               Pre-2007 1988 10170388              Non Lic 3,238           $     1,000 $      1,000 $      1,000 N      MAT
                                                                                                                                                                                                                    Case 15-50541-btb




                              G5T13         NG        EQTCH      M30               Prr2007 1988 30100388               CA      37              $     1,000 $      1,000 $      1,000 N      MAT
 Flight Equipmentlistl
 Flight Equipment list 1       G5T14        TUG       EQ7CH      M30               Prr2007 1988 9850188                Non Lic 10,062          $     1,000 $      1,000 $      1,000 N      MAT
 Flight Equipment list 1       GST9         LUG       EQTCH      M30               Pre2007 1988 986                    CO       1,063          $     1,000 $      1,000 $      1,000 N      MAT
                                                                                                                       Non Lit                 $        550 $        SSO $        550 N   .MAT               O
 Flight Equipment list 1       GSD537       DOLLY     CLYDE      15F2566           Pre-2007 1988 22303                                                                                                       C7
                               GSD501       DOLLY      WASPX     A1312D             Prr2007 1988 25127                 Non Lic                 $        500 $        500 $        500 N     MAT,AERO
 Flight Equipment list 1                                                                                                                                                                                     W
 Flight Equipmentlistl         GSD502       DOLLY      WASPX     A1312D             Prr2007 198825125                  NonL(c                  $ ..     500 $        500 $        500 N     MAT,AERO
                                                       EQTCH      M30               Pre2007 1988 969                   CO       2,414          $      1,000 5      1,000 $      1,000 N     MAT              F-'
                                                                                                                                                                                                                    Doc 482




 Flight Equipment list 1       GSTB         TUG
                               GS751        TUG        STVJST     MA-50             Prr2007 1989 5605                  AK       1,330          $      1500 $       1,500 $      1,500 N     MAT
  Flight Equipment List i
                               GST34      ~ TUG        EQTCH      M40               Pre-2007 1989 578                  Non Lic 1,628           $        700 $        700 $        700 N      MAT
  Flight Equipment list 1                                                                                                                                                                                    m
                               GSTi7        TU6        SfWSf      BT345             Pre-2007 1989 BTG-280              Non Lit 4,731           $      1,000 $      1,000 $      1,000 N      MAT
 flight Equipment List 1
                                             DOLLY     WASPX      L87               Pre-2007 1990 135027               Non lic                 $        700 $        700 $        700 N      MAT             CU
  Flight Equipment list 1      GSD479
                                             DOLLY     WASPX      L87               Pre-2007 1990 42810                Non Lic                  $       700 $        700 5        700 N      MAT
  Flight Equipment list 1      GSD485                                                                                                                                                                        (D
                                             OOLLY     WASPX      L87        ~      Pr~2007 1990 135035                Non Lic                  $       700 $        SOD $        700 N      MAT             Q
  Flight Equipment list 1      GSD487
                               GSD48S        DOLLY     W0.SPX     LB7               Prr2007 1990 42812                 Non Lic                  $       700 $        700 $        700 N      MAT             O
  Flight Equipment list 1
                               GSD492        OOLLY     WASPX      L87               Prt2007 1990135034                  NonLic                  $       700 $        700 $        700 N      MAT
  Flight Equipmentlistl
                               G50493        DOLLY     WASPX      L87               Prr2007 1990 121122                 Non lic                 $       700 $        700 S        700 N      MAT              N
  Flight Equipment list 1
                                             DOLLY     WASPX      L87               Prr2007 1990 135451                 Non Lic                 $       700 $        700 $        700 N      MAT
  Flight Equipment list 1      GSD495
                                                       WTKNS      A02164D           Prr2007 1990 43158                  Non Lic 0               $       SOD $        500 $        500 N      FstimaSed        F-~
  Flight Equipment list 1       BC001        MISC                                                                                                                                                             Ul
                                             MISC      WTKNS      A02164D           Pre-2007 1990 46452                 Non Lic 0               $       500 $        500 $        500 N      Estimated
   Flight Equipment list 1      BC002
                                                                                                                        Non Lic 0               $       500 $        S00 $        500 N      Estimated        N
   Flight Equipment list 1      BC003        MISC       WTKNS     A02164D           Pre4007 1990 46485                                                                                                        CTi
                                BC007        MISC       WfKNS     A02164D           Prr2007 1990 46467                  Non Lic                 $       500 $         500 $       500 N      Estimated
   Flight Equipment list 1
   Flight Equipment list 1      GSD478       OOLLY      WlSPX     l87               Pre~2007 1990 121115                Non Lic 0               $       700 $         700 5       700 N      MAT
                                                                                                                                                                                                              O
                                G50480       DOLLY      WASPX     L87               Prr2007 1990 121121                 Non Lic                 $        700 $        700 $ ~     700 N      MAT
   Flight Equipment list 1                                                                                                                                                                                    F~
                                GSD481       DOILY      WASPX     LB7                Prr2007 1990 121118                Non Li[                 $        700 $        700 $        700 N     MAT
   Flight Equipment list 1
                                650482       DOLLY      WASPX     L87                Pre-2007 1990 135031               Non L(c                 $        700 $        700 $        700 N     MAT
   Flight Equipment list i
                                                                                                                                                                                                                    Entered 11/23/15 17:02:48




                                GSD483       OOLIY      WASPX     tB7                Prr2007 1990 121123                Non Lit                 $        700 $        700 $        700 N     MA7
   flight Equipment list 1
                                GSD484       GOLLY      WASPX      L67               Prr2007 1990 121124                Non Lic                 $        700 $        700. $       700 N      MAT             S1)
   Flight Equipment list 1
                                             DOLLY      WASPX      L6~               Prr2007 1990 42811                 Non Lic                 $        700 $        700 $        700 N      MAT            (Q
   Flight Equipment list 1      650486
                                                                                     Prr2007 1990 135028                Non Lic                 $        700 $        700 $        700 N      MAT             CD
   Flight Equipment list 1      GSD489        OOIIY     WASPX      LB7
   Flight Equipment list 1      GSD490        DOLLY     WASPX      L87         ~     Pre~2007 1990 121112               Non Lic                 $        700 $        700 $        700 N      MAT             W
    Flight Equipment list 1     GSD491        DOLLY     WASPX      L87               Prr2007 1990 42893                  Non Lic                $        700 $        700 5        700 N      MAT
                                                                                     Prr2007 1990 135033                 Non Lic                 $       700 $        700 $        700 N      MAT             O
   flight Equipment List 1      GSD494        DOLLY     WASPX      L87
    Flight Equipment list 1     GSBT3        7UG        DODGE      D350              Prr2007 1990 186LE3680LS760262      Non Lic 6,147          5      4,000 S      4A00 $       4,000 N      MAT             N
    Flight Equipment list 1     GSD448        DOLLY     WASPX      A03427D           Pre~2007 1990 81711                 Non Lic                 $       400 $        400 $        400 N      MAT             F'
                                                                                                                                                 $       400 $        400 $        400 N      MAT             W
    flight Equipment list 1     GSD449        DOILY     WASPX      A03427D           Pre-2007 1990 81712                 Non Lic
    Flight Equipment List 1      GSD450       OOLIY     WASPX      A03427D         ~ Pre~2007 1990 81713                 Non Lic                 $       400 $        400 $        400 N  - ,MAT
    Flight Equipment list 1      GSD451       DOLLY     WASPX      A03427D           Prr20D7 1990 81714                  Non Lic                 $       400 $        400 $        400 N      MAT
                                                                                                                                                                                              MA7
                                                                                                                                                                                                                    Page 160 of 252




    Flight Equipment List 1      GSD452       GOLLY     WASPX      A03427D           Prr2007 1990 81715   -              Non Lic                 $       400 $        40D $        400 N
    Flight Equipment list 1      GSD453       DOILY      WASPX     A03427D           Pre~2007 1990 81716                 Non Lic                 $       400 $        400 5        400 N      MAT




                                                                                                                Page 2 of27
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File Source                Unit No    Type        Make      Model          YR       Year   VIN tt                 State   Odomeffir   GVIN   LIQ VAtUE IOV   LIQ VALUE AVE LIQ VAL HIGH COMFCON SOURCE
Flight Equipment list 1    GSD454.    DOLLY       WASPX     A03427D        Pre~2007 1990 81717                    Non Lit                    $       400     $         400 $         400 N      MAT
Flight Equipment list 1    GSD455     DOILY       WASPX     A03427D        Pre-2007   1990 81718                  Non LiC                    S       400     S         400 S         400 N      MAT
Flight Equipment list 1    GSD456     DOLLY       WASPX     A03427D        Pre-2007 1990 81719                    Non Lic                    $       400     $         400 $         400 N      MAT
Flight Equipment list 1    GSD457     DOLLY       WASPX     A03427D        Pre~2007 1930 81720                    Non Lic                    $       400     $         400 $         400 N      MAT
Flight Equipment list 1    CSO8       MISC        TRfARC    UNKNOWN        Pre~2007 ~ 1990                        CA                         $       500     $         500 $         S00 N      Estimated
Flight Equipment list 1    CS09       MISC        lR1ARC    UNKNOWN        Prr2007 1990 UNKNOWN                   OR                         $       500     $        500 $          500 N      Estimated
                                                                                                                                                                                                                    N
Fight Equipment list 1     GSD438     DOLLY       WASPX     A03427D        Pre-2007   1990 81701                  OR                         $       400     $        400 $          40Q N      MA7                 (D
Flight Equipment list 1    GSD439     DOILY       WASPX     A03427D        Pre-2007   1990 81702                  OR                         $       400     $        400 $          400 N      MAT
                                                                                                                                                                                                                    F-~
Flight Equipment list 1    GSD440     DOILY       WASPX     A03427D        Prr2007 1990 81703                     OR                         $       400     5        400 $       .400 N        MA7                 U'I
Flight Equipment list 1    GSD441     DOILY       WASPX     A034270        Pre2007 1990 81704 _                   OR                         5       400     5        400 $          400 N      MAT                 U'1
Flight Equipment list 1    GSD442     DOILY       WASPX     A03427D        Prr2007 1990 81705                     OR                         $       400     $        400 $          400 N      MAT                 O
Flight Equipment list 1    GSD443     DOLLY       WASPX     A03427D        Prr2007 1990 53706                     OR                         5       400     5        400 5          400 N ~    MAT                 U'1
Flight Equipment list 1    GSD444     DOLLY       WASPX     A03427D        Prr2007 1990 81707                     OR                         $       400     S        400 $          400 N      MAT                 I-~
Flight Equipment list 1    GSD445     DOILY       WASPX     A03427D        Pre-2007    1990 81708                 OR                         $       400     5        400 S          400 N      MA7
                                                                                                                                                                                                                    6
 Flight Equipment list 1   GSD446     DOLLY       WASPX     A03427D        Pre-2007    1990 81709                 Non Lic                    $       400     $        400 $          400 N      MAT
                                                                                                                                                                                                                           Case 15-50541-btb




 Flight Equipment list 1   GSD447     DOLLY       WASPX     A03427D        Prr2007     1990 81710                 Non Lic                    $       400     $        400 $          400 N      MAT
Flight Equipment list 1    GSBTl      TUG         DODGE     D350           Pre-2007    1990 186LEi68715733883     Non Lic 17,636             $      1,500    $      2,000 $        3,000 Y    3 RB
Flight Equipment list 1    GSBR       TUG         DODGE     D350           Prr2007     1990 186LE368815755391     Non lit 1,785              5      1,500    $      2,000 $        3,000 Y    3 RB
                           CS03       MISC        UNKNOWN   UNKNOWN        Pre2007     1990UNKNOWNI               CA                         $       500     $        500 $          500 N       MAT                O
Flight Equipmentlistl                                                                                                                                                                                               n
Flight Equipment list 1    GST38      TUG         STWS7     81345          Pre2007     1990 BTG-416               Non Lic 6,690              $      1,000    $       1,000 5       1,000 N       MAT
                                                                                                                                                                                                                    W
Flight Equipment list 1    GSTa9      TUG         CLARK     R-A-4          Pre2007     1991 CT51-5115             CA      97                 $        500    $         S00 $         500 N       MA7
Flight Equipment list 1    BC004      MISC        WT1CN5    A02164D        Pre2007     1991 54146                 Non Lic 0                  $        500    $         S00 $         SQO N       Estimated          N
                                                                                                                                                                                                                           Doc 482




Flight Equipment list 1    BC005      MISC        VJTtCNS   A021640        Pre2007     1991 54152                 Non Lic                    S        500    $         500 $         500 N       Estimated
Flight Equipment list 1    G520D02    DOLLY       WASGX     A01046D        Prr2007     1991 P280                  Non Lic                    $        500    5         500 $         500 N       MAT
                                                                                                                                                                     3500 $        4,000 Y    4TruckTraderL30%
                                                                                                                                                                                                                    m
Flight Equipmentlistl      PTR53013   TRAILER     RDSYS     M153102W12.5   Pre-2007    19911DN11Z24MA199865       AZ      4,193              $      3,000    $
                                                                                                                                                                                                                    K
Flight Equipment list 1    BCO6       MISC UN[T   VJTKNS    A02I64D        Pre~200>    1992 56886                 Non Lic 0                  $        250    $         250 $          250 N      MAT                CD
Flight Equipment list 1    K116       LOADER      FMCXX     6205304.002    Pre-2007    1992                       Non Lic 3,132              $      2,500    $       2500 $        2500 N        MAT
                                                                                                                                                                                                                    fD
Flight Equipment list 1    BC006      MISC        WTKNS     A02164D        Pre-2007    1992 56886                 Non lic                    $        500    $         500 $          500 N      Estimated          Q.
 Flight Equipment list 1   BC008      MISC        WTKNS     A02164p        Pre2007     1992 56891                 Non Lic                    S        500    $         500 $          500 N      Estimated          O
 Flight Equipment list 1   FEFLi      FORKLIFT    HYSTR     Si55XL         Pre-2007    1992 8024002553N           Non Lic 0                  $     10,000    $      10,000 $      10,000 Y    3 RB
 Flight Equipment list 1   GS136      TUG         TUGMN     MN40           Prr2007     1993 542                   Non lic 128                $      1,000    $       1,000 $        1,000 N      MAT                F~
 Flight Equipmentlistl     P1R53000   TRAILER     WABSH     P102CW         Prr2007     1493111V532W3RL218155      CA      15,700             $      1,500    $       2,000 $     3,000   Y    5 RB
 Flight Equipment list 1   GPU02      MISC        UNKNOWN   TT4900         Prr2007     1993 GSBI901073            TX      3,719              $        500    $         S00 $       500   N      E                    i-~
                                                                                                                                             $      5,000    $       5,000 $     5,000   Y    2 RB
                                                                                                                                                                                                                     U'i
 Fligh[ Equipment list 1   FEFL2      FORKLIFT    KMTSF     DF70           Pre2007     1993 1874K                 Non Lic 7,922
                                                                           Pre2007                                AZ      277                $      2,000    $       2,500 $     3,250   Y    4 RB                   N
 Flight Equipment list 1   PTR53014   TRAILER     WABSH     P102CW                     1993 IJJV532YOPL207192
                                                                                                                                                                                                                     CI1
 Flight Equipment list 1   PTR53015   TRAILER      WABSH    P102CW         Pre-2007    1993 111V532YSPl.207215     AZ       2,838            S      2,000    $       2$00 $      3,250 Y      4 RB
 Flight Equipment list 1   KL13       LOADER       LNISX    818-161        Prr2007     1994 520                    Non Lic 2,772             5      7,000 S         16,000 5    25,800 Y      1 MAT,GLOBAL GSE
                                                                                                                                                                                                                     O
 Flight Equipment list 1   TMI        TUG          CRWEQ    140TR-5        Pre2007     1994 6A124923               CO      600               $      1,500 $          1,500 $     1500 N         Estimated
                                                                                                                                                                                                                     f-~
 flight Equipment list 1   G5T45      TUG          NGMN     MA-50          Prc2007     1994 4339                   VJV     2,797              5     1500 $           7,000 $    15,500 Y      1 Est., GIOBALGSE
 Flight Equipment list 1   G5747      TUG         TU6MN     MA•SO          Pre~2007    1994 5074                   Non Lic 3,623              S     1500     $       7,000 $    15,500 Y      1 Est., GLOBALGSE
                                                                                                                                                                                                                           Entered 11/23/15 17:02:48




 Flight Equipment list 1   GSf48      NG          'TUGMN    MA-50          Pr~2007     1994 5642                   Non Lic 1$95               $     1$00     $       7,000 $    15,50 Y       1 Est., 6LOBALGSE
 Flight Equipment list 1   7M2        TUG         CRWEQ     140TR-5        Pre~2007    1994 6A124922               CO                         $     1$00     $       iS00 $      1,500 N        Estimated
 Flight Equipment list 1   K107       LOADER       LNTSX    818-144        Pre-2007    1994 1005                   CA      1,730              $     3,500    5      15,000 $    29,950 Y      1 MAT,AERO
 Flight Equipment list 1   P7R53019   TRAILER      UTLN     VS2DF          Prc2007     1994 1UYV52533RC229526      CA      7,659              $     1500     S       2,000 $     3,000 Y      3   RB
 Flight Equipment list 1   GSf44      TUG          TUGMN    MA•50          Pr~2007     1994 3724                   Non Uc lOS                 $     iS00 $           7,000 $    15,500 Y      1   Est., GLOBALGSE    W
 Flight Equipment list 1   KLO6       LOADER       INTSX    818-144        Pr~2007     1994 1084                   Non Uc 2,285               $     3,500 $         15,000 $    29,950 Y      1   MAT,AERO
 Flight Equipment list 1   FEFL4       FORKLIFT    DAEWO    GC25-2            -2007
                                                                            Pro        1994 02-00149               Non Lic 6,447              $     1,200 $          3,000 $     4500 Y       3 RB                   O
 Flight Equipment list 1   BC011       MISC        FMCXX    BC2-SA          Pre~2007   1994 !9520      ~           Non Lic                    $     1500 $           1,500 $     1,500 N        Estimated            N
 Flight Equipment list 1   GST46       TUG         1l1GMN   MM50            Pre~2007   1994 4340                   Non Lic 1,654              $     1$00 $           7,000 $    15,500 Y      1 MAT,GL08ALGSE        F-'
 Flight Equipment list 1   C504        MISC        CLYDE    i5F2011         Pre-2007   1995 31600                  'EX                        $       250 $            250 $      Z50 N         MA7                  W
 Flight Equipment list 1   GPU01       MISC        ARVCO    Z25             Pre-2007   1995 592                     Non Lic 4,543             $      3,000 $         15,000 $   29,900 Y      3 AFRO
 Flight Equipment list 1    GS20D03    DOLLY       CLYDE    15F2501         Pre-2007   1995 51779                   Non Lic                   $       500 $            500 $      500 N         MAT
                                                                                                                                                                                                                           Page 161 of 252




 Flight Equipment list 1    G520D04    DOLLY       CLYDE    15F2501         Pcr2007    1995 45503                   Non Lic                   $        500 $            S00 $     500 N         MAT
 Flight Equipment list 1    G483       TRACTOR     INT      8100            Pre-2007   1996 1HSH BAHN3TH252387      CA      964,031           $      4,000 $          5,000 $    6500 Y       5 RB




                                                                                                           Page 3 of27
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File Source                Unit No     Type       Make         Model             YR    ~ Year   VIN 1i                     Staze Odometer                GVW   LI4 VALUELOV LIQ VALUE AVE   LIQ VAL HIGH    COMFCONSOURCE
Flight Equipment list 1    P330        TRACTOR    FRGHT        FLD120            Prr2007 1996 IFUYDRYB8TP663323            Non lit 631,058                     $      4,000 $       6,500   $     10,000    Y     5 RB
Flight Equipment list 1    GSD520      DOLLY      CLYDE        15F2566           Prc200) 1996 00015                        TX                                  $        550 $         S50   $        550    N       MAT
Flight Equipment list 1    GSD523      DOILY      CLYDE        15F2566           Pre-2007 1996 00018                       TX                    _             $        550 $         S50   $        550    N       MAT
Flight Equipment list 1    GSD515      DOLLY      CLYDE        iSF2566           Pre-2007 1996 34376 ~                     TX                                  $        550 $         550   $        S50    N       MAT
Flight Equipment List 1    GSD516      DOILY      CLYDE        i5F2566           PrrZ007 1996 34362                        iX                                  $        550 $         550   $        550    N       MAT
Flight Equipmentlistl      GSD519      DOLLY      CLYDE        15F2566           Pre~2007  199634486                       TX                                  $        S50 $         550   $        550    N       MAT
                                                                                                                                                                                                                                  N
Flight Equipment list 1    GSD521      DOILY      CLYDE        15 F2566          Pre~2007  1996 00016                      1X                                  $        550 $         550   $        550    N       MAT
                                                                                                                                                                                                                                  CU
Flight Equipment list 1    GSD522      DOILY      CLYDE        i5F2566           Pre~2007     1996 00017                   TX                                  $        550 $         550   $        550    N       MAT
                                                                                                                                                                                                                                  N
Flight Equipment list 1    GSD524      DOLLY      CLYDE        15F2566           Prr2007      1996 00019                   TX                                  $        550 $         550   $        550    N       MAT           Ul
Flight Equipment list 1    GS0525      DOLLY      CLYDE        ISF2566           Prc2007      1996 34318                   TX                -                 $        SSO $         550   $        SSO    N       MAT
Flight Equipment list 1    GSD526      DOLLY      CLYDE        SSF2566           Prc2007      1996 00020                   1X                                  $        550 $         550   $        550    N       MA7           O
Flight Equipment list 1    P332        TRACTOR    FRGHT        FLD120            Prr2007      1996 iFUYDRIB1TP663325       Non Uc 1,290,103                    5      4,000 $       6,500   $      11,000   Y     S,RB            CJl
FlightEquipmentlisti       P335        TRACTOR    FRGHT        FL0120            Pre-2007     19961FUYDRY84TP679017        CA      2,012,318                   5      4,000 $       6,500   $      11,000   Y     5 RB            I-~
Flight Equipment list 1    CSPOl       MISC       WASPX         A017981          Pre-2007     1946 103431                  Non Lic                             $        550 $         550   $        550    N       MAT
Flight Equipment list 1    GSD508      GOLLY      CLYDE         A1312D           Prr2007      1996 34685                   Non lic                             $        500 $         500   $         500   N       MAT
                                                                                                                                                                                                                                         Case 15-50541-btb




Flight Equipment list 1    G50509      DOLLY      CLYDE         F2566            Pr~2007      1996 34686               ~   Non Lic                             $        550 $         550   $         550   N       MAT
Flight Equipment list 1    GSD511      DOLLY      CLYDE         F2566            Pre~2007     1996 34683                   Non Lic                             $        550 $         550   $         550N            MAT
Flight Equipment list 1    GSD512      DOLLY      CLYDE       - F2566            Pre-2007     1996 34682                   Non Lic                             S        550 S         550   $        550 N            MAT
Flight Equipment list 1    GSD513      DOLLY      CLYDE         F2566            Prr2007      1996 33327                   Non lic                             $        550 $         550   $        550 N            MAT         O
                                                                                                                                                                                                                                  f7
Flight Equipment~istl      GSD514      DOLLY      CLYDE        F2566              Pre~2007    199634681                    NonLic                              S       550 $         550 $           550 N            MAT
                                                                                                                                                                                                                                  W
Flight Equipment list 1    GSD528      DOLLY      GIYDE        SSF2566            Pre-2007    1996 34408                   Non Lic                             $       550 $         550 $           550 N            MAT
Flight Equipment list 1    GSD529      DOLLY      CLYDE        15F2566            Pre200~     1996 34396                   Non Lic                             $       550   5       550 $           550    N         MAT         F-~
                                                                                                                                                                                                                                         Doc 482




Flight Equipmentlistl      GSD530      DOLLY      CLYDE        15F2566            Pre~2007    199634360                    MT                                  $       550   $       550 $           550    N         MA7
flight Equipmentlistl      GSD531      DOLLY      CLYDE        15F2566            Pre-2007    199634333                    NonLic                              $       550   $       S50 $.          550    N         MA7
                                       DOLLY      CLYDE        15F2566            Prr2007     1996                         Non Lic                        -    $       550   $       530    $        550    N         MAT
                                                                                                                                                                                                                                  m
Flight Equipment list 1    GSD533
Flight Equipment list 1    GSD534      DOLLY      CLYDE        15F2566            Pre-2007    1996 00021                   Non Lic                             $       550   $       550    $        550    N         MAT         N
Flight Equipment list 1    GSD535      DOLLY      CLYDE        15f2566            Pre-2007    1996 00022                   Non Uc                              $       550 $         550    $       550     N         MAT
                                                                                                                                                                                                                                  CD
Flight Equipment list 1    GSD536      DOLLY      CLYDE        15F2566            Pre-2007    1996 00023                   Non Uc                              $       550 $         550    $       SSQ     N         MAT
Flight Equipment list 1    KL08        LOADER     FMQCX        COMMANDER          Prr2007     1997 CR3097043               Non lac 260                         $     45,000 $      45,000   $     45,000    N         MAT         O
Flight Equipment list 1    GSBT7       NG         FORDX        F700               Pre-2007    1997                         Non Lic 8,821                       $       250 $         250    $        250    N         MAT
Flight Equipment list 1    65678       TUG        FORDX        F700               PrP2007     1997                         Non Lit 5,501                       S      250    $        250   S        250 N            MAT         I-~
Flight Equipment list 1    G5619       iUG        fORDX         A00                Pre-2007   1997                         Non Lic 3,120                       $       250   $        250   $       250 N             MAT
Flight Equipment list 1    GSD85       DOILY      CL1DE         15F2566            Pre~2007   1998 39469                   Non Lit                             $      550    $       550    $       550 N             MAT         N
Flight Equipment list 1    PT53030     1RAlLER    UTLN          V52DC              Pr~2007    1998 1UW5253XWC527115        CA      410,987                     $     ZS00    $      3500    $      4,000 Y        3   RB
                                                                                                                                                                                                                                  Ul
Flight Equipment list 1    PTR53001.   TRAILER    RDSYS         ROLLERBED 53     ~ Pre-2007   1998 1RZ19C2C9W2001109       CA      6                           $     5,000   $      5,000   $      5,000 Y        1   RB          f-~
                                                                                                                                                                     3,000   $      3,000   $      3,000 Y        1   ft6
                                                                                                                                                                                                                                  Cf i
Flight Equipment List 1    PTR53002    1RAtLER    UTLtt         V52D               Pre2007    1998 1UW52532WC61190I        CA      7,174                       S
Flight Equipment list 1    PTR53008    TRAILER    UttT'         VS2DC              Prc2007    1998 lUWS2534WC527109        CA      39,061                      $      2,SD0 $       3$00    $      4,000 Y        3   RB
                                                                                                                                                                                                                                  O
Flight Equipmentlistl      GSD353      DOLLY      CLYDE       ~ i5F2566            Pre-2007   199800008                    CO                                  $       550 $         550    $       550 N             MAT
                                       DOLLY                                       Pre-2007                                                                             550 $        550    $       550 N             MAT
                                                                                                                                                                                                                                  F-~
Flight Equipment list 1    GSD356                 CLYDE         15F2566        ~              1998 00010                   CO                                  $
 Flight Equipment list 1   GSD358      DOLLY      CLYDE         15F2566           Prr2007     1998 00012                   CO                                  $       550 $         550    $        550 N            MA7
                                                                                                                                                                                                                                         Entered 11/23/15 17:02:48




 Flight Equipment list 1   GSD359      DOLLY      CLYDE         15F2566           Pre~2007    1998 00013                   CO                                  $       550 $         S50 $           550 N            MAT
 Flight Equipment list 1   GSD360      DOLLY      CLYDE         15F2566           Prt2007     1998 00014          ~        CO                                  $       550 $         550 $           550 N            MAT
 Flight Equipment list 1   GSD517      DOLLY      CLYDE         15F2566           Pre-2007    1998 39404                   TX                                  $       550 $         S50 $           550 N          MAT           (Q
 Flight Equipmentlistl     GSD518      GOLLY      CLYDE         SSF2566           Pre~2007    199839444                    TX                        ~         $       550 $         550 $           550 N          MAT           CD
 Flight Equipment list 1 G51[6         TUG        TGRXX         M50               Pre-2007    1998 53169611198274          Non Lic 4,498                       $      1500 $        1,500 $         1,500 N         MAT
 flight Equipment fist 1 P7R53009      TRAILER    UTL7Y   ~     V52DC             Pre~2007    1998 1UW52532WC52711.1       CA      77,628                      $      2,560 $       3500 $          4,000 Y       3 RB            O
 Flight Equipmentlistl     BLO3        LOADER     CCHRN         600               Pre-2007    19981726                     CO      3,051                       5      4,900 $       4,900 5         4,900 Y       1 AEROSDEC      O
 flight Equipmentlistl     GSD527      DOLLY      CLYDE         i5F2566           Pre-2007    199837171                     MT                                 $       550 $          550 $          550 N            MAT         f-~
 Flight Equipment fist 1 - GSD541      DOLLY      WASPX         A03924D           Pre-2007    1998 121062                   MT                                 $       500 $          S00 $          500 N            Estimated   N
 Flight Equipment list 1   GSD542       DOLLY     WASPx         A03924D           Pr22007     1998 121059                   MT                                 5       500 $          500 $           500 N         Estimated     W
 Flight Equipmentlistl PTR53006        TRAILER    U7LTY         V52DC             Pre~2007    19981UYV52530WC527210         CA       8,004                     $      2,255 $       3,500 5         4,000 Y       3 Ritchie8
 Flight Equipment list 1 PTR53007      'tRA1LER   UTLTY         VS2DC             Prr2007     1998 lUYV52530WC527107        CA       8,188                     $      2,255 $       3,500 S         4,000 Y       3 Ritchie8
                                                                                                                                                                                                                                         Page 162 of 252




 Flight Equipment list 1   PTR53010    TRAILER    UiLTY         V52DC             Pre-2007    1998 lUYVS2534WC527112        CA       6,237                     $      2,255 $       3,500 $         4,000 Y       4 Ritchie B
 Flight Equipment list 1   P1R53003    TRAILER    UTL7Y         VS2D              Pre~2007    1998 1UW52534WC611902         CA       116,496                   $    '13,000 $      12,OOD $        18,900 Y       5 CfT




                                                                                                                 Page 4 of27
            Matheson Equipment


file Source                Unit No     Type       Make     Model         YR       Year   VIN#                 State Odometer     GVW               LIQ VALUELOV IIQ VALUE AVE   LIQ VAI HIGH COMF CON SOURCE
Flight Equipment list 1    P7R53004    TRAILER    UTLN     V52DC         Prr2007 1998 1UW52537WC527105        CA      12,282                       $      2,255 S       3,500   $      4,000 Y      3 Rkchie B
flight Equipment listl     P7R53005    (RAILER    UTLlY    V52DC         Pre-2007 19951UWS2532WC527108        CA      12,318                       $      2,255 $       3500    $      4,000 Y      3 Riichie6
FfightEquipmentlistl       GSD66        DOLLY     CLYDE    15F2566       Pre-2007 199837498                   CO                                   $        550 $         550   S        SSO~N        MAT
Flight Equipment list 1    GSD68        DOLLY     CLYDE    15F2566       Pre-2007   1998 40072                Non Lit                              $        550 $         S50   $        550 N        MAT
                                                                                                                                                                                                      MAT                   r*
Flight Equipment list 1    GSD69        DOLLY     CLYDE    15F2566       Pre-2007   1998 40073                CO    ~                              $        S50 5         550   $       .550 N
Flight Equipment list 1    GSD73        DOLLY     CLYDE    SSF2566       Prr2007    1998 40077                CO                                   $        550 $         550   $        550 N        MAT
Flight Equipmentlistl      GSD75        DOLLY     CLYDE    15F2566       Pre~2007 199840079                   CO                                   5        550 5         550   5        550 N        MA7
                                                                                                                                                                                                                            CD
Flight Equipment list 1    GSD76        DOLLY     CLYDE    15F2566       Pre-2007   1998 40080                CO                                   $        550 $         550   $        550 N        MAT
                                                                                                                                                                                                                            N
Flight Equipment list 1    GSD77        DOLLY     CL1DE    15F2566       Pre~2007   1998 40051                CO                                   $        550 $         550   $        550 N        MAT                   Ul
Flight Equipment list 1    GSD78       DOLLY      CLYDE    i5F2566       Pre-2007   1998 40082                CO                                   $        550 S         550   $        550 N        MAT
Flight Equipment list 1    GSD79       DOLLY      CLYDE    15f2566       Pre-2007   1995 40084                CO                                   $        550 $         550   $        SSD N        MAT                   O
                                                                                                              CO                                   $        550 5         S50   $        S50 N        MAT                   C)'I
Flight Equipment list 1    GSD80       DOLLY      CLYDE    i5F2566       Prr2007    1998 40086
                                                                                                                                                                                                                            -p
flight Equipment list 1    GSD84       DOLLY      CLYDE    SSF2566       Pre~2007    1998 39467               OR                                   $       S50 $         550 $          550 N         MAT
                                                                                                                                                                                                                            N
Flight Equipment list 1    GSLT01      TUG        YAMAH    G2-A          Prr2007     1998 J38035854           Non Lic 0                            $      500 $           500 $         500 N         Estimated
Flight Equipment list 1    P7Ti53016   TRAILER    RDSYS    MLG53102W33   Pre-2007    1998 1RZ19C2C6W2001116   AZ      739                          $     3,000 $        3,000 $        3,000 Y      4 huckhaderL30%
                                                                                                                                                                                                                                   Case 15-50541-btb




Flight Equipment list 1    PTR53017    TRAILER    RDSYS    MLG53102W33   Pre-2007    1998 1RZ19C2CXW2001118   AZ      375                          $     3,000    $     3,000 $        3,000 Y      4 TrutkTraderL30%
Flight Equipmentlistl      P1R53018    TRAILER    RD5Y5    MLG53102W33   Pre-2007    19981RZ19C2CIW2001119    CA      6,197                        $     3,000    $     3,000 $        3,000 Y      4TruckTraderL30%
Flight Equipment list 1    GSD67       DOLLY      CLYDE    15F2566       Pre-2007    1998 40071               Non Lic                  ~           $       S50    $       550 $          550 N        MAT                   0
                                                                         Prr2007     1998 40075               Non Lit                              $       550    $ ~    550 $           550 N        MAT                   O
Flight Equipment list 1    GSD71       DOLLY      CLYDE    i5F2566                                                                                                                                                          f7
Flight Equipment list 1    GSD81       DOLLY      CLYDE    15F2566       Prc2007     1995 39452               Non Lic                              $       550    $      550 $           S50 N        MAT
                                                                                                                                                                                                                            W
flight Equipment list 1    GSD82        DOLLY     CLYDE    i5F1566       Pre-2007    1998 39455               Non Lic                              $       550    $      550    $        550 N        MAT                   -p
Flight Equipment List 1    GSD83        DOLLY     CL1DE    15f2566       Pre-2007    1998 39459               Non Lic                              $       550    5      550    $        550 N        MAT                   N
                                                                                                                                                                                                                                   Doc 482




Flight Equipment list 1    GS086        DOILY     CLYDE    i5f2566       Pre-2007    1998 39508               Non Lic                              $       550    $      550    $        550 ~ N      MAT
Flight Equipment list 1    GSD87        DOLLY     CLYDE    15F2566       Pre-2007    1998 39544.              Non Lic                              5       550    $      550    $        550 N        MAT
                                                                                                                                                   $       550    5      550    $        550 N        MA7
                                                                                                                                                                                                                            m
Flight Equipment list 1    GSD88        DOLLY     CLYDE    15F2566       Prr2007     1998 39546               Non Lic
Flight Equipment list 1    GSD532       DOLLY     CLYDE    i5F2566       Prr2007     1995 39425               Non Uc                           ~   5       550    S      550    $        550 N        MAT                   fD
Flight Equipment list 1    GSD70        DOLLY     CLYDE    15F2566       Prr2007     1998 40074               Non Uc                               $       550    $      S50    $        550 N        MAT
                                                                                                                                                                                                                            CD
Flight Equipment list 1    G5072        DOLtY     CLYDE    SSF2566       PrEZ007     1998 40076               CO                                   $       S50    $      550    5        550 tJ       MAT
 Flight Equipment list 1   GSD74        DOLLY     LLYDE    15F2566       Prc2007     1998 40078               CO                                   $       550    $      550    $        550 N        MAT
                                                                                                                                                                                                                            O
 Flight Equipment list 1   GSD89        DOLLY     CLYDE    i5F2566       Pre-2007    1998 39551               Non Lic                              $       SSO    $      550    $        550 N        MAT
 Flight Equipment list 1   GSD90        DOLLY     CLYDE    i5F2566       Pre~2007    1998 39573               Non Uc                               $       S50    $      550    $        550 N        MAT                   N
 Flight Equipment list 1   GSD335       DOLLY     CLYDE    15F2566       Pre~2007    1998 36904               CO                                   $       550    $      550    5        550 N        MAT
 Flight Equipment list 1   GSD336       DOLLY     CLYDE    i5F2566       Pre-2007    1998 36897               CO                                   $       550    $      550    $        550 N        MAT                   I-~
                                                                                                              CO                                   $       550    S      550    $        550 N        MAT                   Cal
 Flight Equipment list 1   GSD337       DOLLY     CLYDE    15F2566       Pre-2007    1998 35591
 Flight Equipment list 1   GSD338       DOLLY     CLYDE    15F2566       Pre-2007    1998 37121               CO                                   $       550    $      550    $        550 N        MAT                   1—'
                                                                                                                                                                                                      MAT
                                                                                                                                                                                                                            CSI
 Flight Equipment list 1   G50339       DOILY     CLYDE    15F2566       Pre-2007    1998 37182               CO                                   $       550    $      550    $        550 N
 Flight Equipment list 1   G50340       DOLLY     CLYDE    15F2566       Pre-2007    1998 34457               CO                                   $       SSO    $       550   $        550 N         MAT
                                                                                                                                                                                                                            O
 Flight Equipmentlistl     GSD341       DOLLY     CLYDE    15F2566       Pre~2007    199836894                CO                   -               $       550    $       550   $        550 N         MA7
                                                                                                                                                                                                       MAT
                                                                                                                                                                                                                            I-~
 flight Equipmentlistl     GSD342       DOLLY     CLYDE    i5F2566       Pre~2007    199834802                CO                                    $      550    5       550   $        550 N
 FlighYEquipment list 1     GSD343      DOLLY     CLYDE    15F2566       Pre-2007    1998 35592               CO                                    $      550    S       550   $        550 N         MAT
                                                                                                                                                                                                       MAT
                                                                                                                                                                                                                                   Entered 11/23/15 17:02:48




 Flight Equipment list 1    GSD344      DOLLY     CLYDE    i5F2566       Prt2007     1998 34472               CO                           -        $      550 $          550   S        550 N
 Flight Equipment listl     GSD345      DOILY     CLYDE    15 F2566      Pr~2007     199836900                CO                                    $      550 $          550   $        550 N         MAT
 Flight Equipment list i    GSD346      DOLLY     CLYDE    15F2566       Pre-2007    1998 00001               CO                                    $      S50 5          550   5        550 N         MAT                  (Q
 Flight Equipment list 1    GSD347      DOILY     LLYDE    15F2566       Pre~2007    1998 00002               CO                                    $       550   $       550   5        550 N         MAT                   N
 Flight Equipment iistl     GSD348      DOLLY     CLYDE    15F2566       Pr~2007     199800003                CD                                    $       550   $       550   5        550 N         MAT
                                                                                                                                                                          550   $        550 N         MAT                   I-~
 Flight Equipment list 1    GSD 349     DOLLY     CLYDE    i5 F2566      Pre~2007    1998 ODQ04               CO                                    $       550   $
 Flight Equipmentiistl      GSD350      DOILX     CLYDE     SSF2566      Prr2007     199800005                 CO                                   $       550   S       550   $        SSO N         MAT                   O r
                                                                                                                                                                                                                             --,
 Flight Equipment list i    GSD351      DOLLY     CLYDE     15 F2566      Pre-2007   1998 00006                CO                                   $       S50   $       S50   $        550 N         MAT
                                                                                                                                                                                                                             I-~
 Flight Equipment listl     GSD352      DOILY     CLYDE     SS F25fi6     Pre2007    199800007                 CO                                   $       S50   $       550   $        550 N         MAT                   N
                                                                                                               CO                                   $       550   $       550 $          S50 N         MAT                   W
 Flight Equipment list 1    GSD354      DOLLY     CLYDE     15F2566       Prr2007    1998 00009
 Flight Equipment list 1    GSD357      DOLLY     CLYDE     i5F2566       Pre-2007   1998 00011                CO                                   $       S50   $       550 $          550 N         MAT
 Flight Equipment fist 1    P409        lRAC70R   FRGHT     FL170         Pre2007    1999 1FV6HLBA7XHA22039    CA      189,593                      $     9,920   S     15,000 $       29,900 Y      1 PurrpleWaveAuction
                                        UT1LfTY             CONY          Pre-2007   1999 1GNDX03E6XD275208    CA      90,089                       5     1,600   $      1,800 5        2,000 Y      1 K86
                                                                                                                                                                                                                                   Page 163 of 252




 Flight Equipment list 1    FE49                   CHVRL
 Flight Equipment list 1    P1A11       MSC        KTKXX    ML54408       Pre-2007   1999                      Non lic                              $       250   $       250 $           250 N        Estimated




                                                                                                       Page 5 ofZ7
             Matheson Equipment


File Source                   Unit No     Type          Make        Model          YR        Year VINq                  SUte Odometer      GVW       IIQVALUELOVLIQVALUEAVE LIQVALHIGH COMfCONSOURCE
Flight Equipment list 1       PZ012       MISC          LZRCT       SLAVE PAIIET   Pr~2007 1999 1213                    Non lit                      $       250 $ ~     250 $      250 N       Estimated
Flight Equipment list 1       GSD500      DOILY         WASPX       A1055D         Pre-2007 1999 4200                   Non Ltc                      $       550 $       SSQ $      550 N
Flight Equipment list 1       FEU50       UTILITY       CHRYS       TOWN&COUNTRY   Pr~2007 1999 1C4GP54L6X8920970       WA      261,036              $     1,000 $     1,200 $    1,400 Y    1 KBB
Flight Equipment list 1       fEU50       UTLfTY        CHRYS       TOWN&COUNTRY   Pr~2007 1999 1C4GP54L6X8920970       WA      261,036              $     1,000 $     1,200 $    1,400 Y    1 K86
Flight Equipment list 1       C502        MISC          WASPX       A01152D-Ol     Prr2007 1999 136121                  Non Lic                      $     3500 $      3$00 $     3500 N        Estimated        *~
flight Equipment list 1       GSD279      DOLLY         CLYDE       15F2566        Pre-2007 2000 47771                  CA                           $       550 $       550 $      550 N       MAT
Flight Equipment list 1       GSD280      DOILY         CLYDE       15 F2566       Pre2007 2000 47603                   CA                           $       550 $       550 $      550 N       MAT              CD
Flight Equipment list 1       GSD281      DOLLY         CLYDE       15F2566        Prr2007 2000 47604                   CA                           $       550 $       550 5      550 tJ      MAT
                                                                                                                                                                                                                 I--'
Flight Equipment list 1       GSD282      DOILY         CLYDE       15F2566        Pre-2007 2000.47605                  CA                           S       550 $       550 $      550 N       MAT              C31
Flight Equipment list 1       GSD283      DOLLY         CLYDE       15F2566        Pre-2007 2000 47606                  CA                           S       550 $       550 $      550 N       MAT              Ul
 Flight Equipment list 1      GSD284       DOLLY        CLYDE       i5f2566        Pre~2007 2000 47607                  CA                           $       550 $       550 $      550 N       MAT              O
                                                                                                                        CA                   ~       $       550 $       550 $      550 N       MAT'             (7'i
 Flight Equipment list 1      GSD285       DOLLY        CLYDE       i5F2566        Pre-2007 2000 47668
 Flight Equipment list 1      GSD286       DOLLY        CLYDE       i5F2566        Prr2007 2000 47670                   CA                           $        550 5      S50 $      550 N       MAT              F-'
                                                                                                                                                              550 $      550 $      550 H       MAT               i
 Flight Equipment list 1      GSD287       DOLLY        CLYDE       15F2566        Pre-2007 2000 47674                  CA                           $
 Flight Equipment list 1      GSD288       DOLLY        CLYDE       iSF2566        Prr2007 2000 47732                   CA                           $        550 $       550 $     550 N        MAT
                                                                                                                                                                                                                 Q'
                                                                                                                                                                                                                         Case 15-50541-btb




 Flight Equipment list 1      GSD289       DOILY        CLYDE       15 F2566       Pre-2007 2000 47733                  CA                       ~   $        550 $       550 $     550 N       MAT
 Flight Equipment list 1      G50290       DOLLY        CLYDE       15F2566        Pre~2007 2000 47734                  CA                           $        550 S       550 $     550 N        MA7
 Flight Equipment list 1       GS0291      DOLLY        CLYDE       15F2566        Prr2007 2000 47754                   CA                           $        550 $       550 $      550 N       MAT             0
                                                                     SSf2566       Prr2007 2000 47755                    CA                          $        S50 $       550 $      550 N       MAT             O
 Flight Equipment list 1       GSD292      DOLLY        CLYDE                                                                                                                                                    n
 Flight Equipment list 1       GSD293      DOLLY         CLYDE       15F2566        Pre-2007 2000 47757                  CA                          $        550 $       550 5      550 N       MAT
                                                                                                                                                                                                 MAT
                                                                                                                                                                                                                 W
 flight Equipment list 1       GSD294      DOLLY         CLYDE       i5F2566        Pre~2007 2000 47769                 fit                          $        550 $       550 $      550 N
 Flight Equipment list 1       GSD295      DOILY         CLYDE       15F2566        Prr2007 2000 47773                   CA                          $        550 5       550 $      550 N       MAT             N
                                                                                                                                                                                                                         Doc 482




  Flight Equipment list 1      GSD296      DOILY         CLYDE       15F2566        Pre~2007 2000 47775                 CA                           $        550 $       S50 $      550 N       MAT
  Flight Equipment list 1      GST24       TUG           TGRXX       M50            Prr2007 2000 51786-71-0800-214       TX       8,468               5    1500 S       1,500 $    iS00 N        MAT
                                                                                                                                                            1,500 $     1,500 $    1500 N     ~ MAT
                                                                                                                                                                                                                  m
  Flight Equipment list 1      G5T31       NG            TGRXX       T1G50          Pre~2007 2000 51735710600152         CA       4,917              $
  Flight Equipment list 1      GSD246      DOLLY         CLYDE       15F2566        Pr~2007 2000 44530                   CA                           5       550 $       550 $      550 N       MAT             CU
  Flight Equipment list 1      GSD247      DOLLY         CLYDE       15F2566        Pre-2007 2000 42471                  CA                           5       550 5       550 $      S50 N       MAT
                                                                                                                                                                                                                 CD
  flight Equipment list 1      GSD248      DOLLY         CLYDE       15F2566        Pre~2007 2000 42230                  CA                           $       550 $       550 5      550 N       MAT             Q
  Flight Equipment list 1      GSD249      DOILY         CLYDE       15F2566        Prr2007 2000 44532                   CA                           $       550 $       550 $      550 N       MAT              O
  Flight Equipment list 1      GSD250       DOLLY        CLYDE       15F2566        Pre-2007 2000 43341                  CA                           $        550 $       550 $     550 N       MAT
                               GSD251       GOLLY        CLYDE       ISF2566        Pr~2007 2000 42235                   CA                           $        550 $       550 $     550 N       MAT              N
  Flight Equipment list 1
  Flight Equipment list 1      GSD252       DOLLY        CLYDE       15F2566        Prr2007 2000 44521                   CA                           $        550 $       S50 5     550 N       MAT
  Flight Equipment list l      GSD253       DOLLY        CLYDE       iS F2566       Pre-2007 2000 42668                  CA                           $        550 $       550 $     550 N       MAT              I-~
                                                                                                                                                      $        550 $       550 $     550 N       MAT .            Cal
   Flight Equipment list 1     GSD254       DOILY        CLYDE       15F2566        Pre-2007 2000 42478                  CA
                               650255       DOILY        CLYDE        LSF2566       Pre~2007 2000 42255                  CA                           $        550 $       550 $      550 N       MAT             I-~
   Flight Equipment list 1                                                                                                                                                                                        CJl
   Flight Equipment list 1      GEFL10      FORKLIFT      NSSMT      CP101A15PV     PrE2007 2000 CPJ019N3572              Non Lic 4,333               $        750 $       750 $      750 Y    1 RB
   Flight Equipment list 1     GSD199       DOLLY         CLYDE      i5F2566        Prr2007 2000 47759                   CO                           $        550 $       550 $      S50 N       MAT
                                                                                                                                                                                                                  O
   Flight Equipment list i     GSTP2        MISC          MEYER      Sf78           Pre~2007 2000 9158                    Non lic                     5        700 $       700 5      700 N       Estimated
                                                                                                                                                                           100 S      100 Y    1 TOTALCOMP.LOM
                                                                                                                                                                                                                  I--~
   Flight Equipment list 1     SCL01        MISC UNIT     RICELAKE    UMC-6000       Prr2007 2000 25220                   Non Lic                     $        100 $
   flight Equipment list i      SCL02       MISC          TRANSCELL T31680           Prt2007 2000 7D750960000209          Non Lic                     $        300 $       300 $      300 Y    t TOTAICOMP.COM
                                                                                                                          OR                          $        300 $       300 $      300 Y    1 SCALEM0.STER5
                                                                                                                                                                                                                         Entered 11/23/15 17:02:48




   Flight Equipment list 1      SCL03       MISC          GSE         355            Pre-2007 2000 18340
                                SC104       MISC          WEIGH-TRONI WI-123         Pre-2007 2000 43615                  OR                          $        100 5       100 $      100 N       Estimated
   Flight Equipment list 1
                                SC105       MISC          PERKINS     UMC-6000       Prt2007 2000 UNKNOWN                 KY                          $        500 $       500 $      500 N       Estimated
   Flight Equipment list 1
   Flight Equipment list i      GSR7        1116          TGRXX       MSO            Pre-2007 2000 5173671060015          CO       3,710              $     iS00 $       1,500 $   1$00 N         MAT             CD
                                GSR3        TUG           TGRX%       M50            Pre~2007 2000 51796-71-0800-213.     CA       9,177              $      1,500 $     1$00 $    1500 N         MAT
   Flight Equipment list 1
                                                                                     Prr2007 200146513                    CO                          $        550 $       550 $   2,600 Y     1 MAT,AERO         N
   Flight Equipmentlistl        GSD734      DOLLY         CLYDE       15F2710
                                GSD256      DOLLY         CLYDE       15F2710        P7e-2007 2001 44399                  CO                          $        550 $       550 $    2,600 Y    1 MAT,AEftO        O
                                                                                                                                                                                                                  --~,
    Flight Equipment list 1
    Flight Equipmentlistl       65D257      DOLLY         CLYDE       15F2710        Prr2007 200146107                    CO                          $        550 $       550 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                                  F~
    Flight Equipment list 1     GSD258      DOLLY         CLYDE       15F2710        Pre~2007 2001 46111                  CO                           $       ~SSO $      550 $    2,600 Y    1 MAT,AERO         N
                                                                      15F2710        Pre-2007 200146114                   CO                          $        550 $       S50 $    2,600 Y    1 MAT,AERO          W
    FfightEquipmentlistl        GSD259      DOLLY         CLYDE
   f1igM Equipment list 1       GSD260       DOLLY        CLYDE       15F2710        Pre-2007 2001 46471                  CO                           S       550 $        550 $   2,600 Y    1 MAT,AERO
    Flight Equipmentlistl       65D261      DOLLY         CLYDE       15f2710        Pre~2007 200146644                   CO                           $        550 $    .550 $     2,600 Y    1 MAT,AERO
    FlightEquipmentlistl        GSD262       DOLLY        CLYDE       15F2710        Pre-2007 200146646                   CO                           $        550 5  - 550 $      2,600 Y    1 MAT,AFRO
                                                                                                                                                                                                                         Page 164 of 252




    Flight Equipment list 1      GSD263      DOLLY        CLYDE       15 F2710       Pre-2007 2001 46650                  CO                           $        550 $       550 $   2,500 Y    I MAT,AERO




                                                                                                                 Page 6 of27
              Matheson Equipment



FleSource                      Unit No     Type        Make       Modei         YR        Year   VIN#                SUte Odometer   GVW   UQVAlUEl0411QVALUEAVE LIQVALHIGH COMiCON50URCE
flight Equipment list 1        GSD264      DOLLY       CLYDE      15F2710       Pre-2007 2001 46656                  CO                    $     550 5        S50 $    2,600 Y    1 MAT,AERO
Flight Equipment list i        GSDZ65      DOLLY       GIYDE      15F2710       Pre~2007 2001 46666                  CO                    $     550 $        550 $    2,600 Y    1 MAT,AERO
Flight Equipmentlistl          GSD26fi     DOLLY       CLYDE      15F2710       Pre-2007 200146669                   CO                    $      550 $        550 $   2,600 Y    i MAT,AERO
Flight Equipment list 1        GSD267      DOLLY       CLYDE      SSf2710       Pre~2007 2001 46690                  CO                    $     550 $         550 $   2,600 Y    1 MAT,AFRO
FlightEquipmentlistl           GSD268      DOILY       CLYDE      15F2710       Pre-2007 200146697                   CO                    5      550 $        550 S   2,600 Y    1 MAT,AERO       ~i
flight Equipmentlistl          GSD269      DOLLY       CLYDE      15F2710       Pre2007 200146698                    CO                    $      550 $        550 $   2,600 Y    1 MAT,AERO
Flight Equipment list 1        G50270      DOILY       CLYDE      ISF2710       Pre-2007 2001 46701                  CO                    $      550 S        550 S   2,600 Y    1 MAT,AERO       CD
Flight Equipment list 1        GSD271      DOLLY       CLYDE      15F2710       Prc2007 2001 46723                   CO                    $      550 S        550 S   2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   F-~
 Flight Equipment list 1       GSD272      DOLLY       CLYDE      15F2710       Pre-2007 2001 46726                  CO                    $      S50 $        550 S   2,600 Y    1 MAT,AERO       CJl
 Flight Equipmentlistl         GSD273      DOLLY       CLYDE      SSF2730       PrP2007 200146740                    CO                    $      550 5        550 $   2,600 Y    1 MAT,AERO       Ul
 Flight Equipment list 1       GSD274      DOLLY       CLYDE      15F2720       Prr2007 2001 46768                   CO                    $      550 $        550 $   2,600 Y    1 MAT,HERO       O
                                                                                                                     CA                           S50 5        550 $   2,600 Y    1 MAT,AERO       Cal
 Flight Equipmentiistl         GSD275       DOLLY       CLYDE     15F2710       Pre~200~ 200146817         -                               $
                                                                                                                                                                                                   A
 FlightEquipmentlisti          GSD2~6       DOLLY       CLYDE     15F2710       Prr2007 200146903                    CA                    $      550 $        550 $   2,600 Y    1 MAT,AERO       F~
                                                                                                                                                  550 $        550 $   2,600 Y    1 MAT,AERO        i
 Flight Equipment list 1       6SD277       DOLLY       CLYDE     15F2710       Prr2007 2001 46928                    CA                   $
 Flight Equipmentlistl         GSD2~S       DOLLY       CLYDE     15F2730       PrP2007 200147602                     CA                   S      550 5        550 $   2,600 Y    1 MAT,AERO
                                                                                                                                                                                                           Case 15-50541-btb




                                                                                                                                                                                                   ~'
 Flight Equipment list 1       GS037        DOLLY       CLYDE     15F2710       Prr200~      2001 45662X              Non lic              $      S50 $     1,000 $    Z,000 Y    1 MAT,HERO
 Flight Equipment list 1        GSD38       DOLLY       CLYDE     15 F2710      Prc2007 2001 45668X                   Non Lic              $      550 $      1,000 $   2,000 Y    1 MAT,AERO
 Flight Equipment list 1        G5052       DOLLY       CLYDE     i5F2710       Pr~Z00) 2001 45703                    Non lic              $      500 5      1,500 5   2,600 Y    1 MAT,AERO
                                                                                                                                                             1,500 $    2,600 Y   1 MAT,AERO       O
 Flight Equipment list 1        GSD100      DOLLY       CLYDE      15F2710       Pre-2007 2001 46458                  CO                   $      550 $                                            C7
 Flight Equipment list 1        GSD101      DOLLY       CLYDE      SSF2730       Prr2007 2001 46459                   CO                   $      550 $      1500 S     2,600 Y   1 MAT,AERO
                                                                                                                                                                                                   W
  Flight Equipment list 1       GSD 102     DOLLY       CLYDE      i5 F2710      Prc+2007 2001 46460                  CO                   $      550 $      1,500 $    2,600 Y   i MAT,AERO
                                            DOLLY                  15F2730       Pre-2007 240146461                   CO                   $      550 5      1,500 $    2,600 Y    1 MAT,AERO      F-~
                                                                                                                                                                                                           Doc 482




 flight Equipmentfistl          GSD103                  CLYDE
  Flight Equipment iisti        GSD104      DOLLY       CLYDE      SSF2710       Prr2007 200146476                    CO                    S     550 $      1,500 $    2,600 Y    i MAT,AERO
                                            DOLLY       CLYDE      SSF2710       Pr~2007 2001 46477                   Non Lic              $      550 S      iS00 5     2,600 Y    1 MAT, AERO
  Flight Equipment IiSY 1       GSD105                                                                                                                                                             u
                                GSD106      DOLLY       CLYDE      15F2710       Pre-2007 200146478                   CO                    S      550 S     1500 S     2,600 Y    1 MAT,AERO
  Flight Equipmentlisti                                                                                                                                                                            r-*
                                GSD107      DOILY       CLYDE      15F2710       Pre-2007 2001 46480                  CO                   $       550 S     1$00 $     2,600. Y   1 MA7,AER0      CD
  Flight Equipment list 1
                                GSDSOS      DOLLY       CLYDE      SS F2710      Pre-2007 200146481                   CO                    $      550 $     1500 $     2,600 Y    1 MAT,AERO
  Flight Equipment listi                                                                                                                                                                           CD
                                GSD109      DOLLY       CLYDE      15F2710       Pre-2007 2001 46482                  CO                    $      550 S     1,500 ~ $  2,600 Y    1 MAT,AERO      Q
  Flight Equipment list 1
  Flight Equipmentiistl         GSD110      DOLLY       CLYDE      15F2710       Prr2007 200146485                    CO                    S      550 $     1500 $     2,600 Y    1 MAT,AERO      O
  Flight Equipmentlistl         GSDlll      DOLLY        CLYDE     SSF2710       Pre-2007 200146489                   CO                    $      550 $     1,500 S    2,600 Y    1 MAT,AERO
  FlightEquipmentlisti          GSD712      DOLLY        CLYDE     SSF2730       ?rr2007 200146510                    CO                    $      550 $     1500 $     2,600 Y    1 MAT,AERO      N
   Flight Equipmentlisti        GSD98        DOLLY       CLYDE     15F2710       Pre-2007 20D146455                   CO                    5      550 $     iS00 $     2,600 Y    1 MAT,AERO
                                GSD99        DOLLY       CLYDE     15F2730       Pre-2007 2001 A6456                  CO                    $      550 $      1,SQ0 $   2,600 Y    1 MAT,AERO      F-'
   Flight Equipment list 1                                                                                                                                                                         Ul
                                             DOLLY       WASPX     A01158DG50    Pre-2007 200115F2255                  CO      1            $      700 $        700 $     700 N      MAT
   Flight Equipmentlistl        STRS
                                                                                                                       Non Lic              $      550 $      IS00 $    2,600 Y    1 MAT,AERO      N
   Flight Equipment List 1      GSD153       DOLLY       CLYDE     15F2730       Prc2007 2001 46492                                                                                                t3l
                                 GSD167      DOLLY       CLYDE     15F2710        Prr2007 2001 46509 ~                 Non lic              $      550 $      15 0 $     2,600 Y   1 MAT,AERO
   Flight Equipment list 1
   Flight Equipmentlistl         GSD209      DOLLY       CLYDE     ISF2730        Pre-2007 200146915                   NonLic               $      550 $      1500 $     2,600 Y   1 MAT,AERO
                                                                                                                                                                                                   O
                                 G50538      DOLLY       WASPX      A03924D       Pre-2007 2001 158308                 MT                   $      500 $        500 $      500 N     Estimated
   Flight Equipment list 1                                                                                                                                                                          F-~
                                 GSD539      DOLLY    ~ WASPX       A03924D       Prr2007 2001158292                   MT                   $      500 $        500 S      500 N     Estimated
   FlightEquipmentlistl
                                 GSD540      DOLLY       WASPX      A03924D       Prr2007 2001 158327                  MT                   $      500 $        500 $      500 N     Estimated
   Flight Equipment list 1
                                                                                                                                                                                                           Entered 11/23/15 17:02:48




                                             DOILY       WASPX      A03924D -     Pre-2007 ZDOl 158307                 MT                   $      500 $        500 $      500 N      Estimated
   Flight Equipment list 1       GSD543
                                 GSD544      DOLLY       WASPX      A03924D       Pre-2007 2001                        MT                   $      500 $        500 $      500 N      Estimated     S1>
   Flight Equipment list 1
                                 GSD545      DOILY       WASPX      A03924D       Pre-2007 2001 158318                 MT                   $       500 $       500 5      500 N      Estimated
   Flight Equipment list 1
                                                                                                                       MT                   $       500 $       500 $      500 N      Estimated     CD
    Flight Equipment list 1      GSD546      DOILY       WASPX      A039260       Pre-2007 2001 158301
                                 65D232      DOLLY       WASPX      A04486D       Pre-2007 2001 158404                 CO                    $      500 $       S00 $      500 N      Estimated
   flight Equipment list 1                                                                                                                                                                          W
    Flight Equipment list 1      GSD233      DOLLY        WASGX     A04486D       Pre-2007 2001 158405                 CO                    $      500 $       500 $      500 N      Estimated
                                 GSD234      DOLLY        WASPX     A04486D       Prr2007 2001 158406                  GO                    $      500 $       500 $      500 N      Estimated
    Flight Equipment list 1
                                 GSD235      DOILY        WASPX     A04486D       Prr2007 2001 158407 ~                CO                    $      500 $       500 $      500 N      Estimated
    Flight Equipment list 1                                                                                                                                                                         I--~
    fligfit Equipment list 1     G50236       DOILY       WASPX     A04486D       Pre-2007 2001 155408                 CO                    $      500 $       500 5      500 N      Estimated     I-~
                                                                                                                       CO                    $      500 $       500 $      500 N      Estimated     W
    Flight Equipment list 1      GSDZ37       DOLLY       WASPX     A04486D       Prr2007 2001 158409
                                 GSD238       DOLLY       WASPX     A04486D       Prr2007 2001 158410                  CO                    $      500 $        500 $     500 N      Pstimated
    Flight Equipment list 1
                                 GSD239       DOLLY       WASPX     A04486D        Pre-2007 2001158411                 CO                    $      500 $        500 $     500 N       Estimated
    Flight Equipment listl
                                                                                                                                                                 S00 $      500 N      Estimated
                                                                                                                                                                                                           Page 165 of 252




    Flight Equipment list 1      GSD240       DOLLY       WASPX     A04486D        Pre-2007 2001. 158412                CO                   $      500 $
                                  GSD241      DOILY       WASPX     A04486D        Prr2007 2001 158413                  CO                   S      500 $        500 5      500 N      Estimated
    Flight Equipment list 1




                                                                                                               Page 7 of27
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FleSource                     Unit No     Type        Make         Model         YR        Year VIN#           State Odometer   GVW           IIQVALUELOVLIQVALUEAVE LIQVALHIGH COMFCONSOURCE
Flight Equipment list 1       GSD242      DOLLY       WASPX        A04486D       Pre~2007 2001 158414          CO                             $      S00 $       500 $       500 N       Estimated
Flight Equipment list 1       GSD243       DOLLY      WASPX        A04486~       Prr2007 2001 158415           CO                             $      500 $       500 $       500 N       Estimated
Flight Equipment list 1       GSD244       DOLLY      WASPX        A04486D       Prr2007 2001 158416           CO                             $      S00 $       500 5       500 N       Estimated
Flight Equipment list 1       GSD245       DOLLY      W0.SPX       A04486D       Pre2007 2001 158417           C0                             5      500 $       500 $       500 N       Estimated
Flight Equipment list 1       STRi         DOLLY      WASPX        AO1158DG50    Pre~2007 2001 55850           CO       0                     $      500 $       500 $       500 N       Estimated     ~~
Flight Equipment list 1       STR2         DOLLY      WPSPX        AO1158DGSD    Prr200'l 2001 55853           CO       0                     $      500 $       500 $        S00 N      Estimated
                                                                                                                                                                                                       N
Flight Equipment list 1       STR3         DOLLY      WASPX        AO 1158DGSD   Prr2007 2001 55875            CO       0                     $      S00 $       500 $        500 N      Estimated     C~
Flight Equipment list 1       STR4         DOILY      WASGX        A01158DGSD    Pre2007 2003 55876            CO       0                     $      500 $       500 $        500 N      Estimated
                                                                                                                                                                                                       F~
Flight Equipmentlistl         GSD147       DOLLY      CLYDE        i5F2710       ?re-2007 200146532            Nonlic                         5      550 S       550 $     2,600 Y    1 MAT,AERO       U'1
Flight Equipment list 1       GSD148       DOLLY      CLYDE        15F2710       Pre-2007 2001 46533            Non Lic                       $      550 $        550 $    2,600 Y    1 MA7,AER0       (Jl
Flight Equipment list 1       GSD149       DOLLY      CLYDE        SSF2710       Pr~2007 2001 66534            CO .                           $      550 $        550 $    2,600 Y    1 MA7 HERO       O
                                                                                                                                              5      500 5        500 5       500 N       MAT          C 3'I
Flight Equipmentlistl         GSD15        DOLLY      CLYDE -      15F2695       Pre~2007 200145677            ID
Flight Equipment list 1       GSD150       DOLLY       CLYDE       15F2710       Pre-2007 2001 46535           CO                             $      550 $        550 $    2,60 Y     1 MAT,AERO       N
                                                                                                                                                                  500 $       500 N       MAT          i
Flight Equipment list 1       G5016        DOLLY       CLYDE       15F2695       Pre~2007 2001 45678            ID.                           $      500 $
                              GSD17        DOLLY       CLYDE       15F2695       Pre~2007 2001 45679            ID                            $      500 5        500 $       500 N       MAT
Flight Equipment list 1
                                                                                                                                                                                                               Case 15-50541-btb




                              GS018        DOLLY       CLYDE       15F2695       Pre~2007 2001 45680            ID                            S      500 $        500 $       500 N       MA7
 Flight Equipment list 1
 Flight Equipment list 1      GSD19        DOLLY       CLYDE       15F2695       Pre~2007 2401 45681            10                            $      500 $        500 $       500 H       MAT
 Flight Equipmentlistl         GSD20       DOLLY       CLYDE       15F2695       Pre-2007 200145682             ID                            $      500 $        500 5       500 N       MAT
                                                                                                                WV                            $      550 $        550 $    2,600 Y    1 MAT,AERO       O
 Flight Equipmentlistl         GSD33       DOLLY       CLYDE       15F2710       Pre-2007 200145657                                                                                                    f7
 Flight Equipmentlistl         GSD113      DOLLY       CLYDE       SSF2710        Prr2007 200146110             CO                            S      550 5        S50 $    2,600 Y    1 MA7,AER0
                                                                                                                                                                                                       W
 Flight Equipmentlistl         G50116      DOLLY       CLYDE        15F2710       Prr2007 200146437             CO                            $      550 $        550 5     2,600 Y   1 MAT,AERO
                                           DOLLY       CLYDE        15F2710       Pre-2007 200146438            CO                            $      550 $        550 $     2,600 Y   1 MAT,AERO       N
                                                                                                                                                                                                               Doc 482




 FlighcEquipmentlisti          GSD117
 Flight Equipment list i       GS0118       DOLLY      CLYDE        15F2710       Pre2007 2001 46439            CO                            $      550 $        550 $     2,600 V    1 MA7,AER0
                               GSD121       GOLLY      CLYDE        15F2710       Pre-2007 2001 46442           CO                            $       550 5       550 $     2,600 Y    1 MAT,HERO
 Flight Equipment list 1                                                                                                                                                                               m
                                            DOLLY      CLYDE        15F2710       Pre~2007 2001 46443           CO                            $       550 $       S50 $     2,600 Y    1 MAT,-AFRO
 Flight Equipment list 1       GSD122
                               GSD124       DOLLY    ~ CLYDE        15F2710       Prr2007 2001 46445             CO                            $      550 $       550 5     2,600 Y    1 MAT,AERO      (D
  Flight Equipment list l                                                                                                                                                                              -t
                               GSD125       DOU.Y      CLYDE        15F2710       Pre-2007 200146446            CO                             $      550 $       550 $     2,600 Y    1 MAT,AERO
  Flight Equipmentlistl                                                                                                                                                                                CD
                               GSD126       DOLLY      CLYDE        15F2710       Pre-2007 2001 46447            CO                            $      550 $        550 $    2,660 Y    1 MA7,AER0      Q
  Flight Equipment list 1
                               G50127       GOLLY       CLYDE       15f2710       Pr~2007 2001 46448             CO                            $      550 $        S50 $    2,600 Y    1 MAT,AFRO      O
  Flight Equipment list 1
                               GSD128       GOLLY       CLYDE       15f2710       Pre2007 2001 46449             CO               -            $      550 $        550 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1
  Flight Equipmentlistl        GSD130       DOLLY       CLYDE       SSF2710       Pre~2007 200146452             CO                            $      S50 $        550 $    2,600 Y    1 MAT,AERO      f-'
                               GSD131       DOLLY       CLYDE       15 F2710      Pre-2007 200146454             CO                       ~    S      550 $        550 S    2,600 Y.   ~1 MAT,HERO
  Flight Equipment listl
                               GSD132    ~ DOLLY        CLYDE       SSF2710       Pre-2007 2001 46511            CO                            5      550 $        550 $    2,600 Y    1 MA7,AER0       N
  Flight Equipment list 1.                                                                                                                                                                              CJI
                               GSD133       DOILY       CLYDE       i5f2710       Pre2007 2001 46512             CO                            $      550 $        550 $    2,600 Y    1 MA7,AER0
  Flight Equipment list 1
                                                                    15F2710       Prt2007 2001 46514             CO                            5      550 $        350 $    2,600 Y    1 MAT,AFRO       F-~
  Flight Equipment list 1      GSD735       DOLLY       CLYDE                                                                                                                                           CJ'1
  Flight Equipment listl       GSD137       DOLLY       CLYDE       15 F2J10      Pre~2007 200146517             CO                            $      S50 $        550 $    2,600 Y     1 MAT,AFRO
  Flight Equipmentlistl        GSD139       DOLLY       CLYDE       SSF2710       Pre~2007 200146519             CO                            $      550 5        550 $    2,600 Y     1 MA7,AER0
                                                                                                                                                                                                        O
  Flight Equipment list 1      GSD140       DOLLY       CLYDE       15F2710        PreZ007 2001 46523            CO                   -        $      550 $        550 5     2,600 Y    1 MAT,AEAO
                                                                                                                                                                                                        N
   Flight Equipment list 1      GSD141      DOLLY       CLYDE       15F2710        Pr~2007 2001 46524            CO                            $      550 $        550 $     2,600 Y    1 MAT,AERO     (D
   Flight Equipment list 1      GSD143      DOLLY       CLYDE        i5F2710       Pre-2007 2001 46527           CO                            $      550 $        550 $     2,600 Y    1 MAT,AERO
                                                                                                                                                                                                               Entered 11/23/15 17:02:48




   Flight Equipmentlisti        GSD144      DOLLY       CLYDE        SSF2710       Prc2007 200146528             CO                            5      S50 $~       550 S     2,600 Y  ,1 MAT,AEftO
   Flight Equipmentlistl        GSD145       DOLLY      CLYDE        15F2710       Pre~2007 200146529            CO                            $       550 $       550 $     2,60Q Y    1 MAT,AERO
                                P5001        MISC       UNKNOWN      UNKNOWN       Pre~2007 2001 00015            Non Uc                       $       250 $       250 $       250 N       Estimated
   Flight Equipment list 1
                                GS0207       DOLLY      CLYDE        15F2710       Pre-2007 2001 46880           CO                            $       550 $       550 $     2,600 Y    1 MAT,AERO      CD
   Flight Equipment list 1
   Flight Equipment list 1      GSD210       DOLLY       CLYDE ~     15F2710       Pre~2007 2001 46916            CO                           $       550 5       550 5     2,600 Y    2 MAT,AERO
   Flight Equipmentlistl        GSD211       DOLLY       CLYDE       i5F2710       Pre-2007 200146939             CO                            $      550 $        550 $    2,600 Y    3 MAT,AEFiO
                                GSD214       DOILY       CLYDE       15F2730       Pre-2007 2001 46882            CO                            $      550 5        550 $    2,600 Y    4 MAT,AFRO      O
   Flight Equipment list 1
    Flight Equipment list 1     CS06         MtSC        CLYDE       i5F2011       Pre~2007 2001 78247            Non Lic                       $      550 $        550 $      550 N       MAT           N
    Flight Equipmentlistl       GSD152       DOLLY       CLYDE       15F2710       Pre-2007 200146491             CO ~                          $      550 $     1$00 $      2,600 Y    1 MAT,AERO       F~
                                                                                   Prr2007 2001 46493             CO                            $      550 $     1500 $      2,fi00 Y   1 MAT,AERO       W
    Flight Equipment list 1     GSD154       DOILY       CLYDE       SSF2710
    Flight Equipment list 1     GSD755       DOLLY       CLYDE       15F2710       Prr2007 2001 46494             CO                            $      550 $     1,500 $     2,600 Y    1 MAT,AERO
    Flight Equipmentfistl       GSD156       DOLLY       CLYDE       15F2710       Prr2007 200146495              CO                            $      S50 $     1500 $       2,600 Y   1 MAT,AERO
                                                                                                                                                                                                               Page 166 of 252




    Flight Equipment list 1     GSD157       DOILY       CLYDE       i5F2710       Pre2007 2001 46496             CO                            $      550 $     1,500 $    .2,600 Y    1 MAT,AERO
    Flight Equipment list 1     GSD158       DOLLY       CLYDE       15F2710       Pre~2007 2001 46497            CO                            5      550 $     1,500 5      2,600 Y    1 MAT,AERO




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              Matheson Equipment



File Source                    Unit No    Type       Make       Model            YR        Year VINk           State Odometer   GVW               LIQVAIUEIOVLIQVALUEAVE IIQVALHIGH COMFCONSOURCE
Flight Equipment fist 1        G50159     DOILY      CLYDE      15F2710          Pr~2007 2001 46498            CO                                 $      550 $      1,500 $     2,500 Y    1 MA7,AER0
Flight Equipment list 1        GSD761     DOLLY      CLYDE      15F2710          Pre-2007 2001 46500            CO                                $      550 $      1$00 $      Z,600 Y    1 MAT,AERO
                               GSDi62     DOLLY      CLYDE      15F2710          Pre-2007 2001 4fi502           CO                                $      550 5      1$00 $      2,600 Y    1 MAT,AERO
Flight Equipment list 1
Flight Equipmentiistl          GSD163     DOLLY      CLYDE      15F2710          Pre-2007 200146503             CO                                $      550 $      2,500 5     2,600 Y    I MAT,AERO
                                                                                                                                                                                                           ~~~
                               GSD164     DOLLY      CLYDE      15F2710          Prr2007 200146504              CO                                $      550 5      1,500 $     2,600 Y    1 MAT,AERO
Flight Equipmentlistl
                               GSD365     DOLLY      CLYDE      15F2730          Pre2007 2001 46505             CO                                $      550 $      1500 $      2,b00 Y    1 MAT,AERO
Flight Equipment list 1
                               G50166     DOLLY      CLYDE      i5F2710          Pre-2007 200146505             CO                                $      550 $      1,500 $     2,600 Y    1 MAT,AERO      C~
Flight Equipment listl
                               GSD168     DOLLY      LIYDE      15f2710          Prr2007 2001 46526             CO                                $      550 $      1500 $      2,600 Y    1 MAT,AERO      I-~
Flight Equipment List 1
                               GSD169     DOILY      CLYDE      15F2710          Pre-2007 2001 46553            CO                                5      550 $      1,500 $     2,600 Y    1 MAT,AERO      Cf 1
 Flight Equipment list 1
                                          DOLLY      CLYDE      15F2710          Pre~2007 200146929             OR                                $      S50 $       1500 $     2,600 Y    1 MAT,AERO      CSl
 Flight Equipmentlistl         GSD206
                                           DOLLY     CLYDE      15F2710          Pr~2007 200146931              OR                                $      S50 $       1500 $     2,600 Y    1 MAT,AERO      O
 Flight Equipmentlistl         GSD208
                                                                                                                                                         550 $       1$00 $     2,600 Y    1 MAT,AERO      C)"I
 Flight Equipmentlistl         GSD212      DOLLY     CLYDE      15F2710          Prr2007 200146913              OR       ~                        $
                                           DOLLY     CLYDE      15F2710          Pre-2007 2001 46855            OR                                $      550 $       1$00 $     2,600 Y    1 MAT,AERO      I-~
 Flight Equipment List 1       GSD213
                                                                i5F2695          Pre~2007 2001 45683            CO                        -       5      550 5          550 $      550 N       MAT
 Flight Equipment list 1       GSD91       DOLLY     CLYDE
                                                     CLYDE      15F2695          Pre-2007 2001 45684           'CO                            ~   $      S50 $          550 $      550 N       MAT
 Flight Equipment list 1       G5092       GOLLY
                                                                                                                                                                                                                   Case 15-50541-btb




                                                                i5FZ695          Prr2007 2001 45685             CD                                $      550 $          550 $      550 N       MAT
 Flight Equipment list 1        GSD93      DOLLY      CLYDE
                                                                 15F2695          Pre4007 2001 45686            CO                                $      _550 $         550 $      550 N       MAT
 Flight Equipment list 1        GSD94      DOLLY      CLYDE
                                           DOLLY      CLYDE      15F2695          Prr2007 2001 45687            CO                                $       550 $         550 $      S50 N       MAT
  Flight Equipment list 1       GS095
                                                                                                                                                  $       550 $         S50 $      550 N       MAT         O
 flight Equipment list 1        GSD96      DOLLY      CLYDE      15F2695          Pre-2007 2001 45688           CO                                                                                         n
                                                      UNKNOWN    UNKNOWN          Pr~2007 2001 00017             Non Lic                          $       500 $         500 $      500- N      Estimated
  Flight Equipment list 1       P5003      MISC                                                                                                                                                            W
                                                                 15F2710          Pre-2007 2001 46499            Non Lic                          $       550 $         550 5      550 N       MAT
  Flight Equipment list 1       GSD160     DOLLY      CLYDE
                                                                 15F2710          Pre-2007 2001 45652            Non Lic                           $      550 $       1,500 $    2,600 Y    1 MAT,AERO     N
  Flight Equipment list 1       GS027      DOILY      CLYDE
                                                                                                                                                                                                                   Doc 482




                                                      CLYDE      15F2710          Pre-2007 2001 45706            Non Lic                           $      550 $       1,500 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1       GSD55      DOILY
                                                                 SSF2710          Pr~2007 2001 45710.            Non Lic                           S      550 $       1,500 S    2,fi00 Y   2 MATAERO
  Flight Equipment lift 1       GSD59      DOLLY      CLYDE                                                                                                                                                rn
                                                                 SSF2710          Prr2007 200145713              NonLic                            $      550 $       1500 5     2,600 Y    3 MAT,AERO
  FlightEquipmen21ist1          G5062      DOLLY      CLYDE
                                                                 SSf2730          Pre-2007 200146462             CO                                $      550 $       1,500 $    2,600 Y    1 MAT,AERO     N
  Flight Equipmentlistl         GSD189     DOLLY      CLYDE
                                                                 15F2710          Pre-2007 2001 46463            CO                                $      550 $     - iS00 S     2,600 Y    1 MAT,AERO
  Flight Equipment list 1       GSD190      DOLLY     CLYDE
                                                                                  Pre-2007 200146464             CO                                $      550 $       iS00 $     2,600 Y    1 MAT,AERO     Q
  Flight Equipmentlistl         GSD391      DOLLY     CLYDE      SSF2730
                                            DOLLY                i5F2710          Prr2007 2001 46465             CO                                S      550 $       1,500 $    2,600 Y    1 MAT,AERO     O
   Flight Equipment list 1      GSD192                CLYDE
                                                       CLYDE     i5F2730          Pre-2007 200146466             CO                                S      550 $       iS00 5     2,600 Y    1 MAT,AERO
   Flight Equipmentlistl        GSDi93      DOLLY
                                                                 15F2730           Pre~2007 200146467            CO                                $      550 $       1500 $     2,600 Y    1 MAT,AERO     F~
   Flight Equipmentlistl         GSD194     DOLLY      CLYDE
                                                                 15F2710           Prr2007 2001 46465            CO                                $      550 $       1500 $     2,600 Y    i MAT,AERO
   Flight Equipment list 1       GSD195     DOLLY      CLYDE
                                                                 158730            Pre-2007 200146469            CO                                $      550 $       1,500 $    2.600 Y    1 MAT,AERO      I-~
   Flight Equipmentlistl         G50196     DOLLY      CLYDE                                                                                                                                                U'1
                                                                  15F2710          PrP2007 200146470             CO                                $      550 $       1,500 $    2,600 Y    1 MA7AERO
   Flight Equipmentlist1         GSD197     DOLLY      CLYDE
                                                                                                                                                   $      550 $       1,500 $    2,600 Y    1 MAT,AERO      N
   Flight Equipmentlistl         GSD21      DOLLY      CLYDE      15F2710          Pre-2007 200145645            CO                                                                                         CI~I
                                                                  15F2710          Pr~200> 200145646             CO                                $       550 $      1500 5      2,600 Y   1 MA7,AER0
   Flight Equipmentlistl         GSD22      DOLLY      CL1DE
                                                       CLYDE      15G2710    ~     Prc2007 2001 45647            CO                                $       S50 $       1,500 $   2,600 Y    1 MAT,AERO
   Flight Equipment list 1       G5023      DOILY                                                                                                                                                           O
                                                                  15F2710          Pre~2007 200145648            CO                                $       550 $       1,500 $    2,600 Y    1 MAT,AERO
    Flight Equipmentlistl        GSD24      DOLLY      LLYDE                                                                                                                                                F-~
                                                                  15F2710         ~Pr~2007 200145649             CO                                $       550 $       1,500 $    2,6D0 Y    1 MAT,AERO
    Flight Equipmentlistl        G5025      DOLLY      CLYDE
                                                                  15F2710          Pre-2007 200145650             CO                               $       550 $       1,500 $    2,600 Y    1 MAT,AERO
    Flight Equipmentlistl        GSD26      DOLLY      CLYDE
                                                                                                                                                                                                                   Entered 11/23/15 17:02:48




                                                       CLYDE      15F2710          Pre-2007 2001 45652            CO                                5      550 $       1,500 $    2,600 Y    1 MAT,AERO
    Flight Equipment list 1      GSD28      DOLLY
                                                                  iSF2710          Pre-2007 200145653             CO                                $      550 $       1,500 $    2,600 Y    1 MAT,AERO
    Flight Equipmentlisti        GSD29      DOILY      ClYOE
                                                                  15f2710          Pre~2007 2001 45654            CO                                $      S50 $       1,500 $    2,600 Y    1 MA7,AER0
    Flight Equipment list 1      GSD30       DOLLY     CLYDE
                                                                                                                  CO                                $      550 $       iS00 $     2,600 Y    1 MAT,AERO     CD
    Flight Equipmentiistl        GSD31       DOLLY     CLYDE      15F2710          Pre-2007 200145655
                                                        CLYDE     15F2710          Pre-2007 2001 45656            CO                                $      550 $       1,500 $    2,600 Y    1 MAT,AERO     A
    Flight Equipment List 1      GSD32       DOLLY                                                                                                                                                          CSl
                                                        CLYDE     iSF2710           Pr~2007 200145659             C0                                $      S50 $       1,500 $    2,600 Y    1 MAT,AERO
    Flight Equipmentlist1        GSD34       DOLLY
                                                                                                                  CO                                $      550 $       1,SD0 $    2,600 Y   ~1 MAT,AERO     O
    Flight Equipmentlistl        GSD35       DOLLY      CLYDE     15F2710          Prr2007 200145660
                                                        CLYDE     15F2730           Pre-2007 200145661            CO                                $  ~   S50 $       SS00 $     2,600 Y    1 MAT,AERO     N
     Flight Equipmentlistl        GSD36      DOILY
                                                        CLYDE     15F2730           Pre-2007 2001 45690           CO                                $      550 $       1500 $     2,600 Y    1 MAT,AFRO     I--~
    Plight Equipment list 1       GSD39      DOLLY
                                                                                                                  CO                                $      550 $        1,500 $   2,600 Y    1 MAT,AERO      W
     Flight Equipment list 1      GSD40      DOLLY      CLYDE     15f2710           PrL2007 2001 45691
                                                                  i5F2710           Pre-2007 2001 45692           CO                                $      550 $       1500 $      2,600 Y   1 MAT,AERO
     Flight Equipment list 1      GSD41      DOLLY      LIYDE
                                                        CLYDE      15f2730          Pre-2007 2001 45693           CO                                $      550 $        1500 $     2,600 Y   1 MAT,AERO
     Flight Equipment list 1      GSD42      DOLLY
                                                                                                                                                                        1500 $     2.600 Y   1 MAT,AERO
                                                                                                                                                                                                                   Page 167 of 252




     flight Equipment list 1      GSD43      DOLLY      CLYDE      15F2716          Pre-2007 2001 45694           CO                                $       550 S
                                                        CLYDE      15F2710          Pre-2007 200145695            CO                  ~             $       550 S       1500 5     2,600 Y    1 MAT,AERO
     F~ightEquipmentlistl         GSD44      DOLLY




                                                                                                          Page9 of27
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                             Unit No    Type     Make      Model           YR       Year   VIN#                     State    Odometer   GVW       LiQVAIUEIOV   LIQ VALUEAVE UQ VACHKaH      COMFCON SOURCE
File Source
                                        DOLLY    CLYDE     15F2710         Pre~2007 200145696                       CO                            $      S50    $       1,500 $     2,500    Y     1 MAT,AERO
Flight Equipmentlistl        GSD45
                             G5046      DOILY    CLYDE     SS F2710        Pre2007    2001 45697                    CO                            $      550    $       1,500 $     2,600    Y     1 MAT,HERO
Flight Equipment list 1
                             G5047      DOLLY    CLYDE     SSF2710         Prr2007    200145698                     CO                            5      550    $       1,500 $     2,600    Y     1 MAT,AERO
Flight Equipmentlistl
                                        DOLLY    CLYDE     SSF2710         Pre~2007   200145699                     CO                            $      550    $       SS00 $      2,600    Y     1 MAT,HERO
Flight Equipment lists       G5048 ~                                                                                                                                                                               r~
                             GSD49      DOILY    CLYDE     15F2710         Pre-2007   2001 45700                    CO                             S     550    $       1,500 $     2,600    Y     1 MAT,AERO
flight Equipment list 1
                             G5050      DOLLY    CLYDE     15F2710         Prr2007    2001 45701                    CO                        -   $      550    $       1,500 $     2,600    Y     1 MAT,AERO
Flight Equipment list i                                                                                                                                                                                            N
                                                           15F2710         Pre~2007   2001 45702                    CO                             S     500    $         500 S       500    N       MAT           CD
Flight Equipment list 1      GSD51      DOLLY    CLYDE
                                        DOLLY    CLYDE     15F2710         Pre2007 200145704                        CO                            $      550    $       1500 $      2,600    Y     1 MAT,AFRO
FlighCEquipmentlistl         GSD53                                                                                                                                                                                 N
                                                 CLYDE     iSF2710         Prr2007    200145705                     CO                            ~5     550    $       1,500.5     2,600    Y     1 MAT,AERO      Ul
Flight Equipmentlistl        GSD54      DOLLY
                                        DOLLY              15P2710 -       Pre~2007   200145707                     t0                             $     550    S       1,500 $   - 2,600    Y     1 MAT,AERO
Flight Equipmentlistl        GSD56               CLYDE
                                                           ISF2710         Pre~2007   200145708                     CO                             $     550    $       1,500 $     2,600    Y     1 MAT,AERO      O
Flight Equipmentlistl        GSD57      DOLLY    CLYDE
                                                                                                                                                  $      S50 S         1500 S        2,600 Y       1 MAT,AERO      Cn
Flight Equipmentiistl        GSDSS      DOLLY    CLYDE     15F2710         Pre~2007    200145709                     CO
                                                           15F2710         Pre~20Q7    200145711                     CO                           $      550 $         1,500 $       2,600 Y       1 MAT,AERO      N
Flight Equipmentlistl        G5~60      DOLLY    CLYDE
                                                 CLYDE     15F2710         Prr2007     200145712                     CO                           $      550 $         1,500 $       2,600 Y       1 MAT,AERO
Flight Equipmentlistl        65D61      DOLLY
                                                           15F2710         Prr2007     200145714                     CO                           $      550 $         1500      $   2,600 Y       1 MAT,AERO
Flight Equipmentlisti        GSD63      DOLLY    CLYDE
                                                                                                                                                                                                                           Case 15-50541-btb




                                                           15F2710         Pre-2007    200145715                     CO                           $      550 $         1500      5   2,600 Y       1 MAT,AERO
Flight Equipmentlistl        GSD64      DOLLY    CLYDE
                                                           15F2710         Prr2007     200145716                     CO                           $      550 5         1,500     $   2,600 Y       1 MAT,AERO
Flight Equipmentlistl        GSD65      DOLLY    CLYDE
                                                                           Pre~2007    2003 000I6                    Non lit                      S      500    $        500     5    500    N       EStima[ed
Flight Equipment list 1      P5002      MISC     UNKNOWN   UNKNOWN
                                                                                                                                                  $      550    $      1,500     $   2,600   Y     1 MAT,AERO      O
Flight Equipment list 1      GSDi       DOLLY    CIWE      15F2710     ~   Pre-2007    2001 45662                    Non Lit 0                                                                                     C7
                                                                                                                     Non Lic                      $      550    $        550     $     S50   N       MAT,AERO
Flight Equipment list 1      GSD10      DOLLY    CLYDE     15F2695         Prr2007     2001 45672                                                                                                                  W
                                                                           Prr2007     200145673                     NonLI[                       $      550    $       550      $     550   N       MAT,AERO
 Flight Equipmentlistl       GSDil      DOLLY    CLYDE     15F2695
                                                                                       2001 45674                    Non Lic                      $      550    $       550      $   .550    N       MAT,AERO      I-~
                                                 CLYDE     15F2695         Prr2D07
                                                                                                                                                                                                                           Doc 482




 Flight Equipment list 1     GSD12      DOLLY
                                                                                       2001 45663                    Non lit                      $      550    $      1Sa0      $   2,600   Y      1   MAT,AERO
 Flight Equipment list 1     GSD2       DOILV    CLYDE     SSF2710         Pre-2007
                                                                                       2001 45664                    Non Lic                      $      550    $      1500      $   2,600   Y      1   MAT,AERO
 Flight Equipment list 1     GSD3       GOLLY    CLYDE     15F2710         Pre2007                                                                                                                                 m
                                                                                       2001 45665                    Non Lic                      $      550    $      1500      $   2,600   Y      1   MAT,AERO
 flight Equipment list 1     GSD4       DOLLY    CLYDE     15F2710         Pre-2007
                                                                                       2001 45666                    Non Lit                      $      550    $      1,500     $   2,600   Y      1   MAT,AERO   CD
 Flight Equipment list 1     GSDS       DOLLY    CLYDF     15F2710         Pr~2007
                                                                                                                     Non Lic                      $      SSO    $      1,500     $   2,600   Y      1   MAT,AERO
 Flight Equipment list 1     GS~6       DOLLY    CLYDE     15F2710         Pre-2007    2001 45667                                                                                                                  fD
                                                                                                                     Non Lic                      $      550    $      1,500     $   2,600   Y      1   MAT,AERO   Q
 Flight Equipment list 1     GSD7       DOLLY    CLYDE     15F2710         Pre~2007    2001 45668
                                                                                                                     Non Lic                      $      550    $      1,500     $   2,600   Y      1   MA7,AER0
 flight Equipment list 1     GSD8       DOLLY    CLYDE     15F2710         Prr2007     2001 45669                                                                                                                  O
                                                                                       2001 45671                    Non Lic                       5     500    $        500     $     500 N            MAT
 Flight Equipment list 1     6SD9        DOLLY   LLYDE      15FZ695         Pre2007
                                                                                                                     ID                            $     S00    $        500     $     500 N            MA7        N
 Flight Equipment list 1     GSD13       DOLLY   CLYDE      15f2695         Prr2007    2001 45675
                                                                                                                     ID                            $     500    $        S00     5     500 N            MAT
 flight Equipment list 1     GSD14       DOLLY   CLYDE      15f2695         Pre-2007   2001 45676
                                                                                                                     CO                            $     550    $       1,500    $   2,600 Y        1   MAT,AERO   F~
  Fight Equipment list 1     G50170      DOILY   CLYDE      i5F2710         Prt2007    2001 46450
                                                                                                                     CO                            $     550    $       1500 $       2,60  Y        1   MAT,AERO
  Flight Equipment list 1     G5~1~1     DOILY   CLYDE      15F2710         Pre-2007   2001 46457
                                                                                                                                                   $     550    $       1,500 $      2,600 Y        1   MAT,AERO   N
  Flight Equipment list 1     GSD172     DOILY   CLYDE      15F2710         Prc2007    2001 46472                    CO                                                                                            C.T'1
                                                                            Prr2007    2001 46473                    UT                            $     550    $       1,500 $      2,600 Y        1   MAT,AERO
  Flight Equipment list 1     G50173     DOLLY   CLYDE      SSF2710
                                                                                                                                                                                                    1 MAT,AFRO     A
                                                            15F2710         Pre-2007   200146474                     CO                            $      550 $          1,500   $   2,600    Y
 flight Equipmentlistl        GSD174     GOLLY   CLYDE                                                                                                                                                             O
                                                                            Pre-2007   2001 46475                    CO                            $      S50 $        ~ 1,500   $   2,600    Y     S MAT,AFRO
 Flight Equipment list 1      G50175     DOLLY   CLYDE      i5F2710                                                                                                                                                F-~
                                                            15F2730         Pre-2007   2001 46479                    CO                            $      550 $          1,500   $   2,600    Y     1 MAT,AERO
 Flight Equipment list 1      GSD176     DOILY    CLYDE
                                                                            Pre~2007   2001 46483                    CO                            $      550 $          1,500   $   2,600    Y     1 MAT,AERO
 Flight Equipment list 1      G50177     DOILY    CLYDE     i5F2710
                                                                                                                                                                                                                           Entered 11/23/15 17:02:48




                                                                                       2001 46484                    CO                            $      550 $          150     $   2,600    Y     1 MAT,AERO
 flight Equipment list 1      GSD 17S    DOLLY    CLYDE     15F2710         Pre-2007
                                                                            Pre-2007   200146486                     CO                            $      550 $          1,500   $    2,600 Y       1 MAT,AERO
 Flight Equipmentlistl        GSD179     DOLLY    CLYDE     15F2710
                                                            15F2730         Pre-2007   2001 46487                    CO                            S      550 5         1,500 5       2,60Q Y       1 MAT,AERO
  Flight Equipment list 1     GSD780     pOLLY    CLYDE
                                                                            Pre~2007   2001 46488                     CO                           $      550    S      1,500 $       2,600 Y       1 MAT,AERO
  Flight Equipment list 1     GSO181     DOLLY    CtYDE     15F2710
                                                            i5F2710         Pre2007    2001 46501                     CO                           $      550    $      1,500    S    2,600 Y       1 MAT,AEAO
  Flight Equipment list 1     GSD182     DOLLY    CLYDE
                                                                            Prr2007    200146506     -                CO                           $      550    $      1,500    $    Z,600 Y       1 MAT,AERO
  flight Equipmenttistl       GSD183     GOLLY    CLYDE     15F2710
                                                                                                                      CO                           S      550    S      1500     $    2,600 Y       1 MAT,A@RO     O
                                                                                                                                                                                                                   --r.
  Flight Equipment list 1     GSD184     DOLLY    CLYDE     15F2710         Pre-2007   2001 46507
                                                                            Pre~2007   200146515A                     CO                           $      S50    $      SS~O     $    2,600 Y       1 MAT,AERO      N
  Flight Equipment(istl       GSD185     DOLLY    CLYDE     15F2710
                                                                            Pre-2007   200146520         -            CO                           $      550    $      1500     $    2,600 Y       1 MAT,AERO      I-~
  Flight Equipment listl      GSD186     DOLLY    CLYDE     IS F2710
                                                                                                                      CO                           $      550    $      iS00     $    2,600 Y       1 MAT,AERO      W
  Flight Equipmentlistl       GSD187     DOLLY    CLYDE     15f2710         Prr2007     200146521
                                                                                        2001 46522                    CO                           $      550    $      1,500    5    2,600 Y       1 MAT,AERO
  Flight Equipment list 1     GSD188     DOLLY    CLYDE     SSF2710         Pre~2007
                                                                            Pre2007     200145324                     CO                           $      500    $        500    $      500 N           MAT
  Flight Equipment listl      GSD318     DOLLY    CLYDE     i5 F2695
                                                                                                                                                                                                        MAT
                                                                                                                                                                                                                           Page 168 of 252




                                                            15F2695         Pre2007     2001 45327                    CO                           $      500    5        500    $      500 N
   Flight Equipment list 1    GSD319     DOLLY    CLYDE
                                                                                        2001 45329                    CO                           $      500 $           500    S      500 N           MA7
   Flight Equipment list 1    GSD320     DOLLY    CLYDE     15F2695         Pre-2007




                                                                                                             Page 10 of 27
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File Source                  Unit No   Type          Make       Model           YR       Year  VIN#                State Odometer          GVW           LIQVAIUELOV LIgVALUEAVE IIQVALHIGH COMfCON50URCE
Flight Equipmentlistl        G50321    DOLLY        CLYDE       15F2695         Pre~2007 200145330                 CO                                    $       S00 $        500 $       S00 N     MAT
Flight Equipment list 1      GSD322    DOLLY        CLYDE       ISF2695         Pre~2007 2001 45331                CO                                    S       500 $        SDO $      500 N      MA7
Flight Equipment list 1      GSD323    DOLLY        CLYDE       15F2695         Pre-2007 2001 45332                CO                                    $     ~ 500 5        500'- $    500 N      MA7
Flight Equipment list 1      GSD324    DOLLY        CLYDE       i5F2695         Pre~2007 2001 45333                CO                                    $       500 $        500 $      500 N      MAT
Flight Equipment list 1      GSD325    DOLLY        CLYD£       15f2695         Pre-2007 2001 45334                CO                                ~   $       S00 $        500 $       500 N     MAT
FlightEquipmenTlistl         GS0326    DOLLY         CLYDE      15F2695         Prr2007 2001457i8                  CO                                    $       500 $        500 $       500 N     MAF
Flight Equipment list 1      G50329    DOLLY         CLYDE      15F2695         Pre-2007 2001 45723                CO                                    S       500 $        500 $       S00 N     MAT               [D
Hight Equipment list 1       GSD331    DOLLY         CLYDE      15F2695         Prr2007 2001 45726                 CO                                    $       500 $        500 $      500 N      MA7
                                                                                                                                                                                                                      i-
Fligh[Equipmentlistl         650115    DOLLY         CLYDE      15F2710         Pre-2007 200146436 ~               LA                                    $       550 $      1,500 $    2,600 Y    1 MAT,AERO          CSl
Flight Equipment list 1      GSD119    DOLLY         CLYDE      15F2730         Pre-2007 2001 46440                CA                                    $       556 $      1500 $     2,600 Y    1 MAT,AERO
                                                                                                                                                                                                                        i
                                                                                                                                                                                                                      C7l
Flight Equipmentlistl        GSD320    DOILY         CLYDE      15F2710         Prr2007 200146441                  CA                                    $       550 $      1500 $     2,600 Y    1 MA7AER0           O
Flight Equipmentlistl        GSD123    DOLLY         CLYDE      15F2710         Prr2007 200146444                  CA                                    $       550 5      1,500 $    2,600 Y    1 MAT,AERO           CTI
                                       GOLLY                                                                                                                     S50 $      1,500 $    2,fi00 Y   1 MAT,AERO
                                                                                                                                                                                                                       A
Flight Equipment list 1      GSD129                  CLYDE      i5F2730         Pre-2007 2001 46451                CA                                    5                                                             E--'
Flight Equipment list 1      GSD142    DOLLY         CLYDE      iS F2730        Pr~2007 2001 46525                 CA                                    S       350 S      1500 S     2,600 Y    1 MAT,AERO
Flight Equipmentlistl        GSD346    DOILY         LLYDE      15F2710         Pre-2007 200146531                 CA                                    $       550 $      1,500 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                                              Case 15-50541-btb




Flight Equipmentlistl        GSDISl    DOLLY         LLYDE      15F2730         Pre~2007 200146490                 CO                                    $       550 $      1500 $     2,600 Y    1 MAT,AERO
flight Equipment list 1      GSD97     DOILY         CLYDE      ISF2695         Pr~2007 2001 45689                  Non Lic                              $       550 $        550 $       550 N      MAT
 Flight Equipmentlistl       GSD138    DOILY         CLYDE      35F2710         Prr2007 200146518                  OK                                    $        S50 $     1500 $     2,600 Y    1 MAT,AERO          0
 Flight Equipmentiistl       GSD317    DOLLY         CLYDE      15F2695         Prr2007 200145323                  OK                                    $        500 $       500 $       500 N      MAT               O
                                                                                                                                                                                                                       n
 Flight Equipment list 1     GSD327    DOLLY         CLYDE      i5F2695         Prr2007 2001 45719                 OK                                    $        500 $       500 $       500 N      MAT
                                                                                                                                                                                                     MAT
                                                                                                                                                                                                                       W
 Flight Equipment list 1     GSD328    DOLLY         CLYDE      i5F2695         Pre~2007 2001 45722                OK                                    $        500 $       500 $       500 N
 Flight Equipment list 1     GSD330     DOLLY        CLYDE      SSF2695         Prr2007 2001 45724                 OK                                    $        500 $       500 $       500 N      MAT               F-'
                                                                                                                                                                                                                              Doc 482




 Flight Equipment list 1     GSD332     DOLLY        CLYDE      15F2645         Pre-2007 . 2001 45727              OK                                    $        500 $       500 $       S00 N      MA7
 Flight Equipment list 1     GSD333     GOLLY        CLYDE      15F2695         Pre~2007 2001 45728                 OK                                   $        500 $       500 $       500 N      MAT
                                                                                                                                                                  500 $       500 $       500 N      MAT
                                                                                                                                                                                                                       m
 Flight Equipment list 1     GSD334     DOILY        CLYDE      i5F2695         Pre~2007 2001 45729                 OK                                   $
                                                                                                                                                                                                                       i-r
 Flight Equipment List 1     GSD224     DDLLY        CLYDE      15F2710         Pre2007 2002 46720                  Non Lic ~                            $        550 $        S50 $    2,60D Y   1 MA7,HERO           CD
 Flight Equipment list 1     GSD2Z6     DOLLY        CLYDE      15F2710         Pre-2007 2002 46743                 Non Lic                              $        550 $       550 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                                       CD
 Flight Equipment list 1     650227     DOLLY        CLYDE      15F2710         Prr2007 2002 46746                  Non Lic                              $        550 $        550 $    2,600 Y   1 MAT,AERO           Q
 Flight Equipment list 1      HLOl      MISC         RELIANCE    1847C•P        Prr2007 2002 P18C1012NWH            Non Lic                              $        100 $        100 $      100 Y   1 0.ECT0             O
 Flight Equipment list 1      GSD218    GOLLY         CIY~E      15F2710         Pre2007 2002 47717                 Non Lic                              $        550 $     1500 S      2,600 Y   1 MAT,AERO
 Flight Equipment list 1      GSD219    DOLLY        CLYDE       15F2710         Prr2007 2002 46657                 VJV                                  $        550 $        550 $    2,600 Y   1 MAT,AERO           N
 Flight Equipment list 1      GSD200    DOLLY         CLYDE      15F2566         Pre~2007 2002 47755                CO                                    S       S50 $        550 $       SSO N     MAT
 Flight Equipment list 1      GSD201    DOLLY         CLYDE      15F2566         Pre-2007 2002 47761                CO                                   $        550 $        550 $      550 N      MAl               N
  Flight Equipment list 1     GSD203    DOLLY      ~ CLYDE       15F2566         Pre~2007 2002 47757                CO                                   $        550 $        S50 $      550 N      MAT               Cal
  Fight Equipment list 1      GSD205    DOILY         CLYDE      15F2566         P~r2007 2002 47760                 CO                                   $        550 $        550 $       554 N     MAT               N
  Flight Equipment list 1     650216    DOLLY         CLYDE      SSF2710         Pre-2007 2002 4>691                CO         ~                          $       550 $        S50 $    2,600 Y   5 MA7,AER0
  Flight Equipment list 1     GSD204    DOLLY         CLYDE      SSF2566         Pre~2007 2002 47758                OR                                    $       550 5        550 $       S50 N     MAT
                                                                                                                                                                                                                       O
  Flight Equipment list 1     GSD215    DOLLY         CLYDE      i5F2710         Prr2007 2002 47721                 OR                                    $       550 $      1,500 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                                       I-~
  Flight Equipment list 1     GSD217    DOLLY         CLYDE      15F2710         Pre-2007 2002 47718                OR                 ~                  $       550 $      1,500 $    2,600 Y    1 MA7,AER0
  flight Equipment list 1     GSD202    DOLLY         CLYDE      15F2566         Pre-2007 2002 47756                KY                                    $       550 $        550 $       550 N     MA7
                                                                                                                                                                                                                              Entered 11/23/15 17:02:48




  Flight Equipment list 1     GSD220    DOLLY         CLYDE      15F2710         Pre-2007 2002 46662                CO                           -        $       550 $      1500 $     2,600 Y    1 MAT,AERO
  F(ighfEquipment list 1      GSD221    DOLLY         CLYDE      15F2710         Pre~2007 2002 46663                CO                                    $        550 $     1,500 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GS0222    DOLLY         CLYDE      SSF271D         Pre-2007 2002 46665                CO                                    $        550 $     1,500 $    2,600 Y    1 MAT,HERO
  Flight Equipment list 1     GSD223    DOLLY         CLYDE      SSF2710         Pr22007 2002 46717                 CO                                    $        550 $     1500 $     2,600 Y    1 MAT,AERO          CD
  Flight Equipment list 1     GSD225    DOLLY         CLYDE      15F2710         Pre-2007 2002 46735                CO                                    $        550 S     1,500 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GS0228    DOLLY         CLYDE      15 F2710        Pre2007 2002 46748                 CO                                    $        550 $     1,500 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD229    DOLLY         CLYDE      15F2710         Arr2007 2002 46751                 CO                                    $        550 $     i$00 $     2,600 Y    1 MAT,AERO          O
                                                                                                                                                                                                                       --~.
  Flight Equipment list 1     GSD230    DOLLY         CLYDE      15F2710         ➢re-2007 2002 46752                CO                                    $        S50 $     1500 $     2,600 Y    1 MAT,AERO          N
  Flight Equipment list l     GSD231    DOLLY         CLYDE      15 F2710        PrP2007 2002 46754                 CO                                    $        550 $     1,500 5     2,600 Y   1 MAT,HERO          f--~
  Flight Equipment list 1     C512       MISC         CLYDE      15F2551         Pre~2007 2003 47964                TX                                    $        500 5       500 $       S00 N      MAT               W
  Flight Equipment list 1     CS01       MISC         CLYDE      SSF2011         Prr2007 2003 48068                  Non Lic 0                            5        550 $       550 $       550 N      MAT
  flight Equipment list i     KL02      LOADER        LNl'SX     9185U PERIOR    Pre2007 2003 82800392               CO      8,358 ~                      $    25,000 $     27,000 $   29.000 Y    2 GLOBALGSE,HERO
  Flight Equipment list 1     P416       TRACTOR      KNWRT      T800            Prr2007 2003 SXKDAOSX33R707324      CA      643,336                      $     13,000 5    15,000 5   18,900 Y    5 C1T
                                                                                                                                                                                                                              Page 169 of 252




   Flight Equipment list 1    P417       TRACTOR      KNWRT      T800            Pre-2007 2003 IXKDAOSX53R707325     CA      609,774                      $     13,000 $    15,000 $   18,900 Y    5 CTT




                                                                                                           Page 11 of27
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FleSource                    U~itNo    Type        Make       Model            YR        Yex  VIN#               State Odomflter   GVW      LIQVALUELOVLIQVALUEAVE LIQVALHIGH COMFCONSOURCE
Flight Equipment list 1      GSRS      NG          STNST      MA-50            Pre2007 2004 16028                CA      9,208              $    1,500 $      iS00 $     1500 N        MAT
Flight Equipment list 1      GST29     7UG         STNST      MA-50            Pre~2007 2004 16029               CA      9,586              $    1500 $       1,500 $    1,500 N       MAT
Flight Equipment list 1      G5130     'NG         SNJ57      MA-50            Pre~2007 2004 16030               CA      9,895           ~ $     1500 $ -     1500 $     3500 N        MAT
Flight Equipment list 1      GSD302     DOLLY      CLYDE      SS F2730         Pre~2007 2004 50046               CA                         $      550 S        550 S    2,600 Y    1 MAT,AERO
Flight Equipmentlistl        GSD303     DOLLY      CLYDE      15F2710          Prr2007 200450047                 CA                         $      550 $        550 $    2,600 Y    1 MAT,AERO
Flight Equipment list 1      FEFL6      FORKLIFT   HYSTR      SSOXM            Prr2007 2004 D187V312248          Non Lic 1,607              $    4,000 $      4,000 $    4,000 Y    1 RB
Flight Equipment list 1      GSD297     DOLLY      CLYDE      15F2730          Pre~2007 2004 50041               OR                         5      550 $      1500 $     2,600 Y    1 MATAERO      CD
Flight Equipment list 1      GSD298     DOLLY      CLYDE      15F2710          Pre-2007 2004 50042               OR                         $      S50 $      1$00 $     2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   N
Flight Equipment list 1      GSD301     DOLLY      CLYDE      i5F2730          Pre~2007 2004 50045               OR                         S      550 S      1500 $     2,600 Y    1 MAT/iERO     Ul
Flight Equipment list 1      GSD304     DOILY      CLYDE      25F2710          Pre~2007 2004 50048               OR                         $     `550 $      1500 $     2,60.0 Y   1 MAT,AERO     CSl
Flight Equipment list l      GSD305     DOLLY      CLYDE      i5F2730          Pte2007 2004 30049                CA                         $      550 $      1$00 $     2,600 Y    1 MAT,AERO     O
Flight Equipment list 1      GSD306     DOILY      CLYDE      i5F2710          Prr2007 2004 50050                CA                         $      550 $      1,500 $    2,600 Y    1 MAT,HERO     U't
Flight Equipment list 1      GSD307     DOLLY      CLYDE      SSF2710          Prr2007 2004 50051                CA                         $      S50 $      1,500 $    2,600 Y    1 MAT,AERO     F~-'
Flight Equipment list 1      GSD308     DOLLY      CLYDE      SSF2710          Prr2007 2004 50052                CA                         $      550 $      1500 $     2,600 Y    1 MAT,AFRO
Flight Equipment list l      GSD309     DOLLY      CLYDE      15F2710          Pre~2007 2004 50053               CA                       ~ S      550 $      1,500 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                          Case 15-50541-btb




Fiight Equipment list 1      GSD310     DOLLY      CLYDE      15F2710          Pre-2007 2004 50054               CA                         5      SSO 5      3500 $     2,600 Y    1 MAT, AERO
 Flight~Equipment list 1     GSD311     GOLLY      CLYDE      i5F2710          Pre~2007 2004 50055                CA                        $      S50 $      1500 $     2,600 Y    1 MAT,AERO
 Flight Equipment list 1     GSD312     DOLLY      CLYDE      15F2710          Prr2007 2004 50056                 CA                        S      550 $      SS00 $     2,600 Y    1 MAT,AERO     t
flight Equipment list 1      GSD313     DOLLY      CLYDE      i5F2710          Pre~2007 2004 50057                CA                        $      550 $      1$00 $     2,600 Y ~  1 MAT,AERO
                                                                                                                                                                                                   (7
 Flight Equipment list 1     GSD314     DOLLY      CLYDE      i5F2~10          Pre-2007 2004 SQ058                CA                        S      550 S      1500 S     2,600 Y    1 MAT,AERO
                                                                                                                                                               1,500 $   2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   W
 Flight Equipment list 1     GSD315     DOLLY      CLYDE      IS F2710         Pre2007 2004 50059                 CA                        $      550 $
 flight Equipment list 1     GSD316     DOLLY      CLYDE      SS F2710         Pre-2007 2004 50060                CA                        5      S50 $      1$00 $     2,600 Y    1 MAT,AERO     N
                                                                                                                                                                                                          Doc 482




 Flight Equipment list 1     GSD299     DOLLY      CLYDE      15F2710           Dre~2007 2004 50043               CA                        $      550 $      1,500 $    2,600 Y    1 MAT,AERO
 Flight Equipment list 1     GSD300     GOLLY       CLYDE     15F2710          Prr2007 2004 50044                 Non Lic                   $      550 5       1,500 $    2,600 Y   1 MAT,AFRO
                              MPJOS      MISC       MOBILE     MI.55           Prr2007 2005 103355                Non Lic                   $       100 $        100 $      100 N      Estimated
                                                                                                                                                                                                   m
 Flight Equipment list 1
                                                                                                                                                                                                   ,-+
 Flight Equipmentlistl       GSD406     DOLLY       CLYDE     15f2J10           Pre~2007 200551245                CO                        $       550 $        550 $    2,600 Y    1 MAT,AERO    CD
 Flight Equipment list 1      GS~408    DOLLY       CLYDE     i5F2710           Prr2007 2D05'51246A               CO                        $       550 S        550 S    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   CD
 Flight Equipment list 1      GSD409    DOLLY       CLYDE     15F2710           Prr2007 2005 51247                CO                        $       550 $        550 5    2,600 Y    1 MAT,AERO    Q
 flight Equipment list 1      GSD413     DOLLY      CLYDE      i5f2710          Pre~2007 2005 51251               CO                        $       550 $        550 $    2,600 Y    1 MAT,AFRO
 Flight Equipment list 1      GSDa15     DOILY      CLYDE      15F2710          Pre-2007 2005 51253               CO                        $       550 $        550 $    2,600 Y    1 MAT,AERO
 Flight Equipment list 1      GSD418     DOLLY      CLYDE      15F2710          Pre-2007 2005 51256               CO                        $       550 $        550 $    2,600 Y    1 MAT,AERO    N
 Flight Equipment list 1      GSD419     DOILY      CLYDE      15F2710          Prr2007 2005 51257                CO                         S ~    550 $        S50 $    2,600 Y    1 MA7,AERO
  Flight Equipment listl      GSD420     DOILY      CLYDE      15(2710          Pre-2007 2005 S1Z58               CA                         $      550 $        550 $    2,600 Y    1 MAT,AERO    N
 Fight Equipment list 1       GSD422     DOLLY      CLYDE      15F2710          Prr2007 2005 51262                CO                         $      550 $        550 5    2,600 Y    1 MAT,AERO    CSI
  Flight Equipment list 1     GSD423     DOLLY      CtYDE      i5F2710          Prr2007 2005 51263                CO                         $      550 $        550 $    2,600 Y    1 MAT,AERO    F~-~
                                                                                                                                                    550 $        550 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   C31
 Fligh[Equipmentlistl         GSD407     DOLLY      CLYDE      15F2710          Pre-2007 2005,51246               WV                         $
  Flight Equipment list 1     GSD410     DOLLY      CLYDE      15F2710          PrP2007 2005 51248                WV                         $      550 $        550 $    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   O
  Flight Equipment list l     GSD412     DOLLY      CLYDE      15F2710          Pre-2007 2005 51250               VJV                        S      550 S        550 S    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                   N
  Flight Equipmentlistl       GSD361     DOLLY      CLYDE      15F2710          Pre-2007 200551104                CO                         $      550 $        550 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD362     DOILY      CLYDE      i5F2710          P~e~2007 2005 51177               CO                         $      550 $        550 S    2,600 Y    1 MAT,AERO
                                                                                                                                                                                                          Entered 11/23/15 17:02:48




  Flight Equipmentlistl       GSD363     DOILY      CLYDE      15F2710          Pre~2007 200551178                CO                         $      550 $        S50 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD364     DOLLY      CLYDE      15F2710          Pre-2007 2005 51179               CO                         $      550 $        550 5    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD365     DOILY      CLYDE      iSF2710          Pte-2007 2005 51180               CO         ~               $      550 $        550 $    2,600 Y    1 MAT,AERO    (Q
  Flight Equipment list l     GSD367     GOLLY      CLYDE      15F2710          Pre-2007 2005 51182                CO                        $      550 $        550 $    2,600 Y    1 MAT,AERO     CD
  Flight Equipment list 1     GSD369     DOLLY      CLYDE      15 F2710         Pre~2007 2005 51185                CO                        5      550 $        550 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD370     DOLLY      CLYDE      SSF2710          Pre~2007 2005 51186                CO                        $      550 $        550 $    2,600 Y    1 MAT,AERO
  Flight Equipment list 1     GSD371     DOLLY      CLYDE ~    15F2710          Prr2007 2005 51187                 CO                        $      550 $        550 $     2,600 Y   1 MAT,AERO    O
  Flight Equipment list 1     GSD372     DOLLY      [LYDE~     i5F271Q          Prr2007 2005 51188                 CO                        $      550 $        550 $     2,600 Y   1 MAT,AERO
                                                                                                                                                                                                    F-'
  Flight Equipment list 1     GSD373     DOLLY       CLYDE     15F2710     -    Prr2007 2005 51189                 CO                        $      550 5        550 $     2,600 Y   1 MAT,AERO     I-~
   Flight Equipment list 1    GSD374     DOLLY       CLYDE     15F2710           Prr2007 2005 51190                CO                        $      550 $        550 $     2,600 Y   1 MA7,AER0     W
   Flight Equipment list 1    GSD377     DOILY       CLYD£     15F2730           Pre~2D07 2005 51193               CO      ~                 5      550 5         550 S    2,600 Y   1 MAT,AERO
   Flight Equipment list 1    GSD378      DOLLY      CLYDE      SS F2710         Pre~2007 2005 51194               CO                        $      550 $         550 $    2,600 Y   1 MAT,HERO
                                                                                                                   CO                        $       S50 $        S50 $    2,600 Y   1 MAT,AERO
                                                                                                                                                                                                          Page 170 of 252




   Flight Equipmentlistl      GSD379      DOLLY      CLYDE     15F2730           Pre-2007 200551195
   Flight Equipment list 1    G5~381      DOILY      CLYDE      SSF2710          Pre-2007 2005 51197               CO                        $      550 $         550 $    2,600 Y    1 MAT,AERO




                                                                                                          Page 12 of27
            Matheson Equipment



File Source                Unit No      Type         Make       Model        YR       Year   VIN# ~                  State   Odometer     6VW   IIQ VALUE IOV
                                                                                                                                                            LIQ VALUEAVE    LIQ VALHIGH    COMFCON SOURCE
Flight Equipment list 1    GSD382       DOLLY        CLYDE      15F2710      Prr2007 2005 51148                      CO                         $       550 $        S50    S      2,600   Y     1 MAT,AERO
Flight Equipmentiistl      G50383       DOILY        CLYDE      15F2710      Pre-2007 200551199                      CO                         $       550 $        550    $      2,600   Y     1 MAT,AERO
Flight Equipment list i    GSD385       DOILY        CLYDE      i5 F2710     Prr2007    2005 51201                   CO                         $       550 $        S50    $      2,600   Y     1 MAT,AERO
flight Equipment list 1    G50386       DOLLY        CLYDE      15f2710      Pre~2007   2005 51202                   CO                         S       550 $        S50    $      2,600   Y     1 MAT,AERO
Flight Equipment list 1    GSD387       GOLLY        CLYDE      15F2710      Pre2007    20D5 51203                   CO                         $       550 $        S50    $      2,600   Y     1 MAT,AERO
Flight Equipmentlistl      GS0388       DOLLY        CLYDE      15F2710      Pre~2007   200551204                    CO                         $       550 $        550    $      2,600   Y     1 MAT,AERO
Flight Equipment list 1    GSD390       DOLLY        CLYDE      15F2710      Pre-2007 2005 51206                     CO                         $       550 $        550    5      2,600   Y     1 MAT,AERO     C~
Flight Equipment list 1    GS0391       DOLLY        CLYDE      i5F2710      Prr2007    2005 51207                   CO                         $       550 $        550    $      2,600   Y     1 MAT,AERO
                                                                                                                                                                                                                I-~
Flight Equipmentlistl      GSD392       DOLLY        CLYDE      15F2710      Pre~2007   2005 51208                   CO                         $       S50 S        550    5      2,600   Y     1 MAT,AERO     Ul
Flight Equipment list 1    GSD393       GOLLY        CLYDE      15F2710      Pre2007    2005 51209                   CO                         $       550 $        550    $      2,600   Y     1 MAT,AERO     Ul
Fligfit Equipment list 1   GS~394       DOLLY        CLVDE      15F2710      Pre~2007     2005 51210                 CO                         $       550 $        550     $     2,600   Y     1 MAT,HERO     O
                                                                             Pre~2007     2005 51211           ~     CO                         $       550 $         550    $     2,600   Y     1 MA7 AERO     U't
Flight Equipment list 1    GSD395       DOLLY        CLYDE      15 F2710
Flight Equipmentiistl      GSD397       GOLLY        CLYDE      i5F2710      Pre-2007     200551213                  CO                         $       55~ $         550    S     2,600   Y     1 MAT,AERO     F~
Flight Equipment list 1    GSD398       DOLLY        CLYDE      15F2710      Pre-2007     2005 51214                 CO                         $       550 $         S50    5     2,600   Y     1 MAT,HERO
Flight Equipment list 1    GSD399       DOLLY        CLYDE      15F2710      Pre~2007     2005 51215                 CO                         $       550 $         550    $     2,600   Y     1 MA7,AERO
                                                                                                                                                                                                                        Case 15-50541-btb




                           GSD400       DOLLY        CLYDE      15F2710      Prr2007      2005 51216                 CO'                        S       550 $         550    $     2,600   Y     1 MAT,AERO
FlighC Equipment list 1
                           GSD401       DOLLY        CLYDE      15F2710      Pre-2007     200551240                  CO                         5       550 $         550    S     2,600 Y       1 MAT,AERO
Flight Equipmentlistl
Flight Equipment list 1    GSD402       DOLLY        CLYDE      15F2710      Pr22007      2005 51241                 CO                         $       550 $         550    $     2,600 Y       1 MAT,HERO
Flight Equipment list 1    GSD403       DOLLY         CLYDE     15F2710      Prc2007      2005 51242                 CO                         S       550 S         550    S     2,600 Y       1 MAT,AERO
                                                                                                                                                                                                                n
flight Equipment list 1    GSD404       DOLLY       ~ CLYDE     15f2710      Pre-2007     2005 51243                 CO                         $       550 $         550    $     2,600 Y       1 MAT,AERO
                                                                                                                                                                                                 1 MAT,AERO
                                                                                                                                                                                                                W
                           GSD405       DOLLY         CLYDE     15F2710      Pre~2007     200551244                  CO                         S       550 S         550    S     2,600 Y
flight Equipmentlistl
                                        DOLLY         CLYDE     15F2710      Pre~2007     200551249                  OR                         $       550 S       1Sa0     $     2,600Y        2MAT,AERO      N
                           6SD411
                                                                                                                                                                                                                        Doc 482




Flight Equipment listl
                           GSD368       DOLLY         CLYDE     15F2710      Pre-2007     2005 51183                 CA                         $       550 S       1,500    $     2,600 Y       1 MA7,AER0
flight Equipment list 1
                           GSD375       DOLLY         CIY~E     i5F2710      Pre~2007     2005 51191                 CA                         $       550 S       1500     $     2,600 Y       1 MAT,AERO
Flight Equipment lis[ 1                                                                                                                                                                                         u
                           GSD380       DOILY         CLYDE     15F2710      Prr2007      2005 51196                  CA                        $       550     $   1500     $     2,600 Y       1  MAT,AERO
Flight Equipment list 1
                           GSD384       DOLLY         CLYDE     15F2730      Pre2007      2005 51200                  CA                        $       550     S   1500     $     2,600 Y       1  MA7,AERO    CD
Flight Equipment list 1
                           G50414       DOLLY         CLYDE     15F2710      Pre~2007     2D05 51252                  CO                        $       550     S   1,500    $     2,600 Y       1  MAT,AERO
Flight Equipment List 1
                           G5~416       DOLLY         CLYDE     15F2710      Pre~2007     2005 51254                  CO                        $       550     $   1,500    $     2,600 Y       1  MAT,AERO    Q
Fight Equipment list 1
                           GSD417       DOLLY         CLYDE     15 F2710     Pre~2007     2005 51255                  CO                        $       550     S   1,500    $     2,600 Y       1  MAT,AERO
Flight Equipment list 1
                           GSO421       DOLLY         CLYDE     15F2710 -    Pre-2007     2005 51261                  CO                        $       550     $   1,500    $     2,600 Y       1  MAT,AERO
Flight Equipment list 1
                           GSD424       DOLLY         CLYDE     15F2710      Pce-2007 ~   2D05 51259                  CO                        $       550     $   1,500    $     2,600 Y       1  MAT,AERO    N
Flight Equipment list 1
                           GSD425       DOLLY         CLYDE     15 F2710     Pre-2007     2005 51260                  CO                        S       550     $   1,500    S     2,600 Y       1  MAT,AFRO
Flight Equipment list I
                           GSD366       DOLLY         CLYDE     15f2710      Pre~2007     2005 51181                  OK                        $       550     $   1500     $     2,600 Y       1  MAT,AERO    F-~
Flight Equipment list i
                                                                                                                      OK                        $       550     $   1500 $         2,600 Y        1 MAT,AERO    U1
Flight Equipmentlisti      GSD389       DOLLY         CLYDE     15F2710      Prr2007      206551205
                           GSD396       DOLLY         CLYDE     15F2710      Pre-2007     200551212                   OK                        $       550     $   1,500 $        2,600 Y        1 MAT,AERO    F-~
Flight Equipmentlistl                                                                                                                                                                                           CTI
                           TBO6         MISC          CLYDE     15F2397          2007     2007 53604                  TX                        $        85     $      BS $          85 N           HERO SPEC
Flight Equipment list 1
                            P432        TRACTOR       KNWRT     T800             2007     2007 2XKDAUSX27M179585      CA        133,812         $     28,000    $   40,000 S      54,000 Y        5 RB
 Flight Equipment list 1                                                                                                                                                                                        O
                            P433        TRACTOR       KNWRT     T800             2007     2007 2XKDAU8X47M3~9586      CA        140,161         $     28,000    $   40,000 5      54,000 Y        5 RB
 Flight Equipment list 1                                                                                                                                                                                         N
                            P434        TRACTOR       KfJWRT    T800             2007     2007 2XKDAUSX67M179587      CA      147,571            $   .28,000 $      40,000 $       54,000 Y       5 RB
 Flight Equipment list 1
                            GSTPS       MISG UNfT     UNKNOWN   900 MA           2009     2009 14397                  Non Lic                    $       250 $         250 $         250 N          Estimated
 Flight Equipment list 1
                                                                                                                                                                                                                        Entered 11/23/15 17:02:48




                            P1201       TRACTOR       KNWRT      T660            2010     ZO10 1XKA049X7A1268446      CA      1,383,213          $     33,000   $   40,000   $     56,000   Y     3 RB
 Flight Equipment list 1
                            P478        TRACTOR       KNWRT      7800            2010     2010 IXKDA48X7AJ267868      FL      571,328            $     13,000   $   15,000   $     38,900   Y     5 ClT
 Flight Equipment fist 1
                            P479        TRACTOR       KNWRT      T800            2010     ZO10 1XKDA48X90.1267869     Fl      431,646            $     13,000   $   15,000   $     18,900   Y     5 CTT
 Flight Equipment list 1
                                         MISC         CLYDE      15F2011         2011     2011 58898                  Non Lic                    $       550    $     550    $       550    N       MAT
 Flight Equipment list 1    C505
                            C530         MiSC         CLYDE      i5F2011         2011     2011 416838430              Non Tic                    $       550 $        550 5           550   N       MAT
 Flight Equipment list 1
                                                                                                                      Non Lic                    $       550 5        550 $           550   N       MA7         (D
 Flight Equipment list 1    CSll         MISC         LLYDE      SS F2011        2011     2011 30391
                            RKL100       LOADER       J8T        COMMANDER       2014     2014 C30t14004              Non Lic 993                $      3,500   $    3500    $      3,500 N         Estimated   O
 flight Equipment list 1
 Flight Equipment list 1    658710       1lJG         FORDX      F350            2015     2015 SB032                  Non Lic 1,490              $        250   $     250    $        250 N         MAT
                                                                                                                                                                                                                 I--'
                            658711       TUG          FORDX      F350            2015     2Q75 58033                  Non Lic                    $        250   S      250   S        250 N         MAT          N
 Flight Equipment list 1
                                                                              Prr2007                                 Non Tic                    $     15,000   $   20,000   $     29,500 Y       1 MAT, GSE     W
 Fight Equipment list 1     KL09
 Flight Equipmen[Iist2      TRAILER                   BROWN      TRAILER      Prr2007      1965 NONEl                 CA      0                  $      2,500   S    2,500   $      2,500 Y       1 Ritchie8
                            TRAILER                   TLTXX      TRAILER      Prr2007      1990 LA652980              CA      1                  $      1,500   $    1500    $      1500  N         Estimated
 Flight Equipment list 2
                                                                                                                                                        1,500   $    1,500   $      1,500 N         Estimated
                                                                                                                                                                                                                        Page 171 of 252




 Flight Equipment list 2    7RAlLER                   DTHMR      KK36058      Pre~2007     1999 15DK101WOXAA08007     CA      1                  $
 Flight Equipment list 2    CON-DOILY                 UTLN       DOLLY            2007     2007 1U3JE9212fi8J01108    Non Lic 198                $        300   5    1,500   $      1500 Y        2 RRchie B




                                                                                                            Page 13 of27
            Matheson Equipment


File Source               Unit No   Type            Make         Modei             YR         Year   V1N#                 State    Odometer    GVW       LIQ VAIUEIOV   UQ VALUEAVE    LIQ VAL HIGH    COMFCONSOURCE
Flight Equipment list 2   CON-DOLLY                 UTLTY        DOLLY                2007      2007 lU3JE92146BJ01109    Non Lic 103,254                $       300    S      1500    $       IS00    Y     2 Ritchie 6
Flight Equipment list 2   CON-DOLLY                 UTLN         DOLLY         ~       2007     2007 lU3JE921066101110    Nan Lic 108,348                $       300    5      1,500   5       1 00    Y-    2 Ritchie B
Flight Equipment list 2   CON•DOILY                 UTLiY        DOLLY                2007      2007 lU3JE92126B101111    Non Lic 120,962                $       300    $      1500    5       1,500   Y     2 Ritchie B
                          CON-DOILY                 U7LTY        DOLLY                 2007     2007 1031 E921466J01112   Non Uc 96,233                  $       300    $      1$00    $       1,500   Y     2 Ritchie 6
Flight Equipment list 2
                          CON-DOLLY                 UilTY        DOLLY                 2007     2007 lU3JF921668J01113    Non Lic 262,052                5       300    5      1,500   5       1,500   Y     2 Aitchie B
Flight Equipment list 2
                          CON-DOLLY                 UTLTY        DOLLY                 2007     2007 1U31F921866J01114    Non Lic 100,827                $       300    $      1,500   $       1,500   Y     2 Ritchie B
Flight Equipment list 2
                          CON-DOLLY                 U1LTY    _   DOLLY                 2007     2007 1U31E921X66101115    Non lic 121,784                $       300    $      1,500   5       1500    Y     2 Ritchie B
Flight Equipment list 2
                          CON-DOLLY                 UTL7Y        DOLLY                 2007     2007 lU3JE921168101116     Non Lic 75570                 $       300    $      1,500   $       1,500   Y     2 Rkchie B
Flight Equipment list 2                                                                                                                                                                                                         N
                          CON-DOLLY                 UTLTY        DOLLY                 2007     2007 lU3JE921566J01118     Non Lic 107,447               S       300    $      1,500   $       1$00    Y     2 Ritchie B        Ul
Flight Equipment list 2
                          TRAILER                   UTLN         V52DC                 2007     20071UW512897P308502       NonLic29,808                  $      9500    $      9500    $       9,500   Y     1 Ritchie8         Ul
Flight Equipmentlist2
                          TRAILER                   UTLiY        V52DC                 2007     2007 3UWS12827P308504     Non Uc 24,932                  $     8,929    $      8,929    $     8,929    Y     1 Ritchie B        O
Flight Equipment list 2
                                                                                                19666160114003            CA     71,708                  $       750    $        750    S       750    Y     1 RBchieB          CT7
Postal Equipment list     GR7906       TRAILER      U1tN         DRY VAN 45        Pre~2007                                                                                                                                     -P
                          PT14         TRAILER      BROWN        ?RAILER           Prr2007      1968 M686242              OR     0                       $       600    $      1,200    $     1,650    Y     0 Ritchie6         F~
Postal Equipment list
                          P73          TRAILER      BROWN        DRY VAN 40        Pre~2007     1968 5684730C             CA     163566                  $       600    $      1,200    $     1,650    Y     3 RRchie6
Postal Equipment list
                                       TRAILER      BROWN        7RAILFR           Pre-2007     196856847310              CA      0                      $       S00    $      1,000    $     1$00     Y     2 Ri[thie8
Postal Equipment list     PT4
                                                                                                                                                                                                                                        Case 15-50541-btb




                          PT10         TRAILER      UTLTY        1RWLER            Pre-2007     1970 7UU3255028           CA      0                      $       500 $         1,000 $        2,000 Y          5 Ritchie B
Postal Equipment list
                                       7RAllER      LfKTFt       TRAILER           Pre-2007     1977 47971                CA      0                      $       600 $         1,200 $        1,650 Y          3 Ritchie B
Postal Equipment list     P133
                                        TRAILER     IFKiR        TRAILER           Pre-2007     1977 47976                CA      339,782      70,000    S      500     $      1,000    $     2A00     Y       2 Ritchie B
Postal Equipment list     PT38
                                                                                                                                                         $      500     $      1,000    $     2,000    Y       2 Ritchie8       O
Postal Equipment list     PT40          TRAILER     LFKTR        TRAILER           Pre2007      197747978                 NV      0                                                                                             n
                          PT35          iRAIIER     LfKTR        TRAILER           Pro
                                                                                     -2007      1977 47973                CA      0                      5      500     5      1,000    $     2,000    Y       2 RRchie B
Postal Equipment list                                                                                                                                                                                                           W
                                        TRAILER     UiLTY        UNKNOWN           Prr2007      1978 ~L81699004           Non lic 20,583                 $      800     $      1,500    $     2$00     Y       5 Ritchie B
Postal Equipment list     GT45943
                                        TRAILER     iRLMB        DRY VAN 45        Pre-2007     19821PTD7IARC9000478 -    CA      26,000                 $     1,250    $      1,750    5     2$SO     Y       4 Ritchie8       N
                          GT27925
                                                                                                                                                                                                                                        Doc 482




Postal Equipment list
                                                    DORSY        DRY VAN 45        Pre2007      1982 1DN11W26CA157829     CA      130,166                $     1,500    $      SS00     $     1,500    N         Estimated.
Postal Equipment list     GT45919       TRAILER
                                                    DORSY        DRY VAN 45        Prr2007      19821DN11W29CA157792      CA      313,212                $     1$00     $      1,500    $     1,500     N        Estimated
Postal Equipmentiist      GT45920       TRAILER                                                                                                                                                                                 m
                          PT137         TRAILER     GRTDN        DRY VAN 45        Pre-2007     1983 1t,RAA902X08044045   CA      21,326                 $     1,000    $      1,500    $     2,250     Y      5 Ritchie B
Postal Equipment list
                                                                 DRY VAN 45        Pre-2007     1983 1GRAA9027D6044049    CA      230,625                5      2,000 $        2,000    $     2,000     Y      1 Ritchie B      (D
Postal Equipment list     P7138       - TRAILER     GRTDN
                                                                  DRY VAN 45       Pre~2007     19831GRAP.9029D8044D53    CA      102,148                $      2,000 $        2.000    $     2A00      Y      1 Rhchie8
Postal Equipment list     PT739         TRAILER     GRTDN                                                                                                                                                                       CD
                                                    GRTDN         ORYVAN 45        Prr2007      1983 1GRAA9022D8044055    CA      20,550                 S      2,000 S        2,000    S     2,000     Y      1 Ritchie B      Q.
 Postal Equipment list    PT140         TRAILER
                                                                  DRY VAN 45       Pre-2007     19831GRAA9028D8019838     CA      0                      $      2,000   $      2,000    $     2,000     Y      1 Ritchie8       O
 Postal Equipment list    P7149          TRAILER    GRTDN
                                                    GRTDN         DRY VAN 45       Prr2007      19831GRAA9021DBOd4001     CA      56,186                 $      2,000   $      2,000    5     2,000     Y      1 RitchieB
 Postal Equipment list    PT150          TRAILER
                                         TRAILER    GRTDN        (RAILER           Prr2007      19831GRPA9023D6044033     CA      0                      $      2,000   $      2,000    $     2,000     Y      1 Ritchie8       I-~
 PoswlEquipmentlist       PT134
                                                                 TRAILER           Pre2007      1983 1GRAA9028D8044058     CA     2                       S     2,000   $      2,000 $        2,000     Y      1 RitchieB
 Postal Equipment list     PT142        TRAILER     GRTDN
                                        'FRAILER    TRLMB        DRY VAN 45        Pre2007      19841PTO11R14F9004831      AZ     31,985                  $       800   $      1,300 $         2,250    Y      5 Ritchie6       F~
 Postal Equipmentiist      PT45                                                                                                                                                                                                 Cal
                                                                 1RAILER            Pre-2007    19841PTO11RJ2E9004830      CA     0                       5      849 $         2,000 $         2,949 Y         5 Ritchie8
 Postal Equipment list     PT44         TRAILER     TRLMB
                                                                                                                                                          $      500 $          1500 $         3,000 Y         5 RitchieB       N
 Postal Equipmenttist      GT45958L     iRAtLER      UTLTY       UNKNOW(J           Pre-2007    19851UYV52454FC306614      CA     1
                                                                                    Prr200>     1985 SF9601136F1016018     CA     0                       $      500 $          1,500 $        3p00 N            Estimated
 Postal Equipment list     PJl          MSC UNIT    EGHPN        AT2HCA
                                        IRA~LER     MONON        DRY VAN 45         Prr2007     1987 1NNVA4524JM113739     U1      212,805                $     1,579 $         1$79 S         1,579 Y         1 Ritchie B
 Postal Equipment list     G745948                                                                                                                                                                                              O
                                        lTiAILER    7RLMB        DRY VAN 48         Pre-2007    1988 SPTO SARH6J9004224    Non Lic 23,983                 $      688 $          1,115 $        3,118 Y         5 Ritchie B
 Postal Equipment list     PT161                                                                                                                                                                                                I~
                                        TRAILER      TRLMB      DRY VAN 53          Pre-2007     1989 1P7011RH6J9004854    CA      1,458,078              $     1,100 $         3,200 $        6,000 Y         5 Ritchie B
 Postal Equipment list     TN5301
                                        TRAILER      GR7DN      ORYVAN45            ?rr2007      19891GRAA9020K5112611     CA     55,468                  $     1,157 $         1,789 $        4,000 Y         5 Ritthie8
 Postal Equipment list     GT45952
                                                                                                                                                                                                                                        Entered 11/23/15 17:02:48




                                                     FRUHF      FPP fll             Pre2007      1989 1H4V02811KJ024902    CA     27                      $       597 $         2,250 $        3,390 Y         4 Ritchie B
 Posta{ Equipment list     FT121        TRAILER
                                                     U7LTY      DRY VAN 48          Pre-2007     19921UYVS2486NC671014     CA     70,401                  $     1,000    $      2500    $      4,000 Y          5   Ritchie8
 Postal Equipment list     PT180         TRAILER
                                         UTiLfTY     NORZ71lAND POLAR SSC           Prr2007      1992 92032                Non liC      ~                 $     5,000    $      6,000   $      7,000 Y          1   SCG
 Postal Equipment list     PCPR01
                                                     U7L7Y      DRY VAN 48          Pre-2007     1992 1UW52488NC673001     CA      299,500                $     1,000    S      2500    $      4,000 y          5   Ritchie B    CD
 Postal Equipment list     PT167         TRAILER
                                                                DRY VAN 48          Pre2007      1992 1UW52483NC671004     CA      24,741                  $    1,000    $      ZS00    $      4,000 Y          5   Ritchie6     C1l
 Postal Equipment list     PT170         TRAILER     U7LTY
                                                                                                                           CA      385,100               _ $    1,000    $      2500    $      4,000 Y          5   Ritchie 8    O
 Postal Equipment list     Ptt79         TRAILER     U7LN       DRY VAN 48          Prr2007      1992 3UYV52484NC671013
                                                                DRY VAN 48          Prr2007      19921UYV5248~NC671008     CA      437,137                 $    1,000    $      2,500   $      4,000 Y          5   RitchieB     O
                                                                                                                                                                                                                                 --~.
 Postal Equipment list     PT374,        TRAILER     UlL7Y
                                         TRAILER     UTL1Y      DRY VAN 48          Pre-2007     1992 1UW52489NC671010     CA      487,615                $     1,000 $         2$00 $         4,000 Y          5 Ritchie B      N
 Postal Equipment list     Dtt76
                                         iFiAILER    UTL1Y      DRY VAN 48          Pre-2007     1992 SUW52481NC671020     CA      76,842                 $     2,000 $         3,000 $        4,000 Y          4 Ritchie8       N
 Postal Equipment list     PT386
                                                                                                                                                                1,392 $         3,000 $         4,000   Y       5 Ritchie6       W
  Postal Equipmentlist     PT168         TRAILER     U7LlY      DRYVAtJG8           Pre-2007     19923UYV5248XNC673002     CA      307,550                $
                                                                V52DF               Pr~2007      19921UW52483NC671018      CA      65,676                 $     1,392 $         3,000 $         4,000   Y       5 Ritchie8
  Postal Equipment list    P7184         TRAILER     UTLTY
                                                                V52DF               Pr~2007      1992 lUYVS2488NC671007    Non Lic 147,082                $     1,392 $         3,000 $         4,000      Y    5 Ritchie B
  Postal Equipment list    PT173         TRAILER     UTLT!
                                                                                                                                                                                                                5 Ritchie8
                                                                                                                                                                                                                                        Page 172 of 252




                                                     UTLTY      DRY VAN 4S          Prr2007      19921UYVS2482NC671009     CA      367,848                $     1,342 $         3,000 $         4,000      Y
  PostatEquipmentlist      PT175         ii2AILER
                                         TRA7lER     UTLN       ORY VAN 48          Pre2007      1992 1UW52481NC671017     CA      490,430      65,000    $     1,392 $         3,000 $         4,000      Y    5 Ritchie B
  Postal Equipment list    PT183




                                                                                                                   Page 14 of27
            Matheson Equipment



                          Unit Na     Type        Make      Model             YR       Year    VIN it               State   Odometer     GVW       LIq VACUELOU UQVALUEAVE     LIQ VAL HIGH    COMPCON SOURCE
File Source
                          PT40001     TRAILER     UTLN      DRY VAN           Pr22007 1992 1UW52403NC761201         Non lic 1                      $      1,392 $     3A00     $      4,000    Y    5 Rftchie6
Postal Equipment list
Postal Equipment list     FTS3031     TRAILER     UTLN      V52DF             Pre-2007    1994 1UW52531RC229525     CA      70,150                 $      1,500 $     1,500    $       1,500   Y     1 RitChieB
                          PT193L      TRAILER     UTLTY     DRY VAN 48        Pre2007 1994 SUYV52481RC212706        CA      12,551                 $      1500 $      2500     $       5,000   Y     5 Ritchie8
Postal Equipment list
Postal Equipment list     PT194L      TRAILER     UiLTI     DRY VAN 48        Pre2007 1994 lUriS2483RC212707        CA      450,416                $      1$00 $      2500     $       5,000   Y     5 RitthieB
                          PT195L      TRAILER     UTITY     DRY VAN 48        Prr2007 1994 1UW52485RC212708         Non liC 47,692                 $      1$00 $      ZS00     $       5,000   Y     3 Ritchie6        (7
Postal Equipment list
                          PT392       TRAILER     UTLT'     DRY VAN 48        Pre-2007    1994 lUYV5248XRC212705    CA      87,334                 $      1,500 $     2,500    $       5,000   Y     5 Ritchie6        ~
Postal Equipment list
                                      TRAILER     UlLlY     ORYVAN 48         Pre-2007    1994 1UW52483RC212710     Non lic 122,144                5      1$00. $     2500     S       5,000   Y     5 Ritchie B       ~
Postal Equipment list     PT197
                          PTZ00       TRAILER     UTLN      DRY VAN 48        Pre-2007 -. 1994 SUW52489RC212713     Non Lic 115,469      65,000    $      1$00 $      2,500    $       5,000   Y     5 Ritchie6        ~
Postal Equipment list
                                      TRAILER     U'RT!     DRY VAN 48        Prr2007 19941UWS2484RC212716          CA      4,139                  5      1500 5      2,500    $       5,000   Y     5 Ritchie8        (}~
Postal Equipment list     P'R03
                          PT45001     TRAILER     U7tT'     DRY VAN 53        Pre~2007    1994 1UW52532RC318102     CA       79,308                $      3$00 $      3500     $       300     Y     1 Ritchie6         ~
Postal Equipment list
                                      TRAILER     UTLTY     DRY VAN 48        Prr2007 19943UW52488RC212721          CA       359,839               5      1,000 5     2500     5       4500    Y     5 Ritchie6        Q.
PostalEquipme~tlist       PT208
                          PT190       TRAILER     UTLTY     DRY VAN 48        Pre-2007 1994 SUW52486RC212703        CA       61,030                $      2,000 $     3,000    $       4,000   Y     4 RitchieB        ~
Postal Equipment list
                                      1RAllER     UTL1Y     ORYVAN48          Prt2007 19941UW52480RC212714           CA      36,206      65,000    S      2,000 $     3,000     $     4,000    Y     4 Ritchie6        ~
Postal Equipmentiist      PROl
                                                  UTL7Y     DRY VAN 48    -   Pre-2007    19941UYVS2486RC212717    ~CA       76,238                $      2,000 $     3,000     $     4,000    Y     4 RitchieB        S
Postal Equipment list     PR04        TRAILER
                                                  U7L1Y     DRYVAN 48         Prr2007 1994 lUYV52488RC212718         CA      55,198                $      2,000 $      3,000    $     4,000    Y     4 Ritchie6        ~
Postal Equipment list     PROS        TRAILER
                                                                                                                                                                                                                             Case 15-50541-btb




                                      TRAILER     UTL1Y     DRY VAN 48        Pre2007 1994 lUYV524S2RC212715         CA      223,275               $     2,000 $       3,000 $        4,000    Y     4 Ritchie B
Postal Equipment list     PR02
                                                  UILTY     DRY VAN 48        Prr2007 1994 3UW52482RC212701          Non Lic 81,613                $     2,000 $       3,000 $        4,000    Y     4 Ritchie B
Postal Equipment list     PT188       TRAILER
                                      TRAILER     U7L7Y     ORYVAN 48         Pre2007     1994 1UW52484RC212702      CA      45,731                $     2,000 $       3,000 $        4,000 Y         4 Ritchie B      Q
Postal Equipment list     Ptt89
                                                  GMXXX     PICKUP            Prr2007     1994 1GTf51972R8524036     Non Lic 325,294               $     1,000 $       3,500 $        6,000 N           Ritchie B      0
Postal Equipment list     M14         UTiL(TY
                                                  TSIXX     TS1032            Pre200~     1994 10112               -Non Lic 1                      $     2.000 $       3,D00 5        4,000 N           Ritchie B      ~
Postal Equipment list     MT4A .      TRAILER
                                      TRAILER     UTL'TY    ORYVAN 48         Pre-2007    1995 lUYVS2488SC658101    CA      57,390                 $     2,000    $    3,500    $      7,000    Y      S   Ritchie8    ~
Postal Equipment list     PR07L
                                                  UTL7Y     DRY VAN 53        Pre~2007    1996 1UW52539TC818801     CA      153,383                $     2,000    $    3,200    $      SS00     Y      5   Ritchie 8   F-'
Postal Equipment list     PT209       TRAILER
                                                                                                                                                                                                                             Doc 482




                                                  U1LT'     DRY VAN 53        Prr2007     1996 1UW52530TC818802     CA      319,682                $     2,000    $    3,200    $      5,500    Y      5   Rhchie B
Postal Equipment list     PR 10       TRAILER
                                                  SfRCK     DRY VAN 53        Prr2007     I9961512ES533TF387298     CA      201,950                $     1,200    $    1,650    $      4,250    Y      5   Ritthie8    m
Postal Equipment list     PT53231     TRAILER -
                                                  SfRCK     DRY VAN 53        Prr2007     1996 1S32E8537TE387353    CA      83,048                 $     1,000    $    2,000    $      4,250    Y      5   Ritchie B   ~
Postal Equipment list     TN5317      TRAILER
                                                            F1D120            Prr2007     1996 3FUYDRYB61P663322    Non Lic 1,061,609    70,000    $     4,000    $    8,000    $     12,000    Y      5   Ritchie B   ~
 Postal Equipment list    P329        TRACTOR     FiiGHT
                                                  U71N      DRY VAN 53        Prr2007     1996 lUYV52539TC818815    Non Lic 307,65k                $     2,000 5       3200 $          SS00     Y      5 Ritchie6      "'S
 Postal Equipment list    PT223       TRAILER
                                                            DRY VAN 53        Prr2007     1996 lUYVSZ530TC818816    Non lic 268,125                $     2,000 $       3,200 $         5,500    Y      5 RitchieB      Q
 Postal Equipment list    PRZ4        TRAILER     UiL1Y
                                                  SfRGK     DftYVAN 53        Pre-2007    1996 1512ES5357E387240    Non Lic 597,598                $     1A00 $        2,000 $         4,250    Y      5 Ritchie6      ~
 Postal Equipment list    PT53265     TRAILER
                                      TRAILER     S7RCK     DRY VAN 53        Pm2007      19961512E8533TEi87351     CA      528,119                $     2.000 $       3,200 $         SS00 Y          5 RitchieB      CO
 Postal Equipment list    P753232
                                                  STRCK     DRY VAN 53        Pre~2007    19961512E85311F387350     CA      69,202                 $     2,000 $       3,200 $         SS00 Y          5 Ritthie6      ~
 Postal Equipment list    TW5303      TRAILER
                                                                                          1996 1S12E8537TE387224    CA      79,172                 $     2,000    $     3,200 $        SS00 Y          5 RitthieB      O~
 Postal Equipment list    PN5305       TRAILER    SIRCK     ORYVAN 53          Pre-2007
                          TW5307       TRAILER    S1RCK     DRY VAN 53         Pre-2007   1996 1512E853XiE387363    CA      85,021                 $     2,000    $     3,200 $        5,500 Y         5 Ritchie6      I~
 Postal Equipment list
                                       TRAILER    S7RCK     DRY VAN 53         Prr2007    19961512ES534TE387245     CA      726,802                $     2,000    $   - 3,200 $        5$00 Y          5 Ritchie8      ~
 Postal Equipment list    NJ5309
                                                            DRY VAN 53         Prr2007    19963UWS25327C818803      CA      40,873                 $     2,000    $     3,200 $        5,500 Y         5 Ritchie6      N
 PosTalEquipmentlist      PR11         TRAILER    -UTLTY
                                                   U'TLlY    ORYVAN53          Pre-2007   19961UW52534TC818804      CA      .111,262               $     2,000    $     3,200 $        SS00 Y         .5 RitchieB      ~
 Postal Equipment list-   P1212        TRAILER
                                                   UTL'fY    DRY VAN 53        Pr~2007    1996 1UW52538TC818806     CA      91,683                 $      2,000 S      3,200 $         SS00 Y          5 Ritchie B      O
 Postal Equipment list    PT214        TRAILER
                                                   UTLTY     DRY VAN 53        Pre~2007   1996 IUYV5253XTC818807    Non Lic 161,029                $      2,000 $      3,200 $         5,500 Y         S Ritchie B
 Postal Equipment list    PTL15        TRAILER
                                                   UTLT'     DRY VAN 53        Pre~2007   1996 lUWS2531TC818808     Non Lic 126,688                $      2,000 $      3,200 $        .5,500    Y      5 Ritchie B     ~
 Postal Equipment list     PT216       TRAILER
                                                   UTL'fY    DRYVAN 53         Pre~2007 .1996 1UW52533TC818809       Non Lic 22,054                $      2,000   $    3,200 5          5,500   Y      5 Rkchie6
 Postal Equipment list     PR17        7RAllER
                                                                                                                                                                                                                             Entered 11/23/15 17:02:48




                                                   UTL7Y     ORYVAN 53         Pre-2007 1996 1UYV5253KfC818810       Non Lic 32,095                $      2,000   5    3,200 S          5,500   Y      5 RitchieB
 Postal Equipment list     PR38        TRAILER
                                                   STACK     DRY VAN 28        Pre2007 1996 SSS1E8286iE404896        CA      42,955                $      1,000   $    1500 $           2,000   Y      3Ritchie8       ~
 PostalEquipmen[list       PT28003L    TRAILER
                                                   STRCK     DRY VAN 53        Prr2007 1996 1S72E8532TE387284        CA      21,269                $      2,000   $    3,200 $          SS00    Y      5 Ritchie B     ~
 Postal Equipment List     Pi5311      TRAILER
                                                             DRY VAN 53        Prc2007   19961512E8532TEi87289       CA      21,269                $      2,000   $    3,200 $          5$00    Y      5 Rkchie6       ~
 Postal Equipment list     PT5311      TRAILER     STRCK
                                                             DRY VAN 53        Prr2007   19961512E8532TE387289       CA      21,269                $      2,000   $     3,200   $       SS00    Y      5 Rifchie8      Ul
 Postal Equipment list     PT5311      TRAILER     STRCK
                                                             DRY VAN 53        Pre~2007 1996 1UW52536TC818805        CA      552,431               $      2.OD0   $     3,200   $       5,500   Y      5 RRthieB       N
 Postal Equipment list     PR13        TRAILER     U'fLTY
                                                   STRCK     DRY VAN 53        Prr2007 1996 1512E853XTEi87265        CA      524,230               $      2,000 $       3,200   $       5,500   Y      5 Rhchie6       0
 Postal Equipment list     PT53233     TRAILER
                                                   TNT       8100              Pre-2007 19981HSHCAHR9WH553069        CA      1,262,833    62,000   $      4,500 $       6,000   $       8,000   Y      5 RKthieB       ~
 Postal Equipment list     G7087       TRACTOR
                           G74595a                 RAM R2    ORYVAN45          Pre4007 19983AEV56522WM012079         CA      121,393               5      1,500 $       SS00    $     ~ SS00    N        Estimated     N
 Postal Equipment list                 TRAILER
                                                   RAMRZ     ORYVAN 45         Prr2007    1998 3AEV54520WM012081     CA      69,993                 $     1,500 $       1,500   $      1500 N            Estimated      W
  Postal Equipment list    GT45956     TRAILER
                                                             ORYVAN53          Pre2007    19981UYV5253XWC388121      CA      325,397                $     1,700 $       4,300   $      8,000 Y         5 Ritchie6
  Postal Equipment list    PR47        TRAILER     UTITY
                                       TRAILER     UTLTY     V520C             Pre-2007   3998 lUYVS2536WC527113     CA      65,859                 $     2,255 $       3,500   $      4,000 Y         3 RRchie B
  Postal Equipment list    P7R53011
                                                                                                                                                                        3500    S      4,000 Y         3 Ritchie8
                                                                                                                                                                                                                             Page 173 of 252




  Postal Equipment list   -PTR53012    TRAILER     UiLN      V52DC             Pre2007    19981UW52538WC527114       CA      78                     $     2,255 $
                                       TRAILER     WABSH     ML653102W33       Pre~2007   199811JV532WWF533182       CA      234,942                $     1$00 $        2500    $      4,500 Y         5 Ritchie6
  Postal Equipment list    PT53087




                                                                                                            Page 15 of 27
             Matheson Equipment



PiieSource                 Unit No     Type         Make      Model          YR        Yea VINtf                State Odometer      GVW       LIQVALUELOVLIQVALUEAVE LIgVALHIGH COMFCONSOURCE
Postal Equipment list      NJ17        TRACTOR      PTRBL     2AXlE          Pre-2007 1998 3WPNAD7X3WF463155    CA      314,690     65,000    $    5,000 $      9,000 $   20,000 Y    5 Ritchie6
Postal Equipment list      PT53079     TRAILER      WABSH     DRY VAN 53     Prr2007 1998 1RZ19C2C3W2001039     CA      36,501                $    2500 $       3500 $     4,500 Y    5 Ritchie8
Postal Equipment list      PT53086     TRAILER      TRLMB     DftYVAN        Pre-2007 19981PTU1JAH8X9006948     CA      685,010               $    1,700 $      4,300 $    8,000 Y    5 RitchieB
Postal Equipment list      PT257       TRAILER      UTLT'     DRY VAN 53     Pre2007 1998 lUYVS2538WC611708     CA      355,895               $    1500 $       2,800 $    5,000 Y    5 Ritchie8
Postal Equipment list      PR26        'fRAILEft    UTItt     DRY VAN 53     Pr~2007 1998 1UW52535WCA31702      CA      624,475               5    iS00 $       2,800 $    5,000 Y    5 Ritchie8
Postal Equipment list      P7242       TRAILER      UTL7Y     DRY VAN 53     Pre-2007 19981UYV52536WC388116     CA      633,332               $     1,500 $     2,800 $    5,000 Y    5 Ritchie8
Postal Equipment list      PT48013     TRAILER      UTLN      V52DC          Prr2007 19981UWS2533WC527103       CA      82,032                $    2,255 $      3500 $     4,000 Y    3 Ritchie8      CD
Postal Equipment list      PT48014     1RAlLER      UTITY     V52DC          Pre~2007 1998 lUWS2535WC527104     CA       281,379              $     2,255 S     3500 $     4,000 Y    3 Ritchie8
                                                                                                                                                                                                      N
PosulEquipmentlist         PT236       TRA4ER       UTL1Y     ORYVAN53       Prr2007 19981UYV52535WC388130      CA       215,249              5     1500 5      2,800 S    5,000 Y    S Ritchie8      U't
Postal Equipment list      PR55        TRAILER      UTLTY     DRY VAN 53     Prr2007 1998 SUW52534WC611706      CA       481,541              $     1500 $      2,800 $    5,000 Y    5 Ritchie B
                                                                                                                                                                                                      C T'i
Postal Equipment list      PR67         TRAILER     UTLTY     DRY VAN 53     Pre~2007 1998 1UW52536WC611903     CA       3                    $     1$00 $      2,800 $    5,000 Y    5 Ritchie8      O
Postal Equipment list      PR46         TRAILER     U1tN      DRY VAN 53     Pre2007 1998 SUYV52538WC388120     Non lic 200,949               $     1500 $      2,800 $    S,000 Y    5 Ritchie8      CJ1
Postal Equipment list      PTt48        TRAILER     UTLTY     DRY VAN 53     Pre-2007 1998 1UW52531WC388122     CA       444,523              $     1,500 5     2,800 5    5,000 Y    5 Ritchie B     I-~
Postal Equipment list      PT249        TRAILER     UTLiY     DRY VAN 53     Prc2007 1998 1UW52533WC388123      CA       114,136              $     1,500 $     2,800 $    5,000 Y    5 RkchieB
 Postal Equipment list     PT258        TRAILER     UTLTY     DRY VAN 53     Pre-20Q7 1998 1UW5253XWC611709     CA       54,462               $     1$00 $      2,200 $    4,500 Y    5 Ritchie B
                                                                                                                                                                                                              Case 15-50541-btb




                                                                                                                                                                           4,500 Y    5 Ritchie6      6
 Postal Equipment list     PR68         TRAILER     UTLtt     DRY VAN 53     Pre2007 1998 1UWS2538WC611904       CA      414,175 -            5     1,500 $     2,200 $
 Postal Equipment list      M32         UT1LfTY     6MXXX     SONOMA         Pre~2007 1998 1~TCS19XOW8513580     Non Lic 224,040              $        600 $    2500 $     3,000 Y    4 RRchieB
 Postal Equipment list     PT48012      7RAlLER     UiLN      VS2DC          Pre-2007 1998 1UYV5253XWC527101     CA      429,943              $     2,600 $     2,250 S    3,500 Y    3 RitchieS
 Postal Equipment list     PT48012      TRAILER     UTLTY     VS2DC          Pre-2007 19981UWS253XWC527101       CA      429,943              $     2,000 $     2,250 $    3,500 Y    3 Ritchie8      O
                                                                                                                                                                                                      (7
 Postal Equipment list     PTS3057      TRAILER      UTL7Y    V52DC          Pre-2007 19981UW52539WC527106       CA      10,671               5     2,000 $     2,250 $     3,500 Y   3 Ri[chieB
                                                                                                                                                                                                       W
 Postal Equipment list      GT45955     TRAiIER     RAM R2    DRY VAN 45     Prc2007 1998 3AEV54529WM012080      CA      S1A21                $        550 $    2500 $     4,000 Y    5 Ritchie8
 Postal Equipment list     P62           MISC       ALMNA     23FVI6         Pre2007 1998 AWB13718D798           CA      1                    5        500 5     1,500 $    3,000 N      .Estimated   F-~
                                                                                                                                                                                                              Doc 482




 Postal Equipment list     PT227        TRAILER      UTLT'     DRY VAN 53    Prr2007 1998 SUWS2534WC388301       CA      467,89Q              $     2,000 $      3,200 $    5,500 Y   5 Ritchie8
 Postal Equipment list      PT228       TRAILER      URN       DRY VAN 53     Pre~2007 1998 SUW52536WC388102     CA      232,163              $     2,000 5      3,200 5    5,500 Y   5 Rhcbie8
                                                     UTLTY                    Pre~2007 19981UW5253XWC388118      CA      47,714               $      2,000 $     3,200 $    5,500 Y   5 Rftchie8
                                                                                                                                                                                                      m
 Postal Equipment list      P1Z44       TRAILER                DRY VAN 53
 Postal Equipment list      PT232       TRAILER      UTLN      DRY VAN 53     Pre~2007 1998 1UYV52533WC388106    CA      272,346              S      2.000 $     3,200 $    5$00 Y    5 RitchieB      CD
 PoStalEquipmenttist        PTS3088     TRAILER      MONON     DRY VAN        Pre-2007 19991NNVA5321XM316030     CA       1,023,443           $        500 $     SS00 $     2,500 Y   5 RitchieB
                                                                                                                                                                                                      CD
 Postal Equipmentiist       PT53088     TRAILER      MONON     DRY VAN        Pre-2007 19991NNVA5321XM316030     CA       1,023,443           5        500 $     1,500 5    2,500 Y    5 RKchieB      Q
 Postal Equipment list      PT53D89     "!RAILER     TRLMB     ORYVAN         Pre-2007 19991PTO1JAH3X6012139     CA       SSSa6               $      1,400 $     3,600 $    7,500 Y   5 Ritchie8
                                                                                                                                                                                                      O
 Postal Equipment list      Pl'S30D3    1RAllER      UTLTY     DRY VAN 53     Prr2007 1999 1UW52533XC080001      CA       210,320              5     1,500 $     2,200 $    4500 Y     5 Ritchie6
 Postal Equipment list      PT53002     7RAILFR      UTl1Y     DRY VAN 53     Pre~2007 1999 1UWS2535XC080002     CA      878,777              $      1,500 $     2,200 $    4,500 Y    5 Ri[chie8      N
  Postal Equipment list     Pl'S3003     TRAILER     UTITY     DRY VAN 53     Pre~2007 19991UYV52537XC080003     CA      562,438        -     $      1,500 $     2,200 $    4500 Y     ~5 RitchiCB
  Postal Equipment list     PT53005      TRAILER     UTL1Y     DRY VAN 53     Pre~2007 1999 3UWS2530XC080005     CA       226,458             $      1,500 $     2,200 S    4,500 Y    5 RRchie B      N
  Postal Equipmentfisc      PT53045     ?RAILER      UTLTY     DRY VAN 53     Pre~ZD07 19991UW525362C729315      CA       318,259              S     1$OD $      2,200 $    4 00 Y     5 Ritchie8      Cf1
  PostalEquipmentlist       PT53007      TRAILER     UTLN      DRY VAN 53     Pre~2007 19991UWS2534XC080007      CA       397,560              S     1,500 $     2,200 $    4500 Y     5 Ritchie8      F'
                                                                                                                                                     1,500 $     2,Z00 $    4500 Y     SRitchieB
                                                                                                                                                                                                       CJl
  Postal Equipment list     P"f53009     TRAILER     UTttt     DRY VAN 53     Pr~2007 19943UYV52538XC080009      CA       646,317              $
  Postal Equipment list     PT53008      TRAILER     UTLTY     DRY VAN 53     Pre~2007 19991UYU52536XC080008     CA       566,279              $     1,500 $     2,200 $    4,500 Y    5 RRchie6
                                                                                                                                                                                                       O
  Postal Equipment list     PT53006      TRAILER     UTLTY     DRY VAN 53     Pr~2007 19991UYVS2532XC080006      fA       638,167              $     1$00 $      2,200 $    4,500 Y    5 Ritchie8
                                                                                                                                                                 2,200 $    4500 Y     5 Ritchie B
                                                                                                                                                                                                       F-~
  Postal Equipment list     P'(53010     TRAILER     UTLT'     DRY VAN 53     Pre-2007 1999 1UW52534XC080010     CA       166,407              $     1,500 $
  Postal Equipment list     P403         TRACTOR     FRGHT     FL112          Pre-2007 20001FUVJTMC64YHB69341    CA       1,346,509  54,000    5     5,000 $     8,500 $   13,000 Y    5 Ritchie8
                                                                                                                                                                                                              Entered 11/23/15 17:02:48




  PostalEquipmenilist       PT53093      1RAlLER     6RTDN     DRY VAN 53     Pre~2007 20001PNV532B7YG314407      Non Lit762,1D2               $     2$00 $      4,500 $    6$00 Y     5 RitchieB
  Postal Equipment list     P753093      TRAILER     GRTDN     DRY VAN 53     Pre-2007 2000 1PNV53267YG314407     Nan Lic 762,102              $     2500 $      4,500 $    6,500 Y    5 RRchieB
  Postal Equipment list     PT53094      TRAILER      GRTDN    DRY VAN 53     Pre-2007 2000 SGRAA062718062365     Non Lic 139,550              $     2500 5      4,500 $     6,500 Y   5 Ritchie B    (Q
  Postal Equipment list     P1034        TRACTOR      FRGHT    C112           Prr2007 20001FUYNMD63YPG93488       CA      SS73,756   70,000    5    10,000 $    10,000 $   10,500 Y    2 Ritchie8      CD
  Postal Equipment list     P1035        TRACTOR      FRGHT    C112           Pre~2007 2000 1FUYNMDBSYPG93489     CA      1,474,975  70,000    S    10,000 $    10,000 5   10,500 Y     2 Ritchie B    (3'I
  Postal Equipmentiist       PT53090     TRAILER      HYUND   .DRY VAN         Prr2007 20003H3V532CSYT056002      CA      338,525 -            $      2,500 $     4,500 $    6500 Y     1 Rftchie8     N
  Postal Equipment list      PT53092     TRAILER      GRTDN     DRY VAN.       Pre~2007 20001PNV53287YG314150     CA       281,146             $      2,500 $     4$00 $     6500 Y     5 Ritchie6     O
  Postal Equipment list      PT53092     TRAILER      GRTDN     DRY VAN        Prr2007 20001PNV53267YG314150      CA       281,146             $      2,500 $     4500 $     6,500 Y    SRitchie8
                                                                                                                                                                                                       I-~
  Postal Equipment~ist       PT53091     TRAILER      GR7DN     DRY VAN        Pre-2007 20001PNV53282YG314072     CA       131,231             5      2,500 S     4$00 $     6,500 Y    5 Ritchie8     f-~
  Postal Equipment list      PT53091     TRAILER      GRTDN     ~RYVAN         Pre2007 20001PNV53282YG314072      CA       131,231             $      2,500 $     4,500 $    6,500 Y    5 Ritchie8     W
   Postal Equipment list     P1042        TRACTOR     fRGHT     CL120          Pre2007 2000 1FUYOSZB21LG93863     CA       293,447   80,000    5    10,000 5    10,000 $    10,500 Y    Z Ritchie8
   Postal Equipment list     M45          UTILIN     6MXXX      SONOMA         Pr~2007 2000 1GTDT19WSY8265185     CA       280,150              S     1,800 $     2,200 $    2,400 Y    3 KBB
                                                                                                                                                                            12,000 Y    5 Ritchie B
                                                                                                                                                                                                              Page 174 of 252




   Postal Equipment list     PT53017      TRAILER     UTLTY     DRY VAN 53     Pre~2007 2001 1UW525411C482602     Non Lic 155,591              $      3,000 5     8.00 $
   Postal Equipment List     PT53018      TRAILER     UTLN      DRY VAN 53     Pre-2007 2001 lUWS25431C482603     Non LiC 867,500              $      3,000 $     8,000 $   12,000 Y    5 Ritchie6




                                                                                                        Page 16 of27
            Matheson Equipment


FileSaurce                Unit No     Type        Make      Model             YR        Year   VIN#                State Odometer       GVW       LIQVALUELOV IiQVALUEAVE UQVAL3itGH COMFCONSOURCE
PostalEquipmentlist       P753019     TRAILER     UTLTY     DRY VAN 53        Pre-2007 20011UYV525451G4S2604       CA      228,500                $      3,000 $     8,000 $    12,000 Y    5 RitchieB
postal Equipment list     PT53020     TRAILER     UTL?Y     DRY VAN 53        Prr200~     2001 lUYVS25471C482605   CA      380,623                $      3,000 $     8,000 $    12,000 Y    5 Ritchie8
Postal Equipment list     PT48006     TRAILER     UTLTY     DRY VAN 48        Pre-2007 20011UW524821C482306        CA      204,200                $      3,000 $     5,500 $     9,000 Y    4 Ritchie8
PostalEquipm~tlist        PT48010L    (RAILER     U1l.iY    DRY VAN 48        Pre-2007 20011UW524841C482310        CA      28,325                 $      3,000 S     5,500 $     9,000 Y    4 Riichie6
Postal Equipment list     P753013     TRAILER     U7LTY     V52DC             Prr2007 20011UYV525451C482103        CA      41b,839                $      4,500 $     4,500 $     4,500 Y    1 Ritchiee
Postal Equipment~ist      PT53014     TRAILER     UTItt     VS2DC             Pre20d7 20011UW525471C482104         CA      220,845                $     4500 $       4,500 $     4500 Y     1 Ritchie8
Postal Equipment list     P753015     TRAILER     UTLN      DRY VAN 53        Pre~2007 20011UW525491C482305        CA       201,354               $      3,000 $     8,000 5    12,000 Y    S'Ritchie6
Postal Equipment list     PT53016     7RAlLER     UTL7Y     DRY VAN 53    ~   Prr2007 2001 1UYV5254X1C482601       CA      212,049                $      3,000 $     8,000 $    12,000 V    5 Ritchie8      I-~
Postal Equipment list     PT48001     TRAILER     UTLN      ORYVAN48          Pre-2007 20031UW524831C482301        GA      45,331                 $      2,000 $     3,000 $     4,000 Y    4.Ritchie6      Ul
Postal Equipment list     PT48003     TRAILER     UTLN      DRY VAN 48        Pre~2007 20011UW524871C482303        CA       26,603                $      2,000 S     3,000 5     4,000 Y    4 Ritchie8      Ul
Postal Equipment list     P748004      TRAILER    UTLiY     DRY VAN 48        Pre-2007 2001 lUYV524891C482304      G        78,144                $      3,000 $     5,500 $     9,000 Y    5 Riithie8      O
Postal Equipment list     PT48005      TRAILER    UTLTY     ORYVAN 48         Pre~2007 2001 1UYVS24801C482305 -    CA       176,461               $      3,000 $     5,500 5     9,000 Y    5 Ritchie8
PosWI Equipment list      PT48008      TRAILER    UTL7Y     DRY VAN 48        Pre-2007 2001 lUYV524861C482308      CA       217,523               $      3,000 $     5$00 $      9,000 Y    5 Ritchie e     F~
Postal Equipment list     PT48009      TRAILER    UTLTY     DRY VAN 48        Pre-2007 20011UYV524881C482309       CA       25,915                $      3,000 $     5,500 $     9,000 Y    5 RitchieB
Postal Equipment list     PT53260      TRAILER    UTLTY     DRY VAN 53        Pre-2007 20031UW5253810518616        CA       167,890               $      3,000 5     8,000 $    12,000 Y    5 Ritchie8
                                                                                                                                                                                                                    Case 15-50541-btb




Postal Equipment list     PT53011      TRAILER    UTLlY     DRY VAN 53        Pre-2007 2001 IUWS25411C482101       CA       519,507               $      3,000 $     8,000 $    12,000 Y    5 Ritchie B
Postal Equipment list     PT53012      TRAILER    UTLN      DRY VAN 53        Pre-20Q7 20011UWS25431C682102        CA       499,628               $      3,000 $     8,000 $    12,000 Y    5 Ritchie8
PoscalEquipmentlist       M48          UTILftt    GMCCL     SONOMA            Pre-2007 20011GTDT19W018188995       CA       245,984               $         600 $    1500 $      3,000 Y    5 Ritchie8
                          PT53046      7RAILEft   UTi.TY    DRY VAN 53        Prr2007 2002 1UW525382C729316         Non Uc 174,022                $      3,000 $     4,500 $     9A00 Y     5 Ritchie6      O
 Postal Equipment list                                                                                                                                                                                      n
 Postal Equipment list    PT53047      TRAILER    UTLTY     DRY VAN 53        Prr2007 2002 1UYV5253X2C729317        Non Lic 65,500                $      3,000 $     4$00 $       9,000 Y   5 RitchieB
                                                                                                                                                                                                            W
 Postal Equipment list    P153048      TRAILER    UTLN      DRY VAN 53        Pre2007 2002 lUYVS25312C729318        Non Lic 162,033               $      3,000 $     4500 $       9,000 Y   5 Ritchie8
 Postal Equipment list    P'(53049     TRAILER    UTL'fY    ORYVAN53          Pre-2007 20021UYV525332L729319        CA      861,202               S      3,000 $     4,500 $      9,000 Y   5 RRchiee       1-~
                                                                                                                                                                                                                    Doc 482




 Postal Equipment list    PT53050      TRAILER    UTIN      DRY VAN 53        Pre-2007 2002 1UYV5253X2Q29320        Non Lit 197589                $      3,000 $     4,500 $      9,000 Y   5 Ritchie8
 Postal Equipment list    PT53051      lRA1LER    UTLN      DRY VAN 53        Prr2007 2002 3UYV525312C729321        Non Lic 814,022               5      3,000 S     4,500 $      9,000 Y   5 Ritchie8      m
 Postal Equipment list     PT53052     TRAILER     U7t'fY   DRY VAN 53        Pre~2007 2002 1UW525332C729322        Non Llt 881,635               $      3,000 S     4,500 $      9,000 Y   5 Ritchie B
                                                                                                                                                                                                            r+
 Postal Equipment list    PT53053      TRAILER     UTITY    DRY VAN 53         Prr2007 2002 1UW525352C729323        Non Lic 210,336               $      3,000 $     450 $        9,000 Y   5 Ritchie8      CD
 Postal Equipment list     Pl"53054   (RAILER      UTLN     ORYVAN 53          Prr2007 2002 1UW525372C729324        Non lic 748,095               $      3,000 $      4500 $      9,000 Y   5 RRchieB       fD
 Postal Equipment list     PT53055     TRAILER     UTLIY    DRY VAN 53         Pre-2007 2002 lUYV525392Q29325       Non Lic 641,022               $       3,000 $     4,500 $     9,000 Y    S Ritchie B    Q.
 Postal Equipment list     PT53032     TRAILER     UTLN      pRY VAN 53        Pre-2007 20021UYVS25382Q29302        CA -    41544                 $       2,800 $     4,200 $     7,500 Y    5 Ritchie8     O
 Postal Equipment list     PiS3031     TRAILER     UTL7Y     DRY VAN 53        Prr2007 2002 IUYV525362C729301       CA      35,800                $       4,000 $     6,000 $    II,000 Y    5 RitchieB
 Postal Equipment list     PTS3033     TRAILER     UTLTY     DfiYVAN53         Pre-2007 20021UYV5253X2C729303       CA       19,375               $       4,000 5     6,000 5    11,000 Y    S Rftchie8     I~
 Poscal Equipment list     PT53036     TRAILER     UTLTV     DRY VAN 53        Prr2007 2002 lUYV525352C729306       CA      252,421               $       4,000 $     6,000 $    11,000 Y    5 RRchie B
 Postal Equipment list     PT53037     TRAILER     UTLT'     DRY VAN 53        Pre2007 2002 SUYV525372Q29307"       CA      91,300                $       4,000 S     6,000 5    11,000 Y    5 Ritchie8     F-'
                                                                                                                                                          4,000 $                11,000 Y    5 Ritthie8
                                                                                                                                                                                                            Ul
 Postal Equipmentiist      PTS3038      TRAILER    U7L'TY    DRY VAN 53        Prr2007 20021UW525392C729308         CA       61,532                $                  6,000 5
 Postal Equipment list     PT53043      TRAILER    UTLN      DRY VAN 53        Pre-2007 2002 1UW525322C729313       GA       476,055               $      4,000 $     6,000 $    11,000 Y ~  5 Ritchie B    F~-~
                                                                                                                                                                                                            Ul
  Costal Equipment list    P133262      TRAILER    UTLTY     DRY VAN 53        Prr2007 2002 1UW525342C748106        CA       498,500               $      3,000 $     4,500 $     9,000 Y    5 Ritchie B
 Postal Equipment list     PT53035      TRAILER    UTtN      DRY VAN 53        Pre~2007 2002 lUYV525332C729305      Non Lit 430,263                $      2,200 $     4,100 $     7,000 Y    5 RRchie 8     O
 Postal Equipment list     P753039      TRAILER    UTLN      DRY VAN 53        Prr2007 2002 lUYV5Z5302C729309       Non Lic 293,587                $      2,200 $     4,100 $      7,000 Y   5 RitthieB
                                                                                                                                                                                                            F--~
  Postal Equipment list    Pi53040      TRAILER    U7LN      DRY VAN 53        Pre~2007 2002 lUYV525372C729310      Nan Lic 246,071                $      2,200 $     4,i00 $      7,000 Y   5 Ritchie B
  Postal Equipment fist    P7S3042      TRAILER    UTLiY     DRY VAN 53        Prr2007 2002 1UYV525302C729312       CA       346,073               $   - 2,200 $      4,100 - $    7,000 Y   S Ritchie 8
                                                                                                                                                                                                                    Entered 11/23/15 17:02:48




  GostalEquipmentlist      PTS3261      SRAILER    UilTY     DRY VAN 53        Pre-2007 20021UYV525392C748103       CA       97,428                5      2,200 $     4,100 5      7,000 Y   5 Ritchie8
  Postal Equipment list    P753034      TRAILER    UTLN      DRY VAN 53        Prr2007 2002 lUYV525312Q29304        CA       15                    $      2,200 $     4,100 $      7,000 Y   5 Ri[chie8
  PostalEquipmenilist      P753263      TRAILER     UTLN     DRYVAN53          Pre-2007 20021UYV525382Q48308        CA       658                   $      3,000 $     8,000 $    12,000 Y    5 Ritchie6     (Q
  Postal Equipment list    PT53264      TRAILER    UTLiY     DRY VAN 53        Prr2007 2002 lUYV5253JC2Q48109        CA      31,950                $      3,000 $     8,OOD $    12,000 Y    5 Ritchie B    (D
  Postal Equipment list    P1101        TRACTOR    KNwRT     8000              Prt2007 20031XKTD89X231887889        CA       1,691,048   80,000    $      4,7 0 $     6,700 $    20,000 Y    5 Ritchie8     CS1
                                                                                                                                                          1,700 $      5,600 $     6,400 Y   5 RitcFieB
                                                                                                                                                                                                            W
  Postal Equipment list     Ff53032     TRAILER    GRTDN     DRY VAN 53        Pre-2007 20031GRPA062838114773       CO       501            ~      $
  Postal Equipment list     FT53032     TRAILER     GRTDN    DRY VAN 53        Pre-2007 20031GRAA062838114773        CO      SOl                   $      1,700 $     5,600 $      6,400 Y   5 RitchieB     O
                                                                                                                                                                                                            -r,
  Postal Equipment list     P1093       TRACTOR     KNWRT    8000              Pre-2007 20031XKTD89X83188~SZ8        CA   .1,938,494     70,000    $      4,700 5      6,767 5   10,000 Y    3 RiCchieB      N
  Postal Equipment list     P1098       TRACTOR     KNWRT    8000              Prr2007 2003 1XKTD69X331887884        CA      1,823,522   80,000    $      4,700 $      6,767 $    10,000 Y   3 Ritchie6      F~-~
                                                                                                                                         54,000    $     15,D00 $    23,000 $    32,000 Y    5 Ri[chie8      W
  Postal Equipment list     P419        TRACTOR     KNWRT    T800               Pre-2007 Z0031XKDA08X93R707327       CA      623,323
  Postal Equipment list     PT53230     TRAILER     GRiDN    DRY VAN 53         Pre-2007 2003 2MNOiAAH031000028      CA      503,600               $       3500 $      7,500 $    13,000 Y   5 Ritchi0 B
  Postal Equipmentlist      FT53014     TRAILER     UTLN     DRYVAN             Prr2007 20033UW525303G342215         CA      173,049               $       1,700 $     5,600 $     6,400 Y    5 Ritchie8
                                                                                                                                                                                                                    Page 175 of 252




  Postal Equipment list     FT53017     TRAILER     U7LN     DRY VAN            Pr~2007 2003 1UW525383G1422Z2        CA      215,808               $       1,700 $     5,600 $     6,400 Y    S RiTchie B
  Postal Equipment list     P1097       TRACTOR     KNWRT    12000              Pre-2007 20031XKTD69X13!887897       CA       1,649,330  70,000    $       4,700 $     6,700 $    10,000 Y   5 Ritchie6




                                                                                                          Page 17 of27
            Matheson Equipment



Fite Source              UaR No     Type       Make     Madet         YR      Year  VIN#                  Sta[e   Odometer     6VW       tlQ VALUELOV UQ VALUEAVE      LIQ VAL HIGH    COMFCONSOURCE
Postal Equipment list    P418       TRACTOR    KNWRT    T800          Prr2007 2003 1XKDAOSX73R707326      CA      708,356      54,000    5     15,000 $     23,000     $     32,000    Y     5 Ritchie8
Postal Equipment list    VT53223    TRAILER    GRTDN    DRY VAN 53    Prr2007 2003 1GRAA0621RB202704      CA      518,224                $      1,700 $      5,600     $       6,400   Y     5 Rkchie B
Postal Equipment list    PT53224    TRAILER    GRTDN    DRY VAN 53    Prr2007 20031GRAA0625VB086501       CA      30,212                 $      1,700 $      5,600     $       6,400   Y     5 Ritchie8
Postal Equipment list    Fl33015    TRAILER    UTL1Y    DRY VAN       Prc2007 2003 ~3UW525343G142217      CA      287,380                $      1,700 $      S,fi00    5       6,400   Y     5 Ricchie6
Postal Equipment list    Ff53016    TRAILER    UTLN     pRYVAN        Pre~2007 2003 SUYV525363G142221     CA      371,440                S      1,700 $      5,600     $       6,400   Y     5 Ritchie B       .~,
PosxalEquipmentlist      F753018    TRAtCER    UTLTY    ORYVAN        Pre-2007 20031UYV525353G142226      NonLic473,862                  $      1,700 $      5,600     $       6,400   Y     5 Ritchie6
Postal Equipment list    FTS3019    TRAILER    UiLTY    DRY VAN       Pre-2007 20031UYV525383G342236      CA      417,633                $      1,700 $      5,600     $       6,400   Y     5 Ritchie6
PostalEquipmenilist      FT53020    TRAILER    UTLTY    DRY VAN       Pre-2007 20031UW5253X3G142237       CA      315,216                $      1,700 $      5,600     $       6,400   Y     S Ritchie6
                                                                                                                                                                                                               N
Postal Equipment list    Ff53022    1RAILER    U7LlY    DRY VAN       Prr2007 2003 1UW525333G142239       Non Lic 492,977                $      1,700 $      5,600     $       6,400   Y     5 Ritchie6        CT7
Postal Equipment list    FT53023    TiiAILER   UlLTY    DRY VAN       Prr2007 20031UYV5253X3~142240       CA      378,080                $      1,700 $      5,600     $       6,400   Y     5 Ritchie6
                                                                                                                                                                                                               CI'1
Postal Equipment list    PT53225    TRAILER    GRTDN    DRY VAN 53    Prr2007 20031GRAA062XT8132501       CA      595,097                S      1,700 $      5,600     5       6,404   Y     5 RRchie6         O
Postal Equipment list    PT53226    TRAILER    GRTDN    DRY VAN 53    Prr2007 2003 16RAA0629R8202708      CA      27,727                 $      1,700 $      5,600     $      6,400    Y     5 Rftchie8
Postal Equipment list    PT53227    TRAILER    GRTDN    DRYVIW 53     Pre-2007   2003 2MNOSAAH931000478   CA      72,501                 $      1,700 $      5,600     $      6,400    Y     5 Ritchie6        F-'
PosialEquipmentlist      PT53228    TRAILER    GRTDN    DRYVAN53      Pr¢-2007   20032MNOlAAH331000024    CA      88,652                 $      1,700 $      5,600     $      6,400    Y     S Ritchie6
Postal Equipment list    PT53229    TRAILER    6RTDN    DRYVAN53      Pre2007    20032MNOlAAH731000026    CA      318,038                5      1,700 5      5,600     5      6,400    Y     SRitchie6
                                                                                                                                                                                                                       Case 15-50541-btb




Postal Equipment list    PT53210    TRAILER    TRLMB    DRY VAN 53    Pre2007    2003 2MNO3AAH231000466    CA     480,717                $      3,000 $      5,000     $      8,000    Y     3 RRchie6
                                                                                                                                                                                                               s
Postal Equipment list    PT53211    TRAILER    TRLMB    DRY VAN 53    Pre2007    20032MNOSAAH831000472     CA     74,421                 $      3p00 $       5,000     $      8,000    Y     3 RitchieB
Postal Equipment list    PT53212    TRAILER    TRLMB    DRY VAN 53    Pre2007    2003 2MNOlAAH431000470    CA     483,193                $     3,000 $       5,000 $          8,000    Y     3 Ritchie6        0
                         PT53213    TRAILER    7RlMB    ORYVAN53      Prr2007    20032MNOlAAH431000467     CA     535,230                $     3,000 $       5,000     $       8,000   Y      3 RitchieB       O
Postal Equipment list                                                                                                                                                                                          (7
Postal Equipment list    7T53214    TRAILER    TRlM6    DRY VAN 53    Pre2007    2003 2MNOlAAH631000468    CA     552,502                $     3,000    $    5,000     $       8,000   Y      3    Ritchie8
                                                                                                                                                                                                               W
Postal Equipment list    PT53215    TRAILER    TRLMB    DRYVAN53      Pre2007    20032MNOlAAH031000465     CA     548,775                $     3A00     $    5,000     $       8,000   Y      3    Rhchie6
Postal Equipment list    PT53216    iRAItER    TRlM6    DRY VAN 53    Pre2007    20032MNOlAAH831000469     CA     482,716                5     3,000    $'   5,000     $       8,000   Y      3    RRchie6      N
                                                                                                                                                                                                                       Doc 482




Postal Equipment list    PT53217    TRAILER    TRLMB    DRY VAN 53    Pre2007    2003 1PTOlAAH7P9008187    CA     225,061                $     3,000    $    5,000     $       8,000   Y      3    Ritchie8
Postal Equipment list    PT53218    TRAILER    1RLMB    DRY VAN 53    Prr2007    20031PTOlAAHOP9008189     CA     107,431                $     3,000    $    5,000     $       8,000   Y      3    Ritchie6
                                                                                                                                               3,000    $     5,000 $          8,000   Y       3   Ritchie6
                                                                                                                                                                                                                m
Postal Equipment list    PT53219    TRAILER    TRLMB    DRY VAN 53    Prr2007    2003 2MNOSAAH131000474    CA     93,119                 $
                                                                                                                                                                                                               .-+
Postal Equipment list    DT53220    TRAILER    1R1M6    DRY VAN 53    Pre~2007   2003 2MNO3AAH533000476    CA     73,4 0                 $     3,000    $     5,000.5          8,000   Y       3   Ritchie6    CD
Postal Equipment List    PT53221    TRAILER    TRlMB    DRY VAN 53    Pre-2007   2003 2MNOlAAH031000479    CA     500,629                $     3,000    $     5,000 $          8,000   Y       3   Ritchie B
                                                                                                                                                                                                               (D
Postal Equipment list    PT53221    TRAiIER    TRLMB    DRY VAN 53    Prr2007    20032MNOlAAH031000479     CA     500,629                $     3p00     $     5,000 $          8,000   Y       3   Ritchie8     Q
PostalEq~ipmentlist      FT53021    TRAILER    U7LT'    DRY VAN       Pre-2007   20031UYV525313G742238     CA     318,011                S     1,700    $     5,600 $          6,400   Y       5   RitchieB
                                                                                                                                                                                                                O
Postal Equipment list    FT53025    1RAlLER    U117V    DRY VAN       Prr2007    2003 1UW525333G142242     CA     257,307                $     1,700    $     5,600 $        - 6,400   Y       S   Ritchie6
Postal Equipment list    F753026    TRAILER    UTLN     DRY VAN       Prr2007    20031UYVS25373G742244     CA     263,494                $     1,700    $     5,600 $          6,400   Y       5   Ritchie8     N
Posta~Equipmentlist      FT53027    TRAILER    UTLN     DRY VAN       Pre-2007   Z0031UW525393G142245      CA     200,995.               $     1,700    $     5,600 $          6,400   Y       5   Ritchie6
 VostalEquipmentiist     PT53222    TRAILER    TRlMB    DRYVAN53      Pre~2007   20032MNOlAAH831000021     CA     668,321                $     3,000    $     5,000 $          8,000   Y       3   Ritchie8    N
                                                                                                                                                              5,600 $          6,400   Y       5   Ritchie6    ()l
Postal Equipment list    FT53024    TRAILER    UTL'fY   DRY VAN -     Prr2007    20031UWS25313G342241      CA     135,587                $      1,700 $
 Postal Equipment list   FT53029    TRAILER    UTLN     DRY VAN       Prr2007    2003 1UW525323G142247     CA     237,157                $      1,700 $       5,600 $          6,400   Y       5   Rftchie6     F~
                                                                                                                                                                                                   Ritchie B
                                                                                                                                                                                                               (SI
 Postal Equipment list   FT53030     TRAILER    UiL7Y   DRY VAN       Pre-2007   2003 1UW525343G142248     CA     221,296                $      1,700 $       5,600 $          6,400   Y       S
 Postal Equipment list   P1080      TRACTOR    FRGHT    CL112         Pre-2007   20041FUJFOA58~4PM73668    CA     2,096,463    80,000    $      9,670 $       9,670 $          9,670 Y         1 Ritchie8
                                                                                                                                                                                                                O
 Postal Equipment list   Cl         MISC UNR   BTXXX    L23000        Pre-2007   2004                      CO                            $       500 $          500 $           500 N            Estimated
                                                                                                                                                                                                                I-~
 Postal Equipment list   PT53251     TRAILER   Utt7Y     DRY VAN 53   Pre-2007   2004 lUYV525304P339435    Non Lic 311,789               $      2,800 $       4,200 $          7500 Y          5 Ritchie8
 Postal Equipment list   PT53252     TRAILER   U7LN      DRY VAN 53   Pre~2007   20D4 lUWS25364P339438     Non Lic 173,209               $      2,800 $       4,200 $          7,500 Y         5 Ritchie B
                                                                                                                                                                                                                       Entered 11/23/15 17:02:48




 Postal Equipment list   PT53253     TRAILER   U7LTY     ORYVAN53     Pre-2007   20041UWS25384P339439      NonLic228,995                  S     2,800 $       4,200 S          7500 Y          5 Ritchie8
 Postal Equipment list   PT53254     TRAILER   UTL7Y     DRY VAN 53   Pre~2007   2004 3UYVS25344P339440    Non Lic 219,043                $     2,SD0 $       4,200 5          7500 Y          5 Ritchie B
 Posta( Equipment list   PT53255     TRAILER   UTLTY     DRY VAN 53   Prr2007    2004 1UW525384P339442     Non Lic 182,033                $     2,800   5      4,200    5      7500 Y          5 Ritchie B     (Q
 Postal Equipment list   P1S3256     TRAILER   U7Y'1Y    DRY VAN 53   Prr2007    20041UYV5253X4P339443     NonLic217,553                  $     2,800   $      4,200    $      7,500 Y         5 Rftchiee       CD
 Postal Equipment list   PT53258     TRAILER   UTLiY     DRY VAN 53   Pre-2007   20041UYV525334P339445     CA      279,801                S     2,800   $      4,200    $      7500 Y          5 RitchieB       (3'I
 Postal Equipment list   PT53259     TRAILER   U7LN      DRY VAN 53   Pre~2007   2004 lUYV525304P339469    CA      475,203                $     2$00    $     .4,200    $      7,500 Y         5 Ritchie B
 Postal Equipment list   P3076       TRACTOR   FRGNT     CL312        Prr2007    20041FUlFOA504PM73664     CA      2,326,177    70,000    $     9,187   $      9,670    $      9,fi70 Y        2 RitchieB       O
                                                                                                                                                                                                                -n
 PosxalEquipmentlist     P1088       TRACTOR   FRGHT     CL112        Pre2007    20041FU1FOAS74PM73676     CA      1,497,336    62,000    $     9,187   $      9,670    $      9,670 Y         2 ftitchie6      F-~
 Postal Equipment list   P415        TRACTOR   FRGHT     CL312        Prr2007    200A iFUBF9A504PM80803    CA      564,~?'2     54,000    $     9,187   $      9,670    $      9,670 Y         2 Ritchie8       N
 Postal Equipment list   PT53065     TRAILER   U7LTY     DRY VAN 53   Prr2007    20043UW525374P238702      CA      99,859                 5     3,500   $      7,000    $     10,000 Y         5 Ritchie8       W
 Postal Equipment list   PT53068     TRAILER   UTLN      ORY VAN 53   Pre-2007   2004 lUYV525324P238705    CA      197,563                $     3,500   $      7,000    $     10,000 Y         5 Ritchie B
 PostalEquipmentiist      PT53242    TRAILER   UTL7Y     DRY VAN 53   Prr2007    2004 iUW525374P339416     CA      492,348                $     3,700 $        6,500    $      BSOOY           SRitchie6
                                                                                                                                                              7,000 $         1D,000 Y         5 Ritchie B
                                                                                                                                                                                                                       Page 176 of 252




 Postal Equipment list    PT53064    TRAILER   UTLTY     DRY VAN 53   Pre-2007   2004 lUYV525354P238701    Non lic 170,065                $     3$00 $
 Postal Equipment list    PT53066    lRAIIER   UTL7Y     DRY VAN 53   Pre-2007   2004 SUWS25394P238703     Non Lic 130,228                $     3,500 $       7,OD0 $         10,000 Y         5 Ritchie B




                                                                                                   Page 18 of27
            Matheson Equipment


File Source              Unit No        Type        Make     Model          YR       Year   VIN ii                State Odometer       GVW        IIQ VALUELOV LIQ VALUEAVE IIQ VALHIGH      COMFCON SOURCE
Postal Equipment list    PT53069        TRAILER     UTLTY    DRY VAN 53     Pre-2007 2004 1UW525344P23S706       .Non Lit 172,444                 $      3,500 $       7,000 $    ~ 10,000   Y     5 RitchieB
Postal Equipment list    PT53070        TRAILER     U7LN     DRY VAN 53     Pra2007    2004 lUYV525364PZ3S707     CA      116,146                 $      3500 $        7,000 $      10,000   Y     5 Ritchie B
Postal Equipment list    P753067        TRAtIER     U7LTY    DRY VAN 53     Pre~2007   2004 1UYV525304P238704     CA      7,005                   $      3,500 $       7,000 $      10,000   Y     5 Ritchie B
Postal Equipment list    PT53075        TRAILER     UTLN     V52DC          Pre2007    2004 lUYV5253X4P238712     CA      121,523                 $      4500 5        4,500 $       6,000   Y     2 Ritchie B
Postal Equipment list    P753071        TRAILER     UTLTY    DRY VAN 53     Prr2007    2004 lUYVS25384P238708     Non Lic 651,932                 5      3,500 $       7,000 $      10,000   Y     5 Ritchie B
Postal Equipment list    PT53072        1RAllER     UiLN     DRY VAN 53     Fre2007    2004 1UW5253J(4P238709     Non Lic 718,562                 $      3,500 5       7,000 $      10,000   Y     5 Ritchie B
Postal Equipment list    PT53074        TRAILER     U7tTY    DRY VAN 53     Prr2007    2004 1UW525384P238711      Non Lic 930,836                 $      3,500 5       7,000 $      10,000   Y     5 RitthieB         CD
Postal Equipment list    PT53234        TRAILER     UTLT'    DRY VAN 53     Prr2007 2004 lUYV525354P339401        Non Lic 718,532                 $      3,500 $       7,000 $      10,000   Y     5 Ritchie B
                                                                                                                                                                                                                      f~
Costal Equipment list    PT53235        TRAILER     U7LTY    DRY VAN 53     Prr2007    2004 lUYV525374P339402     Non Lic 725,335                 $      3,500 $      .7,000 $      10,000   Y     5 Ritchie B        U~I
Postal Equipment list    PT53236        TRAILER     U711Y    DRY VAN 53     Prr2007    2004 lUYVS25394P339403      Non Lic 301,321                $      3So0 $        7,000 5      iQ,000   Y      5   Ritchie B
Postal Equipment list    PT53237        TRAILER     UTLTY    ~RYVAN 53      Pre2007    2004 lUYVS25364D339410      Non Lic 729,853                $      3500 $        7,000 $      10,000   Y      5   Ritchie B     O
Postal Equipment list    P753238        TRAILER     UTLlY    ORYVAN 53      Pre-2007 2004 lUYV525384P339411        Non lit 681,549                $      3,500 $       7,000 $      10,000   Y      5   Ritchie 6     CS1
Postal Equipment list    PT53239        TRAILER     UTLTY    ORYVAN 53      Prr2007    2004 lUYV5253X4P339412      Non Lic 638,429                5      3,500 $       7,000 5      10,000   Y      5   Ritchie B     F-~
Postal Equipment fist    PT53240        TRAILER     U'RTY    DRY VAN 53     Pre-2007   2004 SU11/525314P339413     Non Lic 213,506                5      3,500 $       7,000 5      10,000   Y      5   Ritchie B
                                                                                                                                                                                                                      6
Postal Equipment list    Pi53241        TRAILER     UTLN     DRY VAN 53     Prr2007 2004 1llYV525354P339415        Non Lic 388,886                $      3,500 $       7,000 $      10,000   Y      5    Ritchie B
                                                                                                                                                                                                                             Case 15-50541-btb




Postal Equipment list    PT53244        TRAILER     UTLTY    DRY VAN 53     Pre-2007   2004 lUYV5253Z4P339419      Non lit 674,644                $      3$00 $        7,000 $      10,000   Y      5    Ritchie B
                                                                                                                                                                                                                      as
Postal Equipment list    PT53245        TRAILER     UTLN     DRY VAN 53     Pre~2007   2004 lUYV525304P339421      Non Lic 734,511                $      3,500 $       7,000 $      10,000   Y      5    Ritchie B
Postal Equipment list    PT53246        TRAILER     UTLTY    DRY VAN 53     Pre-2007 2004 lUYV525334P339428        Non Lic 731,231                5      3,500 $       7,000 5      10,000   Y      5    Ritchie B
Postal Equipment list    PT53247        TRAILER     UTLN     DRY VAN 53     Pre-2007 2004 lUYV525354P339429        Non Lic 762,351                $      3,500 $       7,000 $      10,000   Y      5    Ritchie8     O
                                                                                                                                                                                                                      n
Postal Equipment list    PT5324fl       TRAILER     UiL7Y    DRY VAN 53     Pre2007 2004 1UYVS25314P339430         Non Lit 756587                 $     3500 $         7,000 $     10,000 Y         5    Ritchie B
                                                                                                                                                                                                                      W
costal Equipment list    P753249        7RAILEk     UTLTY    DRY VAN 53     Pre2007    2004 lUYV525334P339431      Non Lic 739,405                $     3,500 $        7,000 $     10,000 Y         5    Ritchie B
Postal Equipment list    PT53250        TRAILER     UTLTY    DRY VAN 53     Pre-2007 2004 FUYV525374P339433        Non lit 681,909                S      3,500   5     7,000   $   10,000 Y         5    Ritchie B    F-~
                                                                                                                                                                                                                             Doc 482




Postal Equipment list    P1188          TRACTOR     KNWRT    T2000          Pre2007 20051XK7D89X25J058176          CA      1,382,195   80,000     $      5,400   $     9,900   5   22,000    Y      5    RhchieB
OostalEquipmentlist      P3179          TRACTOR     KNWRT    T2000          Pre~2007   20051XK7DB9X35J058171       CA      1,799543    80,000     $      5,400   $     9,9D0   $   21,000    Y      5    RitchieB
                                                                                                                                                         5,400   $     9,900   $   21,000    Y      5    Ritchie8
                                                                                                                                                                                                                      m
Postal Equipment list    P1180          TRACTOR     KNWRT    8000           Pre-2007 20051XK7D69X65J058178         CA      1y03,511    80,000     $
Postaf Equipment list    P3186          TRACTOR     KNWRT    T800           Prr2007 2005 SXKDD69X85R095514         Non Lic 1,199,734   62,000     $     22.000   $    32,000   $   44,700    Y      5    Ritchie B    CD
Postal.Equipmentlist     P3189          TRACTOR     KNWRT    T2000          Prr2007 2005 IXKTD89X951058191         CA      1,187,899   70,000     $      Sp00    $     9,900   $   21,000    Y      5    Ritchie8
                                                                                                                                                                                                                      (D
Postal Equipment list    P1175          TRACTOR     KNWR7    8000           Prt2007 2005 1XKTDB9X35J058073        CA      1597,591     70,000     $      5,400   $     9,900   5   21,000    Y      5    Ritchie B    Q
Postal Equipment list    P3176          TRACTOR     KNWR7    T2000          Prr2007 2005 1XKTD89XI5J058105        CA      1$37,840     70,000     $      5,400   $     9,900   $   21,000    Y      5 Ritchie B       O
Postal Equipment list    P1177      ~   TRACTOR     KNWRT    72000          Pre~2007   20051XKTD89X351058123      CA      1,689,509    70,000     $      5,400   5     4,900   $   21,000    Y      5 Ritchie6
Postal Equipment list    P1178          TRACTOR     KNWRT    8000           Pre-2007   2005 1XK7D69XX5J058149 ~   CA      1,709,802    70,000     $      5,400   $     9500    $   21,000    Y      5 Ritchie B       N
Postal Equipment list    P1185          TRACTOR     KNWRT    T800           Pre-2007   2005 1XKpD69X65R095513     CA      840,127      70,000 ~   $     22,000   $    32,000   $   44,700    Y      5 Ritchie B
Postal Equipment list    P367           TRUCK       KNWRT    Ti00           Pre~2007   2006 2NKMHD8X36M357731 , CA        196,131      35,000     $     10,000   $    22,000   $    26,000   Y      S Ritchie B       F-~
 Postal Equipment list   P368           TRUCK       KNWRT    T800           Prr2007    20063WKDAOSX17F183311      CA    .491511        35,000     $     10,000   $    24,000   $    37,500   Y      5 RitchieB
                                                                                                                                                                                                                      Cal
 Postal Equipment list   P427           TRACTOR     INT      9200           Prr2007    2006 2HSCDSBN36C218592   ~ Non Lic 683,983      80,000     $      6,300   $    11,500   $    19,000   Y      5 Ritchie B       F~
                                                                                                                                                                                                                      U'I
 Postal Equipment list   P13            TRUCK       DODGE    RAM        _   Pre~2007   20063D7KR26CO6G104249      NonLic424,828        16,000     $     .7$00    $     7500    $     9,500   Y      2 Ritchie6
 Postal Equipment list   P1183          TRACTOR     KNWRT    T800           Prr2007    2006 1lCKDD69X76J140054    CA      1,755,226      70,000   $     10,000   5    24,000   $    37,500   Y      5 Ritchie B
                                                                                                                                                                                                                      O
 Postal Equipment list   P425           TRACTOR     INT      9200           Pre-2007   2006 2HSCDSBN86C218590     Non Lic 758,287        80,000   $      6,300   $    11,500   $    19,000   Y      5 Ritchie B
                                                                                                                                                                                                                      F-~
 Postal Equipment list   P426           TRACTOR     INT      9200           Prr2007    2006 2HSCDSBNX6C218591     Non Lic 851,116        80,000   $      6,300   $    11,500   $    14,000   Y      5 Ritchie8
 Postal Equipment list   P430           TRACTOR     INT      9200           Prr2007    2006 2HSCDSBN76C218595      Non Lic 845,361     ~ 80,000   $      6,300   $    11,500 $      19,000   Y      5 Ritchie B
                                                                                                                                                                                                                             Entered 11/23/15 17:02:48




 Postal Equipment list   FD152          CON-DOLLY   UTLTY    DOLLY             2007    2007 1U31F921768J01119      CA      82,459                 $        300   $      800 $        1500    Y      4 Ritchie B
 Postal Equipment list   GTZ8115        TRAILER °   UTL7Y    VS2DC              2007   20071UYV512877P308501       CA      58,249                 $      8,929   $     8,929 $       8,929   Y      1 Rixchie6
 Postal Equipment list   FR8122         TRAILER     UT1.lY   VS2DC              2007   2007 1UW512877P108515       CA     76,678                  $      8,929   $     8,929 $       8,929    Y     1 RitchieB        fQ
 Postal Equipment list   FT28127        TRAILER     UiLN     V52DC              2007   2007 2UWS32867P108506       CA     159,957                 $      8,929   $     8,929 $       8,929    Y      1   RitchieB.    fD
 Postal Equipment list   FlZ8131        TRAILER     UlLTY    VS2DC              2007   2007 1UW512857P10S514       CA     161,865                 S ~    8,929   $     8.929 $       8,929    Y      1   Ritchie B    CJ~
 Postal Equipment List   FR 8132        TRAILEk     UTL7Y    V520C              2007   2007 1UW512897P108516       CA     73,750       -          $      8,929   $     8,929   $     8,929    Y      1   Ritchie B
                                                                                                                                                                                                                      Cal
 Postal Equipment list   P1110          TRACTOR     KNWRT    12000              2007   20071XKTD49X771145392       CA     1,580598      80,000    $      9,000   $    18,000   $    23,000    Y      S   RitthieB     O
                                                                                                                                                                                                                      -y,
 Postal Equipment list   P1126          TRACTOR     KNWRT    8000               2007   2007 1XKTD49X771145408      CA     1,258,245     70,000    $      9,000   $    18,000   $    23,000    Y      5   Ritcfiie B    F-'
 Postal Equipment list   P1127          TRACTOR     KNWRT    T600               2007   20071XKAD4SX17R202826       CA     1,740,217     80,000    $     16,500   $    18,500   $    30,000    Y      5   Ritchie6      F-~
 Postal Equipmentlisi    P1133          TRACTOR     KNWRT    T600               2007   20071XKAD48X77R202832       CA     1,963,508     70,000    $     16,500   $    18,500   S    30,000    Y      5 Ritchie6        W
 Postal Equipment list   P1149          TRACTOR     KNWRT    T600               2007   2007 1XKAD48X07R202848      CA     2,039,373     80,000    $     16,500   $    18,500   5    30,000    Y      5 Ritchie B
 PostalEquipme~tlist     P1157           TRACTOR    KNWRT    T600               2007   20071XKAD69X17R140864       CA     1,868,843     80,000     $    16,500   $    18,500   $    30,000    Y      5 Ritchie8
                                                                                                                                                                      18,500   $    30,000    Y      5 Rhchie6
                                                                                                                                                                                                                             Page 177 of 252




 Postal Equipmentlisi    P1158           TRACTOR    KNWRT    T600               2007   20071XKAD69X87R140862       CA     2,065,652     80,000     $    16,500   $
 Postal Equipment list   P1160           TRACTOR    KNWRT    T600               200J   20071XKAD89X87R342627       CA     2,113,588     80,000     $    16So0    5     18,500 $     30,000    Y      5 RitchieB




                                                                                                          Page 19 of27
             Matheson Equipment



                            UnhNo         Type         Make       Model               YR         Year   VIN#                 State Odometer         GVW      IIgVALUEIOVLIQVALUEAVE UQVALHIGH COMFCONSOURCE
File Source
                                          TRACTOR      KNWR7      T600                     2007    20071XKADB9X67R142626     CA       1,715,602     50,000   $    16,500 $     18,500 $    30,000 Y     5 RitchieB
Postal Equipment list       P1161
                            P1362         TRACTOR      KNWRT      T600                     2007 2007 1XKADB9X47P142625       CA       2,159,436     80,000   $    16$00 5      18,500 5    30,000 Y     5 Ritchie B
Postal Equipment list
                                          TRACTOR      KNWRT      T600                     2007 20071XKAD69%978342622        CA       2,199,832     80,000   5    16,500 $     18,500 $    30,000 Y     5 Ritchie6
Postal Equipment list       P1165
                            P1167         TRACTOR      KNWRT      T600                     2007 20071XKA069X578142620        CA       1,993,210     80,000   $    16,500 $     18,500 $    30,000 Y     5 Ritchie8
Postal Equipment list
                                          TRAILER      UTL7Y      DRY VAN 53               2007 2007 1UW525367P178604        Non Lic 729,091                 $     7,000 $     14,000 $    21,000 Y     5 Ritchie B
Postal Equipment list       PT53100
                            PT53166       TRAILER      UTL7Y      DRY VAN 53               2007 2007 SUYVS25377P217031       CA       57,062                 $     7,000 $     14,000 $    21,000 Y     5 Ri[chie8
Postal Equipment list
                                          TRACTOR      KNWRT      T600                     2007 2007 1XKAD48X078202851       Non Lic 2,051,716      70,000   $    16,500 5     20A00 $     30,000 Y     5 Ritchie6      CD
Postal Equipment list       P1152
                                                       KNWRT      T600                      2007 20071XKAD48X97R202833       CA       1,638,169     70,000   $    16,500 S     18500 $     30,000 Y     5 Ritchie6      F~
Postal Equipment list       P1134         TRACTOR
                                          TRACTOR      KNWRT      7600                      2007 2007 SXKAD48X57R202828      CA       1,924,052     80,000   $    16,500 S     18500 $     30,000 Y     S Ritchie8      Ul
Postal Equipment list       P1129
                                          TRACTOR      KNWRT      T600                      2007 20071XKAD48X77R202829       CA       1,987,705     80,000   $    16,500 $     15,500 $    30,000 Y     5 Ritchie6      Ul
Postal Equipmentiist        P1130
                                                                  T600                      2007 2007 1XKAD48X37R202830      CA       2,003,176     80,000   $    16,500 $     18500 $     30,000 Y     5 Ritchie8      O
Postal Equipment list       P1131         TRACTOR      KNWRT                                                                                                                                                            Cal
                                                       KNWRT      T600                      2007 20071XKAD4SX57R202831       CA       1,836,178     80,000   $    16500 $      18,500 $ ~  30,000 Y     5 RitchieB
 Postal Equipment list      P1132         TRACTOR
                                                       KNWR7      7600                      2007 20071XKAD48X07R202834       CA       2,225,488     80,000   $    16,500 $     18,500 ~$   30,000 Y     5 Ritchie6      i-~
 Postal Equipment list      P1135         1RACTOR                                                                                                                                                                        i
                                                                  T600                      2007 2007 iXKAD48X47R202836      CA       2.246,845     80,000   5    16,500 S     18,500 $    30,000 Y     5 RitchieB
 Postal Equipment list      P1137         TRACTOR      KNWRT
                                          TRACTOR      KNWRT      T600                      2007 20071XKAD48X67R202837       CA       2,322,970     80,000   $    16,500 $     18,500 $    30,000 Y     5 Ri[chie8
 Postal Equipmentiist       P1138
                                                                                                                                                                                                                                Case 15-50541-btb




                                                       KNWRT      T600                      2007 20071XKAD48XX7R202839        CA      2,113,699     80,000   S    16,500 $      18,500 $   30,000 Y     5 RitchieB
 Postal Equipment list      P1140         TRACTOR
                                                       KNWRT      T600                      2007 2007 SXKAD48X87R202841       CA       2,006,820    80,000   $    16,500 $     18$00 $     30,000 Y     5 Ritchie6
 Postal Equipment list      P1142         TRACTOR
                                                                  T600                      2007 20071XKAD48X57R202845        CA       1,960,852    80,000   $    16,500 $      18,500 $    30,000 Y    5 RiYchie6
 Postal Equipment list      P1146          TRACTOR     KNWR7                                                                                                                                                            O
                                                                  T600                      2007 2007 1XKAD48X778202846       CA       2,272,332    80,000   $     16,500 $     18,500 $    30,000 Y    5 Ritchie8      n
 Postal Equipment list       P1147         TRACTOR     KNWR7
                                                                   DRY VAN 53               2007 .20071UWS25337P217043        CA       108,992               $      7,000 $     14,000 $    21,000 Y    5 Ritchie6
 Postal Equipmentiist        PT53178       TRAILER      UTtlY                                                                                                                                                           W
                                                        UTLTY      DRY VAN 53               2007 20071UYV525357P217044        CA       696,532               $      7,000 $     14,000 $    21,000 Y    5 Ritthie6
 PosialEquipmentlist         P753179      'TRAILER
                                                                                                                              CA       107,522               5      7,000 $     14,000 $    21,000 Y    5 Rifchie8      1-~
                             PT53180       TRAILER      UTLTY      ORYVAN53                 2007 20071UW525377P217045
                                                                                                                                                                                                                                Doc 482




 Postal Equipmentl~st
                                                        UTLTY      DRY VAN 53               2007 2007 1UW525307P217047        Non Lic 184,951                 $     7,000 $     14,000 $    21,000 Y     5 Ritchie8
 Postal Equipment list       PT53182       TRAILER
                                                                   DRY VAN 53               2007 20071UYV525327P217048        CA       634,221                $     7,000 $     14,000 $    21,000 Y     5 Ritchie6     m
  Postal Equipmentiist       PT53183       TRAILER      UTLTY
                                                                   T600                     2007 2007 1XKAD48X27R202852       Non lic 2,373,016     70,000    $    16500 5      18500 5     30,000 Y     S Ritchie6
  Postal Equipment list      P1153         TRACTOR      KNWftT
                                                                   8000                      20Q7 20071XKiD49X&7J145384       CA       1,701,766    80,000    $     9,000 $     18,000 $    23,000 Y     5 Ritchie8
  PostaiEquipmentlist        P1102         TRACTOR      KNWRT
                                                                   T2000                     2007 20071XKTD49XX7J1453S5       CA       1,758,629    80,000    $     9,000 $     18,000 $    23,000 Y     5 Ritchie8     CD
  Postal Equipment list      P1103         TRACTOR      KNWRT
                                                                   T2000                     2007 ~ 20071XKTD49X171145386     CA       1,702,961    80,000    $     9,000 $     18,000 $    23,000 Y     5 RitchieB     Q
  Postal Equipment fist      P1104         TRACTOR      KNWRT
                                                                   8000                      2007 20071XKTD49X37J145387       CA       1,643,458    80,000    $     9,000 $     18,000 $    23,000 Y     3 RitthieB     O
  Postal Equipment list      P1105         TRACTOR      KNWRT
                                                                   12000                     2007 20071XIRD49X771145389       GA       1,863,166    80,000    $     9,000 $      18,000 $   23,000 Y     5 Ritchie6
  Postal Equipmenttist       P1107         TRACTOR      KNWRT
                                                        KNWRT      T600                      2007 20071XKAD69X27R342624       CA       2,255,962    80,000    $    16,500 $     18500 $     30,000 Y     5 Ritchie6     N
  Postal Equipment list      P1163         1RACTOR
                                                                   T2000                     2007 20071XKTD49%971145393        CA       1,721,250   70,000    $     9,000 $      18,000 5    23,000 Y    5 Ritchie6
  Postal Equipment list      Pllli         TRACTOR      KNWRT
                                                                                                                               CA       1,799,475   70,000    $     9,000 5      18,000 $    23,000 Y    5 ttitchie6     F~-'
  Postal Equipment list      P1112         'fRAROR      KNWRT      8000                      2007 20071XKTD49X07J1a5394                                                                                                  Ul
                                                                   8000           ~          2007 2Q071XKiD49X27J145395        CA       1,741,417   70,000    $     9,000 $      18,000 $    23,000 Y    5 Ritchie8
  Postal Equipment list      P1113          TRACTOR     KNWRT                                                                                                                                                            N
                                                                   8000                      2007 20071XKTD49X67J145347.       CA       1,800,427   70,000    5     9,000 $      18,000 $    23,000 Y    5 RitchieB
  Pos[alEcjuipmentlist        P3315         TRACTOR     KNwRT                                                                                                                                                            Ul
                                                         KNWRT     T2000                     2007 20071XKTD49X871145398        CA       1,627,845   70,000    $      9,000 $     18,000 $    23,000 Y    S RitchieB
   PostafEquipmentlist        P1116         TRACTOR
                                            TRACTOR      KNWRT     8000                      2007 20071XKTD49X87J145399        CA       1,752,200   70,000    $      9,000 $     18,000 $    23,000 Y    5 Ritchie6      O
   vostalEquipmentlist        P1117
                                                                                             2007 20071XKTD49XX7J145404        CA       1,145,963   70,000    $      9,000 S     18,000 5    23,000 Y    5 Ritchie8
   Postal Equipmentiist       P7122         TRACTOR      KNWR7     8000                                                                                                                                                  N
                                                                   72000                     2007 2007.1XKiD49X17J145405       CA       1,81Q,171   70,000    $      9,000 5     18,000 $    23,000 Y    5 Ritchie6
   Postal Equipment list      P1123         TRACTOR      KNWRT
                                                                    T2000                    2007 2007 1XK7049X371145406       CA       1,822,297   70,000    $      9,000 $     18,000 $    23,000 Y    5 RitchieB
   Postal Equipment list      P1124         TRACTOR      KNWRT
                                                                                                                                                                                                                                Entered 11/23/15 17:02:48




                                                                                              2007 20071UW525357P778603        CA       701,501                5     7,000 $     14,000 5    21,000 Y     5 Ritchie6
   Postal Equipment list      P1S3097       TRAILER      UTLN       DRY VAN 53
                                                                    DRY VAN 53                2007 20b7 1UW525397P178605       Non Lic 475,982                 $     7,000 $     14,000 $    21,000 Y     5 Ritchie B
   Postal Equipment list      PT53098       TRAILER      UTLTY
                                                                    DRY VAN 53                2007 2007 3UW525327P178607       CA       152,752               $      7,000 $     14,000 $    21,000 Y     5. Ritchie8
   Postal Equipment list      P753099       TRAILER      UTL7Y
                                                                                                                                                                                  14,000 $   21,000 Y     5 Ritchie B    CD
                              PT53101       TRAILER      UTLTY      DRY VAN 53                2007 2007 1UW525347P178611       Non Lit 176,000                 $     7,000 $
   Postal Equipment List
                                                                                              2007 2007 1l1YVS25387P178613      Non Lic 738,620                $     7,000 $ ~    14,000 $   21,000 Y     S Ritchie6
   Postal Equipment list      PT53102       TRAILER      U1LiY      DRY VAN 53
                                                                    DRY VAN 53                2007 2007 lUYV525317P178615       Non Lic 85,234                 5     7,000 $ .    14,000 5    21,000 Y    5 Rhchie6
   Postal Equipment list      P753103       TRAILER      UTLlY                                                                                                                                                           O
                                                                    DRY VAN 53                2007 2D0> 3UYV525357P178617      CA       111,948                $     7,000 $      14,000 5    21,000 Y    5 Ritchie8
    Postal Equipment list     PT53104       TRAILER      UTLN
                                                                    DRY VAN 53                2007 2007 lUYV525397P178619       Non Lic 500,000                $     7,000 $      14,000 $    21,000 Y    5 Ritchie B    H-'
    Postal Equipment List     PT53105       TRAILER      UTLN
                                                                                              2007 2007 1UYVS25377P178621       Non Lic 299,999                $     7,000 5      14,000 5    21,000 Y    S RitchieB     F`
    Postal Equipment list     PT53106        TRAILER     UlLT'      DRY VAN 53                                                                                                                                           W
                                                         UTl'IY     DRY VAN 53                2007 2007 SUYV525307P778623       Non Lic 186,157                5.    7,000 5      14,000 $    21,000 Y    5 Ritthie8
    Postal Equipment list     PT53107        TRAILER
                                                                                              2007 2007 lUYV525347~178625       Non lit 989,106                $      7,000 $     14,000 $    21,000 Y    5 Ritchie6
    Postal Equipment list      PT5330S       TRAILER     UlLTY      DRY VAN 53
                                                                    ORYVAN53                  2007 20071UW525387P178627         NonLic133,779                  $      7,000 $     14,000 $    21,000 Y    5 Ritchie6
    Postal Equipmentlat        PT53109       TRAILER      UttTY
                                                                                                                                                                                              21,000 Y.   5 Ritchie B
                                                                                                                                                                                                                                Page 178 of 252




                               P'f53110      TRAILER      UlLTY      DRY VAN 53               2007 2007 1UYV525317P17S629       Non Lic 57,765                 $      7,000 $     14,000 $
    Postal Equipment list
                                             TRAILER      UTLT'      DRY VAN 53               2007 20071UW5253X7P178631         NonLic1,300,001                $      7,000 $     14,000 $    21,000 Y    5 Ritchie6
    Postal Equipmentiist       PT53111




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             Matheson Equipment



File Source                 Unit No    .Type          Make      Model ~            YR         Year   VIN#                State Odometer        GVW           LIQVALUEtOV LKIVALUEAVE LIQVALHIGH COMfCONSOURCE
Postal Equipment I'at       PT53113     TRAILER       UTLN      DRY VAN 53              2007    2007 1UW525377P378635    Non Lic 62,656                      $     7.000 $     14,000 $   21,000 Y      5 Ritchie B
Costal Equipment list       PT53114     TRAILER       UiLTY     DRY VAN 53               2007 2007 SUYVS25307P178637     Non Lic 114,000                     $     7,000 $     14,000 $   21,000 Y    ~ 5 RitchieB
Postal Equipment list       PT53115      TRAILER      UTLN      ORYVAN 53                2007 2007 SUW525347P178639      Non Lic 133,198                     $     7,000 $     14,000 $   21,000 Y      5 RiLchieB
Postal Equipment list       P153116      TRAILER      U'RTY     DRY VAN 53               2007 2007 lUYV52533~P178602     Non lic 870,000                     $     7,000 $     14,000 $   21,000 Y      5 Ritchie B
Postal Equipment list       PT53118      TRAILER      UTLN      DRY VAN 53 ~             2007 2007 lUYV525307P178606     Nan Lic 967,000                     S     7,000 $     14,000 $   21,000 Y      5 Ritchie B    f
Costal Equipment list       PT53119      TRAILER      UTLN      DRY VAN 53               2007 2007 lUYVS25347P1~8608     Non lit 221,076                     $     7.000 $     14,000 $   21;000 Y      5 Ritchie6
Postal Equipment list       PT53120      TRAILER      UTLN      DRY VAN 53               2007 2007 lUYV525327P17S610     Hon Lit 212,311                     $     7,000 $     14,000 $   21,000 Y      5 Ritchie B    CD
Postal Equipment list       GT53121      TRAILER      UTLTY     DRY VAN 53               2007 2007 1UW525367P178612      t3on Lit 384,999                    $     7.000 $     14,000 $   21,000 Y      5 Rixchie B    F-~
Postal Equipment list       PT53122      1RAllER      UTLN      DRY VAN 53               2007 2007 1UW5253X7P178614       Non lic 250,289                    $     7,000 $     14,000 $   21,000 Y      S RiichieB
                                                                                                                                                                                                                        i
Postal Equipment list       PT53123      TRAILER      UTLTY     DRY VAN 53     -         2007 2007 1UW525337P178616       Non Lic 660,000                    S     7,000 $     14,000 $   21,000 Y      5 Ritchie6     U'I
Postal Equipment list       PT53124      TRAILER      UlliY     ORYVAN 53                2007 2007 1UW525377P178618       Non Lic 122,096                    $     7,000 5     14,000 $   21,000 Y      5 Ritchie 6    O
                                                                                                                          Non Lic 367,000                    $     7,000 $     14,000 $   21,000 Y      5 RftthieB     U~
 Postal Equipment list      PT53125      TRAILER      UTIN      DRY VAN 53               2007 2007 1UW525357P178620
 Posul Equipment list       PT53126      TRAILER      U7LiY     ORYVAN 53                2007 2007 lUYV525397P178622      Non Lic 13,981                     $     7,000 $     14,000 $   21,000 Y      S Ritchie B    N
 Postal Equipment tist      PT53127      TRAILER      UTLN      DRY VAN 53               2007 2007 3UYVS25327P378624      Non Lic 92,291                     5     7,000 $     14.000 $    21,000 Y     5 Ritchie B
 Postal Equipment list      PT53128      TRAILER      UTLTY     DRY VAN 53               2007 2007 lUYV525367P178626      Non Ltc 91,642                     $     7A00 $      14,000 $    21,000 Y     5 Rhchie B
                                                                                                                                                                                                                              Case 15-50541-btb




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 Postal Equipment fist      Pi53129      TRAILER      UTL7Y     DRY VAN 53               2007 2007 1UW5253X7P178628       Non Lic 481,000                    5     7,000 5     14,000 $    21,000 Y     S RRchie8
 Postal Equipment list      PT53130      TRAILER       U'RTY    DRY VAN 53               2007. 2007 1UYV525387P178630     Non Lic 179,309                    $     7,000 $      14,000 $   21,000 Y     5 Ritchie B
 Postal Equipment list       PT53131      TRAILER      UTLTY    ORYVAN53                 2007 20073UW525317P178632        CA      75,000                     $     7,000 5      14,000 $   21,000 Y     5 Ritchie6
                                                                                                                                                                    7,000 $ .   14,000 $   21,000 Y     5 Ritchie8     O
 Postal Equipment list       P753132     TRal1£R       UTL7Y     DRY VAN 53              2007 2007 lUYV525357P178634      Non lit 812,921                    $                                                         n
 Postal Equipment list       PTS3133     iRARER        UTLTY     DRY VAN 53              2007 2007 1UW525397P17S636       Non Lic 61,347                     5      7,000 5     14,000 5   21,000 Y     5 Ritchie B
                                                                                                                                                                                                                       W
 Postal Equipment list       PT53134      TRAILER      U7LN      DRY VAN 53              2007 2007 SUW525327P378638       Non lic 26,156                     $      7,000 $     14,000 $   21,000 Y     5 Ritchie B
 Postal Equipment list       PT53135      TRAILER      UTLTY     DRY VAN 53              2007 2007 lUYV525307P178640      Non Lic 516,572 ~                  $      7,000 $     14,000 $   21,000 Y     S Ritchie B    1-~
                                                                                                                                                                                                                              Doc 482




 Postal Equipment list       PT53136      TRAILER      UTLN      ORYVAN 53                2007 2007 lUYV525397P217001     LA      37,952                     $      7,000 $     14,000 $   21,000 Y     5 Ritchie B
 Postal Equipment list       PT53137      TRAILER.     U'TLN     DRY VAN 53               2007 2007 1UW525307P217002      CA      141,000                    $      7.000 $     14,000 $   21,000 Y      5 Ritchie8    m
 Postal Equipment list       PT53138      TRAILER      UTLN      DRY VAN 53               2007 20071UYV525327P217003      CA      47,500                     $      7,000 $     14,000 $   21,000 Y      5 RitchieB
  Postal Equipment list      P753139      TRAILER      U7LTY     DRY4AN 53                2007 2007 lUYVS25347P217004     CA      831,747      ~             $      7,000 5     14,000 $   21,000 Y      5 Ri[chie 8
  Postal Equipment list      PT53177      TRAILER      UTLN      DRY VAN 53               2007 2007 1UW525317P217042      CA      117,197                    $      7,000 $     14,000 $   21,000 Y      5 Ritchie B
                                                                                                                                                                                                                       N
                             PT53181 - TRAILER         UiL'fY    DRY VAN 53               2007 20071UWS25397P217046       CA      854,000                     $     7,000 $     14,000 $   21,000 Y      5 Ritchie8    Q
  Postal Equipment list
  Postal Equipment list      P1118        TRACTOR      KNWRT     T2000                    2007 2007 1XKTD49X271145400     CA       1,529,549       70,000     $     9,000 $     18,000 $   23,000 Y      5 RachieB     O
                             P1119        TRACTOR      KNWRT     8000                     2007 20071XKiD49X47l145401      CA       1,779,829       70,000     5     9,000 $     18,000 S   23,000 Y      5 Ritchie8
  Postal Equipment list
  Postal Equipment list      P1120        TRACTOR      KNWRT     TL000                    2007 20071XKTD49X67J145402      CA       1,798,474       70,000     $     9,000 $     18,000 $    23,000 Y     S Ritthie6    I~
  Postal Equipment list      P3121        TRACTOR      KNWRT     T2000                    2007 20071XKT049X87)145403       CA      1,664,302       70,000     $     9,000 $     18,000 $    23,000 Y     5 Ritchie8
                                          TRAILER      UTLiY     V52DC                    2007 20071UW525337P313801        CA      410,907                    S     8.929 S      8,929 $     8,929 Y     1 Ritchie8    N
  Postal Equipment list      Ff53002                                                                                                                                                                                   CJl
                              Ff53003     TRAILER       U'(LN    V52DC                    2007 20071UW525377P313S03        CA      337,462                    $     8,929 5      8,929 $     8.929 Y     1 Ritchiee
  Postal Equipment list
                                                                                                                           CA      442,283                    5     8,929 $      8.929 5     8,929 Y     1 Ritchie8    F-'
  Postal Equipment list       FT53004     TRAILER       UTt7Y    VS2DC                    2007 2007 1UW525307P113805
                              FT53005      TRAILER      UTLN     V52DC                    2007 2007 1UYV525347P313807      CA      425,856                    $     8,929 $       8.924 $    8,929 Y     1 Ritchie8
  Postal Equipment list
  PostatEquipmentlist         Ff53006     '(RAILER      U7L7Y    VS2DC                    2007 20071UWS25387P313809        CA      458,849                    $     8,929 $       8.929 S    8,929 Y     1 RitchieB
                                                                                                                                                                                                                       O
  PostafEquipmentlist         FT53007      TRAILER      UTLN     V520C                    2007 20071UW525367P313811        CA301,231                          $     8,929 $ ~     8,929 $    8$29 Y      1 Ritchie8
                                                                                                                                                                                                                       f-~
  Postal Equipmentiist        Ff53008      TRAILER      UTLT'    V52DC                    2007 20071UYV525357P313802       LA      288,653                    $      8,429 $      8,929 5    8,929 Y     1 Ritchie8
   Postal Equipment list      FT53009      TRAILER      UTLN     V52DC                    2007 20071UWS25397P313804        CA      217,035                    $      8,929 $      8,929 $    8,929 Y     1 RitchieB
                                                                                                                                                                                                                              Entered 11/23/15 17:02:48




   Postal Equipment list      Ff53010      TRAILER      UTLTY    V52DC                    2007 24071UYV525327P113806       CA~     409,394                    $      8,929 $      8,929 S    8,929 Y     1 Ritchie8
   Postal Equipment list      Ff53011      TRAILER      UTLTY     V52DC                    2007 2007 lUYV525367A113808     CA      327,561                    $      8,929 $      8,924 $    8,929 Y     1 RicthieB
   Postal Equipment list      FT53012      TRAILER      UTL7Y     V52DC                    2007 2007 SUYV525347P113810     CA      146,892                    $      8,929 $      8.929 $    8,929 Y     1 RitchieB
                                                                                                                           CA      380,520                    $      8,929 $      8,929 $     8,929 Y     1 Ritthie8   (D
   PostafEquipmentlist        FT53013     (RAILER       U7lN      V52DC                    2007 20071UW525387P113812
                                                                  T800                     2007 20072XKDAUSX87M379574      CA      757,797         54,000     $    20,000 $      32,500 $   42,000 Y      5 RitchieB    Ul
   Postal Equipment list      P435         TRACTOR      KNWRT
                                                                                                                                                                                            42,000 Y      5 Ritchie8    J
   Postal Equipment fist      P436         TRACTOR      KNWRT     T800                     2007 20072XKDAUSX37M179576      CA      742,538         54,000     $    20,000 $      32,500 S
                                                                                                                                  .682,477         80,000     $    20,000 $      32,500 $   42,000 Y      5 Ritchie6    O
   Postal Equipment list      P4S2         TRACTOR      KNWRT    1800                      2007 20073WKDA08X37F183308      CA
   Postal Equipment list      P483         TRACTOR      KNWR7     T800                     2007 2007 3WKDAOSX37F183309     CA      655,955         80,000     $     20,000 $     32,500 $   42,000 Y      5 Ritthie8    f-~
   Postal Equipment list      P484         7RACTOE      KNWRT     T800                     2007 20073WKDAOSXX7F183310      CA       682,100        80,000     $     20,000 $     32,500 $   42,000 Y      5 Ritchie8    N
                                                                                                                                                   54,000      $    20,000 $     32,500 S   42,000 Y      5 RitchieB    W
   Postal Equipment list      P442         TRACTOR      KNWRT     T800                     2007 20072XKDAUSX07M379584      CA       664,921
   Postal Equipment list       F728117      TRAILER     UTLT'     V52DC                    2007 2007 1UW512847P108505      CA       94,079                     $     8.929 $      8,929 S     8,929 Y     1 Ritchie8
   Postal Equipment list      Pa37         7RAC?OR      KNWRT     T800                     2007 2007 2XKDAUSX57M379578     CA       600,551        54,000      5    20,000 $     32,500 $    42,000 Y     5 Ritchie8
                                                                                                                                                                                                                              Page 179 of 252




   Postal Equipment list      P438          TRACTOR     KNWRT     T800                     2007 2007 2XKDAUSX77M179579     CA       698,511        54,000      $    20,000 5     32,500 $    42,000 Y     5 RitchieB
    Postal Equipment list      P439         TRACTOR     KNWRT     T800                     2007 2007 2XKDAUSX37M179580     CA       876,292        54,000.     $    20,000 5     32,500 5    42,000 Y     S RitchieB




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            Matheson Equipment



File Source              Unic No    Type       Make     Model        YR        Year  VIN#   ~              State   Odometer     GVW          LIQ VALUEIOVLIQ VALUEAVE    LlQ VAL HIGH    COMFGONSOURCE
Postal Equipment list    P441       TRACTOR    KNWRT    7800              2007   20072%KDAU8X97M179583     CA      735,432      54,000       $     20,000$      32,500   S     42,000    Y     5 RitchieB
Postal Equipment list    PT53140    TRAILER    UTLN     DRY VAN 53        2007 2007 1UW525367P217005       CA      29,321                    $      7A00 $      14,000   $     21,000    Y     5 Ritchie B
Postal Equipmentiist     PT53141    TRAILER    UiL7Y    DRY VAN 53        2007 ~20073UW525387P217006       CA      580,566                   S      7,0005      14,000   5     21,000    Y     5 Ritchie8
Postal Equipment list    PT53142    TRAILER    UTLTY    DRY VAN 53        2007 2007 1UW5253X7P217007       CA      612,486               ~   5      7p00 $      14,000   $     21,000    Y     5 Ritchie 6
Postal Equipment list    PTS3143    TRAILER    UTLIY    DRY VAN 53        2007 2007 lUYV525317P217008      CA      fi80,123                  $      7A00 $      14,000   $     21,000    Y     5 Ritchie8
Postal Equipment list    PT53144    TRAILER    UlL7Y    DRY VAN 53        2007 2007 1UYV525337P217009      CA      733,499                   $      7,000$      24,000   $     21,000    Y     5 Ritchie8
Postal Equipment list    P7'S3145   7RAllER    UTLN     DRY VAN 53        2007 2007 1UYV5253X~P217010      CA      227,321                   $      7,000$      14,000   $      21,000   Y     5 Ritchie 8        CD
Postal Equipment list    PT53146    TRAILER    UIlTY    DRY VAN 53         2007 20071UW525317P217011       CA      397,762                   $      7,000$      14,000   $      21,000   Y     5 Ritchie6
                                                                                                                                                                                                                  F'
Costal Equipment list    P~53147    TRAILER    UlLT'    DRY VAN 53         2007 2007 lUWS25337P217012      CA      140,321                   $      7,000$      14,000   $     21,000    Y     5 Ritchie8         Ul
Postal Equipment list    P753145    TRAILER    UTLTY    DRY VAN 53        2007 20071UWS25357P217013        CA      239,672                   $      7,000$      14,000   $      21,000   Y     5 Ritchie8
                                                                                                                                                                                                                  Ul
PoscalEquipmentlist      PT53149    TRAILER    UTL7Y    DRY VAN 53         2007 20071UW525377P217014       CA      172,240                   $     7,000 $      14,000   5      21,000   Y     5 RitchieB         O
Postal Equipment list    PT53150    TRAILER    U7L7Y    ORYVAN 53          2007 2007 1UW525397P217015      CA      140,231                   S     7,000 $      14,000   $      21,000   Y     5 Ritchie B        CSi
Postal Equipment list    PTS3151    TRAILER    UTLTf    DRYVAN53          2007    20071UW525307P217016      CA     154,321                   $     7,000 S      14,000   $     21,000 Y           5 Ritchie6      N
Postal Equipment list    PT53152    TRAILER    UTLN     DRY VAN 53        2007    20071UW525327P217017      CA     987,532                   $     7,000 $      14,000   $     21,000 Y           5 RitChieB
Postal Equipment list    PT53153    TRAILER    UTLiY    DRY VAN 53        2007    20071UYV525347P217018     CA     178,044                   $     7,000 $      14,000   $     21,000 Y           5 RitchieB
                                                                                                                                                                                                                         Case 15-50541-btb




Postal Equipme~tlist     PT53154    TRAILER    UTLT'    DRY VAN 53        2007    2007 3UW525367P217019     CA     597,562                   $     7,000    $   14,000   $     21,000 Y           5   Ritchie8
Postal Equipment{ist     PT53155    TRAILER    UTLTY    DRY VAN 53        2007    20071UYV525327P217020     CA     167,421                   $     7,00     $   14,000   $     21,000 Y           5   RitchieB
Postal Equipment list    PT53156    IRAiLER    U71N     DRY VAN 53        2007    20071UYV525347P217021     CA     SSl,fi74                  $     7,000    $   14,000   $   ~ 21,000 Y           5   RitchieB
Postal Equipment list    PT53157    1RAILER    UTLTY    DRY VAN 53        2007    20Q71UYV525367P217022     Gl     196,806                   $     7,000    $   14,000   $     21,000 Y           5   RitchieB    O
                                                                                                                                                                                                                  n
Postal Equipment list    PT53158    TRAILER    U7LN     DRY VAN 53        2007    2007 3UW525387P217023     CA     338,532                   $     7,000 $      14,000   $     21,000 Y           5 Ritchie8
                                                                                                                                                                                                                  W
Postal Equipment list    PT53159    TRAILER    UTL1Y    DFYVAN53          2007    20071UW5253X7P217024      CA     748,321                   $     7,000 S      14,000   $     21,000 Y           5 RitcAieB
Postal Equipment list    P753160    7t3AllER   UTLTY    DRY VAN 53        2007    2007 lUYV525317P217025    CA     b78,321                   $     7,000 $      14,000   S      21,000   Y        5 Ritchie B     N
                                                                                                                                                                                                                         Doc 482




Postal Equipment list    PT53161    1RAILER    UTLN     DRY VAN 53        2007    2007 IUW525337P217026     CA     353,757                   $     7,000 $      14,000   $      21,000   Y        5 RitchieB
Postal Equipment list    PT53163    TRAILER    UTLTY    DRY VAN 53        2007    2007 LUYV525377P217028    CA     427,563                   $     7,000    $   14,000   $      21,000   Y        S Ritchie B
                                                                          2007                              CA     233,231                   $     7,000    $   14p00    $    ~ 21,000   Y        5 Ritchie B
                                                                                                                                                                                                                  m
Postal Equipment list    PT53164    TRAILER    UTLTY    DRY VAN 53                2007 1UYV525397P217029
Postal Equipment list    PT5316>    TRAILER    UlLTY    DRY VAN 53        2007    20071UYVS25397P217032     CA     127,321                   $     7,000    $   14,000   $      21,000   Y        5 RitchieB      (D
Postal Equipment list    PT53168    TRAILER    UTL1Y    DRY VAN 53        2007    2007 LUYV525367P217033    CA     164,532                   $     7,000    S   14,000   $      21,000   Y        5 Ritchie8
                                                                                                                                                                                                                  CD
Postal Equipment list    P'f53169   TRAILER    UTL'fY   DRY VAN 53        2007    20071UW525327P217034      CA     722,255                   $     7,000    $   14,000   $      21,000   Y        5 RitchieB      Q
Postal Equipment list    PT53170    TRAILER    UTLTY    DRY VAN 53        2007    2007 1UW525347P217035     CA     67,363                    $     7,000    $   14,000   $      21,000   Y        5 Ritchie6
Postal Equipment list    PT53171    TRAILER    U1L7Y    DRY VAN 53        2007    2007 1UW525367P217036     CA     715,859                   $     7A00     $   14,000   $      21,000   Y        S Ritchie B
Postal Equipment list    PT53172    TRAILER    U7L7Y    DRY VAN 53        2007    20071UYVS25387P217037     GA     265,510                   $     7,000    $   14,000   $     21,000 Y           S RitchieB      N
Postal Equipment list    PT53173    1RAILER    UTL7Y    DRY VAN 53        2007    2007 lUYV5253X7P217038    CA     330,653                   $     7,000    $   14,000   $     21,000 Y           5 RitchieB
Postal Equipment list    P753096    TRAILER    UTLT'    DRY VAN 53        2007    20071UYVS25317P178601     CA     241,623                   $     7,000    $   14,000   $     21,000 Y           5 Ritchie6      I--~
Postal Equipment list    PT53174    TRAILER    UTL1Y    DRY VAN 53        2007    20071UYV525317P217039     CA     573,213                   $     7,000 $      14,000   $     21,000 Y           S Ritchie8      (S'I
Portal Equipment list    ~aT53175    TRAILER   U11T'    DRY VAN 53        2007    2007 1UW525387P217040     CA     416,235                   $     7,000 $      14,000   $     21,000 Y           5 RitthieB      N
PosTal Equipment list    PT53176    TRAILER    UiL7Y    ORYVAN 53         2007    2007 SUW5253X7P217041     CA      88,112                   $      7,000   $   14,000   $      21,000 Y          S   Ritchie8
Postal Equipment list    F328       UTIItTY    GMXXX    1500              2007    2007 iGTEC19X97Z146955    Non Lic 128,040     4,513        $      6,400   $    7,100   $       7,900 Y          3 KBB
                                                                                                                                                                                                                  O
Postal Equipment list    P1190      TRACTOR    KNWRT    T660              2008    2008 1XKAD49XSSR235974    CA      1,229,618   70,000       $     20,000   $   30,000   $      35,000 Y          S Ritchie B
                                                                                                                                                                                                                  I-~
Postal Equipment list     USPS      MISCUNR    XXXXX    UNKNOWN           2008    2008                      CA      170,174                  $     10,000   $   15,000   S      35,000 Y          5 RitchieB
Postal Equipment list    P464       ifiACTOR   INT      9200               2009   20093HSCDSBN59N086746     CA      563,829     80,000       $     19,000   $   22,000   S      26,000 Y          5 RitchieB
                                                                                                                                                                                                                         Entered 11/23/15 17:02:48




Postal Equipment list    PT53184    TRAILER    U'RTY    DRY VAN 53         2009   2009 1UW525379P789901     Non Lic 509,000                  5      6,000   $   10,000   $      14,000 Y          S RitchieB
 Postal Equipmentiist    P452       TRACTOR    KNWRT    7800 ~             2009   20091XK~A48X99R248901     CA      538,294     56,000       $     23,000   $   32,000   $      47,000 Y          5 Ritchie6
 Postal Equipment list   P456       TRACTOR    KNWRT    T800               2009   20091XKDA48X69R248905     CA      824,208     56,000       $     15,000   $   23,000   $      32,000 Y          5 Ritchie6
 Postal Equipment list   P457       TRACTOR    KNWRT    T800               2009   20091XKDA48X89R248906     CA      671,995     56,000       $     15,000   $   23,000   $      32,000 Y          5 Ritchie6      (D
 Postal Equipment list   P458       TRACTOR    TNT      9200               2009   2009 3HSCDSBN49N086740    CA      536,084     80,000       5     19,600   $   19,600   $      19,600 Y          4 Ritchie8      CTI
 Postal Equipment list    P459      TRACTOR    TNT      9200               2009   20093HSCDSBN69N086741     CA      548,098     80,000       $     19,600   $   19,600   $      19,600    Y       4   Ritchie6
 Postal Equipment list    P453      TRACTOR    KNWRT    T800               2009   2009 1XKDA48X09R248902    Non Lic 518,347     56,D00       $     32,000   $   47500    $      60,000    Y       5   Ritchie8    O
                                                                                                                                                                                                                  -ti.
 Postal Equipment list    P454      TRACTOR    KNWRT    T800               2009   20091XKDA48X29R248903     NonLic699,356       56,000       $     32,000   $   47,500   $      60,000    Y       5   Ritchie6
                                                                                                                                                                                                                  F'
 PostalEquipmenxlist      P455      TRACTOR    KNWRT    T800               2009   20091XKOA48X49R248904     CA      593,288     56,000       S     32,000   5   47500    $      60,000    Y       5   Ritchie6    I-~
 Postal Equipment list    P449      TRACTOR    KNWRT    T800               2009   20091XKDA48X29R248898     CA      708,836     54,999       5     32,000   5   47500    S      60,000    Y       5   Ritchie8    W
 Postal Equipment list    P450      Ti2ACTOR   KNWRT    T800               2009   20091XKDA48X49R24SS99     CA      713,073     54,999       $     32,000   $   47,500   $      60,000    Y       5   Ritchie6
 PostalEpuipmentlist      P443      TRACTOR    KNWRT    TS00               2009   20091XKDA48X19R248892     CA      607,777     54,999       $     32,000   $   47,500   $      60,000    Y       5   Rhchie8
                                                                                                                                                                                                                         Page 180 of 252




 Postal Equipment list    P444      TRACTOR    KNWRT    1800               2009   20091XKDA48X39R248893     CA      658,858     54,999       $     32,000   5   47,500   5      60,000    Y       5   Rhchie8
 Postal Equipment list    P445      TRACTOR    KNWRT    T800               2009   2009 SXKDA48X59R248894    CA      888,348     54,999       $     32,000   $   47,500   $      60,000    Y   ~   5   Ritchie B




                                                                                                    Page 22 of27
            Matheson Equipment


FleSource                 Unit No    Type         Make.     Model               YR         Year   VIN#                State Odometer        GVW      UgVALUELOYL(QVALUEAVE LIQVALHIGH COMFCONSOURCE
Postal Equipmentiist      P446       TRACt'OR     KNWRT     T800                     2009    20091%KDA48X79R248895    LA      662,252       54,999   $   32,000 $    47500 $    60,000 Y    5 Ritchie8
Gostai Equipment list     P447       TR.4C70R     KNWRT     T800                     2009 2009 SXKDA48X99R24S896      CA      638,060       54,999   $   32,000 $    47500 $    60,000 Y    5 Ritchie 6
Postal Equipment list     P460       TRACTOR      IN7       9200                     2009 2009 3HSCDSBN89N086742      CA      494,112       80,000   $   19,600 $    19,600 $   19,600 Y    4 RiCchieB
Pos[alEquipmentlis[       P461       TRACPOR      INT       9200                     2009 20093HSCDSBNX9N086743       CA      500,224       80,000   $   19,600 $    19,500 $   19,600 Y    4 Ritchie6
Postal Equipment list     P462       TRACTOR      INT       9200                     2009 2009 3HSCDSBN19N086744      CA      436,126       80,000   $   19,600 $    19,600 $   19,600 Y    4 Ritchie B
Postal Equipmentiist      P463       TRACTOR      TNT       9200                     2009 20093HSCOSBN39N086745       CA       487,724      80,000   $   19,600 $    19,600 $   19,600 Y    4 Ritchie6
Postal Equipmentlis[      P465       TRACTOR      INT       9200                     2009 20093HSCDAAN24N086609       CA       594,444      80,000   $   19,fi00 $   19,60Q $   19,600 Y    A RitchieB      CD
Postal Equipment list     P466       TRACTOR      INT       9200                     2009 2009 3HSCDADN99N085610      CA      489,927       80,000   $    19,600 $   19,600 $   19,600 Y    4 Ritchie B
                                                                                                                                                                                                            N
Postal Equipment list     P448       TRACTDR      KNWRT     T800            ~        2009 20091XKDA48X09R248897       CA       586,611      54$99    S   32,000 $    67,500 5   60,000 Y    5 Ritchie8      Ul
Postal Equipment list     P451       TRACTOR      KNWRT     T800                     2009 20093XKDA48X79R248900       CA       626,881      54,999   $   32,000 $    47,500 $   60,000 Y    5 RitchieB      U'I
Postal Equipment list     P467       1RACTOR      !NT       9200                      2009 20093HSCDAPN09N086611      CA      468,386       80,000   $    19,600 $    19,600 $  19,600 Y    1 Ritchie8      O
Postal Equipment list     PT53196    TRAILER      UTL7Y     DRY VAN 53                2010 2010 lUYV52532AP822212     CA       262593                $    16,448 $   26,000 5   27,500 Y    4 Ritchie8      CSt
Postal Equipment list     PT53197    TRAILER      UTl.TY    DRY VAN 53                2010 2010 lUYV52534AP822213     CA       264,022               $    16,448 $   26,000 $   27,500 Y    4 RitchieB      I-~
Postal Equipment list     Pi53198    TRAILER      UTLTY     ORYVAN.53                 2010 20101UYV52536AP822214      CA       679,862               $    16,448 $    26,OD0 $  27,500 Y    4 RitchieB
Postal Equipment list     PT53199    TRAILER      UTLTY     DRY VAN 53                2010 2010 SUW52538AP822215      CA       554,367               $    16A48 $     26,000 $  27,500 Y    4 Ritchie B
                                                                                                                                                                                                                   Case 15-50541-btb




Postal Equipment List     P753200    TRAiIER      U7LTY     ORYVAN 53                 2010 2010 1UW5253XAP822216      CA       287,902               $    16,448 5    26,000 5  27500 Y     4 Ritchie B
Postal Equipment list     PT53201    TRAILER      U11N      ORYVAN 53                 2010 2010 SUYV52531AP822217     CA       467,002               $    16,448 $    26,000 $  27500 Y     4 Ritchie6
Postal Equipment list     PT53202    TRAILER       UTLN      DRY VAN 53               2010 2010 lUYV52533AP822218      Non Lic 510,223               $    16,448 $    26,000 $   27.500 Y   4 Ritchie 6
                          PT53203    TRAILER       U7LTY     DRY VAN 53               2010 2010 1UW52535AP822219       CA      550,201               $    16,448 $    26,000 $  27500 Y     4 Ritchie B     O
Postal Equipment list                                                                                                                                                                                       C7
PosTal Equipment list     P753204    TRAILER       UTLN      DRY VAN 53               2010 201Q lUYV52531AP822220      CA      215,726               $    16,445 $    26A00 $   27500 Y     4 Ritchie6
                                                                                                                                                                                                            W
PostalEquipmen[list       PT53205    TRAILER       UTL7Y     DRY VAN 53               2010 20103UYV52533AP822221       CA      496,329               $    16,448 $    26,000 $   27,500 Y   4 Ritthie6
Postal Equipment list     P75320fi    TRAILER      UiLN      ORYVAN53                 2010 20101UYV52535AP822Z22       CA      630,309               $    16,448 5    26,000 $   27,500 Y   4 Ritchie6      F~
                                                                                                                                                                                                                   Doc 482




 Postal Equipment list    PT53207    TRAILER       U7LN      DRY VAN 53               2010 2010 3UYV52537AP822223      CA      421,562               $    16,448 $    26,000 $   27,500 Y   4 Ritthie6
 Postal Equipment list    PT53208     TRAILER      UTLTY     DRY VAN 53               2010 2010 3UW52539AP822224       CA      541,300               5    16,448 $    26,000 $   27,500 Y   4 Ritchie8
 Postal Equipment list    PT53209     TRAILER      U7LTY     DRY VAN 53 ~             2010 2010 3UYVS2530AP822225      CA      704,617               $    16,448 $    26,000 $   27500 Y    4 Ritchie B
                                                                                                                                                                                                            r-r
 Postat Equipment list    PT53185     TRAILER      UTLN      DRY VAN 53               2010 2010 SUW52538AP822201       Non Lic 556,328               S    16,448 $    26,000 $   27,500 Y   4 Ritchie B     CD
 Postal Equipment list     PT53186    TRAILER      UTIN      DRY VAN 53               2010 20101UW5253XAP822202        NonLiC187,211                 $    16,448 $    26,000 $   27,500 Y   4 Ritchie6
                                                                                                                                                                                                            N
 Postal Equipment list     PT53187    TRAILER      UTI,iY    DRY VAN 53               2010 2010 lUYV52533AP822203      Non Lic 166562                $    16,448 $    26,000 $   27,500 Y   4 Ritchie B     Q
 Postal Equipment list     PT531S8    TRAILER      UTIT'     DRY VAN 53               2010 20101UYV52533AP822204       CA      518,203                S    16,448 $   26,000 $   27,500 Y   4 Ritchie6      O
 Postal Equipment list     PT53189    TRAILER      UTLiY     ORYVAN 53                2010 2010 1UW52535AP822205       Non Lic 487,201               $     16,448 $   26,000 $   27,500 Y   4 Ritchie B
 Pos[ai Equipment (ist     PT53190    TRAILER      UTL7Y     DRY VAN 53               2010 2Q10 lUWS2537AP822206       Non Lit 182,063                $    16,448 $   26,000 $   27,500 Y    4 Ritchie 6    N
 Postal Equipment list     PT53191    TRAILER      UTLTY     DRY VAN 53               2010 2030 1UYV52539AP822207      Non Lic 719,302               $     16,448 $   26,000 S   27,500 Y    4 RitchieB
 Postal Equipment list     PT53192    TRAILER      UTLTY     DRY VAN 53               2010 2010 lUYV52530AP822208      Non Lic 526,349               $     16,448 $   26,000 5   27,500 Y    4 Ritchie B    N
                                                                                                                                                           16,448 $    26,000 $  27500 Y     4 RitchieB     Ul
 Postal Equipment list     PTS3193    TRAILER      U1lTY     DRY VAN 53               2010 2010 lUYV52532APS22209      Non Lic 527,801                $
                                                                                      2010. 20101UW52539AP822210       NonLic532,531                  $    16,448 $    26,000 $  27,500 Y    4 RitchieB     I-~
 Postal Equipment list     PT53194    TRAILER      UTLTY     DRY VAN 53                                                                                                                                     CTl
 Postal Equipment list     P753195    TRAILER      UTLTY     DRYVAN 53                2010 2010 1UW52530AP822211       Non Lic 197,802                5    16,448 $    26,000 $  27,500 Y    4 Ritchie B
 Postal Equipment list     P1214      TRACTOR      KNWRT     T660                     2010 20101XKAD49XOA1272452       CA       1,208,700   70,000    $  .29,800 S     52,500 $  66,000 Y    5 Ritchie8
                                                                                                                                                                                                            O
 Postal Equipment list     P1215      TRACTOR      KNWRT     T660                      2010 20101XKAD49X2A1272453      CA       1,356,092   70,000    5    29,800 $    52,500 $  66,000 Y    5 Ritchie8
                                                                                                                                                                                                            I-~
  Costal Equipment list    P1216      TRACTOR      KNWRT     T660                      2010 2010 1XKAD49X4A1272454     CA       1,157,595   70,000    $    29,800 $    52,500 $  66,000 Y    5 Ritchie B
 Postal Equipment list     P1217      TRACTOR      KNWR7     T660                      2010 2010 1XKAD49X6A1272455     CA       701,642     70,000    $    29,800 $    52,500 $  66,000 Y    5 Ritchie B
                                                                                                                                                                                                                   Entered 11/23/15 17:02:48




  Postal Equipment list    P1218      TRACTOR      KNWRT     T660                      2010 2010 1XKA049XSA1272456     CA       1,244,306   70,000    $    29,800 $    52,500 $   66,000 Y   5 RitchieB
  Postal Equipment list    P1219      TRACTOR      KNWRT     T660                      2010 2010 1XKAD49XXAJ272457     CA       1,290,329   70,000    $    29,800 $    52,500 $   66,000 Y   5 Ri[Chie B
  Postal Equipment list    P1220      TRACTOR      KNWRT     T660                      2010 2010 1XKA049X1Al2~2458     CA       1,440,106   70,000    $    29,800 $    52,500 5   66,000 Y   5 RitchieB
                                      1RACi0R       KNWRT    T660                      ZO10 2010 iXKAD49X3A1272459     CA       1,335,772   70,000    $    29,800 $    52,500 $   66,000 Y   5 Ritchie B     C~
  Postal Equipment list    P1221
  Postal Equipment list    P1222       TRACTOR      KNWR7    T660                      2010 2010 SXKAD49XXA1272460      CA      1,466,281   70,000    $    29.800 $    52500 $    66,000 Y   5 Ritchie B
  Postal Equipment list    P1223       TRACTOR      KNWRT    T660                      2010 20101XKAD49X1AJ272461       CA      1,450,996   70,000    $    29,800 $    52,500 $   66,000 Y   5 Ritchie8
                                       TRAC70ft     KNWRT    T660                      2010 20101XKAD49X3A7272462       CA      1,196,117   70,000    $    29,800 $    52,500 $   66,000 Y   5 Ritchie8      O
  Postal Equipment list    P1224
  Postal Equipment list    P1225       TRACTOR      KNWRT    T660                      2010 2010 1XKAD49XSA1272463      CA      1,238,081   70,000    5    29,800 $    52,500 $   66,000 Y   5. Ritchie B    N
  Postal Equipment list    Pi191       TRACTOR      KNWRT    T660                      2010 2010.iXKAD49X4P.1268436     CA      1,322,010   70,000    $    30,000 $    52,040 $   66,000 Y   5 Ritchie8      F-~
                                                    KNWRT                              2010 2010 iXKAD49X8A1268438      CA      1,331,390   70,000    $ .30,000 $      52,000 $   66,000 Y   5 Ritchie B     W
  Postal Equipment list    P1193       TRACTOR               T660
  Postal Equipment list    P1194       TRACTOR      KNWRT    T660                      2010 20101XKAD49XXA1268439       CA      1,392,364   70,000    $    30,000 $    52,000 $   66,000 Y   5 RitchieB
  Postal Equipment list    P468        TRACTOR      KNWRT    T800                      2010 20101XKDA47X2AI267858       NonLic398,660       80,000    $    37,000 $    65,000 $   78,000 Y   5 RitthieB
                                                                                                                                                           37,000 $    65,000 $   78,000 Y   5 Ritchie8
                                                                                                                                                                                                                   Page 181 of 252




  Postal Equipment list    P472        TRACTOR      KNWRT     T800                     2010 20103XKOA47X4A1267862       CA      524,173     80,000    $
  FostalEquipmentlist      P474        TRACTOR      KNWRT     7800                     2010 20101XKDA47X8AJ267864       CA      625,354     80,000    5    37,000 $    65,000 $   78,000 Y   5 Ritthie6




                                                                                                              Page 23 of27
           Matheson Equipment


FleSource                Unit No    Type        Make       Model            YR         Yex    VIN#             State Odometer       GVW         LIQVALUELOVUQVALUEAVE L~QVALHIGH COMFCONSOURCE
Postal Equipment list    P475       TRACTOR     KNWRT      T806 ~                2010    2010 1XKDA47XXAR67865 CA       553,289     80,000      $    37,000 $   65,000 $    78,000 Y   S Ritchie B
Postal Equipment list    P476       'TRACTOR    KNWRT    ~ T800                  2010 2030 1XKDA48X3AR67866    ~CA      496,605     80,006      $    37,000 $   65,OD0 $    78,000 Y   5 Ritchie B
Postal Equipment list    P477       TRACTOR     KNWRT      T800                  2010 20101XKDA48XSAR67867     CA       576,454     80,000      $    37,000 $   65,000 $    78,000 Y   5 Ritchie6
Costal Equipment list    P469       TRACTOR     KNWRT      T800                  2010 2010 1%KDA47X4A1267859    Hon Uc 529,247      80,000      $    25,000 $   55,000 $    85,000 Y   5 Ritchie6
Postal Equipment list    P470       TRACTOR     KNWRT      T800                  2010 2010 1XKDA47XOA1267869    Non Cic 624,277     80,000      $    25,000 $   55,000 $    85,000 Y   5 Ritchie6
Postal Equipment list    P471        TRACTOR    KNWRT      T800                  2010 2010 1XKDA47X2A1267861    Non Uc 568,124      80,000      $    25,000 $   55,000 $    85,000 Y   S fiitchieB
Postal Equipment list    P34        TRUCK       CHVRL      VAN                    2010 2010 SGC2GGBA4A31121I8   Non Lic 334,046     5,473       $     4,300 $     5,300 $    6,300 Y   3 K88          CD
Postal Equipment list    P1195       TRACTOR    KNWRT      T660                   2010 20101XKAD49X6A1268440    CA      1,358,212   70,000      $    29,800 $   52,500 $    66,000 Y   5 Ri[chie8
                                                                                                                                                                                                      F-~
Postal Equipment list     P1196      TRACTOR    KNWR7      T660                   2010 20101XKAD49X8Al268441    CA      1554,177    70,000      $    29,800 $   52500 $     66,900 Y   5 Ritchie8     Ul
Postal Equipment list     P1197      TRACTOR    KNWRT      T660                   2010 20301XKAD49XXA12684d2    CA      1,264,718   70,000      $    29,800 $   52,500 $    66,000 Y   S Ritthie8
Postal Equipment list     P1198      TRACTOR    KNWitT     T660                   2010 20101XKAD49X1AR6S443 ~ CA        1,406,185   70,000      5    29,800 5   52,500 5    66,000 Y   5 RRchieB      O
Postal Equipment list     P1199      TRACTOR    KNWRT      T660                   2010 20101XKAD49X3A1268444.   CA      1,209,732   70,000      $    29,800 $   52500 $     66,000 Y   5 Rkchie6      Ul
                                                                                                                        714,056                      67,500 $   72500 $     90,000 Y   S Ritchie6
                                                                                                                                                                                                      ~A
Postal Equipment list     P51226     7RACi0R    KNWRT      T660                   2013 20131XKAD49XODJ353200    CA                  80,000      5                                                     F-~
Postal Equipment list     PS1227     TRACTOR    KNWRT      Tfi60                  2013.. 20131XKAD49X2D1353201 {A       748,827     80,000      $    67,500 $    72500 $    90,000 Y   5 Iti[chie8
Postal Equipment list     P51228     TRACTOR    KNWRT      T660                   2013 20131XKAD49X4D1353202    CA      762,668     80,000      5    67,500 $    72,500 $   90,000 Y   5 RitchieB
                                                                                                                                                                                                             Case 15-50541-btb




PostalEquipmentlist       P51229     TRACTOR    KNWRT      T660                   2013 20131XKAD48X6DJ353203    CA      840,396     80,000      $    67,500 $    72500 $    90,000 Y   5 Ritchie8
 Postal Equipment list    PS1230     1RACi0R    KNWRT      T660                   2013 20131XKA049XSDJ353204    CA      852,362     80,000      5    67,500 $    72,SD0 $   90,000 Y   5 RRchie6
 Postal Equipment list    P51231     TRACTOR    KNWRT      T660                   2013 20131XKAD49XXDJ353205    CA      860,162     80,000      $    67,500 $    72,500 $   90,000 Y   5 Ritchie6
 Postal Equipment list    P51232     TRACTOR    KNWRT      T660                   2013 20131XKAD49X1D135320fi   CA      813,738     80,000      $    67,500 $    72,500 $   90,OD0 Y   5 Ritcfiie6    O
                                                                                                                                                                                                      C7
 Postal Equipment list    P51233     "TRACTOR   KNWRT      T660                   2013 20131XKAD49X3D1353207    CA      813,183     80,000      $    67,500 $    72,500 $   9Q,000 Y   5 Ri[chie8
                                                                                                                                                                            90,000 Y   5 Ritchie8
                                                                                                                                                                                                      W
 Postal Equipment list    PS1234     TRACTDR    KNWfiT     T660                   2013 20131XKAD49XSDJ353208    CA      826,888     80,000      $    67,500 $    72,500 $
 Postal Equipment list    751235     TRACTOR    KNWRT      T660                   2013 20131XKAD49X7D1353209    CA      837,811     80,000.     $    67,500 5    72,500 S   90,000 Y   5 Ritchie6     F-~
                                                                                                                                                                                                             Doc 482




 Postal Equipment ilst    P51236     TRACTOR    KNWRT      T660         ~         2013 20131XKAD49X3D1353210    CA       804,179     80,000     $     67,500 $   72,500 $   90,000 Y   5 Ritchie6
 Postal Equipment list    P51237     TRACTOR    KNWRT      T660                   2013 20131XKAD49X5DJ353211    CA      838,833      80,000     $     67,500 $   72,500 5   90,000 Y   5 Ritchie6
                                                                                                                CA       797,454     80,000     $     67,500 $   72,500 $   90,000 Y   5 RitchieB
                                                                                                                                                                                                      m
 Postal Equipment list    F51238     TRACTOR    KNWRT      7660                   2013 2013 1XKAD49X7DJ353212
 Postal Equipment list    P51239     TRACTOR    KNWRT      T660                   2013 20131XKAD49X9DJ353213    CA       804,015     80,000     $     67,500 5   72,500 S.   90,000 Y   S Ritchie8    fD
                                                                                                                                                                                        5 RitthieB
                                                                                                                                                                                                      -s
 Postal Equipment list    PS1240     TRACTOR    KNWRT      T660                   2013 20131XKAD49XODJ353214    CA       761,384     80,000     $     67,500 $   72,500 $    90,000 Y
 Postal Equipment list    P512a1     TRACTOR     KNWRT     T660                   2013 20131XKA049X2D1353215    CA       837,887     80,000     $     67,500 $   72,500 5    90,000 Y  5 Ritchie6     Q
 Postal Equipment list    P51262     TRACTOR     KNWRT     T660     -             2013 2013 1XKAD49XdD1353216   CA       842,603     80,000     $     67,500 S   72,500 $    90,000 Y  5 Ritchie B    O
 Postal Equipment list    P51243     TRACTOR     KNWRT      T660                  2013 20131XKAD49X5DJ353217     CA      913,064     80,000     $     67,500 $   72,500 $    90,000 Y   5 Ritchie8
 Postal Equipment list    P51244      TRACTOR    KNWRT      T660                  2013 20131XKAD49XSDJ353218     CA      807,803     80,000     $     67,500 $   72So~ $     90,000 Y   5 RitchieB    N
 Postal Equipment list     P51245     TRACTOR    KNWRT      T660                  2013 20131XKAD49XXDJ353219     CA      881,622     80,000      $    67500 $    72,500 5    90,000 Y   5 Ritchie8
 Postal Equipment list     P51246     TRACTOR    KNWRT      T660                   2013 20131XKAD49X6DJ353220    CA      890,456     80,000      $    67,500 $   72,500 $    90,000 Y   5 Ritchie6    I-~
 Postal Equipment list     P51247     TRACTOR    KNWRT      T660                   2013 2013 1XKA049XSDJ353221   CA      924,235     80,000      $    67500 $    72500 $     90,000 Y   5 Ritchie B
 Postal Equipment list     P51248     TRACTOR    KNWRT      T660                   2013 2013 SXKAD49XXD1353222   CA      858,447     80,000      $    67,500 $    72,500 $   90,000 Y   5 Ritchie B   I-~
                                                                                                                                                      67,500 S   72500 $     90,000 Y   5 Ritchie8
                                                                                                                                                                                                      (J'1
 Postal Equipment list     P51249     TRACTOR    KNWR7      T660            ~      2013 20131XKAD49X1DJ353223    CA      908,169     80,000      $
  Postal Equipment list    P51272     TRACTOR    KNWRT      T660                   2013 20131XKAD49X1DJ364075    CA      589,377     80,000      $    67500 $     72,500 $   90,000 Y   5 Ritthie6
                                                                                                                                                                                                      O
  Postal Equipment list    P51273     TRACTOR    KNWRT      T660                   2013 20131XKAD49X3DJ364076    CA      618,489     80,000      $    67,500 $    72,500 $   90,000 Y   5 Ritchie0
                                                                                                                                                                                                      N
  Postal Equipment list    P51274     TRACTOR    KNWRT      7660                   2013 20131XKAD49XSDJ364077    CA      631,194     80,000      $    67500 $     72500 $    90,000 Y   5 Ritchie6
  Postal Equipment list    PD1262     TRACTOR    KNWRT      T800                   2013 20131XXDD49XSDJ364089    CA      360,660     80,000      $    57,500 $    64,000 $   81,300 Y   5 Ritchie8
                                                                                                                                                                                                             Entered 11/23/15 17:02:48




  Postal Equipment list ~ PD7263      TRACTOR    KNWRT      7800                   2013 20131%KDD49X1D1364090    CA      348,906     70,000      $    57,500 $    64,000 5'  81,300 Y   5 RitchieB
  Postal Equipment list    PD1264     TRACTOR    KNWRT      T800                   2013 20131XKOD49X3D1364091    CA      430,266     70,000      S    57,500 $    64,000 $   81,300 Y   5 Ritchie6
  PostalEq~ipmentlist      PD7265     TRACTOR    KNWRT      T800                   2013 20131XKDD49XSD1364092    CA      399,938     70,000      5    57,500 S    64,000 5   81,300 Y   S Ritchie6
  Postal Equipment list    PD1266     TRACTOR    KNWR7      T800                   2013 20131XKDD49X7DJ364093    CA      424,915     70,000      $    57,500 $    64,000 $    81,300 Y  S Ritchie6
  Postal Equipment list    PS1267     TRACTOR    KNWRT      T660                   2013 20131XKAD49X2DJ364070    CA       614,387     80,000     $     67,500 $   72500 $   .81,000 Y   5 Ritchie8
  Postal Equipment list    P51268     TRACTOR    KNWRT      7660                   2013 20131XKAD49X4DJ364071    CA       641,808     80,000     $     67,500 $   72,500 $    81,000 Y  5 RitchieB
  PostalEq~ipmentlist      VS1269     TRACTOR    KNWRT      T660                   2013 20131XKAD49X6D1364072    CA       689,564     80,000-    $ ~   67;500 $   72,500 $    81,000 Y  5 Ri[chieB
  Postal Equipment list    P51270     TRACTOR    KNWRT      T660                   2013 20131XKAD49X8DJ364073    CA       639,458     80,000     $     67500 $    72500 $     81,000 Y  5 Ritchie8
                                                                                                                                                                                                       F-~
  Postal Equipment list    P51271     TRACTOR    KNWRT      T660                   2033 20131XKAD69XX0J364074    CA       651,366     80,000     $     67,500 $   72500 $     81,000 Y  5 Ritchie6     I-~
  Postal Equipment list    P01251     TRACTOR    KNWRT      T800                   2013 2013 SXKDD49XODJ364078   CA       238,371     80,000     $     73,000 $   82,500 $    98,233 Y  4 Ritchie6     W
  Postal Equipment list    PD1252     TRACTOR    KNWRT      7800                   2013 20131XKOD49X2DJ364079    CA       245,428     80,000     $     73,000 S   82,500 $    98,233 Y  4 RitchieB
  Postal Equipment list    PD1257     TRACTOR    KNWRT      T800                   2013 20131XKDD49X6D1364084    CA       22d,014     80,000     $     73,000 $   82,500 $    98.233 Y  4 Ritchie8
                           PD1258     TRACTOR    KNWRT       T800                  2013 20131XKDD49XSDJ364085    CA       237,017     80,000     $     73,000 $   82500 $     98,233 Y  4 Ritchie8
                                                                                                                                                                                                             Page 182 of 252




  Postal Equipment list
   Postal Equipment list   PD1259     TRACTOR    KNWRT       TS00                  2013 20131XXOD49XXOJ36C086    CA       290,292     80,000     $     73,000 $   82,SOD $    98.233 Y   4 Ritchie6




                                                                                                          Page 24 of27
            Matheson Equipment


File Source              Unit No    Type       Make      Model              YR           Year   VIN#                     State   Odometer   GVW       LIQVALUE IOVLiQ VALUEAVE     LIQVAt HIGH COMFCON SOURCE
Postal Equipment list    PD1260     TRACTOR    KNWfiT    T800                    2013      2013 1XKD049XSDJ364087        CA      241,174    80,000    $    73,000 $      82,500    $    98,233 Y     4 Ritchie B
Postal Equipment list    P01261     TRACTOR    KNWRT     T800                    2013      2013 IXKDD49X3D1364088        CA      221,592    80,000    $    73,000 $      82,500    $    98.233 Y     4 Ritchie B
Postal Equipment list    PD1253     TRACTOR    KNWRT     1800                    2013      2013 1XKDD49X9DJ3640S0        CA      296SZ0     80,000    $    73,000 $      82,500    $     98,233 Y    4 Ritchie6
Postal Equipmen[ list    PD1254     TRACTOR    KNWRT     T800                    2013     2013 1XKDD49X00J364081         CA      289,648    80,000    $    73,000 $      52,500    $     98,233 Y    4 Ritchie B
Postal Equipment list    PD2255     TRACTOR    KNWRT     T800_                   2013     20131XKDD49X2D1364082          CA      281,459    80,000    S    73,000 $      82,500    $    98,233Y      4Ritchie8
Postal Equipment list    PD1256     TRACTOR    KNWRT     T800                     2013    2013 IXKDD49X4D1364083         CA      357,469    80,000    $    73,000 $      82,500    $     98,233 Y    4 Ritchie6
Postal Equipment list    P51250     TRACTOR    KNWRT     T660                     2013    20131XKAD49X30J353224          CA      914,691    80,000    $    67,500 $      67,500    $     72,500 Y    5 RitchieB            C~
Postal Equipment fist    P51276     TRACTOR    KNWRT     T660                     201a    20141XKAD49X6FJ416852          CA      426,781    80,000    $    73,000 $      82500     $     98,000 Y    4 Aitchie8
                                                                                                                                                                                                                           F-~
Postal Equipment list    P51277     TRACTOR    KNWRT     T660                     2024    20141XKA049X8EJ416853          to      406,770    80,000    $    73,000 $      82,SD0    $     98,000 Y    4 Ritchie6            C7l
Postal Equipment list    PS1278     TRACTOR    KNWRT     T660                     2016    2014 iXKAD49XXFJ416854         CA      410,027    80,000    $    73,000 $      82,500    $     98,000 Y    4 Rftchie B           Ul
Postal Equipment list    P51279     TRACTOR    KNWRT     T660                    2014     20141XKAD49X1El416855          CA      396595     80,000    S    73,000 $      82,500    $     98,000 Y    4 Ritchie8            O
Postal Equipment list    P51280     1RACTOR    KNWRT     T660                    2014     2014 2XKA049X3EJ416856         CA      394,129    80,000    S    73,000 $      82,500    $     98,000 Y    4 Ritchie B           (S'I
Postal Equipment list    P51281     TRACTOR    KNWRT     T660                    2014      20141XKAD49XSEI416857         CA      411,269    80,000    $    73,000 $      82,500    $     98,000 Y    4 RkchieB             I-~
Pos2alEqulpmentlist      P51282     TRACTOR    KNWRT     T660                    2014      20141XKAD49X7E1416858         CA      396,382    80,000    $    73,000 $      52,500    S     98,000 Y    4 Ritchie8
Postal Equipment list    P51283     TRACTOR    KNWRT     T660                    2014      2014 SXKAD49X9EJ416859        CA      388,904    80,000    $    73,000 $      82,500    $     98,000 Y    4 Ritchie6
                                                                                                                                                                                                                                  Case 15-50541-btb




Postal Equipment list    P51284     TRACTOR    KNWRT     7660                    2014      20141XKAD49XSEI416860         CA      SO4S90     80,000    $    73,000 $      82,500    $     98,200 Y    4 Ritchie6
Postal Equipment list     P51285    TRACTOR    KNWRT     T660                    2014      20141XKAD49X7EJ416861         CA      530,114    80,000    $    73,000 $      82,500    $     98,200~Y    4 Ritchie6
Postal Equipment list     PD1286    TRACTOR    INT       PRO STAR                2014      20141HSOJAPRXEH779433         CA      215,889    80,000    $    60,600 $      67,050    $     73,500 Y    3 Cll'L30%
                                               XNWRT     T660                    2014      20141XKAD49XOE1403854         CA      235,450    80,000    $    67,500 $      72,500    $     81,000 Y    5 Ri[chie6            O
Postal Equipment fist     P51275    TRACTOR                                                                                                                                                                                n
Postal Equipment list     P6369     TRUCK      KNWRT     T370                    2014      20142NKHH17X7EM403891         CA      120,963    35,400    $    85,420 5       85,420   $     85,420 Y    2 Ritchie6
                                                                                                                                                                                                                           W
Postal Equipment list     PB370     TRUCK      KNWRT     T370                    2016      2014 2NKHHJ'IX9EM403892       CA      122,417    35,000    $    85,420 $       85,420   $     85,420 Y    2 Ritchie6
Postal Equipment list     P51299    TRAC'(OR   KNWRT     T680                    2015      20151XKY049X4Gi476291         CA.     108,073    80,000    $    78,400 $       87,500   5     96,600 Y    2 TruckpaperL30%      {~
                                                                                                                                                                                                                                  Doc 482




Postal Equipment list     P51300    TRAROR     KNWRT     T680                    2015      2015 1XKYD49X6GJ476292        CA      112,793    80,000    $    78,400 $       87,500   $     96,600 y    2 Truckpaper L30%
Postal Equipment list . ~ PDL1287   TRACTOR      KNWRT   7880                    2015      2015 1NKZA34XiFJ459889        GA ~    47,803     80,000    $    84,000 $      101,500   $    129,500 Y    5 C1'f L30%           m
Postal Equipment list     PDL1288   TRACTOR      KNWRT   T880                    2015      20151NKZA39XSFJ459890         CA      72,354     80,000    $    84,000 $      101,500   $    129,500 Y    5 G'fiL30h
vostalEquipmentiist      PDL7289    TRACTOR      KNWRT   T880                    2015      20151NH7D39XXFJ459891         CA      81,339     80,000    $    84,000 $      101,500   $    129,500 Y     5 C7TL30%            CD
                                                                                                                                                                                                                           -t
Postal Equipment list    PDL1290    TRACTOR    ~ KNWRT   7880                    2015      2015 INKZD39X1F1459892        CA      59,653     80,000    $    84,000 $      I01,500   $    129,500 Y     5 C1T 130%
                                                                                                                                                                                                                           C~
Postal Equipment list    POL1291    TRACTOR    KNWRT     7880                     2015     2015 1NKZ039X3FJ459893         CA     70,098     80,000    $    54,000 $      101$00    $    129500 Y      5 C17L30%            Q
Postal Equipment list    PDL7292    TRACTOR    KNWRT     T880                     2015     20151NKZD39XSFJ459894          CA     74,762     80,000    $    84,000, $     101,500   $    129500  Y     5  CTTL30%           O
Postal Equipment list    PDL1293    TRACTOR    KNWRT     T880                     2015     2015 1NKZD39X7FJ459895         CA     92,804     80,000    $    84,600 $      101,500   $    129,500 Y     5  Ci'f L30°6
Postal Equipment list    POL1294    TRACTOR    KNWRT     T880           ~         2015     2015 1NKZA39X9fJ459896         CA     90,846     80,000    $    84,000 $      101,500   $    129,500 Y     5  CTTt30%            I-~
Postal Equipment list    PDL1295    TRACTOR    KNWRT     T880                     2015     20151NKZD39XOFJ459897          CA     100,402    80,000    $    84,000 $      101,500   $    129500  Y     5  CTTl30%
Postal Equipment list    PDL1296    TRAROR     KNWRT     T880                     2015     20151NKZD39X2FJ459898     ~    CA     68,604     80,000    $    84,000 $      101,500   $    129,500 Y     5  CTTL30%            F-~
                                                                                                                                                            84,000 $     101,500 $      129500 Y       S CTTL30%
                                                                                                                                                                                                                            Ul
 Postal Equipment list   PDL1297    7F2ACTOR   KNWRT     T880                     2015     2015 iNKZD39X4FJ459899         CA     116,787    80,000    $
 Postal Equipment list   PDL1298    TRACTOR    KNWRT     T880                     2015     20151NKZD39X7FJ4599D0          CA     82,810     SOA00     $     84,000 $     101,500 S      129,500 Y      5 CTiL30%            N
                                                                                                                                                                                                       5 7rvckpaper L30%
                                                                                                                                                                                                                            U~.
 Postal Equipment list   P513~1     TRACTOR    KNWRT     T680                     2015     2015 1XKYD49X8GJ476293         CA     109,383    80,000    $     78,400 $      87500 $        96,600 Y
 Postal Equipment list    P51302    TRACTOR     KNWRT    T680                     2015     2015 1XKYD49XXGJ476294          CA    100,874    80,000    $     78,400 $      87,500 $       96,600 Y      5 TruckpaperL30%
                                                                                                                                                                                                                            O
 Postal Equipment list    P51303    TRACTOR     KNWRT    T680                     2015     20151XKYD49XSG1476295         ~ CA    102,392    80,000    $     78,400 $      87,500 $       96,600 Y      5 7ruckpaper L30h
                                                                                                                                                                                                                            f~
 Postal Equipment list    PS1304    TRACTOR     KNWRT    T680                     2015     20151XKYD49X3G1476296          CA     111,231    80,000    S     78,400 $      87500    5     96,600 Y      5 TruckpaperL30%
 Postal Equipment list    PS1305    TRACTOR     KNWRT    T680                     2015     2015 SXKYD49XSG1476247         CA     112,537    80,000    S     78,400   5    87500    5     96,600 Y      5 TruckpaperL30%
                                                                                                                                                                                                                                  Entered 11/23/15 17:02:48




 Postal Equipment list    P51306    TRACTOR     KNWRT    T680                     2015     20151XKYD49%7GJ476298          CA     304,555    80,000    $     78,400   $    87,500   $     96,600 Y      5 TruckpaperL30k
 Postal Equipment fist    PS1307    TRACTOR     KNWRT    T680                     2015     2015 1XKY049X9G7476299         CA     105,384    80,000    5     78,400   $    87500    $     96,600 Y      5 Truckpaper L30%
 Postal Equipment list    PS1308    TRACTOR     KNWRT    T680                     2015     20151XKYD49X1G1476300          CA     95,808     80,000    $     78,400   $    87,500   $     96,600 Y      5 TruckpaperL30%
 Postal Equipment list    PS1309    TRACi'OR    KNWRT    T680                     2015     20151XKYD49X3GJ476301          CA     113,548    80,000    $     78,400   $    87,500 $       96,600 Y      S Truckpaperl30%     N
 PostalEquipmenilist      P51310    TRACTOR     KNWRT    T680                     2015     20151XKYD49XSGJ476302          CA     109,603    80,000    $     78,400 5      87,500 $       96,600 Y      5 TruckpaperL30Y
                                    TRACTOR     KNWRT    T680       -             2015     2015 1XKYD49X7GJ476303         CA     97,445     80,000    $     78,400 $'     87,500 $       96,600 Y      5 Truckpaper l30%    F~
 Postal Equipment list    P51311
 Postal Equipment list    P51312    TRACTOR     KNWRT    T680                     2015     2015 1XKYD49X9G1476304         CA      101,965   80,000    $     78,400 $      87,500 $       96,600 Y      5 Truckpapu L30%     O
                                                                                                                                                                                                                            -i.
 Postal Equipment list    P51313     TRACTOR    KNWRT    T680                     2015     20151XKYD49XOGJ476305          CA      123,088    80,000    $    78,400 $      87,500    $    96,600   Y    S TruckpaperL30Y     N
 Postal Equipment list    P51314     TRACTOR    KNWftT   7680                     2015     20151XKYD49X2GJ476306          CA      122,320    80,000    5    78,400 $      87,500    $    96,600   Y    5 huckpaper L30%     i-~
 Postal Equipment list    PS3315     TRACTOR    KNWRT     T680                    2015     20151XKYD49X4GJ476307          CA      102,772    80,000    $    78,400   $    87,300    $    96,600   Y    5 Truckpaperl30q     W
 postal Equipment list    P51316     TRACTOR    KNWRT     T680                    2015     20151XKYD49l(6G1476308         CA      122,046    80,000    5    78,440   $    87,500    $    96,600   Y    5 Truckpaper l30%
 Postal Equipment list    P51317     TRACTOR    KNWRT     T680                    2015     2015 iXKYD49X8G1476309         CA      124,445    80,000    $    78,400   $    87,500 $       96,600   Y    5 huckpaperL30%
                                                                                                                          CA      116,954    80,000    $    78,400   $    87,500 $       96,500   Y    5 TrutkpaperL30%
                                                                                                                                                                                                                                  Page 183 of 252




 Postal Equipment list    P51318     TRACTOR    KNWftT    T680                    2015     20151XKYD49X4GJ476310
 Postal Equipment list    P51319     TRACTOR    KNWR7     T680                    2015     20151XKYD49X6GJ476311          CA      123,724    80,000    $    78,400 $      87,500 $       96,600 Y      5 TruckpaperL30%




                                                                                                             Page ZS of27
            Matheson Equipment


File Source               Unit No   Type         Make      Model          YR         Year   VINp                Stale   Odometer   GVW      LIQ VALUELOV LIQ VALUEAVE LIQ VAL HIGH COMGCON SOURCE
Postal Equipment list     P51320    TRACTOR      KNWR7     T680              2015      20151XKYD49XSG7476312    CA      120,389    80,000   $     78,400 $      87,500$     96,600 Y     5 TruckpaperL30%
Trucking EquipmenttistlMES          MISC         CASPW     S10            Pre~2007     19548036259              NonLicO                     $      2,332 $       3,500$       6,622 Y    5 RitchieB
Trucking Equipment list 1 P7        TRUCK        GMXXX     CE62303        Pre-2007     1974 TCE624V575573       AZ      0                   $        500 $        500 $         500 N      Estimated
Trucking EquipmentlistiMT41         TRAILER      TRLMB     FL4'BED        Prr2007      1976 N69083              CA      0                   $      2,750 5       3,000$       6,500 Y    S Rkchie8
Trucking Equipment list 1 FFS       TRAILER      TRLMB     FLATBED        Pre~2007     1980 A50188              Non Lic 9                   $      2,750 $       3,000$       4,000 Y    S Ritchie B
Trucking Equipment list 15f5        TRAILER      TTMC      FLYING 600SE   Pre~2007     1981 712390481           CA      S                   $        600 $       1,157$       1,157 N    2 Ritchie B
                                                                                                                                                                                                              N
Trucking Equipment list 1 ME6       TRAILER      LNDGR     TRAILER        Prr2007      1985 130AUI111FC001740   Non Lic 0                   $      iS00 $        1,500$       1,500 N      Estimated          (D
Trucking Equipment list 1 MMFLl     FORKLIFT     HYSTR     H60C           Pre-2007     1986 COOSD02729G         Non Lic                     $        850 $         850$         850 N      Estimated          N
Trucking Equipment list 1 MT2       TRAILER      SAMSN     5              Prr2007      1486                     Non Lic                     $      1$00 $        SS00 $       1500 N       Estimated
                                                                                                                                                                                                               i
Trucking Equipment listlRT2         TRAILER      BFALL     BTTv10UMP      Pre-2007     19872L9DT4024H0004080    CA      456,200             $      ZS00 $        2,500$       2500 N       Estimated          U'I
Trucking Equipment list 1 MB3       TRUCK        INT       1955           Prr2007      1988 1HSLRDENS1H562727   CA      180,604             $      ZS00 $        2$00 $       2,500 N      Estimated          O
                                                                                                                                                                                                              (Jl
Trucking EquipmenT list 1 MP        TRAILER      CHARM     FIATBEO        Pre-2007     1989 086342              Non Lic 0                   $     .5,500 $       7,234$      12,000 N    3 Ritchie B
Trucking Equipmentlist1M88           MISC        FRDl7     ENGINE         Pre-2007     1990 ENGINE              Nonlic                      $        250 $         2505         250 N      Estimated          i-~
Trucking Equipment list 1 M89       TRACTOR      1HNDR     SPREADER       Pre-20D7     1990 100350X002215       Non Lic 1                   $      2SOU $        2500 $       2500 N       Estimated
Trucking EquipmentlistlMT6          TRAILER      UNKNOWN   UNKNOWN        Prc2007      1990 NONE                CA      0                   $     5,000    $    4,000 $      13,000N     3RitchieB
                                                                                                                                                                                                                     Case 15-50541-btb




Trucking Equipment list 1574        TRAILER      CHARM     OU7WE5'f       Pre~2007     19901C9G12100M1216012    CA      110                 5     1,250    5    3,608 5       3,608 N    2 Ritchie8
Trucking Equipment list iTTi        1R.41LER     TLTXX     TRAILER        Prr2007      1990 71LT                Non Uc 100                  $     I,250    $    3,608 $       3,608 N    2 Ritchie B
Trucking Equipmentlist1M810         TRAILER      MNIRY     60             Pre~2007     1992189FG2022MM385693    CA      1                   $     2500     $    2500 $        2500 N        Estimated         0
                                                                                       1992 SC9G20204N7216807   Non Lic 1,960               $     1,192    $    2,658 5       4,500 Y    3 Ritchie B          O
Trucking Equipment list 1 n2        TRAILER      CHARM     STOCKTRLR      Prr2007                                                                                                                             C~
Trucking Equipment listiST3         TRAILER      CHARM     STOCKTRLR      Pre-2007     1992TRAlLER               Non tic 105                $     1,192 $        2,658 $        d,500 Y      3 RitchieB
                                                                                                                                                                                                              W
Trucking Equipment list 1 MB2       TRACTOR      JHNDR     2755 MFVJO     Pr~2007      1994 102755U776031        Non Lic 1                  $     2$00 $         2,500 $        2$00 N         Estimated
Trucking Equipment list 1 M87       MISC         CMMNS     1TA10-280      Pre-2007     1994 34742281             Non Lic                    $       250 $          250 $          250 N        Btimated       F-'
                                                                                                                                                                                                                     Doc 482




Trucking Equipmentli:t1M84          TRAILER      WITH%     FLATBED        Prr2007      19951W9E5242152063115     NonLic100                  $     2,000    $     8,000   $     23,830 Y      0 Ritchie8
Trucking Equipment list 1 M100      LOAD Eft     CASPW     480E           Pre-2007     1996 J1G0006800           CA                         $     7,000    $     7,000   $      7,000 Y      1 Ritchie B      m
Trucking Equipment list 1AN01       MISC UNR     YAMAH     71MBERWOLF     Prr2007      1998 lY448DW08WA350651    Non Lic                    $     1,000    $     2,000   $      1,000 Y      1 ANCONNECTION
                                                                                                                                                                                                              r-r
Tracking Equipment list1AN04        MISCUNR      ACCIX     XT6            Pr~2007      19984XARFSOA1XD430674     CA                         $       500    $       S00   $        S00 N        Estimated      CD
Trucking EquipmentlistlMT1          TRAILER      HGHNS     H1             Pre-2007     1999                      Non Lic                    $     1,500    $     1$00    $      1,500 N        Estimated
                                                                                                                                                                                                              CD
Trucking Equipment list 1 Ml3       MISC         WL7NX~    18KBP          Pre~2007     1999 1W9TE2423X1284156    Non Lic 4                  $     8,000    $-   20,000   $     23,830 Y      5 Ritchie 8      Q
Trucking EquipmentlistiMTS          TRAILER      UNKNOWN   TRAILER        Pre~2007     1999'fLR                  NonLicl                    $      2,750   $     3,000   $      6,500   Y    5 Ritchie8       O
Trucking Equipment list1M11         UTiLfIY      6MXXX     2500           Pre2007      20031GTH K29133E318173    CA      332,136            $      3,300   $     3,900   $      4,400   Y    3 KBB.
Trucking EquipmentlistiM101         LOADER       CASPW     570MXT         Pr~2007      20041160301398            CA                         S     11,000   5    15,000   $     22,500   Y    5 Ritchie6       F-~
Trucking Equipment list1M49          UT1LfTY     CHVRI     2500           PrP2007      2005 SGCHK29295E154651    CA      186,062            $      3,800   $     4,200   $ ~    5,000   Y    3 KBB
Trucking Equipment list 1 MBl]      LOADER       CASPW     SSOD           Pre-2007     2005 NSC385199            Non Lic 0                  $     32,119   $    32,329 5       33,835   Y    3 Ritchie B      I-~
                                                                                                                                                  32,119   $    32,329 $       33,835   Y    3 Ritchie B
                                                                                                                                                                                                              UI
Trucking Equipment list 1 ME4        MISC        CASPW     5800           Pre2007      2005 NC385199             Non,Lic 0                  $
                                                                                                                 CA      10                 $      1500 $        1,500 $        1500 N         Estimated       N
Trucking Equipment list 1 MT8       TRAILER      LGNXX     LOGAN          Pre~2007     2005 SNSED12146A001753
Trucking Equipment list1FD150        CON-DOLLY   U7LiY     DOLLY              2007     20071U31E92Y36BJ01117     NonLic119,993              $       300 $        1,500 $        1500 Y       2 Ritthie8
 Trucking Equipment list 2 DT4      TRAILER      RLBBD     ZHSSFB         Prr2007      1958 38813                Non Lic 0                  $       500 $        1,000 $        SS00 N
                                                                                                                                                                                                               O
 Trucking Equipmentlist2MTS03       TRAILER      BROWN     TRAILER        Prr2007      19615614564               NonLicO                    $       S00 $        1,000 $        iS00 N       1 Ritchie6
                                                                                                                                                                                                               N
 Trucking Equipment list 2 FSS       TRAILER       iRLMB   27-96          Pre-20D7     1963 213212               Non Lic 0                   $      750 S         750    $       750 Y       1 Ritchie B
 Trucking Equipment list 2 M7502     TRAILER     - StRCK   TRAILER        Prr2007      1965 67599                Non Lic 0                   $      500 $        1,000   $      1,500 N          Estimated
                                                                                                                                                                                                                     Entered 11/23/15 17:02:48




 Trucking Equipment list 2 DTi       TRAILER       BROWN   TRAILER        Pre-2007     1968 5684709C             Non Lic 0                   S      600 $          750   $      1,250 Y          Estimated
 Trucking Equipment list 2 F52       TRAILER       STRCK   TRAfL£R        Pre-2007 ~   1972 149161               Non lic 0                   $       229   $       S00   $        750 Y          Estimated
 Trucking Equipment list Z F53       TRAILER      STRCK     TRAILER        Pre-2007    1972                      Non Lic 0                   $       229   $      500 $          750 Y           Estimated
                                     TRAILER      TRLMB     TRAILER        Pre~2007    1974 K24586               Non Lic 1                   $       196   ~$    1,219 $        1,360 Y       3 Ritchie 8      CD
 Trucking Equipment list 2 DR
 Trucking Equipment list 2 MT40      TRAILER      TRLMB     FLA'BED        Pre~2007    1976 N69081               Non Lic 0                   $       564   $      750 $          940    Y     3 Rftchie B
                                                                                                                                                                  750    $       940    Y     3 RitchieB
                                                                                                                                                                                                               N
 Trucking Equipmentlist2MT42         TRAILER      TRLMB     FLATBED        Prr2007     1976tJ69076               NonLIcO                     S      564    $
                                                                           Prr2007     1977 10704412038520       Non Lic 301,995             $     5,000   $     5,000   $      5,000   Y   AUTOTRADER         O
 Trucking Equipment list 2 M4        UT1LtTY ~    MRCBN     450SL
 Trucking Equipmentlist2GT45911      7fiAllER     iRLMB     UNKNOWN        Pre~2007    1978764125                CA      0         ~         $       542   $     1,100   $      1500    Y     S Ritchie8       F-~
 Trucking Equipment list 2 M3        UTILftt      MRCBN     6.9            Prr2007     1979 11603612006464       Non Llc 1                   $     5,000   $     5,000   $      5,000   Y   CARS.00DLE.COM     f~
                                                                                                                 Non Lic 111                 $      650    $     3,000   $      6,500   Y     3 Ritchie B~     W
 Trucking Equipment list 2 M75       FORKLIFT     HYS'fR    H70C           Pr~2007   1980 02FG02510926
 Trucking Equipment list 2 PT105     TRAILER      LFKTR     TRAILER        Prr2007   1980 56735                  OR      1                   $      500    $     1500    S      2,848   Y     5 Ritchie B
 Trucking Equipment list 2 M76       TRAILER      GMCXX     56000          Prr2007   1980 T36DAAV557739          Non Lic                     $     1,250   $     2,099   $      7,500   Y     4 Ritchie B
                                                                                                                                                                                5,000         3 Ritchie B
                                                                                                                                                                                                                     Page 184 of 252




 Trucking Equipment list 2 PT119     1RAllER      LFK7R     TRAILER        Pre-2007  1980 56749                  Non Lic 0                   $     3,250   $     4,000   $            Y
 Trucking Equipmentlist2PT146        TRAILER      GRTDN     TRAILER        Pre-2007. 19831GRAA9024D6044073       CA      1                   $     2,000 $        2,000 $       2,000 Y       1 Ritchie8




                                                                                                         Page 26 of27
            Matheson Equipment


FleSource                 Unit No       Type         Make       Model          YR       Year   VIN ii               State Odometer      GVW       LIQVAIUELOYLIQVALUEAVE LIQVALHIGH COMFCONSOURCE
Trucking Equipment list 2 FI72L         TRAILER      TRLMB      07AR           Prr2007 1984 1P7'07AR6F9008712       Non Lic 61,437       ~        $       877 $     1,316 $    2,250 Y     5 RitchieB
Trucking Equipment fist 2 FT48045       TRAILER      FRUHF      F89-F2-48      Prr2007 1984 1H4VO4S20FJ033011       Non lic                       $    2,000 $      2,000 $    2,000 Y     1 Rhchie8
Trucking Equipmentlist2G464             TRACTOR      INT        2375           Prr2007 19851HS7AHPN1FN825122        CA       95500                $    4,500 $      7,000 $    9,500 Y     3 Ritchie8
T~uckingEquipmentlist2MEFl,3            FORKLIFT     TCMXX      FCG25N6        Prr2007 198648801176                 CA       487                  $     1,250 $     1,250 $    1,250 Y     1 Ritchie8
Trucking Equipment list 2 Ff48012       TRAILER      FRUHF      TRAILER        Pre-2007 1986 1H2V04820GA001101      Non Lic 1                     $     1,000 $     1,500 $    2,400 Y     5 Ri[chieB     ~i
Trucking Equipment list 2 FT48043       TRAILER      LFKTR      7FV•IP Sf      Pre~2007 1987 i101A4822J1078257      Non Lic                       $    4,000 $      4,000 $    4,000 Y     1 RRchieB
Trucking Equipment list 2 Fi'48046      TRAILER      GRTDN      7411TJLW48     Pre-2007 1987 iGRAA9624JB114934      Non Lic                       $       750 $     1,130 $    2,000 Y     5 RkchieB      C~
Trucking Equipment list 2 FLSO8          FORKLIFT    CIRDL      T30 D          Prr2007 1988 SG604660                CA       1,139                $     1,000 $     3,250 $    7,503 V     5 Ri2chie8     I-~
Trucking Equipment list 2 F37      ~     UTiLfTY     INT        03600          Pre~2007 1988 1HTMBZRM71H583243      Non Lic 259,125               $     1,122 $     2,747 $    3,456 Y     3 Ritchie 8    Ul
Trucking Equipment list 2 M36            UTILRY      INT        01600          Pre~2007 1988 1HTMBZRMSJH583242       Non Lic 241,361              $       500 $     3,000 $    5,500 Y     3 Rttchie B    Ul
Trucking Equipment list 2 FT48042       TRAILER      THERR      ~SSC           Pre-2007 1988 STASIa82412212031       Non Lic                      $       500 $        500 $      500 N       Estimated   O
                                                                PICKUP         Pre~2007 19902GTFK29KIL3521774       ID       286,475              $     1$00 $      2,250 5    3$00 Y    KBBRitchieB      Ul
Trucking Equipmentlist2M73               UT1LtiY     GMXXX
Trucking Equipment listZFT151            TRAILER     FRUHF      FPPFIl         Pre~2007 19901H4V028180002008         NonLic29,900                 $       965 $     1,500 $    2,400 Y     SRitchie8      N
Trucking Equipment list 2 FL113          FORKLIF'i   HYStR      S30XL          Prr2007 1992 8010808801N             GA       2,434                $     1,750 $     1,750 $    1,750 Y     1 Ritchie 8
Trucking Equipmentlist2M78               UT1li1Y     GMXXX      PICKUP         Pre~2007 199416TC519ZHR8515132        CO      212,859              $       800 $     1,250 $    3$00 Y    KBB KBB
                                                                                                                                                                                                                 Case 15-50541-btb




Trucking Equipment list 2 MS           ~ UTILITY     BMWXX      75011A         Pre~2007 1995 WBAGK23255DH66528       Non Lic 194,103              $     1,273 $     1,640 $    1,841 Y   KBB KBB
Trucking Equipment list 2 FC258          TRAILER     UTLN        VS1DF         Prr2007 1996 lUWS1288TC982003         Non Lit 86,147               $     2,000 $     3,404 $    5$00 Y      5 Ritchie B
 Trucking Equipment list 2 MT55          TRAILER     SIIVR      TRAILER        Prr2007 1996 lU3TU92147BN01627        Non lic 0                    $       558 $     1$00 $     3,063 N     5 Ritchie B    0
                                                                                                                                                  $     2,000 $     3,905 $    4,000 Y     5 Ritchie B
                                                                                                                                                                                                          O
 Trucking Equipment list 2 FL137         FORKLIFT     HYSZR     535XM          Prr2007 1998 COlON04956V              Non Lic 13,469                                                                       n
 Trucking Equipmentlist2B'R              1RAILER     TR~MB       ROGUE          Pre-2007 199818Y1LAZ21W1011594       CA      0                    $     3,250 $     5,50 $     8A00 Y      5 Ritchie8
                                                                                                                                                                                                          W
 Trucking Equipment list 2 PU3           UTILITY     GMXXX      SONOMA          Pre-2007 1998 1G7C519XiW8501924      CA      258,136              $     1,250 $      1,250 $    2,500 Y    2 Ritchie B
 Trucking Equipment list 2 M33           UT1LfTY     GMXXX       JIMMY          Pre-2007 1998 1GKDtt3WXW2506371      Non lic 255,208              $       657 $        657 $    1,750 Y     2 Ritchie B   i-~
                                                                                                                                                                                                                 Doc 482




 Trucking Equipmentlis[2M33              l7TILiTY     GMXXX      JIMMY          Pre~2007 19981GKD713WXW2506371       NonLic255,208                $       657 $        657 $    1,750 Y     2 Ritchie8
 Trucking Equipment List 2 FU66           UTILff'!    GMXXX      SONOMA         Pre-2007 1999 1GTC519X9X8515197      CA      253,658          ~   $     1,320 $      1,585 $    1,825 Y  K86 KBB          m
 Trucking Equipment list2FU68             UTILfTY     GMXXX      SONOMA         Prr2007 19991GTCS19X7X8514954        NonLic238,658                $      1,000 $     SS00 5     2,000 Y  KB6 KBB
                                                                                                                                                                                                          r+
 TrvckingEquipmentlist2P197               UTtIfTY     FRGHT      FL370          Pre~2007 19991FV6HLBASXHA22038       CA       5,257               $     3,250 $      4,500 5    6,000 Y     5 Ritchie8    (D
 TruckingEquipmenilist2M300               MISC        ONAN       125KW          Pre2007 19991990995029               CA                           5      1,700 $     1,700 $    1,700 Y     1 Ritchie6    N
 Trucking Equipmenttist2MT15             TRAILER      UNKNOWN    TRAILER        Prr2007 2000 CA883940                CA       10                   $~   4,250 $      6,000 -$  12,000 Y     5 Ritchie8    Q..
 Trucking Equipment list 2 MT56          iRAiLER      SILVR      TRAILER        Pre-2007 2000 SU3TA9213YBN00004      CA                            $     3,250 S     4,250 $    5,000 N     5 Ritchie B   O
 Trucking Equipment~ist 2 EPJOl           MISC        HYSfR      W40XT          Pre-2007 2000 A218H04264W            Non Lic 2,862                $        114 $        114 $      114 Y    1 Ritchie 8
 Trucking Equipment list 2 EPJ07          MISC        HYSTR      W40X7          Pre-2007 2000 A218HOS701X            Non Uc 1,147                 $        114 5        114 $      114 Y    1 Ritchie B   F-'
                                                                                Pre~2007 2000 SFUJA6BG61PF16124      CA       640,356              $     6,500 $     7,000 $    8,423 Y     5 Ritchie B   61
 Trucking Equipment list 2 P1033          UTILITY     FRGHT      CL32Q
 T~uckingEquipmentlist2M44                UT1LfiY     GMXXX      SONOMA         Pre~2007 20001GTCS39W5Y8255017       CA       245,134              5       263 5       642 $    3A00 Y      5 Ritchie6    I-~
                                                                                                                                                                                          K66 KBB         (31
  Trucking Equipment list 2 M51           UTILITY     GMXXX      YUKON          Pre-2007 2002 3GKGK26G12G227306       Non Lic 239,039              S     2,976 $     3Sz5 S     3$36 Y
                                                                                                                                                   $     2,000 $     6,000 5    9500 Y      5 Ritchie B   N
  Trucking Equipment list 2 MS8           UnLtTY      GMXXX      3500           Prr2007 2002 1GTJK33122F180876        Non lic 279,425
  Trucking Equipmentlat2M83               Ui1lfN      CHVRI      PICKUP         Pre~2007 20031GBJK39G33R38686        CO       107,529              $   14,450 $     15,723 $   16,691 Y   KBB KBB
  Trucking Equipment lat 2 FL157          FORKLIFT    NSSMT      KUGH02A30PV    Prr2007 2004 KUGH02P900951            Non Lic 9,957                $     3,414 5 '   5,000 $    7500 Y      5 Ritchie B
                                                                                                                                                                                                          O
  Trucking Equipment lat 2 M24          untm          CHVRL      SUV            Prr2007 2004 iGCHK232X4f205589        Non Lic 293,287 ~     ~      $     3$00 $      5,000 $    6A00 Y    K68 KBB
                                                                                                                                                                                                          I-~
  Trucking Equipment lat 2 DU45         UTLfTY        TOYOT      AVALON         Prr2007 2004 4T18F28804U357830        CA      0                    $     4,899 5     5,252 $    5,624 Y   KBB KBB
  Trucking Equipment list Z M23         U11L17Y        MRCBN     2 AXLE         Pre-2007 2005 WDCYR71E15X362434       Nan Lic 103,499              $   35,000 $     38,000 $   40,000 Y   KBB KBB
                                                                                                                                                                                                                 Entered 11/23/15 17:02:48




  Trucking Equipment list 2 M55         UTILfTY       GMXXX       HS            Prr2007 2006 137PFt84346E221223       Non Lic 23,971               $    18,500 $   123,873 $  162,000 Y   KBB K68
  Trucking Equipment list 2 MS          UTIIrtY       GMXXX      3500            Prr2007 2006 1GLK33DX6F171276        Non Lic 196,135              $     6,860 S     5,860 $   10,976 Y     5 Ritchie B
  TrvckingEquipmentlist2P1159           TRACTOR        KNWRT      T600              2007 ~ 20071XKAD89XX7R142628.     CA      1,800,150            $    16500 $     18,500 $   30,000 Y     5 Ritchie6
                                                                                                                      CA      219,809              $     2,689 $      3,174 $    3,756 Y  KBS K88         (~
  Trucking Equipment list 2 F127        UTILITY        GMXXX      1500              2007 2007 1G7EC19X17Z145962
  Trucking Equipment list 2 MEFLI       FORKLIFT      T'OYOT      8FGCU25           2008 2008 2241                    CA       1,955               $     4,000 $      3500 $     6,750 Y    5 Ritchie B
                                                                                                                                                                                                           W
                                                                                                                                         Total    $ 12,748,630 $ 16,941,690 $ 21,942,990                   O
                                                                                                                                                                                                           -n
                                                                                                                                         Count          1,449                                              I-~
                                                                                                                                                                                                           N
                                                                                                                                                                                                           W
                                                                                                                                                                                                                 Page 185 of 252




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LONG-TERM DEBT ANALYSES:
                                                                                                                                                                                             c~
                                                                                                                                                                                             N
Five Key Points:
                                                                                                                                                                                             in
• Long-term debt is current. Historical performance reflects consistent monthly debt servicing                                                                                               0
• Long-term debt is at fair value, secured and no restructuring is required(over-secured)
                                                                                                                                                                                                   Case 15-50541-btb




• The value of the long-term debt is of value and far exceeds the debt outstanding                                                                                                           s
• Upon audit, loan documentation is standard with no unusual conditions and, or covenants                                                                                                    D
                                                                                                                                                                                             0
• Marketplace value is attractive. Future commercial lenders may consider additional financing and potential debt buyout, but                                                                n
                                                                                                                                                                                             W
   currently not necessary
                                                                                                                                                                                                   Doc 482




Based on the following analysis the face value of the Long-Term Debt or Equipment secured is $8,970,736 (rounded in our report to
$9.0 million). When the debt is re-priced at current.rate the Fair Value is $8,880,301 (rounded in our report to $8.9 million). Following                                                    c~
is our analysis.                                                                                                                                                                             a
                                                                                                                                                                                             0
                                                                                                                                                                                             N
Long-Term Debt Detail:                                                                                                                                                                       rn
                                                                                                                                                                                             N


                                                                                                                   e                                                                         O
 PACCAR.6634059= 03/23715 = "03/23/15 ,.',:03723/22 .:,.:. 70. "' 4.45 ::'..:$ "'31 Q2 407., $-': :':x43 052' ,'$::..3 007.679: '.'.' 4:50 '                  4.66% :::.. •-. :$3 007'176
                                                                                                                                                                                  106 032    F~
 WF 407247700 ... 06/25/13               06/01/13         06/30/l8           5.0      320%           309 607        5 591         707 843      4.50%
                                                                                                                                                  _           4.66%
 WF407247701':            11/08/13     `'11'/15/13.:.: ~~~'11/157~7          4.0 '  .2Z5% `' :--"2849701: -' .'`'62762 -<~-1'6663G1' :. 4:50. -               '4:fi6'/o `• '' :1'638541.
                                                                                                                                                                                                   Entered 11/23/15 17:02:48




 WF 407247702             12/10/13       12/15/13         12/31/17           4.0      2.86%        1 381 5$0      30 495          881 895      4.50%           4.66%              866 179
 WF407247703              A2118/14       02101114'        02/28/18 -. _ `. 4.0 ~:-'3:10% .- :~=::-88$316. -'- '-'19702....        6043A8'-%``-0:.50%-` . -..,4.66.x.'        '-. 594-688
 WF 407247704             02J18/14       0?J01114         02/28!18           4.0      3.70%          979 350      21 721          666 279      4.5~%           4.66%              655 631
                                                                                                                               ':' 99162'.'.•....4:50%`:~ ~ ~ 4:669/0        -- -.- 97726'   CD
 WF'407247705             11/04/14. '.:::.:111017T4' :. .1/15719 '' `- 5:0 . :'.';3:75%' - --. '711 075 ~•:' :" .:: 2033.
 WF 407247706             03/28/14       04/01/14         04/15/17            3.0     3.03%          263 855        7.677          164 081     4.50%           4.66°/a            162,309    U'1
 VYF.407247707            ~ti05/14 : 12!01/14='=.. ~?J15/19 .: x:.,5.0               =3:7b%''~     1'700'683 - .  37`129       -1:' 44581      4.5Q%:' ..:4c669'o''            :15 639':
                                                                                                                                                                                             O
                                                                                                                                                                                             -~,
 GE 7747858001             11/20/12      12/01/12         12!01/16            4.0     3.95%          138217         3118            51 527     4.50°/a         4.66%                57 420
 GE77.47885005             1:'1[20%'12   12/0772::.       1270176` :.:..4:0 ;:-' =~:-3.95%~...''~'26~~596 ..     ..8' 03. ,-._' 9447           4.50%~~.--..4:66% ~                y`95~76;   N
                                                          01/01/77                                   214764         4850            82835      4.50%           4.66%                82795    1~
 GE 7752074001             12/28/12      01/01/13                         . .4.0 , ',`4.01%                         ...,                                                                     W
 Total:.::   ;:•.;;:.-. - ,.::          :;:...:: --          :'..''. . ,.:;_;                                             .:. -~_.SSZ0736 ':;-~.,_:...                  -~ $''8680301
                                                                                            .: :$'12201254. ~-"--~;
                                                                                                                                                                                                   Page 187 of 252
       Note: Calculation method for "Calculated PV of Note Payable"
       Using the Excel function "XNPV"(returns the net present value for a schedule of cash flows that is not necessarily periodic)       ~

       Syntax XNPV(rate, values, dates)                                             ~                                                     ~D
                                                                                                                                          N
       Rate =the discount rate to apply to the cash flows. The Rate (4.5%) used in these calculations is the effective rate of interest   o
       compounding monthly on 365 day basis R =(1 + .045*365/360/12)^12-7=4.66%.                                                          ~
       Values =the remaining monfhly payments from the amortization schedule.                                                             N
       Dates =the schedule of payment dates that corresponds monthly payments from the amortization schedule.                             s
                                                                                                                                                Case 15-50541-btb




                                                                                                                                          D
                                                                                                                                          0
                                                                                                                                          n
We have determined that Matheson can support $8.9mm of long-term debt and it is specifically contained to be afl truck and                ~
equipment financing. Under current cash flow analysis monthly debt service performance is consistent and normal. There are no             F'
                                                                                                                                                Doc 482




unusual default agreements or covenants.
                                                                                                                                          m
Matheson does not participate in any long-term truck, vehicle or equipment leasing agreements. A11 trucks and equipment are               ~
purchased.                                                                                                                                Q

The company has 12 long-term notes; 1 with the most recent with PACCAR for $3.Omm and 8 long-term notes with Wells Fargo                  ~
Bank NA with a remaining outstanding amount of $5.7mm. Matheson has 3 long-term note contracts with GE Capital Solutions,                 ~
Inc. and sole for equipment in the amount of $228K. in the end, Matheson holds a total outstanding and fully serviceable $8.9mm
of long-term debt.                                                                                                                        cn
                                                                                                                                          N
Fair Value of Debt:                                                                                                                       ~'
                                                                                                                                          0
After analysis of the financial statements ending 06/30/2015, the $8.9mm is of excellent quality. The company has a consistent
history of monthly debt service and debt origination to full debt retirement varies from 3 to 7 years. The debt is very much secured
                                                                                                                                                Entered 11/23/15 17:02:48




(actually over-secured) and requires no restructuring.                                                                                    -p

Mark to Market: Value &Marketplace Analysis of Long-term Debt                                                                             ~
                                                                                                                                          rn
The most recent origination of a $3.1 mm long-term note payable with PACCAR was secured at 4.45% in March 2015. Utilizing the             o
most current Pepperdine University Cost of Capital Report, in addition to this most current marketplace driven PACCAR lending             -^
arrangement, the current PACCAR rate of interest is the benchmark determinan# for the other long-term notes providing "at market          ~
or below" cost of capital market metrics.                                                                                                 ~`'
                                                                                                                                                Page 188 of 252
The 8 individual Wells Fargo Bank long-term notes payable range from 2.75% to 3.75% and is considered "below market" and
favorable. GE Capital Solutions, Inc. ranges from 3.95 to 4.01 %and well, "below market". Our opinion, all long-term notes payable    n
are marked "at or below market". We consider them to be fully secured and should be held until maturity and fully retired. We         ~
believe al! long-term notes are a reasonably good deal and consider the current indebtedness similar to a "very large monthly         co
automobile payment". Our Marketplace testing and analysis indicates that other large senior lenders would find a "buyout" of the      ~
debt attractive and have shown future interest. We believe this to add strength and value to the existing quality of the long-term    ~
debt. However, this marketplace potential debt restructuring is not necessary under current conditions.                               o

Note: AFCO Credit Corporation provides premium financing services in North America. The company offers loans for businesses to
finance property and casualty insurance premiums. AFCO financing listed in Matheson's long-term debt in its financial statement for   s
                                                                                                                                           Case 15-50541-btb




$1.15mm is not being considered as long-term debt under this analysis.
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L
                                   Matheson'rucking,Inc.
                         Insurance Program Standby Letters of Credit
                                       As of June 30fih                         -                                                  *;
                                                                                                                                   c~
                                                                     Collatera]Held
                   Policy Period              Csrrier            b/30/2015        G/30/2014                                        0
                   09/01/95-09!01/94          Reliance   $              141,848 $     192,241                                      .p
                                                                                                                                   N
                   09/41/99-O5/DlIQ3          Kemper                    19b,060       196,000
                                                                                                                                   s
                                                                       200,000        400,000
                                                                                                                                         Case 15-50541-btb




                   05!01/03-09!01/44        Oid Republic
                   09101/04-Present              XI,                  6,340,000     6,150,OOfl
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                                           Totat                     6,877,848 $ . 6,938,241                                       n
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co
                                                       Matheson Trucking,Inc.
                                                         Payroll Information
                                         6Q-Day Estimate of Payroll and Fringe Benefit Eggense                                                      n

                                                                                                                                                    c~
                                                                                                                                                    N
                                                                                                                                                    cri
                                             All Other Bus   Consolidated                                                                           ~'
                                                                                                                                                    0
                                FLTEX              (a)         TRUCK                                 Comments                                       ~'
                                                                                                                                                    N
                                                                                                                                                    ...
                                                                                                                                                           Case 15-50541-btb




      July 2015 Actaal                                                                                                                              s
      Salary and Wages      $      948,180 $     2,115,(}81 $ 3,063,2b1 Excludes Outside Service Wages
      Benefits and Taxes           364,008         703,705    1,067,713                                                                             0
       Total                $     1,312,188 $    2,818;7$6 $ 4,130,974                                                                              W
                                                                                                                                                    .a
                                                                                                                                                    N
                                                                                                                                                           Doc 482




      60 Dap Estimate                                                                                                                                 m
      Salary and Wages      $     1,835,187 $     4,093,7Q5 $ 5,92$,892 Proxate Juty to daily payroll and extrapolate to 60 days                      ~
                                                                                                                                                    !,~
      Benefits and Taxes            7Q4,532       1,362,010     2,066,541 Prorate Jufy to daily payroll and extrapolate to 60 days                    Q
       Total                $     2,539,719 $     5,455,715 $ 7,995,434              ~                                                                p
                                                              •                                                                                       ~

                                                                                                                                                    .Y
                                                                                                                                                     Cfi
                                                                                                                                                     N
      Notes:                                                                                                                                         ~,
      (a) Includes Postal and Truck OH                                                                                                               o
                                                                                                                                                     N
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Matheson Trucking, Inc.
Liquidation Analysis

                                                                     Property, Plant and Equipment Appraised Value
                                                Book Value            Low                 Average              High
                                                 6/30/15                                                                      A~
                                                 Unaudited           Unaudited            Unaudited           Unaudited       (D
                                                                                                                              N
Assets                                                                                                                        Cal
Cu rrent Assets
                                                                                                                              to
                                                                                                                              O
 Cash and Cash Equivalents                      $    7,4Z0,028   $     7,420,028      $    7,420,028      $     7,420,028     C37
 Accounts Receivable, Net of Allowance               3,704,868         2,403,651           2,443,651            2,403,651     N
 Inventory                                             232,583           116,292             1.16,292             116,292
                                                                                                                                     Case 15-50541-btb




 Prepaid Expenses                                    1,485,586         1,114,189           1,114,189          ~ 1,114,189
 Related Party Transactions, Current                   574,157           574,157             574,157              574,157
                                                                                                                              D
   Total Current Assets                             13,417,223        11,628,318          11,628,318           11,628,318     0
                                                                                                                              n
                                                                                                                              W
 Property, Plant, and Equipment, Net                14,899,701        10,898,904          14,253,352           18,254,392     N
                                                                                                                                     Doc 482




 Deposits                                              242,822           242,822             242,822              242,822
 Related Party Receivables, Non-Current              1,094,137         1,094,137           1,094,137            1,094,137     m
 Goodwill
                                                                                                                              c'~D
   Total Assets                                 $ 29,653,883     $    23,864,S8S      $ 27,218,629        $ 31,219,669
                                                                                                                              (D
                                                                                                                              Q
                                                                                                                              O

Liabilities                                                                                                                   N
                                                                                                                              rn
Current Liabilities                                                                                                           N
 Accounts Payable                               $    2,891,620   $      2,891,620     $    2,891,fi20     $     2,891,620     Cn
                                                                                           4,225,303            4,225,303 ,   N
 Accrued Payroll and Employee Benefits               4,225,303          4,225,303                                             CTt
 Accrued Expenses                                       45;752             45,752             45,752               45,752     A
                                                                                                                              O
 Long-term Debt, Current                             3,653,237          3,653,237          3,653,237            3,653,237
                                                                                                                              F-~
 Discontinued Operations Reserve, Current
 Deferred IncomeTax liability, Current                 121,107
                                                                                                                                     Entered 11/23/15 17:02:48




   Total Current Liabilities                        10,937,019         10,815,912         10,815,912           10,815,912      SU
                                                                                                                               CD
 Deferred Rent                                         143,514                  -                  -                    -
 Worker'Compensation Liability                       1,914,441          1,914,441          1,914,441            1,914,441      W
                                                                                                                               O
                                                                                                                               —~,
 Long-term Debt, Non-Current                         6,471,935          6,471,935          6,471,935            6,471,935
 Discontinued operations Reserve, Non-Current                -                  -                  -                           N
                                                                                                                               N
 Deferred IncomeTax Liability, Non-Current           2,574,358                  -                  -                   -       W
   Total Liabilities                                22,041,267         19,202,288         19,2U2,288           19,202,288
                                                                                                                                     Page 195 of 252




Net Assets Less Liabilities                     $ 7,612,616      $      4,661,892      $ 8,016,340         $ 12,017,380
Off Balance Sheet                                                                                  *,
lOC's as of6/30/15 -Secured by PPE              $    6,861,480     $ 6,861,480'    $ 6,861,480
                                                                                                   [D
                                                                                                   N
Net Assets Less Liabilities and LOC's           $   (2,199,588)    $ 1,154,860     $ 5,155,900     (J1
                                                                                                    U"I
                                                                                                   O
                                                                                                    CP
Chapter 11 Reorganization Costs                                                                    .A
Debtor Counsel, Liq Analysis, CC Counsel        $      500,000     $   500,000     $   500,000
                                                                                                   .-~
                                                                                                           Case 15-50541-btb




Chapter 11 liquidating Costs
 Winddown Costs                                 $      850,000     $   850,000     $   850,000     O
                                                                                                   O
                                                                                                   n
                                                                                                   W
Net Cash for Distribution to Claimants          $   (3,549,588)    $   (195,140)   $ 3,805,900
                                                                                                    N
                                                                                                           Doc 482




Priority Claims                                                                                     m
 Employee Payouts                               s     s,000,oao    s a,000,000     S s,000,000      CA
                                                                                                     D
 Unpaid Taxes                                                                                       cD
                                                                                                    Q
                                                                                                    O
Net Cash for Distribution to Unsecured Claims   $   (11,549,588)   $ (8,195,140)   $ (4,194,100}
                                                                                                    F~-~
                                                                                                    N
                                                                                                    ()"I
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                                                       Matheson Contract Review
                                                                                                                                                       n
                                                   Historical Financial Performance                                                                    ~

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Contract and HistoricaE Financials Review                                                                                                              ~
In conducting our analysis of Matheson's historical financial performance, we analyzed the audited financial statements for the fiscal years-ended     ~
                                                                                                                                                             Case 15-50541-btb




                                                                                                                                                       a
June 30, 2010 through 2014, as well as the Matheson Trial Balance for 2015, to estimate 2035 financial results. The financial statements were
reviewed to understand historical trends and determine if the trends could be used to establish financial forecasts. As a part of our analyses, we     o
discussed with management historical trends and expected future operations. Due to a significantly high concentration of revenues with one             ~
customer, most of the review focused on revenues and the quality of the revenues.
                                                                                                                                                             Doc 482




Historical Financial Performance                                                                                                                       m
Revenues
                                                                                                                                                       Q
Matheson has one primary customer, which is the U.S. Postal Service. Matheson has contracts with the U.S. Postal Service that account for              ~
approximately 96%1 of its revenues. Other customers include Federal Express, DHL and UPS. Due to high amount of contract volume with U.S.              ~
Postal Service, PCT conducted a review.of 17 contract documents totaling a pproximately $100 million in awards. PCT reviewed eight contracts           ~.
                                                                                                                                                       ~
awarded to Flight Extenders and nine contracts awarded to Postal.The review supported management's discussion with PCT regarding renewals,             ~
geographic diversity of contracts, types of services provided, contract terms, etc.                                                                    ~
                                                                                                                                                       .A
Matheson strives to diversify its contracts with the U.S. Postal Service to minimize risk and exposure to a singular contract by providing a variety   ~
                                                                                                                                                       N
of services that include air terminal handing services, mail hauling, mail sorting, loading and unloading of mail. Matheson provides services in 25    ~
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states and employs approximately 1220 employees.                                                                                                       -D
                                                                                                                                                       cn
                                                                                                                                                        c~
                                                                                                                                                       rn
                                                                                                                                                       0
                                                                                                                                                       N
       ____-   -   — - ---- - -                                                                                                                        w
1 Per Audited Financial Statements for period-ended June 30, 2014.
                                                                                                                                                             Page 198 of 252
According to the U.S. Postal Service supplier data2,Matheson is ranked in the top 15 U.S. Postal Service suppliers nationwide and isthe top supplier
on the West Coast, excluding Federal Express. Matheson teas strategically positioned itself to be available to provide additions(services/contracts
as needed by the U.S. Postal Service.
                                                                                                                                                             N
Consolidated Revenues
                                                                                                                                                             ~n
                                                                                                                                                             0
Oh a consolidated basis,from 2010 to 2015,gross revenues were relatively stable. Minor revenue fluctuations of less than +/-10%, year over year,
                                                                                                                                                             ~A
occurred due to scope changes to current contracts, expiration of some contracts and the addition of new contracts. Generally, when one contract             N
is lost another is gained, resulting in relatively stable revenues. All contracts are competitively bid, initially. Most ofthe contract terms are for four   s
                                                                                                                                                                   Case 15-50541-btb




                                                                                                                                                             s
years, with two- orfour-year option periods. The U.S. Postal Service frequently renews the contracts with Matheson and bypasses the competitive
bid process. Matheson's revenues are generated primarily by two separate business units; Matheson Postal Services, Inc. and Matheson Flight                  D
Extenders, Inc.                                                                                                                                              0
                                                                                                                                                             n
                                                                                                                                                             w
The following Table depicts Matheson consolidated revenues from 2010 to 2015.                                                                                N
                                                                                                                                                                   Doc 482




                             Matheson Consolidated                                                                                                           m
                            Historical Revenue Trends
                                                                                                                                                             Q
                                                                                                                                                             0
     $90,000,000
                                                                                                                                                             N
     $80,000,000
                                                                                                                                                             N
     $70,000,000
                                                                                                                                                             N
     $60,000,000                                                                                                                                             (T~
     $50,000,000                                                                                                                                             O
                                                                                                                                                             f-~
     $40,000,000
                                                                                                                                                                   Entered 11/23/15 17:02:48




     $30,000,000
     $20,000,000                                                                                                                                             A~

      S1o,00~,000                                                                                                                                            cD

                  S-
                                   zoii        Zoiz       Zola    2014       2015                                                                            0
                                                                                                                                                             ~.
                        zosa
                                                                                                                                                             N
                                                                                                                                                             w
z Per Top US Postat Service Suppliers for Fiscal Year 2013.
                                                                                                                                                                   Page 199 of 252
Matheson Postal Services —The majority of revenue recognized by Matheson Posta(Services, Inc. relates to mail Postal Services under 26 contracts
with the U.S. Postal Service.                                                                                                                          n

Matheson is positioned to receive renewals for an additional four years. Rates for the postal contracts are fixed by the U.S. Postal Service and       ~
stated on a per annum basis; periodically, contrail requirements are changed and the corresponding annual rates are adjusted. Revenue for these        ~
contracts is earned based on the stated contract rate prorated over the number of days in the month.                                                   ~
                                                                                                                                                       0
Matheson receives contractual rate increases for payroll and tolls bi-annually. Documentable items are allowed to be reimbursed, i.e. if fuel is not   ~
provided by the U.S. Postal Service, cost of fuel adjustments are also allowed by the U.S. Postal Service and determined monthly. Matheson
                                                                                                                                                            Case 15-50541-btb




provides the gallons of fuel consumed and the adjustments are calculated and determined by the U.S. Postal Service.                                    s

The contract provisions for transporting mail are very detailed and complicated. The provisions require significant attention to detail. Contracts     0
                                                                                                                                                       0
define specific schedules that must be followed. Drivers need to be fully trained and be operating the prescribed equipment at the prescribed          ~
                                                                                                                                                       w
time. Matheson is required to use GPS tools to transmit "Ping" data, such that the location of trucks can be determined at all times. In addition to   ~
                                                                                                                                                            Doc 482




the U.S. Postal Service contract requirements, the services are also required to be in compliance with Department of Transportation provisions,
Department of Labor and Federal Motor Carrier Act.                                                                                                     m

Historical performance -Over the past five years, the Postal division has experienced minor revenue fluctuations that ranged from a reduction of       ~
10% in one year to an increase of 8% in another. The historical trend from 2010 to 2015 reflects an average of -1% annual revenue shrinkage. The       Q-
fluctuating growth rate reflects. adjustments that Matheson made to its contract portfolio. In 2013 and 2014 revenues decreased because                ~
Matheson did not renew several non-profitable/low margin contracts.2015 revenues increased due to successful contract renewals with improved
margins.                                                                                                                                               N

Flight Extenders -Matheson Flight Extenders, Inc. generates revenues by providing terminal handling services for approximately 20 contracts with       ~
the U.S. Postal Service. Generally, the terms of the contracts contain base periods that are four years in length, with additional two-year option     o
periods available. The contracts rates contain both a fixed and variable component.The fixed component is a rate negotiated with the U.S. Postal       ~;
Service and stated on a per annum basis. The variable component is a rate per pound negotiated with the U.S. Postal Service. Revenue under these       ~
                                                                                                                                                            Entered 11/23/15 17:02:48




types of contracts are earned based on the fixed contract rate prorated overthe number days in the month plus the rate per pound applied to the        -p
actual weight handled, as reported via scanned data to the U.S. Postal Service, which is validated against internal data.                              ~'
                                                                                                                                                       c~
 Historical performance -Over the past five years the five-year average annual growth rate was 4.2% year over year. 2013 was the only year that        ~
. resulted in revenue reduction and this was due to contract pricing adjustments and the loss of one renewal.                                          o

 Contract Strate~v                                                                                                                                     N
                                                                                                                                                       W
                                                                                                                                                            Page 200 of 252
Matheson is very focused on obtaining new contracts and growing its revenues. Matheson has an excellent reputation with the U.S. Postal Service
and works diligently to stay current regarding the U.S. Postal Service initiatives and strategies. Matheson executives carefully evaluate the U.S.        ~
Postal Service solicitations to ensure that the scope of work fits with its strategic objectives. Strategic preferences for new contracts with the U.S.   ~
Postal Service include:                                                                                                                                   N

   • Geographic; Western United States preference                                                                                                         o
                                                                                                                                                          Cn
   • Efficient utilization of equipment;                                                                                                                  ~
   • Does the scope add to existing network and infrastructure                                                                                            ~'
                                                                                                                                                          s
                                                                                                                                                                Case 15-50541-btb




   • Minimal impact to overhead cost structure                                                                                                            s

Procurement success rates —Success rate for proposals is good, but it is extremely high on renewals. Matheson has been successful in obtaining            p
new contracts with the U.S. Ponta( Service. Its reputation enables the U.S. Postal Service to award contracts understanding the risk is minimal           ~
regarding Matheson's ability to deliver the services. Specific procurement results include:                                                               W
                                                                                                                                                                Doc 482




    •   Of the 11 Postal contracts for fiscal year 2013/2014 that were subject to renewa1,10 were in fact renewed and one renewal is currently in
                                                                                                                                                          m
        progress                                                                                                                                          ~
    •   Postal contracts (representing ~$53 million in revenues annually), are renewed automatically approximately 90% of the time                        o
                                                                                                                                                          co
    •   18 of 26 Postal contracts have been in place since 7/1/1999 or before     ~                                                                       Q.
    •   In 2015, Flight Extenders proposed on 33 new sites and was awarded 15; a 45% success rate for new sites                                           ~
                                                                                                                                                          N
                                                                                                                                                          rn
The high percentage of renewals is directly correlated to Matheson's reputation of successfully meeting the U.S. Postal Service contract                  ~
requirements.                                                                                                                                             ~'
                                                                                                                                                          .p
                                                                                                                                                          O
                                                                                                                                                          F~
Assignability of Matheson Contracts to Other Entities                                                                                                     ~
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Contracts between Matheson and the U.S. Postal Service are non-transferrable. However, if the Matheson entity is sold, the contracts may be               ~
transferred (Novation).°                                                                                                                                  ~

                                                                                                                                                          0
                                                                                                                                                          -,,
                                                                                                                                                          N
                                                                                                                                                          N
                                                                                                                                                          w
                                                                                                                                                                Page 201 of 252




                                                                                                                                                      4
Specifically, Section 5-8.14 of the U.S. Postal Service contracts' General Terms and Conditions3 states that the U.S. PostaS Service generally prohibits
contract novation°. However,the U.S. Postal Service may recognize~a third-party as the successor-in-interest when that party's interest arises out                           (~
of the transfer of the following:
    ■   All the supplier's assets                                                                                                                                            ~
        The entire portion of the assets involved in performing the contract                                                                                                 ~
                                                                                                                                                                             cn
Situations in which novation may be permitted include, but are not limited to the following:                                                                                 ~
    •   Sale of the supplier's assets with a provision for assuming liabilities                                                                                              N
    ■   Transfer of assets as part of a merger or corporate consolidation                                                                                                    ~
                                                                                                                                                                             s
                                                                                                                                                                                   Case 15-50541-btb




    ■    Incorporation of a proprietorship or partnership, or formation of a partnership
                                                                                                                                                                             O
                                                                                                                                                                             0
The U.S. Postal Service Contracting Officer {CO), in consultation with Assigned counsel, will determine whether to permit contract novation. Before                          W
agreeing to a contract novation, the CO must determine the capability of the successor-in-interest. If it is not in.the U.S. Postal Service's interest                       ~
                                                                                                                                                                                   Doc 482




to agree to a contract novation, the "original supplier' remains responsible for performance and the contract may be terminated for default for
failure to perform. In the case that multiple contracts of one supplier or transfers from several transferors to one transferee are involved, the CO                         ~
responsible for the largest unsettled (unbilled plus billed-but-unpaid) contract dollar balance is responsible for executing the novation agreement.                         ~

                                                                                                                                                                             Q
Additionally, according to paragraph b of Clause 4-1: General Terms and Conditions, assignment of the U.S. Postal Service contracts or any interest                          o
in the U.S. Postal Service contracts, other than in accordance with the provisions of this clause, will be grounds for termination of the contract for                       ~
default at the option of the U.S. Postal Service.

                                                                                                                                                                             N
Quality of Revenues                                                                                                                                                          ~
                                                                                                                                                                             ~A
 Relationship with the U.S. Postal Service -The relationship that Matheson has with the U.S. Postal Service is excellent. Matheson's CEO, Marls
 Matheson, invests time to understand the goals and initiatives of the. U.S. Postal Service and then aligns the goals of Matheson to help attain the                         ~
                                                                                                                                                                                   Entered 11/23/15 17:02:48




 U.S. Postal Service goals. This strategy has resulted in recognition awards.                                                                                                ~

 From a historical perspective, Matheson Trucking received its first supplier award from the U.S. Postal Service in 1992, being awarded a Certificate                        ~
 of Appreciation and commendation for its contributions to Postal Transportation. In the years that followed, Matheson has been recognized by                                o
                                                                                                                                                                             0
                                                                                                                                                                             -~,
3 Paragraph b of Clause 4-1: General Terms and Conditions fJuly 2007}; U.S. Postal Service Supplying Principles and Practices Manual                                         ~
° Novation agreements are agreements signed 5y the supplier (the "transferor'), the successor-in-interest (the "transferee"), and the U.S. Postal Service, by which, among   W
other things, the transferor guarantees performance of the contract, the transferee assumes al! obligations under the contract, and the U.S. Postal Service recognizes the
transfer of the contract and related assets.
                                                                                                                                                                                   Page 202 of 252
the U.S. Postal Service with three Eagle Spirit Awards, in T994, 1998, and 2007, for service excellence and a Certificate of Appreciation for
excellence during C-Net (Christmas Network) operations in 1999, covering work in Reno, Phoenix and Denver. Matheson also received an                   ~
Outstanding Service Award in 2000 from the U.S. Postal Service Western Area Distribution Network for Christmas Operations. Nationally,                 ~
Matheson has been recognized by the U.S. Postal Service by being awarded the Supplier Performance Award in 2007,for i#s Terminal Handling              F..~
Operations, and the Supplier Innovation Award in 2009,for its trucking operations.                                                                     ~
                                                                                                                                                       to
                                                                                                                                                       0
More importantly, the Matheson reputation has positioned Matheson to continue to obtain new contracts. Matheson's reputation of delivering             ~
high quality, innovative services in an efFicient manner has benefited the organization financially.                                                   ~'
                                                                                                                                                       s
                                                                                                                                                       ..
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Stability of future revenues —Due to the excellent Matheson reputation to deliver quality services and high renewal rate, future revenues will         s
likely be relatively stable. Both Postal and Flight contracts are awarded for afour-year term. Most Postal contracts include an option for four-year   ~
renewal, whereas terminal handling contracts include two-year renewals.                                                                                ~

The collectability of revenues is very high due to the contractual terms outlined in the U.S. Postal Service contracts. Postal receives a guaranteed
                                                                                                                                                              Doc 482




payment, for services already provided, from the U.S. Postal Service every 30 days; Flight payments are bi-monthly -and is arrears as well. The
collection process is mostly paperless and based on days in the month and operational data, such as miles, pounds or pieces. As a result, the          ~
historical bad debt expense of Matheson is a low .04~ and .05% of revenues in 2014 and 2013, respectively. The collectability of revenue in the        ~
future is expected to continue to be high.                                                                                                             ~
                                                                                                                                                       n.
                                                                                                                                                       0
Internal processes and controls                                                                                                                        ~

Audits -Matheson financial statements are audited on an annual basis by an independent, external auditor. A portion of the audit includes a            ~
review of the design, implementation and maintenance of internal coritrol relevant to the financials. The auditor did not issue any management         cn
letters documenting controls deficiencies, thus providing confidence that the controls are in place and the financials are reliable.                   ~

In addition to the annual financial audit conducted by an au8itor, Matheson is subject to audits conducted by the U.S. Postal Service, DCAA and         o
01GMatheson was audited in 2004 related to a dispute with the U.S. Postal Service. The dispute was about the number of pounds Matheson                  ~
                                                                                                                                                              Entered 11/23/15 17:02:48




transported for the U.S. Postal Service and was quickly resolved with no adjustments to Matheson's reporting.

5 sv terns -Matheson deploys robust systems that provide data needed to manage the financial data in a timely and accurate manner. Additionally,       ~
Matheson deploys an Equipment Management System that documents and tracks equipment data. The system enables tracl~ing of equipment                    ~
age, usage, miles, maintenance, repairs, investment, etc., to enable efficient utilization of equipment. GPS is another system used to schedule and    F'
dispatch drivers. Scanning tools are used by many employees to track mail and to enable productivity monitoring of employees.                          ~
                                                                                                                                                       N
                                                                                                                                                       N
                                                                                                                                                       w
                                                                                                                                                              Page 203 of 252
Revenue risks -The Company has contracts with the U.S. Postal Service that account for approximately 96% of its revenues. As a result,the results
of operations could be affected by changes in political and economic environment and changes in government policies with respect to the U.S.           ~
Postal Service,                                                                                                                                        cn
                                                                                                                                                       m
Revenue outlook                                                                                                                                        ~
                                                                                                                                                       ~n
While revenue growth has historically fluctuated, our conversations with management and the improved financial position of the U.S. Postal             o
Service, support future annual rate increases in the range of 1% to 2% per year for Postal and 4% per year for Flight Extenders. This increase is      ~
based on the assumptions that the U.S. Postal Service will continue to renew Postal and Flight Extender con#racts as it has in the past. Also, we      s
                                                                                                                                                            Case 15-50541-btb




assume that Matheson will continue to bid on new contracts with the U.S. Postal Service,as well as with Federal Express, DHL and others to enable      ~
revenues to continue to grow. Additionally, as noted above, Matheson has a high contract renewal rate, an excellent relationship with the U.S.         ~
Postal Service, a highly trained workforce, excellent systems and equipment in place to meet the demands of the U.S. Postal Service.                   o
                                                                                                                                                       n
                                                                                                                                                       w
                                                                                                                                                            Doc 482




Cost of Sales
Direct costs to provide services to Matheson customers include labor, contract services, costs relating to vehicles and airport terminal related       ~
costs. On a consolidated basis, over the five-year period ended June 30,2015, the cost to provide sales ranged from $60 million to $70 million or      ~
a five-year average of 82% of revenues. The total cost of sales as a percent of revenues, is very stable over the five-year period with a low of 81~   Q
in 2010 and a high of 83% in 2011, indicating that management is able to manage its costs relative to revenues. Labor and equipment costs will         o
fluctuate with revenues and the gain or loss of contracts.
                                                                                                                                                       rn
Labor                                                                                                                                                  i

Labor related costs represent the largest category of costs,63% of revenues.                                                                           ~

Matheson employs 1220 employees. Specifically, Flight Extenders employs 650, Postal employs 520 and 50 employees provide administrative                o
support to the two business units. The employment numbers fluctuate seasonally, primarily increasing during the holidays.                              ~
                                                                                                                                                            Entered 11/23/15 17:02:48




Matheson is required to pay employees based on posted Department of Labor (DOL) wages. All fulltime, non-union Matheson employees who                  ~.
meet certain age and length of service requirements are eligible to participate in a 401k plan. The plan provides a minimum matching contribution      ~
of 2% of annual compensation to all employees except Service Contract Act employees and `Highly Compensated' employees, as defined by DOL.             ~
                                                                                                                                                       N
A small number of Matheson's employees in the San Francisco Bay area, approximately 40 drivers, are represented by the Teamsters. These union          o
employees are represented on two contracts. These employees participate in the Western Conference of Teamsters Pension Trust Fund. The                 t~
                                                                                                                                                       N
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                                                                                                                                                   7
Pension Protection Act Zone Status indicated the plan is at least 80 percent funded. According to Matheson finance management,the plan is 100%
funded.                                                                                                                                               n

Matheson strives to create a professional, well trained workforce and values its employees. Matheson wages are competitive and drivers are paid       ~
by the hour rather than by the trip. Employees are paid weekly, receive excellent benefits and are professionally managed. Morale, overall, is very   ~
good. But like its competitors in the trucking industry, there is a high level of employee attrition, estimated at 20%annually. Matheson employees    o
are in high demand, especially during the holiday season where demand for services is high.                                                           ~
                                                                                                                                                      ~.,
Vehicle Operating Expense
                                                                                                                                                            Case 15-50541-btb




Vehicle related costs are, on the average, 15% of revenues and consist of costs relating to maintaining and operating various types of equipment
required for the contracts. Matheson invests significant capital in its vehicles. It manages utilization of equipment as efficiently as possible.     o
Matheson deploys an Equipment Maintenance. Program which .provides preventative maintenance schedules for each piece of equipment. It                 ~
                                                                                                                                                      w
maintains its own vehicle maintenance shops and employs mechanics to ensure proper equipment maintenance.                                             ~
                                                                                                                                                            Doc 482




Matheson is investing in .natural gas trucks to reduce its cost structure and to support a cleaner environment. Twelve natural gas trucks are in      m
operations, nineteen natural gas trucks are on order and eight natural gas trucks are planned to be ordered in the future.                            ~.
                                                                                                                                                      c~
Rent                                                                                                                                                  Q

Rent is paid to airport landlords for the Flight Extenders' contracts. The U:S. Postal Service reimburses Matheson for rent related costs.
Additionally, Matheson Holdings leases property to Matheson Trucking.                                                                                 ~
                                                                                                                                                      N
Gross Margin
The gross margin is the difference in revenues and the cost to provide the service before overhead and taxes. Matheson's gross margin ranges          o
from 17%to 19%of revenues or $13 million to $15 million overthe five-year period ended June 30,2015. The margin is very stable and consistent,
reflecting Matheson's ability to control and manage costs relative to its revenues.
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                                                                                                                                                            Page 205 of 252
                              Matheson Consolidated
                              Gross Operating Margins
                                   2010 to 2015
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      Sss,000,000
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                                                                                                                                                        Case 15-50541-btb




      Slo,000,000                                                                                                                                  s

       SS,000,000                                                                                                                                  0
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                                                                                                                                                   n
                S-                                                                                                                                 w
                       2016      2011      2012      2013      2014      2015                                                                      N
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                                                                                                                                                   rn
Overhead
                                                                                                                                                   m
Overhead related costs represent costs that support the operations and/or are administrative in nature. The type of costs classified as overhead   Q
                                                                                                                                                   0
include insurance, rent, office and other administrative expenses. Matheson managed its total overhead to be approximately 10% to 12% of
revenues over the five-year period ended June 30, 2015.                                                                                            N
                                                                                                                                                   rn
The centrally accumulated overhead costs are allocated to the contracts based on an indicator that best reflects workload. Most departments are
allocated to contracts based on weighted dollars of revenue and others are allocated based on headcount.                                           N
                                                                                                                                                   .p
Matheson has elected to manage staff overhead and administrative expenses to supportthe contracts on a centralized basis. This structure enables   0
                                                                                                                                                   ij
a more efficient and cost effective method to manage departments such as Information Technology, Human Resources, Legal, Finance, Risk,Safety,
Business Development, Procurement and Executive.
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Total expenditures for the centrally managed departments has decreased by 17%since 2010, or $1.4 million, excluding the impact of inflation.
                                                                                                                                                   m
These reductions are due to efficiency initiatives implemented by management to manage overhead relative to services provided to support
revenues. The total full time headcount number has decreased by 27%; 41 full time overhead staff to 30 full time overhead staff. The only          .A
                                                                                                                                                   0
department that increased over the five-year period is the HR department, which increased 29% in expenditures but decreased in headcount by
                                                                                                                                                   N
3 full time employees.The increased expenses relate to Matheson's need to hire additional recruiters to meet seasonal demand plus the increased    N
                                                                                                                                                   w
                                                                                                                                                        Page 206 of 252
cost of medical testing for candidates. The HR headcount number at the year-end June 30, 2015 was 4, however, the majority of the year the
staffing was at the 5 to 6 level. Matheson had openings at year-end that they were in the process of filling.

One method to evaluate the efficiency of overhead is to compare it to revenues. Overhead as a percentage of revenues is a reflection of how        c~
                                                                                                                                                   N
management"controls it costs relative to revenues and its margins. The support staff overhead as a percent of revenues has decreased from 10%
in 2010 to 8% in 2015. The overhead five-year average as a percent of revenues is a stable 8%.See table below for support staff trends.            in
                                                                                                                                                   0
                                                                                                                                                   .A
                    Matheson Staff Overhead Trends
                                                                                                                                                        Case 15-50541-btb




                                                                                                                                                   ~-
                            2Q10 to 2015
                                                                                                                                                   0
                                                                                                                                                   0
  Slo,000,000                                                                          iz~r                                                        n
                                                                                                                                                   w
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Cash from Operations
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On a consolidated basis, Matheson has generated, on a five-year average before tax and depreciation, cash from operations of $5 million or 7% of
                                                                                                                                                   cn
revenues. See table below. Based on our review and discussions with managementwe expect future cash from operations to continue at $S million       m
and grow at a slow pace. The cash from operations is sufficient to support replacement of equipment and enable slow growth.
                                                                                                                                                   0
                                                                                                                                                   N
                                                                                                                                                   N
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                                                                                                                                                        Page 207 of 252




                                                                                                                                             10
                               Matheson Consolidated                                                                                                ;*
                                Cash from Operations
                                     2010 to 2015
                                                                                                                                                    0
                                                                                                                                                    .~
                                                                                                                                                    N
      ss,000,000
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                                                                                                                                                          Case 15-50541-btb




      $6,000,000
      $4,000,000                                                                                                                                    O
                                                                                                                                                    0
                                                                                                                                                    n
      Sz,000,000                                                                                                                                    w
                                                                                                                                                    N
                                                                                                                                                          Doc 482




              S-
                      2010       2011       2012-      2013       2014       2015
                                                                                                                                                    m

Non Operating Expenses/Income                                                                                                                       m
                                                                                                                                                    n.
                                                                                                                                                    0
Other income or expense items such as interest income, miscellaneous income, legal expense, and losses from discontinued operations are
incorporated in the compan~s net income statements. The largest item is a $9.7 million loss from the Fast Freight division due to the divestiture   N
                                                                                                                                                    rn
of assets. Another large item is legal expenses of $2.2 million related to a lawsuit.                                                               N

These type of transactions do not directly relate to the ongoing operations of Matheson and are not representative of future income or              N
expenditures. As a result, these items were not incorporated in our estimated cash flows for years 2016 to 2020.                                    0
                                                                                                                                                    i-~
Net Income
                                                                                                                                                          Entered 11/23/15 17:02:48




Net Income .incorporates the non-operating expenses and income discussed above. Because these expenditures/income are not likely to repeat
into the future, net income is not the best economic indicator of Matheson's financial performance and was not considered for our analysis.         m
                                                                                                                                                    rn
                                                                                                                                                    0
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                              Q
                                                                   Matheson

                                              Review for Adjusting Entries; Compensation Analysis

Often it is assumed that a good estimate ofthe value of a closely held business,such as Matheson,can be made by merely looking at the company's       ~
most recent balance sheet or income statement.This is certainly not the case. Most financial statements often present a picture which is different    ~
from economic reality. As a result, a review of the income statement and balance sheet must.occur and adjustments may be made,so that the             ~
                                                                                                                                                      N
company is comparable to other companies and financial forecasts are more meaningful.                                                                 ~

The goal of ad}ustments is to more closely reflect the company's economic financial position and results of operations on a historical and current
basis, thus enabling a more accurate estimate of the Fair Value of the business.                                                                      N
                                                                                                                                                             Case 15-50541-btb




items such as allowance for doubtful accounts, notes receivable,.inventory valuation, depreciation methods, leases, revenue recognition, owners       ~
compensation, revenues, and operating versus non-operating items were reviewed for potential adjustments. PCT interviewed the Chief                   ~
Accountant and the CEO and reviewed the financial statements of the company to determine if adjustments were needed.                                  ~
                                                                                                                                                      w
Due to the sensitive nature of executive compensation we conducted a detailed comparative analysis of Matheson executive compensation to              ~
                                                                                                                                                      N
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determine if compensation adjustments were necessary.
                                                                                                                                                      m
Based on our review and discussion with management, we concluded that one adjustment to the income statement was necessary. We also
reviewed the executive compensation in detail and concluded no adjustments were needed. The following is a summary of the income statement            c~
adjustments and detailed compensation analysis.                                                                                                       o
                                                                                                                                                      cD
Adjustment to Income Statement                                                                                                                        ~''
                                                                                                                                                      rn
Sased on our review of the income statements, we became aware of an accounting coding error that overstated the "Office and Other Expenses"           ~n
category by $981,029. Legal expenses were inadvertently coded to this category rather than the legal expense category. As a result, the financial     c~i,
data in our report has been adjusted to correct this error. The impact is to reduce total administrative overhead and increase operating cash flow.   o
The financial data discussed in Appendix G incorporated this adjustment.                                                                              ~-'
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Compensation

Due to the sensitive nature of executive compensation we conducted a detailed comparative analysis of Matheson executive compensation.                ~
Matheson compensation was compared to a survey of comparable companies to determine it compensation adjustments were necessary. Some                  ~
companies may not include wages to working owners in its financial statements and others may pay working owners in a manner that is out of            o
range when compared to peers. These type of differences may result in the need to make an adjustment to economic financial position.                  ~
                                                                                                                                                      w
PCT obtained compensation data from Economic Research Institute (ERI). ERI 9s the world's largest survey firm in terms of collection, compiling
and analysis of compensation,jobs and cost of living data. ERl provides analysis of competitive pay for 9,600 areas in North America and Europe,
                                                                                                                                                             Page 210 of 252
1,200 industries and a myriad of organization sizes. Its databases have grown to include over 14,000 publicly traded corporations, as well as
privately held corporations. Compensation data is compiled in terms of mean and median salaries for positions of similar duties, responsibilities,
skills, and function. ERI methodology calculates the minimum and maximum rages for each position based upon calculations using a standard
error. ERI maintains a common definition of wages and salaries.
                                                                                                                                                     n
Executive positions are exempt from overtime requirements and thus are typically paid for the achievement of results, regardless of the amount
of hours required to achieve those outcomes. 1t should be noted that most executives work far more than simple forty-hour weeks, but some            N
hig hlY Paid executives are, nevertheless still able to maintain su perior business productivitY despite working relative)Y short work weeks.        ~'
                                                                                                                                                     v,
                                                                                                                                                     0
The ERI retrieved data was based on companies in California with gross revenues of $75 million. The industry selected was Specialized Freight        ~
Trucking because trucking represents the majority of Matheson's revenues. The following six Matheson positions were analyzed: CEO, Legal             ~
                                                                                                                                                           Case 15-50541-btb




Counsel, EVP, VP Operations, Risk Executive and Chief Accountant. The CEO position and the EVP position were also evaluated from an equity           s
owner perspective. The following is a description of the data in Table 1 by Column.                                                                  0
                                                                                                                                                     0
Column A -The six Matheson positions are identified in Column A.                                                                                     ~
                                                                                                                                                     w
                                                                                                                                                           Doc 482




Column B -The 2014 W2 gross wage data for each Matheson position are reported. The definition of wage is straight-time gross pay, exclusive of       ~
bonus, commission and other current year variable cash incentives. The President of Flight Extenders resigned in June, therefore his wages were      m
adjusted to reflect the equivalent of full year wages. The Chief Legal Counsel joined Matheson in Feb as a full time employee and we have
annualized his wages for a full year.                                                                                                                ~
                                                                                                                                                     a
Column C -The ERI median or mean wage data is reported for Matheson position. The median wage or salary is the middle rate in a rank ordered         ~
scale, the estimated 50th percentile of the distribution of wages;50% of executives in an occupation earn wages below the median wage, and SO%
earn wages above the median wage. Mean wage is the average.

Column D The compensation range of each Matheson position relative to the ERI survey data: For example the compensation for Matheson's CEO           ~
is above the 50% range, but is below the 75% range.                                                                                                  o
                                                                                                                                                     i-;
Column E —Total compensation, including Matheson dividends payable to equity owners are reported in this column. ERI does not include                ~
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dividends payable to owners in ca{culating total compensation. However,to be conservative, PCT did include dividends paid to owner/executives        .~
and included those dividends in the total maximum compensation analysis.                                                                             ~
                                                                                                                                                      c~
The CEO of Matheson, received a dividend distribution of $55,569 in 2015 fiscal year. This amount was added to the CEO's wages for a total           ~
comparable compensation of $64Q,820 to ERI's survey mean of $1,348,501.                                                                              o
                                                                                                                                                      N
Matheson's EVP received a dividend distribution of $64,896 in 2015 fiscal year. This amount was added to the EVP's wages for a total comparable      ~ w
compensation of $347,029 which compares to ERI's survey mean of $697,621. Both the CEO and EVP received compensation much lower than
comparable companies.
                                                                                                                                                           Page 211 of 252
Column F - ERI provides a total maximum reasonable direct compensation estimate for executive equity positions. The total compensation amount
is the mean (average) direct salary plus bonus. The mean wage or salary is the estimated total wages of an occupation divided by its estimated
employment as described in a polynomial regression equations.The maximum reasonable compensation estimate was developed by ERI to provide
reliable evidentiary support to use in US Tax Court, as well as other litigation proceedings, and has been used in this fashion since the late 1980's.

                                          Table 1                                                                                                        c~
        A.                    B.              C.                D.                 E.                 F.
    Matheson             Matheson-        ERI -50%         Matheson -         Matheson -         ERI -Total                                              cn
     Position         Total 2014 Cash   Median/Mean         Total Cash           Total           Maximum                                                 0
                                           Survey         Compensation       compensation       Reasonable                                               .p
                       Compensation                                                                                                                      N
                        or equivalent                       percentile       with dividends    Compensation                                              s
                                                                                                                                                         ...
                                                                                                                                                               Case 15-50541-btb




                                                              range                           —Equity Owners                                             a
 CEO- Mark            $585,251          $476,977         50% to 75%         $640,820          $1,348,501                                                 O
 Matheson                                                                                                                                                0
                                                                                                                                                         n
 EVP —Robert          $262,133          $273,301         25% to 50%         $327,029          $718,314                                                   w
 Matheson                                                                                                                                                N
                                                                                                                                                               Doc 482




 VP Risk —Carole      $193,801          $187,871         50% to 75%
                                                                                                                                                         m
 Matheson
                       $200,811         $290,693          10%to 25%                                                                                      c~
 Chief LegalZ
                                                                                                                                                         m
 Chief                 $190,929         $245,207          25% to 50%                                                                                     Q
                                                                                                                                                         0
 Accountant/CFO
 President of          $170,263         $324,373          10% to 25%                                                                                     N
                                                                                                                                                         rn
 Operations-                                                                                                                                             N
 Flight
 3Extenders
                                                                                                                                                         :A
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                                                                                                                                                         N
 1 ERI Methodology paper                                                                                                                                 N
                                                                                                                                                         W
 Z Adjusted to full year equivalent
                                                                                                                                                               Page 212 of 252




 3 Adjusted to full year equivalent
Conclusion

For equity executives, even with the inclusion of dividends, the Matheson total compensation was well under the Total Maximum Reasonable      ~
Compensation estimates provided by ERI. ?he wages paid by Matheson are reasonable and no adjustment is necessary. For non-equity positions,   ~
the wages paid by Matheson ranged from ZO% to 75% of the range. No position was in the 75% to 90% range. The wages paid by Matheson are       ~
                                                                                                                                              N
reasonable and no adjustment is necessary.                                                                                                    ~
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                                                                                                                                              cn
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                                                                                                                                                    Case 15-50541-btb




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                                                                                             MATHESON TRUCKING,INC


                                                                                           CONSOLIDATED BALANCESHEEIS
                                                                                            JUNE30,20147HROUGN 2008



                                                                                                        ASSETS                                                                                                   N
                                                                                                                                                                                                                 C~
                                                              -               2008               2009                2010              2011              2012                  2013              2014            N
                                                                                                                                                                                                                 Ul
Current assets
 Cash and wsh equivalents                                                 5   6,467,344     5    8,918,218       $   5,805,639     5   7,700,045     S   5,705,376     $       5,389,870     5   6,035,226       U"I
                                                                              6,417,790          5,356,741           2,176,542         2,317,185         2,691,801             3,184,485         3,457,773       O
 Accounts receivable
  Incomeuxesreceivable                                                          111,885                    -           589,217                 -                 -
  Inventory                                                                     386,866           332,617              313,136           353,875           667,778               431,003           305,683       F~
  Prep~idexpenses                                                     ~       1,222,843          1,333,514             611,889         1,290,033         1,910,957             1,404,162          1,591,685
  Rdatedpartyraeivables,current                                                       -                  -                   -                 -                  -                    -           286,312
                                                                                                                                                                                                                       Case 15-50541-btb




  Current portion of related loans receivable                                    47,079             13,323               3,000                 -                 -                     -                 -
  Deferredincometaxasset                                                        995,864            530,361             610,306           269,115           180,973
                                                                                                                                                                                                                 t
              Totaicurrentassets                                              15,649,671         16,504,774          10,109,729        11,930,253        11,156,SS5            10,408,520        11,676,679
                                                                                                                                                                                                                 O
                                                                                                                                                                                                                 n
Fropertyand equipment, net.                                                   14,959,a51         14,636,766          14,525,228        12,065,974        15,157,594            14,921,101        13,396,389      W
Restricted cash                                                                       -                    -          1,170,000                -                  -
                                                                                                   392,001             273,850           243,512           245,066     ~         262,367           260,395       N
                                                                                                                                                                                                                       Doc 482




Deposits                                                                        462,179
Related oars receivable, net of current portion                   ~             226,273            233,733             246,001           490,953          1,989,880             2,609,911         2,729,850
Intangible assets               -                                              2,624,843          2,624,843           2,624,843         2,624,843         2,624,843             2,624,843         2,624,843      m
                 Total assets                                             5   33,922,417     $   34,392,117      $   28.949,651    5   27,355,535    5   31,174,2fi8       S   30,826,742    5   30,688,186
                                                                                                                                                                                                                 (~
                                                                                                                                                                                                                 -~s
                                                                                                                                                                                                                 C~
                                                                                       LIABICRIES AND STOCKHOLDERS EQU(N                                                                                         Q



Current liabilities                                                                                                                                                                                              I-~
  Accounts payable                                                             2,752,933          2,359,307           1,252,767         2,314,936         1,812,290             2,664,106         2,196,380
  Accrued payroll and employee benefits                                        5,320,357          4,751,494           3,236,163         3,227,036         2,968,907             2,595,999         2,749,497      N
                                                                                                                                                                                                                 ~l
  Accrued expenses                                                             1,868,609          2,096,960            764,475          1,440,285         1,555,432              439,188          1,070,878
                                                                                                                                                          3,033,874             2,235,467         1,743,300      N
  Long-term debt current                                                               -                   -                 -                  -
                                                                                                                                                                                                                 (Jl
  Discontinued operations reserve,current                                             -                    -                 -                  -          545,458                173,421            23,855
  Deferredincometaxliability,current                                                  -            841,719                    -                -                  -               124,689           121,107
                                                                                                                                                                                                                 O
  Notes and contacts paya6le•cu~rent position                                  1,289,670          1,143,272                   -
                                                                                                                                                                                                                 F~
  Currentportion of long-term debt                                                     -                   -          2,736,427         2,175,769                 -
  Currentportion of discontinued operations                                                                             862,862           760,855                                       -                 -
                                                                                                                                                                                                                       Entered 11/23/15 17:02:48




                 TotalcurrenYliabilities                                      11,231,569         11,192,752           8,552,694         9,818,881         9,915,961             8,232,870         7,905,01.7


 Deferred rent                                                                         -            107,004              81,440            48,200            14,460                44,355           144,815
 Workers compensation lia6iliry                                                1,929,285          2,336,533           2,253,050         1,760,643         2,080,921             1,427,432         1,814,503      C~
 Long-term debt,netofcurrentportion                                            1,516,077          2,406,181           4,114,497         1,938,726         3,627,201             4,304,101         4,393,410
                                                                                                          -           1,586,159         1,033,112          405,822                  5,647                    -    W
 Discontinued operations reserve, net ofcurrent portion
 Deferredincometaxliabiliry,noncurrent                                                                   -                   -                 -          2,391,348             2,982,322         2,5]4,358      0
 Deferred incometax liability                                                  3,369,580          2,596,132           1,434,915         1,426,436
                                                                                                                                                                                                                 f~
                 Total liabitiiies                                            18,046,511         18,638,602          18,323,255        16,025,998        18,435,713            16,996,727        16,832,103      I-~
                                                                                                                                                                                                                 W
 Stockholders' equity
   Common stock, no par valve; 1,000,000 shares
                                                                                  60,800             60,800              60,800            60,800            60,800                60,800            60,800
                                                                                                                                                                                                                       Page 215 of 252




    authorized;838,500 shares issued and outrtanding
   Retained earnings                                                          15,815,106         15,692,715          10,565,596        11,268,737         12,677,755            13,769,215       13,795,283
                  Total stockholders equity                                   15,875,906         15,753,515           10,626,396        11,329,537        12,738,555            13,830,015        13,856,083
                  Total liabilities and rtockhoiders'equity               5   33,922,x17     5   34,392,117      5    28.949.651   5    27,355,535   $    33,174,268       5    30,826,742   5    30,688,186'
                                                                           MATHESONTRUCKING,INC.

                                                                    CONSOLIDATED STATEM ENTS OF OPERAT10N5
                                                                         JUNE 30,2014 THROUGH 2008                                                                                       ~


                                                                                                                                                                                         CD
                                                             2008               20D9              2010               2011              2012              2013              2014          N
Revenue
  Postal contracts                                      $   59,873,680     $   52,880,608     $   57,660,637     $   58,006,517    $   58,852,412    $   53,075,176    S   50,049,070    ~
 Pickup and delivery                                        45,590,488          37,229,674                -                   -                -                 -                  -    ~
 Airterminal handlingservices                               24,101,841          24,226,831        21;409,916         23,288,705        25,694,670        23,297,123        23,386,715    ~,
                                                                                                                                                                                               Case 15-50541-btb




         Total Revenue                                      129,566,009        114,337,113        79,070,553         81,295,222        84,547,082        76,372,299        73,435,785    ~


Opereting and administrative expenses
  Salaries and wages                                         58,971,654         53,666,880        38,033,249         37,835,813        38,549,302        35,165,973        33,880,436    ~
                                                                                                                                                                                         C7
  Contract services                                           6,624,001          2,798,947         1,441,421          3,489,066         3,070,806         3,342,565        12,368,966    W
  Payroll related expenses                                   18,517,949         16,241,587        12,616,026         12,996,455        13,749,697        12,483,901         2,822,485    ~
                                                                                                                                                                                               Doc 482




  Vehicle operating expenses                                 25,935,039         21,428,643        11,688,885         12,747,950        14,364,437        11,161,036        10,897,546
  Terminal expenses                                           1,781,384          1,400,611          318,205            314,822           384,541           308,212           650,797     m
  Insurance                                                   4,685,916          3,704,b04         1,987,609          2,227,054         1,809,160         1,638,515         1,840,864    ~
  Rent                                                        5,936,556          4,853,819         2,785,770          3,003,914         3,167,093         3,204,891         3,171,941    C_D
  Office and other expenses                                   6,691,517          6,159,836         3,986,770           3,544,543        3,556,607         3,109,055         3,913,929    Q
  Depreciation and amortization                               3,777,907          3,548,251         2,661,895          2,854,302         2,909,343         3,556,059         3,423,518    O
          Total operating and administrative expenses       132,921,923        113,803,178        75,519,830         79,013,919        81,560,986        73,970,207        72,970,482    ~p
                                                                                                                                                                                         N
          incomefrom operations                              (3,355,914)          533,935          3,550,723          2,281,303         2,986,096         2,402,092           465,303
                                                                                                                                                                                         Ul
Other income(expense)                                                                                                                                                                    N
  Interest income                                               134,679             25,794            14,535              8,969            20,381            21,717            21,666    ~
  Miscellaneousincome                                           106,808             50,517            32,266             24,833            41,796            70,215           102,588    ~
                                                                                                                                                                                         O
  Loss on sale of fixed assets                                 (229,050)           (98,616)                -                  -                 -                 -                 -    j-~
  Interest expense                                             (363,509)          (370,513)         (622,847)          (480,374)         (310,371)         (409,777)         (347,905)   ~
                                                                                                                       (446,572)         (248,194)         (317,845)         (223,651)
                                                                                                                                                                                               Entered 11/23/15 17:02:48




          Total other expense                                  (351,072)          (392,818)         (576,046)
                                                                                                                                                                                         -D
                                                                                                                                                                                         A~
          Incomebeforetaxe5from continuingoperetions         (3,706,986)           141,117         2,974,677          1,834,731         2,737,902         2,084,247           241,652    ~


Incometax expense                                                     -                  -          (777,739)          (518,668)       (1,121,245)         (857,315)          (18,735)   ~
          Income from continuing operations                  (3,706,986)           141,117         2,196,938          1,316,063         1,616,657         1,226,932           222,917    O
 Lossfrom discontinued operations                                     -                  -        (9,721,734)          (713,368)          (38.272)           82,374           (19,922)   F.,
Incomecax benefit                                             1,309,988           {161,376)        2,541,782            285,347            15,309           {32,950)            7,969    N
                                                                                                                                                                                         W
           Net loss from discontinued operations              1,309,988           (161,376)       (7,179,952)          (428,021)          (22,963)           49,424           (11,953)
           Net income(loss)                             S    (2,396,998)   S       (20,259)   $    (4,983,014)   $      888,042    $     1,593,694   $     1,276,356   $      210,964
                                                                                                                                                                                               Page 216 of 252
                                                                                           MATHESON TRUCKING,INC.

                                                                                    CONSOU DATED STATEMENTS OF CASH FLOWS
                                                                                         JUNE30,2014THROUGH2O08



                                                                             2008              2009               2010               2011              2012               2013                2014          CD
Cash flowsfrom operating activities                                                                                                                                                                         i--'
                                                                                                                                                                                                            Cf'1
  Net income{foss)                                                       $   (2,396,998}   $     (20,259) ~   $   (4,983,014)    $    888,042      5   1,593,694         $1,276,356           $210,964
                                                                                                                                                                                                            (Sl
  Adjurtments to reconcile net income(loss)to cash
                                                                                                                                                                                                            O
    provided by operating activities:                                                                                                                                                                       Cal
       Depreciation and amortization                                          3,777,907         3,548,251          3,492,490         2,854,3D2         2,909,343          3,556,059           3,423,518
                                                                                                                                                                                                            I--'
       Changein allowancefordoubtfulaccounts                                   168,000         ~    4,000            (18,600)         (189,400)               -               8,717              (5,717)
                                                                                                                                                                                                            II'
       Loss on sale of property and equipment                                   229,050            98,616              6,444            79,358          138,399              90,291             180,385
                                                                                                                                                                                                                    Case 15-50541-btb




       Loss onuieofsegment                                                            -                -              26,836                 -                -
       Proceedsfromsaleofsegment                                                      -                -           3,500,000                 -                 -                  -
       Deferredincometaxes                                                   (1,449,270)        (327,945)         (1,221,162)          332,712         1,053,054            896,636            (411,546)
                                                                                                                                                                                                            O
       Change in operating assets and liabilities:                                                                                                                                                          C7
             accountsreceivahle                                                (228,921}        1,057,049          3,198,799            48,757          (374,616           (501,401)           (267,571)    W
             Incometaxesreceivable                                            1,172,503           111,885            -589,217          589,217                 -                  -
                                                                                                                                                                                                            1-
                                                                                                                                                                                                                    Doc 482




             Inventary                                                          190,164            54,249              19,481          (40,739)         (313,903]           236,775            .125,320
             Prepaid expenses                                                   165,973          (110,671)            721,625         (675,144]         (620,924)           506,795            (187,523)
             Res[ricted cash                                                                                      (1,170,000)        1,170,000                 -                   -
                                                                                                                                                                                                            rn
             Deposits                                                           (x2,857)          70,178             118,151            30,338            (S,SSa)            (17,301)             1,972     CD
             Accounts payable                                                  (131,875)        (393,626)         (1,106,540)        1,062,169          (502,646}            851,816           (467,726)
                                                                                                                                                                                                            CD
             Accrued payrolland employee6enefits                                241,714         (568,863)         (1,515,331)         (109,127)         (158,129)           (372,908)           153,498     Q
             Accrued expense                                                    604,531          228,351          (1,351,765)          675,810           115,147          (1,116,244)           631,690     O
             IncometaxespayabEe                                                       -          841,719            (841,719)                -
             Deferred rent                                                            -          107,004               (5,784)         (33,740)          (33,740]            29,895             100,460     I-~
             Workers'compensationliability                                      237,601          407,248             (83,483)         (492,407)          320,278           (653,489             387,071
                                                                                                                                                                                                            N
             Discontinued operations reserve                                          -                            2,649,021          (655,054)         (842,687)          (772,212)           (155,213)    (Jl
                   Net cash provided byoperatingactivities                    2,537,522         5,107,186           646,232          5,532,094         3,281,716           4,019,785           3,719,582    N
                                                                                                                                                                                                            (Jl
Cash flowsfrom investingactivities
  Purchasesofpropertyandequipment                                            (2,824,275)       (3,597,584)        (6,982,051)         (501,056)        (6,224,478)        (3,858,345)         (2,174,683)   -P
                                                                                                                                                                                                            O
  Proceedsfromsaleofpropertyandequipment                                        243,496           273,402             67,819            26,650             85,116            448,488              95,492
                                                                                                                                                                                                            N
                    Net cash used in investing activities                    (2,580,779)       (3,324,182)        (6,914,232)         (474,406)        (6,139,362)        (3,409,857)         (2,079,191)
Cash flaws from financing activities
                                                                                                                                                                                                                    Entered 11/23/15 17:02:48




  Net increaseo~ related loansreceivable                                         52,777            32,442             (1,945)         {241,9S2j        (1,498,927)          (620,031)          (406,281)
  Payments on loans receivable                                                  (65,623)           (6,146)
                                                                                                                                                                                                            tQ
  Proceeds from long-term debt                                                1,833,059         2,225,875          5,614,410                  -         5,079,050          4,143,419           6,362,802    fD
  Paymentson long-term debt                                                  (1,882,514)       (1,482,169)        (2,312,939)        (2,736,429)       (2,532,470)        (4,264,926)         X6,765,660)
  Distri6utionsto stockholders                                                 (101,135}         (102,132)          (144,105)          (184,901)         1184,676)          (184,896)           (I84,896~    Cf'I
                    Net cash provided 6y(usedin)financingactivities            (163,437)         667,870           3,155,421         (3,163,282)          862,977           (926,434)           (994,035)    O
                                                                                                                                                                                                             --n
                    Net changein cash and cash equivalents                     (206,694)        2,450,874         (3,112,579)         1,894,406        (1,994,669)          (316,506             646,356     F-~
Cash and cash equivalentsat beginningof period                                6,674,038         6,467,344          8,918,218          5,805,639         7,700,045          5,705,376           5,388,870     N
                                                                                                                                                                                                             W
Cash and cash equivalents at end of period                               5    6,467,344    5    8,918,218     $    5,805,634     5    7,700,045    5    5,705,376    $     5,388,870      $    6,035,226
Suomiemental disciosureofcash flow information:
  Cash paidforinterestexpense                                            $      363,509    $      370,513     $      667,063     $     479,182     5     317,502     $       410,844      $     450,925
                                                                                                                                                                                                                    Page 217 of 252




  Cash paid forincometaxes                                                       37,450           238,950            843,381           253,901            49,fi00             30,300             58,300
Suomlemental disclosure of noncash investine and financing activities:
  Equiptmentrefinanced                                                   5            -    $            -     S             -    $           -     5    2,966,753    5                -   S
     Case 15-50541-btb    Doc 482   Entered 11/23/15 17:02:48     Page 218 of 252


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MathesonTrucking, Inc.                       Consolidated Trial Balance UNAUDITED   As of and for FYE1 une 30, 2015


                                              **Unaudited**
                  Description     Account      Year to Date
Cash - WFB Operating Accts           10000        6,040,485.03
Cash - W FB Master(Previous)        10150             13,403.9b
Cash - WFB C/C Collate2)            10450           149,863.70
Escheatable Property - WFB           10500         (219,913.14)                                                       CD
Cash - WFB Master Insurance          10510           10,449:86                                                        N
                                                                                                                      Cft
Cash - WFB Postal Trust              10800         1,307,058.01                                                       CS1
Cash - WFB MailTrans Trust           10850          119,998.30                                                        O
                                                                                                                      (Tt
Escheatable Property - J PM C        10900            (1,317.52)
                                                                                                                      N
AIR- USPS                            11100         3,689,960.36
                                                                                                                             Case 15-50541-btb




AIR- USPS Bulk Fuel Program          11150             8563.67
AIR- Employees                       11400              752.38
A/R - Holdings                       11405          567,590.06                                                        D
                                                                                                                      O
A/R -Miscellaneous                   11410            55,344.05                                                       n
                                                                                                                      W
Allowance For Doubtful Account       11500           (49,000.00)                                                      ~A
                                                                                                                      t—'
                                                                                                                             Doc 482




Due from i (to) Affiliates           11900
AIR -R.B. Matheson                   11953             4,81.33                                                        rn
AIR - POS Trust                      11954                                                                            r-.
                                                                                                                      (D
AIR - M a iI Tra ns Trust            11955
                                                                                                                      cD
Loan -Officer                        12000               999.53
Loan - M FAFT                        12200                                                                            O

Loan - POSTL                         12300                                                                            1—'
Loan-FLTEX                           12375
                                                                                                                      N
Inventory -Parts - EG                13100             8,496.04                                                       CJ1
Inventory -Parts -FCC                13145                54.51                                                       N
                                                                                                                      CTI
Inventory -Parts -DEN                13300           101,418.75                                                       ~A
                                                                                                                      O
Inventory -Parts -OAK                13310            22,705.00
                                                                                                                      ij
inventory -Parts - 801               13320            15,860.67
                                     13330            22,836.87
                                                                                                                             Entered 11/23/15 17:02:48




inventory -Parts -SAC
Inventory -Parts - S B               13340            39,779.11                                                       Pz
                                                                                                                      CQ
Inventory -Parts - S LC              13350            28,827.70
Inventory -Parts -SEA                13360             7,604.49
Inventory Reserve                    13440           {15,000.00)                                                      O
Prepaid -Insurance                   14000         1,148,207.06
                                                                                                                       t-~
Prepaid - Imprest WCNL - GB          14050            20,000.00                                                        N
                                                                                                                       W
Imprest Fund WCNL,Citibk- GB         14075            18,555.00
 imprest fund WCNI, WFBCorVel        14081            26,16227
                                                                                                                             Page 219 of 252




 lmprest Fund Discovery Benefit      14090             4,379.39
 Prepaid -License                    14100            76,206.15
 Prepaid -Equip/Maintenance          14300            59,490.91

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Matheson Trucking, lnc.                     Consolidated Trial Balance UNAUDITED   As of and for FYEJ une 30,2015


                                             **Unaudited*"
                  Description   Account       Year to Date
Prepaid -Supplies                  14400              5,903.56
Prepaid -Other                     14500             42,665.56
                                                                                                                    n
Prepaid -Fees on IOCs              14600             84,016.00                                                      p~
Assets -Tractors                   15000         23,719,117.84                                                      CD
Assets -Trailers                   15010          6,229,838.23                                                      ~'
                                                                                                                    CTt
Assets - lttility Vehicles         15020           997,004.97                                                       ~
Assets -Dollies                    15030            166,537.31                                                      ~
                                                                                                                    C3~
Assets -Forklifts                  15040            176,273.11                                                      ~
                                                                                                                    N
Assets-MiscVehicles                15050            767,741.76                                                      s
                                                                                                                           Case 15-50541-btb




Assets-Tow Tractors                15055            750,544.52                                                      s
Assets -Boat                       15060             79,076.00
Assets -Load Trek                   15070           758,258.68                                                      ~
                                                                                                                    O
Asseu -Capital Equip Repairs        15080         1,964,861.45                                                      n
                                                                                                                    W
Assets -Communication Equip         15100            86,045.36                                                      ~
                                                                                                                           Doc 482




Assets -Ground Service Equip        15150         2,915,137.56
Assets-PlantEquipmeni               15200           401,603.03                                                      m
Asseu -Office Equipment            15300             148,340.96
Assets -Computer Equipment         15400           1,605,817.74                                                     ''
                                                                                                                    cD
Assets -Leasehold Improvement      15500           1,315,333.29                                                     ~
Assets -Security Equipment         15550              374,729.82                                                    ~
Accumulated Depreciation           15900         {28,379,465.35}
BreitenbucherLand                  17000              569,444.00                                                    '~
                                                                                                                    N
--land Leveling                    17100              203,682.00                                                    ~
—Pasture                           17200               18,605.00                                                    ~
                                                                                                                    U~
—Improvements                      17300              414,756.33                                                    ~
—Equipment                         17400               83,473.00
Accumulated Depreciation           17900             (467,055.14)                                                   ~
                                                                                                                           Entered 11/23/15 17:02:48




 Deposits                          18400              242,821.86
 Long Term loan - OfFicer          18500              448,030.74                                                    Sv
 Long 7ertn Loan/Int- MBM          18510              575,601.07                                                    ~
                                                                                                                    cD
 Prepaid• Bridge& Road Tolls       iS920               53,157.30                                                    ~
 Assets -Clearing Account          18999                16,539.65                                                   p
                                                                                                                    -ti,
 Assets -Software                   19000           1,499,973.05                                                    ~..,
 Accumulated Amortization           19010          (1,499,164.64)                                                   ~'
                                                                                                                    W
 Note -Postal                       25700                   -
 Note -Trucking                     25701                   -
                                                                                                                           Page 220 of 252




 TotalAssets                                     529,653,883.12


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Matheson Trucking, Inc.                       Consolidated Trial Balance UNAUDITED   As of an d fo r FYE 3 u ne 30, 2015


                                               *~` Unaudited**
                    Description   Account        Year to Date


A/P -General                         20000         (2,077,608.56)
A/P-Miscellaneous                    205Q0         (1,576,951.46}
USPS Fuel Program Accrua12014        20749            (80,618.79)                                                          cD
Garnishments                         21000             (4,57b.98)                                                          N
                                                                                                                           Cn
401K -Employee Contribution          21040            (30,691.67)
                                     21050             (6,522.66)                                                          O
401K -Employee Loan                                                                                                        C3~
Vehicle Liability Accrual            21204           (643,959.19)                                                          ~A
                                                                                                                           N
Payroll Accrual                      22000         (1,022,625.fi3)
                                                                                                                                  Case 15-50541-btb




Accrued Vacation                     22050         (1,022,505.00)
Payroll Tax Accrual                  22100            (85$53.25)
                                                                                                                           D
FICA/Medicare Accrual                22110           (100,076.41)                                                          O
                                                       (8,413.93)                                                          n
Fede21 UI ~ Accrual                  22120
                                                                                                                           W
State UI -Accrual                    22125           (119,082.30)
                                                                                                                           F-~
                                                                                                                                  Doc 482




FederatWithholdings                  22130            (60,807.46)
Arizona Withholdings                 22135               (852.20)                                                          m
California Withholdings              22140             (7,056.19)
                                                                                                                           N
California SDI                       22145              {1,762.88)
                                                                                                                           c~D
Colorado Withholdings                22150              (1,918.00)                                                         Q.
                                                      (10,198.00)                                                          O
Idaho Wfthholdings                   22155
Indiana Withholdings                 22156               (410.28)                                                          N
                                                                                                                           d7
Iowa Withholdings                    22157              (5,712.00)
                                                                                                                           N
Montana Withholdings                 22158              (1,887.00)                                                         CS'I
                                                           (20:58)                                                         N
Minnesota Withholdings               22161                                                                                 (Tt
New Me~co Withholdings               22162                (769.90)                                                         ~P
                                                                                                                           O
 Missouri Withholdings               22163                (635.54)
                                                                                                                           N
Oregon Withholdings                  22165              (1,340.26)
                                                                                                                                  Entered 11/23/15 17:02:48




 Nebraska Withholdings               22166                (771.08)
 Ohio Withholdings                    22167               (434.69)
 New Jersey Withholding               22159                (74.75)                                                         cD
 Utah Withhoidings                    22170            (11,934.35)
 New Jersey SDl                       22171               (478.98)                                                         O
 Kentucky Withholdings                22172             (2,565.96)                                                          i-~
 North Carolina Withholdings          22173               (112.00}                                                          N
                                                                                                                            W
 Oklahoma Withholdings                22188               (116.00)
 West Virginia Withholdings           22189               (325.00)
                                                                                                                                  Page 221 of 252




 401K -Employer Contribution          22300            (51,373.63)
 Accrual - POS Health &Welfare        22310                      -
 Accrual- MailTrans. H & W            22320                      -

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Matheson Trucking, lnc.                        Consolidated Trial BalanceUNAIlDITED   As ofand for FYEJune30,2015


                                                **Unaudited**
                    Description   Account'         Year to Dale
CIGNA Medical I DentalAccrual        22325           (1,019,739.51)
Workers Comp Clearing - GB           22401                  (998.74)                                                f
                                     22402               (12,716.50)                                                A>
Workers Comp Clearing-CorVel
                                                     (1,807,185.93)                                                 cD
Workers Comp Accrual                 22430
                                                                                                                    F-~
Workers Comp Accrual -OR             22450                (2,03631)
Workers Comp Accrual - WA            22470               (90,885.34)                                                Cn
                                                                                                                    O
Workers Comp Accrua I - WY           22480                  (618.40)                                                U't
                                                                                                                    ~A
Airport Tax -Flight Extenders        23010       ~        (1,631.11}                                                N
                                      23050               (3,419.93)                                                a'
NM T2nsportation Tax
                                                                                                                            Case 15-50541-btb




 FTA Accrua I                        23119                1,623.48
Sales and UseTax-Arizona             23453                 (547.76)                                                 O
Sa les a nd Use Tax -California      23455               (9,804.29)                                                 0
                                                                                                                    n
Sales and Use Tax- Colorado          23456                  (20.83)                                                 W
                                                                                                                    ~A
Sales and Use Tax -Florida           23460                 (261.10)                                                 F~
                                                                                                                            Doc 482




Sales and Use Tax-Idaho              23462               (2,223.63)
Sales and Use Tax -Kansas            23469                  (27.49)                                                 u
                                     23470               (2556.83)                                                  .*
Sales and Use Tax- Kentucky                                                                                          cD
Sales and Use Tax- Nevada            23478                  (23.72)                                                  cD
Sales and Use Tax- Oklahoma          23488                   (36.82)                                                 O
Sales and Use Tax -S Dakota          23492                    (4.89)                                                 cD
                                                          (2,514.13)                                                 F~
Sales and Use Tax-Texas              23493
Sales and Use Tax -Utah              23494                (9,689.31)                                                 F—'
                                                                                                                     CJ's
 Sales and Use Tax- Washington        23497             (14,321.23)                                                  N
                                      23498                  (24.75)                                                 (T~
 Sales and Use Tax- W Virginia
 Sales and Use Tax- Wisconsin         23499                 (267.57)                                                 O
 1 ncome Tax Payable -Federal         23500              (52,333.30)                                                 N
 DefercedlncomeTax-Short Term         23502            (121,106.64)
                                                                                                                            Entered 11/23/15 17:02:48




 Deferred Rent                        23505            (143,513.98)
                                      23510              (24,100.00)                                                 A>
 Income Tax Payable -States
                                      23511.               9,130.76                                                  CD
 PriorYearsInc. Tax -States
                                                                                                                     N
  Book Tax Payable                    23530              910,862.00                                                  O
                                                     (1,154,438.17}                                                  O
 Current Note AFCO Financing          24826
                                                                                                                     O
  Current Note - GE 7747858001        24833              (36,071.60)
                                                                                                                      h~
  Current Note - GE 7747885005        24834              (66,584.28)                                                  N
                                                                                                                      W
  Current Note - GE 7752074001        24835              (54,667.78)
  Current Note - WF 407247700         24836              (34,805.08)
                                                                                                                            Page 222 of 252




  Current Note - W F 407247701        24837            (676,139.24)
  Current Note - W F 407247702        24838             (345,218.93}
  Current Note - W F 407247703        24839             (220,803.63}

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Matheson Trucking, Inc.                      Consolidated Trial BalanceUNAU017ED   As ofand.forFYEJune30,2015


                                              *"Unaudited**
                    Description   Account      Year to Date
Current Note - WF 407247704          24840         (243,431.47)
Current Note - WF 407247705          24841          (21,037.88)
Current Note - W F 407247706         24842          (88,369.38)                                                 A~
                                     24843         (321,110.04)                                                 CD
Current Note - WF 407247707
                                                                                                                N
Current Note -Paccar 6634059         24845         (390,560.00)                                                 CT7
LT Note - GE 7747858001              25833          (15,454.98)                                                 U1
                                                                                                                O
LT Note - GE 7747885005              25834          (27,562.57)                                                 (3~
                                                                                                                ~A
LT Note - GE 7752074001              25835          (28,166.88)                                                 N
LT Note - WF 407247700               25836          (73,037.59)
                                                                                                                       Case 15-50541-btb




LT Note -WF 407247701                25837         (990,221.35)
LT Note - W F 407247702              25838         (536,675.64)                                                 O
LT Note - W F 407247703              25839         (383,542.50)                                                 0
                                                                                                                n
LT Note - W F 407247704              25840         (422,847.71)                                                 W
                                                                                                                .A
LT Note - WF 407247705               25841          (78,123.93)                                                 N
                                                                                                                       Doc 482




 T Note - W F 407247706              25842           (75,711.68)
 T Note - W F 407247707              25843        (1,223,471.12}                                                m
 T Note -Paccar 6634059              25845        (2,617,118.66)                                                cD
DeferredlncomeTax-Long7erm           25900        (2,574,358.05)                                                cD
                                                                                                                Q.
Total Liabilities                               ($22,041,266.81)                                                0
                                                                                                                N
                                                                                                                rn
                                                                                                                N
Capital Stock                        30000           (60,800.00}
                                                                                                                N
Retained Earnings                    31000       (11,170,445.08)                                                (T~
Shareholder Dividends                31010           184,896.00                                                 A
                                                                                                                O
                                                ($f1,046,349.08j                                                Ij
Total Shareholder Equity
                                                                                                                       Entered 11/23/15 17:02:48




                                                                                                                v
Revenue -THS Base Contract           40010       (21,073,953.85)                                                cD
Revenue-THS EMra Volume              40012          (186,666.06)                                                N
                                                                                                                O
Revenue - THS Extra Services         40014          (142,078.75)                                                N
Revenue -Commercial, UPS             40018        (2,023,714.61}                                                O
                                                                                                                -ti,
Revenue - Commercial,OHL             40022        (1,564,287.34)                                                 N
                                                                                                                 N
 Revenue - Commercial, FEDEX         40023          (444,609.00)                                                 W
 Revenue -Comm,EMra Services         40026          (309,921.88)
 Revenue -Commercial Delta           40027          (192,707.19)
                                                                                                                       Page 223 of 252




 Revenue -Regular Contract           41000       (47,110,132.16)
 Revenue-NSCAccrual                  41001          (383,317.24)


                                                              Page S of9
Matheson Trucking, Inc.                     Consolidated Trial Balance UNAUDITED   Asofand forFYElune30, 2015


                                             **Unaudited**
                  Description    Account      Year to Date
Revenue -Extra Trip                 41062        (1,271,152.82)
Revenue -Fuel                       41003          (502,532.49)
                                   41004             (6,426.85)                                                 A~
Revenue -Adjustments
                                                                                                                cD
Revenue -Claims                    41006          (124,919.06)
                                                                                                                I—~
Revenue -Peak                      41008         (3,638,380.70)
Revenue -Freight Hauls             41025             (2,000.00)                                                 U't
                                                                                                                O
Revenue- FedEx                      41050         (316,477.91)                                                  C3~
Revenue- FedEx Peak                 41055         (105,148.73)                                                  N
Revenue -Shop Labor                 42100
                                                                                                                       Case 15-50541-btb




Revenue -Parts/Supplies             42200
Revenue -Commercial Charges         42300                                                                       D
Revenue -Tires                      42400                                                                       0
                                                                                                                n
                                               ($79,398,426.64}
                                                                                                                w
Tota! Revenue
                                                                                                                F~
                                                                                                                       Doc 482




                                                                                                                m
Cost of Parts                       50000
Cost of Tires                       50005                                                                       CD
Commercial Charges                  50030           277,791.20                                                  Q
                                                                                                                0
Inventory Adjustment                50040
Wages -Salary                       60100         5,614,613.04                                                  N
Wages -Drivers                      60200        17,755,883.31                                                  N
Wages -Dock/Material Handling       60300         a,6z4,832.84                                                  Ul
                                                                                                                N
Wages -Mechanic                     60400                                                                       CJ1
Wages -Other                        60500           830,630.93
                                                                                                                O
Wages-Vacation                      60600         1,274,417.68                                                  N
Wages -Sick                         60610            35,220.94
Wages -Holiday                      60620         1,143,373.46
                                                                                                                       Entered 11/23/15 17:02:48




Outside Service -Wages              66950         2,933,575.03
                                                                                                                CQ
Payroll Taxes                       61100         3,319,763.59                                                  cD
401K/Pension Benefrt~               61200         1,046,393.53                                                   N
                                                                                                                O
Employee Benefits                   61300         5,413,476.47                                                   N
                                                  2,586,500.18                                                   O
Workers Compensation                61400                                                                        —~,
 Fuei                               62000          1,648,812.75                                                  F-'
                                                                                                                 N
 DEF Fluid                          62006           165,725.81                                                   W
Tires - PowerUnits                  62011           693,740.82
                                                                                                                       Page 224 of 252




Tires -Trailers                     62012           583,182.99
Shop Supplies                       62100
 Repairs &Maintenance-Vehicles      62110           (591,603.57)

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Matheson Trucking, Inc.                       Consolidated Trial Balance UNAUDITED   As of and for FYE J une 30,2015


                                               **Unaudited**
                    Description    Account      Year to Date
Repairs/Maintenance-PowerUn'rts       62111        4,397,510.35
Repairs/Maintenance-Trailers          62112        1,389,674.18                                                        ;~
Vehicle Fleet Washes                  62130            44,10.28                                                        A~
Waste Removal                         62175                   -                                                        CD
                                                                                                                       F-~
Equiptment Rental                     62350        2,033,377.16                                                        CJ1
Road &Bridge Tolls                    62500           657,770.97                                                       Cal
                                                                                                                       O
Laundry                               62520                   -                                                        Cn
Computer Equiptment-Vehicles          62525           450,939.46                                                       N
Transportation Taxes                  62530           332,528.17
                                                                                                                              Case 15-50541-btb




Utility Vehicles                      62560           208,033.98
Vehicle Registration                 62570            517,124.SS                                                       O
Forklifts                            62620              78,564.80                                                      O
                                                                                                                       n
Forklift Rental                      62621              36,038.08                                                      W
Terminal Sundries                    62650.           110,133.57                                                       N
                                                                                                                              Doc 482




Core Scanner Lease                   62660            561,512.57
Tools -Expendable                    62b70                    -                                                        m
Yard/Building Maintenance            62690            190,704.61
Collision Repair(OurVehicles)        62700            543,801.92                                                       CD
                                                                                                                       Q
Accident Repair(Other Parties)       62710              55,815.96
                                                                                                                       O
 Damage/Abuse - PowerUnits           62721              88,254.77
                                     62722              76,783.62                                                      N
 Damage/Abuse -Trailers
 First Aid Expense                   62725                 817.67                                                      N
                                                                                                                       C3'1
Telephone - Cellular                 62810              41,666.2$
                                                                                                                       I-~
Telephone                            62820             286,963.62                                                      (Jl
 Insurance -Vehicle liability        63000            591,855.95                                                       ~A
                                                                                                                       O
 Ins. - Veh. Claims Deductible       63005            600,000.00                                                       ij
Insurance - M otor Ca rgo            63010              2,489.32
                                                                                                                              Entered 11/23/15 17:02:48




Insurance -Property Liability         63020            63,895.63
Insurance -General liability          63030            23,193.51                                                       A~
Insurance - Av iation O Aeration      63035            96,695.86                                                       cD
                                                                                                                       1-~
Insurance -Umbrella Coverage          63050           182,288:12                                                       O
                                                                                                                       W
Insurance -Other Policies             63055            84,825.35
                                                                                                                       0
Safety Incentives &Supplies           63060            52,700.52
                                                                                                                        F-'
Travel -Drivers                       64100           813,825.85                                                        N
                                                                                                                        W
Meals &Entertainment-Drivers          64110                37.08
Meals &Enter-Customer/Client          64210             2,259.08
                                                                                                                              Page 225 of 252




Travel -Management                    64300           486,747.95
Meals &Entertainment- IVlgmt          64310            52,108.98
T2vei -Employee Relations             64400                63.83

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Matheson Trucking, inc.                        Consolidated Tria) Balance UNAUDITED       As ofand for FYEJune 30,2015


                                                *"Unaudited**
                   Description    Account        Year to Date
Meals &Enter-Emp Relations           64410             31,662.94
Travel - Empioyees                   64500             58,703.07                                                         O
Meals &Entertainment - Emp           64510              3,828.55                                                         N
Accounting                           67000             81,222.38                                                         ~
Employee Recruitment                 67010            123,792.04                                                         C~ji
Amortization                         67030                573.00                                                         ~
Bad Debts                            67100            425,989.42                                                         ~
Bank Charges                         67110             38,459.58                                                         I~
Business Promotion                   67185               8,857.66                     ~                                  ~
                                                                                                                         .+
                                                                                                                                 Case 15-50541-btb




Business Forms                       67190              25,828.28                                                        s
Computer Equipment -Purchased        67195              14,709.20                                                        ~
Computer Equipment-Leased            67200              93,240.66                                                        ~
Computer Equipment Maintenance       67210             111,601.07                                                        ~,,~
Depreciation                         67300           3,378,529.31                                                        ~
                                                                                                                                 Doc 482




Donations                            67350              85,800.09
Employee OfFice                      67400              19,788.89                                                        ~
Interest Expense                     67800             372,117.23                                                        ~
Legal Expense                        68100           2,204,173.80                                                        c~D
License/Permits                      68110              27,175.37                                                        Q"
                                                                                                                         O
Office Equipment-.Purchased          68400               6,700.34                                                        ~
Office Equipment- leased             68405              86,606.71                                                        ~
Office Supplies                      68450              72,61435
Outside service                      68490           1,596,748.56
                                                                                                                          N
Pre Employment &Physicals            68500             315,210.99                                                         V?
M isc Expense -Non-Deductible        65505               7,518.96                                                        ~
                                                                                                                         O
Postage/UPS                          68550              70,635.93
Relocation                           68560               5,028.52.
                                                                                                                                 Entered 11/23/15 17:02:48




Rent                                 68700           3,012,539.73                                                         -D
5ubscriptions/Seminars               68800              49,860.12                                                        ~
Taxes                                68920              61,646.23                                                         ~
Income Taxes                         68921            (910,862.00)                                                        p
 Training                             68930.            43,452.00                                                        'A
                                                                                                                          O
 Utilities                            68950            212,Ob0.32                                                        '"'
 Interest Income                     80100             (21,649.68)-                                                       ~
                                                                                                                          F~
 Gain/Loss onAssetr                   80200            355,979.78                                                         ~'`~
 Misclncome/Expense                   80400           2,364,853.18
                                                                                                                                 Page 226 of 252




 Matheson Environmental Mgt Fee       80410            (82,500.00)
 MFAFT Discontinued Ops               80450             (15,448.01)
 Interest- Discontinued Ops           80460               1,144.14

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Matheson Trucking, Inc.                    Consolidated Trial Balance UNAUDITED   As ofand for FYEJune 30, 2015


                                            "*Unaudited**
                  Description   Account      Year to Date
Discontinued Ops Clearing          80470                    -
Discounts   -Accounts Payable      80500             (359.87)                                                     (")
late Payment Penalties             80502            5,413.59                                                      ~
Late interest Charge               80505              265.08                                                      ~
Rentallncome                       80900          (23,800.00)                                                     C~T~
Corporete Overhead Allocation      98300                 -                                                        ~
                                                                                                                  O
Total Expenses                              $sz,asz,159.4i
                                                                                                                  a
                                                                                                                         Case 15-50541-btb




   (Net Income)/Net Loss                       3,433,732.77                                                       ~
                                                                                                                  D
                                                                                                                  0
Tota! Liabilities and Equity               (529,653,883.12)                                                       W

                                                                                                                  N
                                                                                                                         Doc 482




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                                                                                                                  0
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                         Q
Matheson Trucking, lnc.
Net Book Value of Non-Rolling Stock Assets
As of b/30/2015

                                                                                                                        A~
                                                                                                                        CD
                                                                                                                        N
 15100 Asset-[ommunicaifons Equipment           FLTEX   POSTL   RANCH  TRUtK     TOTAL                                  Cft
       Cost                                    $ 4,655 $ 1$,114 $ -   $ 63,276 $   86,fl45                              cJ~
                                                                                                                        0
       Accumulated Depreciation                  4,111   18,114    -    63,276     85,541                               CJt
       Net Book Value                              544      -      -       -          544                5 year life    N
                                                                                                                               Case 15-50541-btb




 15200 Asset-Plant Equipment                     FLTEX     POS['L    RANCH     TRUCK        TOTAL
       Cost                                      12,713     45,024      -      343,866       401,603
       Accumulated Depreciation                  11,753      7,704      -      320,617       340,073
                                                                                                                        O
                                                                                                                        O
       Net Book Value                               968     37,320      -       23,254        b1,530     SO year life
                                                                                                                        n
                                                                                                                        W
                                                                                                                        .A
                                                                                                                        N
                                                                                                                               Doc 482




 15300 Asset-0ffice Equipment                    ELTE}(    PQSTL     RANCH     TRUCK        TdTAL
       Cost                                       2,693     28,296      -       117;352      148,341                    m
       Accumulated Dep~eclation                     987     28,215      -       114,186      143,388
       Net Book Value                              1,705        81      -         3,166        4,953     5 year life
                                                                                                                        Q
 25400 Asset-Computer Equipment                  FL7EX     PQSTL     RANCH      TRUCK        TOTAL.                     O
       Cost                                      85,47fi   95,085       -      1,425,257    1,505,818                   N
       Accumulated Depreciation                  48,796    95,085       -      1,420,915    1,554,796
                                                                                                                        N
       Net Sook Value                            36,680       -         -         14,342       b1,022    5 year life    C)'I
                                                                                                                        N
                                                                                                                        (11
  15500   Asset-Leasehold Improvement            FLTEX      PbSTL    RANCH      TRUCK       TOTAL                       A
          Cost                                  285,532    779,150    9,872     240,780     1,315,333                   O
                                                                                                                        I-~
          Accumu{ated Depreciation              245,043    757,067    5,429      174,665    1,192,205
          Net Book Value                         40,488     12,083    4,442       66,115      123,128    10 year life
                                                                                                                               Entered 11/23/15 17:02:48




                                                                                                                         A~
  15550    Asset-Security                         FLTIX     POSTL    RANCH      TRUCK        TOTAL                      tQ
                                                                                                                        (D
           Cost                                  371,068       -        -         3,fi62      374,730                   N
          .Accumulated Depreciation              363,582       -        -         1,455       365,047                   O
           Net Book Value                          7,486       -        -         2,197         9,fi83   5 year life    O
                                                                                                                        -i,
                                                                                                                         F~
          Total as of fi/30/15                  $ 87,864 $ 49,484 $ 4,442 $ 109,069 $ 250,860                            N
                                                                                                                         W
                                                                                                                               Page 229 of 252




 Note: Obtained info from the same MT ASSET AUDIT reports used for the FYE15 Asset Roll forward.
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s
Matheson Trucking, lnc.
Shareholder Dividends {Acct# 31010)
Fiscal Years 2011 through 2015                                                         n
                                                                                       c~
                                                                                   .   ~,
                                                                                  .    to
                                                                                       0
                                  Per Fled 1099 Div's       Minvr    TQTAL
          Fiscal Year Ending   RBM       MSM        TRUST    Diff Per YE Report   ..   ~
                                                                                             Case 15-50541-btb




                    6f30f2011 64,896     55,569      64,431     5      184,901
                    6/3d/2012 64,896     55,569      64,431 (220)     '184,676
                    6J3Q/2013 64,896                 64,431   -                   ~:   o
                                         55,569                        184,895
                    6/30/2014 64,896     55,569      64,431   -        184,89b         w
                    6f30/2015 64,896     55,5fi5     64,431   -                        N
                                                                       184,896
                                                                                             Doc 482




                        TOTAL 324,480 277,846 322,154 (Zl~j            g24,26~         rn
                                                                                       c~
                                                                                       Q
                             * Calendar year 20151x99 Div has yet to be filed.         o
                                                                                       N
                                                                                       rn
                                                                                       N
                                                                                       N
                                                                                       cn
                                                                                       0
                                                                                       i~
                                                                                  I'   co
                                                                                             Entered 11/23/15 17:02:48




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                                                           Document List

Document Name                               ,..                  _ .:      = Type.: ..
(ARCS) ArcBest -Income &Expense                                              .docx
(CNW)Con-way- Income &Expense                                                .docx
                                                                                                f
(ODFL) Oid Dominion Freight                                                  .docx
(RRTS) Roadrunner Trans                                                      .docx              m
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111 MOR May 2015                                                             .pdf               cn
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189 MOR June 20105 Detail                                                    .pdf               0
189 MOR June 2015                                                            .pdf               .A
                                                                                                N
2014_annual_report                                                           .pdf               s
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 2014AnnualReporttoShareholders                                              .pdf
24833 & 25833 - GE Note 7747858001- Amort Sched                              .pdf               O
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 24834 & 25834 - GE Note 7747885005 - Amort Sched                            .pdf               n
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 24835 & 25835 - GE Note 7752074001- Amort Sched                             .pdf               .A
                                                                                                N
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 24836 & 25836 - WF Note 407247700 - Amort Sched                             .pdf
 24837 & 25837 - WF Note 407247701- Amort Sched                              .pdf               m
 24838 & 25838 - WF Note 4072477Q2 - Amort Sched                             .pdf
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 24839 & 25839 - WF Note 407247703 - Amort Sched                             .pdf
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 24840 & 25840 - WF Note 407247704 - Amort Sched                             .pdf
                                                                             .pdf               N
 24841 & 25841- WF Note 407247705 - Amort Sched                                                 rn
 24842 & 25842 - WF Note 407247706 - Amort Sched                             .pdf               N
 24843 & 25843 - WF Note 407247707 - Amort Sched                              .pdf              N
 24845 & 25845 -PACCAR Note 6634059 - Amort Sched                             .pdf              :A
                                                                                                0
 96 MOR April 2015                                                            •pdf              N
 ARCB Key Statistics ~ ArcBest Corporation Stock -Yahoo! Finance              .pdf
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 Audited Consolidated Financils 6-30-14                                       .pdf
                                                                                                ca
 D&B Comprehensive insight Plus Report: MATHESON TRUCKING, INC.               .webarchive       m
  Definitions                                                                 .pdf              N
                                                                                                N
                                                                              .pdf              N
 GE Capital Solutions Debt Confirmation081415                                                   0
  GE POSTAL #P_7747858001 -Agreement - 11-20-12                               .pdf              N
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  GE POSTAL #P_7747885005 -Agreement - 11-20-12                               .pdf              w
  GE POSTAL #P_7752074001 -Agreement - 12-28-12                               .pdf
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  Industry Financial Report Specialized Freight trucking                      .pdf


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InMotion6linear                                                                           .pdf
Limited Obj to Employment of Pacific Capital Transactions - 8-3-15                        .pdf
Matheson 215 TB                                                                           .pdf
Matheson AP Aging 06-30-15                                                                .pdf
Matheson AR Aging 6-30-15                                                                 .pdf
                                                                                                       N
Matheson D&B Comprehensive Insight Plus Report: MATHESON TRUCKING, INC.                   .pdf
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Matheson Entities Organizational Chart                                              ~     .pdf         0
MATHESON FLIGHT EXTENDERS, INC.Bankruptcy Case #: 3:15-bk-50541 ~ lnforuptcy              .pdf         .A
                                                                                                       N
Matheson inc. ~ About Us                                                                  .pdf         s
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Matheson Inc. ~ Company History                                                           .pdf
Matheson Inc. ~ Locations                                                                 .pdf         O
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Matheson Inc. ~ Management                                                                .pdf         n
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Matheson Inc. ~ Matheson Postal Services                                                  .pdf         N
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Matheson Inc.) News                                                                       .pdf
Matheson Inc. ~ The Matheson Culture                                                      .pdf         m
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Matheson receives award from USPS                                                         .pdf         c~
 Matheson Trucking - Finanical Trends 2010 to 2015 Variance Analysis Comments (8-26-15)   .pdf         a
                                                                                                       0
 Matheson Trucking Audited FS - 6-30-2009                                                 .pdf
 Matheson USPS Supplier Awards History                                                    .pdf         N
                                                                                                       rn
 MFE Cash Flow -July 2015                                                                 .pdf         N
 MT00001-00117 WF Loan Docs                                                               .pdf          N
 MT00118-00138 WF Loan Docs                                                               .pdf
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 MT00139-00225 Tax Return 2011                                                            .pdf         i-~
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 MT00226-00306 Tax Return 2012                                                            .pdf
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 MT00307-00390 Tax Return 2013                                                            .pdf         v
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 MT00391-00392 ConsolBalSheet&IncomeStr~t FY15                                             .pdf        c~
 MT00393-00466 Audited FStmts 2010-14                                                      .pdf        N
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                                                                                                       N
 MT00467-00482 MH Leases to Matheson Corps                                                 .pdf        O
 PACCAR Debt Confirmation081415                                                            .pdf        N
                                                                                                       N
 PACCAR POSTAL #P_6634059 -Agreement - 3-23-15                                             .pdf        w
 Pepperdine Private Capital 2015                                                           .pdfi
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 Public Stats 1-4                                                                          .pdf


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Public Stats summary                                                       .pdf
Report Table10E0                                                           .pdf
Report TablelVPexecutive                                                   .pdf
Report TablelVPoperations                                                  .pdf
Report Tab1e2CE0                                                           .pdf       c~
                                                                                      N
Report Table2VPexecutive                                                   .pdf
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Report Tab1e2VPoperations                                                  .pdf       0
Report TabieCFO                                                            .pdf       N
Report TableChiefAccountingOfficer                                         .pdf       ..«
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Report TableChiefLegalExecutive                                            .pdf
Report TableTopRiskManagement                                              .pdf       O
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RRTS                                                                       .pdf       n
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SAIA AR                                                                    .pdf       N
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SAIA Locations &Doors                                                      .pdf
Top USPS Suppliers for 2013 - Husch Blackwell                              .pdf       m
USPS five-year-business-plan-2012-2017                                     .pdf
USPS Marketline                                                            .pdf       a
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USPS use of contractors to deliver mail union related                      .pdf
usps-competition-advocate-report-fy2013                                    .pdf       N
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WF Debt Confirmation081415                                                 .pdf       N
WF POSTAL #P_407247700 -Agreement - 6-25-13                                :pdf
WF POSTAL #P_407247701 -Agreement -11-8-13                                 .pdf
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WF POSTAL #P_407247702 -Agreement & Amort Sched - 12-10-13                 .pdf       i~
WF POSTAL #P_407247703 -Agreement - 2-18-14                                .pdf
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WF POSTAL #P_407247704 -Agreement - 2-18-14                                .pdf
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Case 15-50541-btb       Doc 482         Entered 11/23/15 17:02:48       Page 245 of 252




       Counsel forJudgmcnt Creditors.             Counsel for.7udgmo~tt Creditors

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 By:
       Amy .Tirre
       Counsel for Jadgment Creditors




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CIVIL ACTION NUMBER: 12-cv-0304Q-CMA-CBS

MAHAMET CAMARA,ANDRE DE OLIVEIRA, BEMBA DIALLO, SALIF DIAl.L4,
MACIRE DIARRA, ERNIE DUKE, and DEAN PATRICELLI, individuals,

Plaintiffs,

v.

MATHESON TRUCKING, INC., a California corporation, and MATHESON SLIGHT
EXTENDERS, INC., a California corporation,

Defendants.


                STIPULATION FOR DISMISSAL WITH PREJUDICE AND
                  REQUEST FOR COURT TO RETAIN JURISDICTION


        Plaintiffs                    ("Stipulating Plaintiffs"}, and Defendants Matheson

Trucking, Inc. and Matheson Flight Extenders, Inc., {together "Defendants"), by and

through their respective counsel, pursuant to the settlement agreement reached

between the parties, hereby stipulate to dismiss the StipuEating Plaintiffs' claims, with

prejudice, with each party to bear his or her own costs and attorneys' fees.

        Further, the Stipulating Plaintiffs and Defendants request the Court retain

jurisdiction for the sole purpose of enforcing the Stipulated Judgement, in the event of a

default.

        Respectfully submitted this       day of November, 2015.




                                                                  EXHIBIT A
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JESTER GIBBON & MOORE, LLP                 CAMPBELL LITIGATION, P.C.


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LOHF SHAfMAN JACOBS HYMAN                  ATTORNEYS FOR DEFENDANTS
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ATTORNEYS FOR PWINTIFFS
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CIVIL ACTION NUMBER: 12-cv-Q3040-CMA-CBS

MAHAMET CAMARA, ANDRE DE OLIVEIRA, BEMBA DIALLO, SALIF DIALLO,
MACIRE DIARRA, ERNIE DUKE, and DEAN PATRICELLI, individuals,

Plaintiffs,

v.

MATHESON TRUCKING, INC., a California corporation, and MATHESON FLIGHT
EXTENDERS, INC., a California corporation,

Defendants.


         ORDER RE: STIPULATION FOR DISMISSAL WITH PREJUDICE AND
               REQUEST FOR COURT TO RETAIN JURISDICTION


        The Court, having reviewed Stipulating Plaintiffs' and Defendants' Stipulation for

Dismissal with Prejudice and Request for Court to Retain Juristic#ion ("Stipulation's, the

file and being fully advised, hereby GRANTS the Stipulation. Stipulating Plaintiffs

                                  claims are hereby dismissed with prejudice. Each party

shall be responsible for its own costs and fees.

        The Court will retain jurisdiction over this matter for the sole purpose of enforcing

the Stipulated Judgment between the Stipulating Plaintiffs and De€endants, in the event

of a default.

       SO ORDERED this           day of November 2015.




                                                   Christine M. Arguello
                                                   U.S. Districf Court of Colorado Judge


                                                                    EXHIBIT B
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                                       November l9, 2015



United States Postal Service
LISPS Law Department, Procurement &Property Law
475 L'Enfant Plaza, SW,Room 6507
Washington DC 20260-1127

Re:    Camara, et. al., v. !l%latheson Trucking, lnc. and Matheson Flight Extenders, Inc.

Dear

This letter is sent jointly by Matheson Trucking, Inc.("MTI"), Matheson Flight Extenders, Inc.
("MFE"), and the Plaintiffs who sued MTI and MFE in the United States District Court for the
District of Colorado in case 12-cv-03040-CMA-CBS, namely, Mahamet Camara, Andre De
Oliveira, Bemba Diallo, Salif Diallo, Macire Diarra, Ernie Duke, and Dean Patricelli (the
"Plaintiffs").

MTI, MFE,and the Plaintiffs have resolved their disputes and differences in this matter. Plaintiffs
have dismissed all oftheir claims, with prejudice, including claims for discrimination, harassment,
and retaliation, and have also withdrawn all post-trial motions.

One of the Plaintiffs(Mr. De Oliveira) and a former Plaintiff(Dominique Dickerson) continue to
work for MFE.The Plaintiffs encourage the United States Postal Service to continue to do business
with MTT and MFE.

Plcase contact Mark Matheson if you have any questions.

Very truly yours,




                                                                 EXHIBIT C
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Mahamet Camara                            Andre De Oliveira



Ernie Duke                                Dean Patricelli


Matheson Trucking, Inc.                   Matheson Flight Extenders, Inc.

   By:                                       $y;
      Mark Matheson                             Mark Matheson
      Chief Executive Officer                   Chief Executive Officer
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

C1VIL ACTION NUMBER: 12-cv-03040-CMA-CBS

MAHAMET CAMARA, ANDRE DE OLIVEIRA, BEMBA DIALLO, SALIF DIALLO,
MACIRE DIARRA, ERNIE DUKE, and DEAN PATRICELLI, individuals,

Plaintiffs,



MATHESON TRUCKING, INC., a California corporation, and MATHESON FLIGHT
EXTENDERS, INC., a Cafifomia corporation,

Defendants.


                      STIPULATION FOR ENTRY OF JUDGMENT


       Plaintiff                   ("Stipulating Plaintiff'} and defendant Matheson

Trucking, Inc. {"Matheson Trucking"), by and through their respective counsel, hereby

stipulate to the entry of judgment in favor of the Stipulating Plaintiff and against

Matheson Trucking in the gross amount of $'i ,428,571.40, Isss an offset for payments

previously received. Pursuant to the Settlement Agreement entered into by and

between Stipulating Plaintiff, Matheson Trucking, and Matheson Flight Extenders

effective November 13, 2015 (the "Settlement Agreement"), Stipulating Plaintiff is

entitled to file this Stipulation with the Court upon a default of the Settlement

Agreement.

       WHEREFORE,Stipulating Plaintiff                               ,and Matheson

Trucking stipulate to entry of a judgment in the net amount of$                        ,

together with post-judgment interest from this date, to be entered against Defendant

Matheson Trucking and in favor of Stipulating Plaintiff


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JESTER GIBBON & MOORE, LLP                 CAMPBELL LITIGATION, P.C.




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(303)339-4779                              Denver, CO 8Q202
bmooret~ 1f .com                           (303)636-1833
                                           State ~ Cam bei -Liti ation.cam
and                                        Davie!{c Campbell-Liti€~ation.com

L~HF SHAIMAN JACOBS HYMAN                  ATTORNEYS FOR DEFENDANTS
& FEIGER PC

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ATTORNEYS FOR PLAINTIFFS




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